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                              No. 2023-1805


                       United States Court of Appeals
                           for the Federal Circuit


              UNITED THERAPEUTICS CORPORATION,

                                              Appellant,

                                     v.

                  LIQUIDIA TECHNOLOGIES, INC.,

                                               Appellee.


        Appeal from the United States Patent and Trademark Office,
          Patent Trial and Appeal Board in No. IPR2021-00406


               APPELLEE’S MOTION TO EXPEDITE
                BRIEFING AND ORAL ARGUMENT



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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1805
   Short Case Caption 8QLWHG7KHUDSHXWLFV&RUSRUDWLRQY/LTXLGLD7HFKQRORJLHV,QF
   Filing Party/Entity Liquidia Technologies, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        05/22/2023
  Date: _________________                   Signature:    /s/ Sanya Sukduang

                                            Name:         Sanya Sukduang
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable

Liquidia Technologies, Inc.                                           Liquidia Corporation




                                  ‫܆‬      Additional pages attached
               Case: 23-1805      Document: 10   Page: 4   Filed: 05/22/2023



FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬     Additional pages attached

Sanya Sukduang, Cooley LLP Erik B. Milch, Cooley LLP Ivor R. Elrifi, Cooley LLP


Jonathan Davies, Cooley LLP Deepa Kannappan, Cooley LLP




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                       ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬     Additional pages attached
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      Pursuant to Federal Rule of Appellate Procedure 2 and Federal Circuit Rule

27(c), Appellee Liquidia Technologies, Inc. (“Liquidia”) respectfully moves the

Court to expedite briefing and oral argument in this matter. In accordance with

Federal Circuit Rule 27(a)(2), counsel for Liquidia discussed this motion with

counsel for Appellant United Therapeutics Corporation (“UTC”) to seek their

consent. UTC indicated that it intends to oppose this motion.

      Liquidia filed an inter partes review (“IPR”) petition in January 2021 seeking

invalidation of all claims of U.S. Patent No. 10,716,793 (the “ʼ793 patent”). On July

19, 2022, the Patent Trial and Appeal Board (the “PTAB”) issued a Final Written

Decision (“FWD”) finding all the ’793 patent claims unpatentable as obvious. Ex.

1. UTC filed a request for review by the Patent Office’s Precedential Opinion Panel

(“POP”), which was denied on October 26, 2022. Ex. 2. UTC also filed a panel

rehearing request, which the PTAB denied on February 2, 2023, issuing a decision

re-affirming its invalidation of the ʼ793 patent claims. Ex. 3.

      In a parallel Abbreviated New Drug Application district court proceeding (the

“District Court Action”), the District of Delaware found, in relevant part, that

Liquidia infringed claims 1, 4, and 6-8 of the ʼ793 patent, and entered judgment

tying the “[F]inal” FDA approval date of Liquidia’s product to the expiration of the

ʼ793 patent. Ex. 4 at 29-37; Ex. 5 at 2, ¶ 4. Both parties appealed that district court

judgment to this Court, and this Court heard oral argument on May 3, 2023.



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      The PTAB issued its FWD invalidating the ’793 patent claims ten months ago.

We are well past the 12-18 months adjudication of an inter partes review normally

takes (35 U.S.C. § 316), and are in an unusual situation where a drug is being kept

off the market solely because of an invalidated patent. Liquidia asks this Court to

expedite briefing and oral argument in this appeal, so that Liquidia can launch its

first product and get its innovative product to patients in need without further

adjudicatory delay. Specifically, Liquidia proposes that the timing for briefing be

shortened by half, as follows:

               Filing                              Expedited Due Date
Appellant UTC’s Opening Brief                             7/5/2023
Appellee Liquidia’s Responsive Brief                     7/25/2023
Appellant UTC’s Reply Brief                               8/7/2023
Oral Argument                                Next available date after briefing is
                                                          complete

 I.   BACKGROUND

      Liquidia is a biopharmaceutical company that utilized its own proprietary

technology to formulate a dry powder, inhalable version of the drug treprostinil for

the treatment of pulmonary arterial hypertension (“PAH”). On January 24, 2020,

Liquidia filed a New Drug Application (“NDA”) with the Food and Drug

Administration (“FDA”). Liquidia’s NDA included certifications pursuant to 21

U.S.C. § 355(b)(2)(A)(iv) that certain of Appellant UTC’s patents were invalid and

not infringed—the ’793 patent, and two others: U.S. Patent Nos. 9,604,901 (the




                                         2
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“ʼ901 patent”) and 9,593,066 (the “’066 patent”). The FDA tentatively approved

Liquidia’s NDA No. 213005 on November 5, 2021. Ex. 6 at 1.

      UTC and Liquidia have been engaged in litigation since March 2020.

          a. ’901 IPR and Appeal

      Liquidia filed an IPR petition on the ’901 patent on March 3, 2020, and the

PTAB instituted on October 13, 2020. On October 8, 2021, the PTAB issued a FWD

with respect to the ʼ901 patent, construing certain claim limitations and determining

that asserted claims 1-5, 8, and 9 were unpatentable as obvious over the prior art.

Ex. 7 at 2, 62-63. UTC appealed that decision to this Court. Briefing is complete

and the parties are awaiting scheduling of oral argument this summer or fall.

          b. The District Court Action and Appeal

      In the meantime, UTC filed suit in the District of Delaware on June 4, 2020

asserting the ’901 1 and ’066 patents. Ex. 9. The ’793 patent issued shortly

thereafter, and UTC amended its complaint on July 22, 2020 to assert infringement

of the ʼ793 patent as well. Ex. 10.

      Trial was held in the District Court Action at the end of March 2022, and the

district court issued its opinion on August 31, 2022, finding all asserted claims of

the ’066 patent either invalid or not infringed (asserted claims 1, 2, 3, 6, and 9 of the


1
 UTC eventually stipulated to non-infringement of the ’901 patent and did not
appeal that stipulation. Ex. 8.


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ʼ066 patent invalid, asserted claims 6, 8 and 9 of the ʼ066 patent not infringed) and

asserted claims 1, 4, and 6-8 of the ʼ793 patent valid and infringed. See Ex. 4 at 16,

17-18, 25, 34, 45, 48, 53. The district court entered judgment on September 9, 2022,

resetting the date of Final FDA approval until expiration of the ʼ793 patent. Ex. 5

at 2, ¶ 4.

       Both parties appealed the district court’s decision. In relevant part, Liquidia

appealed the district court’s findings of induced infringement, adequate written

description, and enablement of the ’793 patent claims. Ex. 11 at 23-54; Ex. 12 at 2-

19. This Court held oral argument on the district court appeal on May 3, 2023.

During the oral argument, a panel composed of Judges Lourie, Dyk, and Stoll

focused primarily on the validity of the ’793 patent. See United Therapeutics Corp.

v. Liquidia Techs., Inc., Case Nos. 22-2217, 23-1021, Oral Arg. at 0:25-25:55,

28:15-31:15 (May 3, 2023), available at https://cafc.uscourts.gov/home/oral-

argument/listen-to-oral-arguments/.

             c. ’793 IPR

       On July 19, 2022, after trial, but before the district court issued its decision in

the District Court Action, the PTAB issued a FWD with respect to the ʼ793 patent,

rendering unpatentable all claims of the ʼ793 patent as obvious over the prior art.

Ex. 1 at 2, 46-47. In August 2022, UTC filed a Request for Rehearing and request

for POP review. The POP request was denied on October 26, 2022. Ex. 2. The



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PTAB denied the Request for Rehearing on February 2, 2023, more than six months

after issuing its FWD. Ex. 3. UTC then filed this appeal.

         d. Effect of This Appeal on Parallel Appeals

      Despite the ’793 IPR FWD coming down before the district court’s decision,

the district court concluded that Liquidia possessed specific intent to induce

infringement under 35 U.S.C. § 271(b). Ex. 4 at 36-37. Accordingly, the district

court enjoined the FDA from granting “[F]inal” approval to Liquidia’s product,

based solely on a patent that had been rendered unpatentable. Ex. 5 at 2, ¶ 4.

Liquidia has appealed this infringement ruling as contrary to the Supreme Court’s

decision in Commil USA, LLC v. Cisco Sys, Inc., 575 U.S. 632 (2015), asking this

Court to find that induced infringement requires intent negated by knowledge of a

PTAB decision invalidating the asserted claims. See Ex. 11 at 46-54, Ex. 12 at 15-

19.

      Now, the invalidated ’793 patent claims are the only bar to Final FDA

approval of Liquidia’s product. Without Final FDA approval, Liquidia cannot

launch its product, thereby preventing PAH patients from having access to its

innovative, life-saving drug YUTREPIATM.

      To avoid further harm to Liquidia and PAH patients, this Court should

expedite briefing and hear oral arguments on the instant appeal.




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II.   ARGUMENT

      This Court has authority to manage its docket to expedite appeals upon a

showing of good cause. Fed. R. App. P. 2; Fed. Cir. R. 27. Good cause to expedite

briefing, oral argument, and final resolution of this appeal exists, because

adjudication of this IPR has already been delayed significantly by UTC’s

unsuccessful rehearing requests, and expeditious resolution of this appeal avoids

further harm to Liquidia and the public from keeping YUTREPIATM off the market,

based solely on a patent that was rendered unpatentable by the PTAB.

      A basic tenet of Hatch-Waxman proceedings is to promote competition by

permitting prompt resolution of patent infringement proceedings of Orange Book

listed patents. See Caraco Pharm. Lab’ys, Ltd. v. Novo Nordisk A/S, 566 U.S. 399,

405 (2012). While the Caraco case concerned generic drugs, the same rationale

applies here as Liquidia was required to follow the Hatch-Waxman regulatory

schedule because it filed its NDA under § 505(b)(2). Expediting this appeal will

achieve this goal.

      Expediting this appeal is particularly warranted here, given the PTAB’s

decision rendering unpatentable all asserted claims of the ʼ793 patent. As Congress

noted, in enacting the America Invents Act, “questionable patents [we]re too easily

obtained and [were] too difficult to challenge[,]” and IPR proceedings combat this

by “providing a more efficient system for challenging patents that should not have



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issued[.]” H.R. Rep. No. 112-98 at 38-40 (2011). Liquidia acted in accordance with

IPR procedures, prevailed in invalidating the ʼ793 patent claims, but is nonetheless

prohibited from obtaining Final FDA approval because the district court reached a

different decision.2

      Liquidia has acted diligently to bring all the relevant issues between the parties

to this Court as quickly as possible. Liquidia sought UTC’s position on this motion

within one week of the parties entering their appearances, and the week after this

Court focused on the ’793 patent during oral argument of the district court appeal.

Liquidia filed this motion three business days after UTC indicated its intent to

oppose.

      Liquidia will continue to self-expedite the deadlines it controls, but as

appellee, that is only one deadline: the red brief. A formal order expediting this

appeal is thus nonetheless needed as UTC has the ability to delay ultimate resolution,

including by seeking extensions of time of its own deadlines in the appeals. Fed. R.

App. P. 4(a)(5), 26(b); Fed. Cir. R. 26(b). In fact, UTC did so in the district court

appeal. See United Therapeutics Corp. v. Liquidia Techs., Inc., Case Nos. 22-2217,

23-1021, ECF Nos. 24, 27.




2
 The district court reached a different decision because Liquidia did not present its
successful PTAB obviousness arguments at trial, due to the district court’s indication
at the pre-trial conference that it would apply IPR estoppel.

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       Finally, UTC will not suffer prejudice if the briefing schedule is expedited.

Liquidia’s product is not on the market, nor will it be until this Court decides the

district court appeal and/or this appeal, so UTC suffers no market prejudice while

the appeals are pending. And although UTC’s deadlines will be advanced, it is

currently represented by dozens of lawyers at multiple law firms, who already have

briefed UTC’s issues with the ’793 IPR FWD in requests for Rehearing and

Precedential Opinion Panel review before the PTAB, and who presumably had

arguments in mind when filing UTC’s notice of appeal over a month ago. UTC does

not have a reasonable basis for being unable to meet Liquidia’s proposed deadlines.

Finally, in explaining why it intended to oppose this motion, UTC did not indicate

it would be prejudiced by expediting the schedule, instead stating only that it didn’t

think expedition was “necessary or appropriate.”

III.   CONCLUSION

       For the foregoing reasons, Appellee Liquidia, respectfully requests that the

Court expedite briefing and oral argument in this case in accordance with the

following schedule:

                Filing                              Expedited Due Date
 Appellant UTC’s Opening Brief                             7/5/2023
 Appellee Liquidia’s Responsive Brief                     7/25/2023
 Appellant UTC’s Reply Brief                               8/7/2023
 Oral Argument                                Next available date after briefing is
                                                           complete



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Pursuant to Federal Circuit Rule 27(c)(2), Liquidia further proposes the following

briefing schedule on this motion:

                    Filing                             Expedited Due Date
Appellee Liquidia’s Opening Motion                         5/22/2023
Appellant UTC’s Response to Motion                         5/30/2023
Appellee Liquidia’s Reply to Response                       6/2/2023


Dated: May 22, 2023                  Respectfully submitted,

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                                     Liquidia Technologies, Inc.




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                      CERTIFICATE OF COMPLIANCE

      The foregoing filing complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d) and 32(a) and has been prepared using a

proportionally-spaced typeface and includes 1,860 words.



Dated: May 22, 2023                          /s/ Sanya Sukduang
                                             Sanya Sukduang
                                             Cooley LLP

                                             Counsel for Appellee
                                             Liquidia Technologies, Inc.




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                       LIST OF EXHIBITS

Ex. 1      Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2021-
           00406, Paper 78, Final Written Decision (P.T.A.B. Jul. 19, 2022)

Ex. 2      Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2021-
           00406, Paper 81, POP Review Denial (P.T.A.B. Oct. 26, 2022)

Ex. 3      Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2021-
           00406, Paper 82, Rehearing Denial (P.T.A.B. Feb. 2, 2023)

Ex. 4      United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 433, Trial Opinion (D. Del. Aug. 31, 2022)

Ex. 5      United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 436, Final Judgment (D. Del. Sept. 9, 2022)

Ex. 6      Tentative Approval Letter for New Drug Application No. 213005
           (Nov. 5, 2021)

Ex. 7      Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2020-
           00770, Paper 45, Final Written Decision (P.T.A.B. Oct. 8, 2021)

Ex. 8      United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 278, Stipulation of Partial Judgment of Non-
           Infringement and Order (D. Del. Jan. 3, 2022)

Ex. 9      United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 1, Complaint (D. Del. June 4, 2020)

Ex. 10     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 16, First Amended Complaint (D. Del. July 22, 2020)

Ex. 11     United Therapeutics Corp. v. Liquidia Techs., Inc., Nos. 22-2217,
           23-1021, ECF No. 21, Liquidia’s Opening Brief (Fed. Cir. Oct.
           21, 2022)

Ex. 12     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 22-
           2217,23-1021, ECF No. 32, Liquidia’s Reply Brief (Fed. Cir.
           Feb. 1, 2023)
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            EXHIBIT 1
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Trials@uspto.gov                                                  Paper 78
Tel: 571-272-7822                                   Entered: July 19, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                    LIQUIDIA TECHNOLOGIES, INC.,
                              Petitioner,

                                   v.

             UNITED THERAPEUTICS CORPORATION,
                        Patent Owner.


                            IPR2021-00406
                          Patent 10,716,793 B2




Before ERICA A. FRANKLIN, CHRISTOPHER M. KAISER,
and DAVID COTTA, Administrative Patent Judges.

KAISER, Administrative Patent Judge.



                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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IPR2021-00406
Patent 10,716,793 B2

                              INTRODUCTION
      A. Background
      Liquidia Technologies, Inc. (“Petitioner”) filed a Petition (Paper 2,
“Pet.”) requesting an inter partes review of claims 1–8 of U.S. Patent
No. 10,716,793 B2 (Ex. 1001, “the ’793 patent”). United Therapeutics
Corporation (“Patent Owner”) filed a Preliminary Response. Paper 13
(“Prelim. Resp.”).
      On August 11, 2021, we instituted inter partes review of claims 1–8
of the ’793 patent on all grounds set forth in the Petition. Paper 18 (“Inst.
Dec.”). After institution of trial, Patent Owner filed a Response (Paper 29,
“PO Resp.”), Petitioner filed a Reply (Paper 44), and Patent Owner filed a
Sur-Reply (Paper 55). In addition, both parties filed Motions to Exclude
Evidence (Papers 65 and 66), Oppositions to their respective opponents’
Motions to Exclude (Papers 68 and 69), and Replies in support of their own
Motions to Exclude (Papers 71 and 72). At the request of both parties, we
held an oral hearing, the transcript of which has been entered into the record.
Paper 77 (“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6. This is a Final Written
Decision under 35 U.S.C. § 318(a) as to the patentability of the challenged
claims of the ’793 patent. For the reasons discussed below, we determine
Petitioner has established by a preponderance of the evidence that each of
claims 1–8 of the ’793 patent is unpatentable.

      B. Related Matters
      The parties identify United Therapeutics Corporation v. Liquidia
Technologies, Inc., 1:20-cv-00755-RGA (D. Del.) (“the District Court
proceeding”), as a related matter. Pet. 1; Paper 3, 1.


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          C. The Asserted Grounds of Unpatentability
          Petitioner contends that claims 1–8 of the ’793 patent are unpatentable
based on the following grounds (Pet. 30–68):1
    Claim(s) Challenged       35 U.S.C. § 2          Reference(s)/Basis
                                              ’212 patent, 3 Voswinckel JESC, 4
    1–8                       103(a)
                                              Voswinckel JAHA 5
    1–8                       103(a)          ’212 patent, Voswinckel JESC
    1                         102(a)          Ghofrani6
    1, 3, 8                   103(a)          Voswinckel JAHA, Ghofrani
    1, 3                      102(a)          Voswinckel 2006 7


1
 Petitioner also relies on declarations from Nicholas Hill, M.D., and Igor
Gonda, Ph.D. Exs. 1002, 1004, 1106, 1107.
2
 The ’793 patent claims a priority date of May 15, 2006, and Petitioner
“assumes the relevant priority date . . . is May 15, 2006.” Pet. 12; Ex. 1001,
code (60). Accordingly, patentability is governed by the versions of
35 U.S.C. §§ 102 and 103 preceding the amendments in the Leahy-Smith
America Invents Act (“AIA”), Pub. L. No. 112–29, 125 Stat. 284 (2011).
3
 US 6,521,212 B1, issued Feb. 18, 2003 (Ex. 1006) (alleged to be prior art
under 35 U.S.C. §§ 102(a), (b), (e)).
4
 Voswinckel, R., et al., Inhaled treprostinil is a potent pulmonary
vasodilator in severe pulmonary hypertension, 25 EUROPEAN HEART J. 22
(2004) (Ex. 1007) (alleged to be prior art under 35 U.S.C. § 102(b)).
5
 Robert Voswinckel, et al., Inhaled Treprostinil Sodium (TRE) For the
Treatment of Pulmonary Hypertension, in Abstracts from the 2004 Scientific
Sessions of the American Heart Association, 110 CIRCULATION III-295 (Oct.
26, 2004) (Ex. 1008) (alleged to be prior art under 35 U.S.C. § 102(b)).
6
 Hossein Ardeschir Ghofrani, et al., Neue Therapieoptionen in der
Behandlung der pulmonalarteriellen Hypertonie, 30 HERZ 296–302 (June
2005) (Ex. 1010) (alleged to be prior art under 35 U.S.C. § 102(a)). We rely
on the English translation that follows the German original article as part of
Ex. 1010.
7
 Robert Voswinckel, et al., Inhaled Treprostinil for Treatment of Chronic
Pulmonary Arterial Hypertension, 144 ANNALS OF INTERNAL MEDICINE

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Patent 10,716,793 B2

 Claim(s) Challenged 35 U.S.C. § 2               Reference(s)/Basis
 2, 4–8              103(a)                Voswinckel 2006, ’212 patent

       D. The ’793 Patent
       The ’793 patent, titled “Treprostinil Administration by Inhalation,”
issued on July 21, 2020. Ex. 1001, codes (45), (54). The patent “relates to
methods and kits for therapeutic treatment and, more particularly, to
therapeutic methods involving administering treprostinil using a metered
dose inhaler and related kits.” Id. at 1:20–23.
       Treprostinil “is a prostacyclin analogue” that may be used to treat
pulmonary hypertension. Id. at 5:37–41. According to the ’793 patent, it
was previously known to administer treprostinil by intravenous,
subcutaneous, or inhalation routes to treat any of several conditions,
including pulmonary hypertension. Id. at 5:42–58.
       The ’793 patent relates to the administration of treprostinil in high
concentrations over a short inhalation time. Id. at 16:61–63, 17:44–46. This
method of administration is described as reducing pulmonary vascular
resistance and pulmonary artery pressure, as well as increasing cardiac
output. Id. at 16:32–42, Fig. 10.

       E. Illustrative Claim
       Claims 1–8 of the ’793 patent are challenged. Claim 1 is independent
and illustrative; it recites:
                  1. A method of treating pulmonary hypertension
                     comprising administering by inhalation to a human
                     suffering from pulmonary hypertension a
                     therapeutically effective single event dose of a

149–50 (January 2006) (Ex. 1009) (alleged to be prior art under 35 U.S.C.
§ 102(a)).

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Patent 10,716,793 B2

                    formulation comprising treprostinil or a
                    pharmaceutically acceptable salt thereof with an
                    inhalation device, wherein the therapeutically
                    effective single event dose comprises from 15
                    micrograms to 90 micrograms of treprostinil or a
                    pharmaceutically acceptable salt thereof delivered
                    in 1 to 3 breaths.
Ex. 1001, 18:23–31.

                                  ANALYSIS
      A. Claim Construction
      In an inter partes review, we construe a claim in an unexpired patent
“in accordance with the ordinary and customary meaning of such claim as
understood by one of ordinary skill in the art and the prosecution history
pertaining to the patent.” 37 C.F.R. § 42.100(b) (2020). “[T]he ordinary
and customary meaning of a claim term is the meaning that the term would
have to a person of ordinary skill in the art in question at the time of the
invention.” Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005)
(en banc). “Importantly, the person of ordinary skill in the art is deemed to
read the claim term not only in the context of the particular claim in which
the disputed term appears, but in the context of the entire patent, including
the specification.” Id.
      Neither party presents any terms for construction. Pet. 12–13
(“Petitioner does not believe construction of any claim term is required”);
PO Resp. 7 (not proposing construction of any terms). Accordingly, we
determine that no express construction of any claim term is necessary in
order to decide whether to institute trial. Nidec Motor Corp. v. Zhongshan
Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017) (citing Vivid
Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999)


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(“[O]nly those terms need be construed that are in controversy, and only to
the extent necessary to resolve the controversy.”)).

      B. Asserted Obviousness over ’212 Patent, Voswinckel JESC, and
         Voswinckel JAHA
      Petitioner argues that claims 1–8 would have been obvious over the
combination of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA.
Pet. 30–46. Patent Owner argues that Petitioner fails to show that
Voswinckel JESC and Voswinckel JAHA are prior art to the ’793 patent.
PO Resp. 11–18. Patent Owner also argues that Petitioner fails to show that
this combination of references teaches or suggest all the limitations of any of
the challenged claims. PO Resp. 18–22, 38–40. In addition, Patent Owner
also argues that Petitioner fails to show that a person of ordinary skill in the
art would have had a reason to combine the teachings of these references.
Id. at 23–38.

          1.    ’212 Patent
      The ’212 patent teaches “[a] method of delivering benzindene
prostaglandins to a patient by inhalation.” Ex. 1006, code (57). In
particular, the ’212 patent teaches the use of “[a] benzindene prostaglandin
known as UT-15,” which “has unexpectedly superior results when
administered by inhalation compared to parenterally administered UT-15 in
sheep with induced pulmonary hypertension.” Id. There is evidence in the
present record that “UT-15” was also known as “Remodulin” or “treprostinil
sodium.” Ex. 1035, 582. According to the ’212 patent, the UT-15 may be
delivered either as droplets formed “from a solution or liquid containing the
active ingredient(s)” via a nebulizer, or as a solid-phase powder via an
inhaler. Ex. 1006, 5:30–41.


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      According to the ’212 patent, this method may be used to “treat[]
pulmonary hypertension in a mammal.” Id. at 14:9–12. Moreover, the ’212
patent teaches “medical use” of its method in a “human.” Id. at 7:4–5. The
necessary dose to achieve “a particular therapeutic purpose will, of course,
depend upon the specific circumstances of the patient being treated and the
magnitude of the effect desired by the patient’s doctor. Titration to effect
may be used to determine proper dosage.” Id. at 6:66–7:3. “[A]erosolized
UT-15 has a greater potency as compared to intravascularly administered
UT-15,” so the ’212 patent teaches delivering “only a fraction (10–50%) of
the dosage delivered intravascularly” when using its inhalation delivery
method. Id. at 8:8–12. Even at “high doses,” however, the ’212 patent
teaches a lack of “significant non-lung effects, i.e., heart rate, cardiac
output.” Id. at 10:51–54.

           2.    Voswinckel JESC
      Voswinckel JESC discusses a study to investigate “the acute
hemodynamic response to inhaled treprostinil.” Ex. 1007, 7. Of the 29
patients in the study, eight were administered a placebo, groups of six
patients each were administered 16, 32, and 48 μg/mL solutions of
treprostinil, and three patients were administered a solution containing 64
μg/mL of treprostinil. Id. Each administration used an “OptiNeb ultrasound
nebulizer, [made by] Nebu-Tec, Germany” for six minutes. Id. For each
patient, various measurements were taken before administration of the
treprostinil and at 0, 15, 30, 60, 90, 120, 150, and 180 minutes after
administration. Id. According to Voswinckel JESC, “[t]reprostinil
inhalation results in a significant long-lasting pulmonary vasodilatation,”




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and, “at a concentration of 16 μg/mL, near maximal pulmonary
vasodilatation is achieved without adverse effects.” Id.

           3.    Voswinckel JAHA
      Voswinckel JAHA discusses a study of 17 patients with “severe
pulmonary hypertension” who received treprostinil inhalations. Ex. 1008, 3.
These inhalations each involved “3 single breaths” using a “pulsed
OptiNeb® ultrasound nebulizer” and a “600 μg/mL” treprostinil solution.
Id. In addition, “[t]wo patients with idiopathic PAH received compassionate
treatment with 4 inhalations of TRE per day after the acute test” and were
“treated for more than 3 months.” Id. According to Voswinckel JAHA,
“inhalation resulted in a sustained, highly pulmonary selective vasodilatation
over 120 minutes,” showing “strong pulmonary selective vasodilatory
efficacy with a long duration of effect following single acute dosing,” and
“[t]olerability is excellent even at high drug concentrations and short
inhalation times (3 breaths).” Id.

           4.    Prior-Art Status of Voswinckel JESC and Voswinckel JAHA
      In arguing that claims 1–8 would have been obvious, Petitioner relies
on Voswinckel JESC and Voswinckel JAHA, but Patent Owner argues that
Petitioner fails to show sufficiently that either of these references qualifies as
a “printed publication.” PO Resp. 11–18.
      Only “prior art consisting of patents or printed publications” may
form “the basis of” an inter partes review. 35 U.S.C. § 311(b). Neither
Voswinckel JESC nor Voswinckel JAHA is a patent, so Petitioner may not
rely on these references unless they are “printed publications.” Id. Public
accessibility is the “touchstone in determining whether a reference
constitutes a printed publication,” and a reference is considered publicly


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accessible only if it was “disseminated or otherwise made available to the
extent that persons interested and ordinarily skilled in the subject matter or
art exercising reasonable diligence, can locate it.” Kyocera Wireless Corp.
v. Int’l Trade Comm’n, 545 F.3d 1340, 1350 (Fed. Cir. 2008) (quoting SRI
Int’l, Inc. v. Internet Sec. Sys. Inc., 511 F.3d 1186, 1194 (Fed. Cir. 2008); In
re Hall, 781 F.2d 897, 898–99 (Fed. Cir. 1986)).
      Patent Owner argues that, because Petitioner relies on Voswinckel
JESC and Voswinckel JAHA having been “stored in libraries, public
accessibility requires that the reference be both available at the library and
sufficiently indexed or catalogued by the priority date.” PO Resp. 12 (citing
Blue Calypso, LLC v. Groupon, Inc., 815 F.3d 1331, 1348 (Fed. Cir. 2016);
In re Klopfenstein, 380 F.3d 1345, 1349 (Fed. Cir. 2004)). According to
Patent Owner, Petitioner fails to show sufficiently either of these
requirements. Id. at 12–18.
      But Petitioner does not rely solely on availability in libraries to show
the prior-art status of Voswinckel JESC and Voswinckel JAHA. Instead,
Petitioner also argues that “Voswinckel JESC is an abstract presented at the
European Society of Cardiology (JESC) Congress,” that Voswinckel JAHA
“was publicly presented at the 2004 Scientific Sessions of the American
Heart Association,” and that both references were cited in other documents
dating from before the priority date of the ’793 patent whose public
accessibility is not at issue. Pet. 22; Reply 3–4, 6–8.
      Patent Owner objects that Petitioner’s public-presentation and
citation-in-other-references arguments are untimely because they should
have been, but were not, presented in the Petition. Sur-Reply 2–3. We
disagree. First, the argument that Voswinckel JESC was presented publicly


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appears in the Petition. Pet. 22. Second, although other of Petitioner’s
arguments appear for the first time in the Reply, they are not untimely.
Reply 3–4, 6–8.
      Petitioner is permitted a “limited opportunit[y]” to present new
evidence in or with its Reply, as long as that new evidence is “responsive to
the prior briefing” and does not constitute “changing theories after filing
[the] petition.” Hulu, LLC v. Sound View Innovations, LLC, IPR2018-
01039, Paper 29, at 14–15 (PTAB Dec. 20, 2019) (precedential). Here, both
of the arguments that Patent Owner alleges are new—the argument that
Voswinckel JESC and Voswinckel JAHA were presented publicly and the
argument that these references were cited in other publicly available
references—respond to Patent Owner’s argument in the Patent Owner
Response that Voswinckel JESC and Voswinckel JAHA were not publicly
accessible. PO Resp. 11–18. The argument that Voswinckel JESC was
publicly presented is not a change in theory from the Petition, because
Petitioner presented this argument in the Petition. Pet. 22. As to both
Voswinckel JESC and Voswinckel JAHA, Petitioner’s Reply evidence
showing citation to the references in other publicly accessible documents is
merely additional evidence supporting Petitioner’s original theory that a
person of ordinary skill in the art could have located the references.
Accordingly, we find that the following arguments made by Petitioner are
not untimely: (1) that Voswinckel JESC was presented publicly, (2) that
Voswinckel JESC was referenced in a publicly accessible document, and (3)
that Voswinckel JAHA was referenced in a publicly accessible document.
      Given the evidence supporting Petitioner’s timely arguments, we are
persuaded that Petitioner has shown by a preponderance of the evidence that


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Voswinckel JESC and Voswinckel JAHA were publicly accessible. “[T]he
presence of a ‘research aid’ can . . . establish public accessibility” of a
reference if that research aid “provide[s] a skilled artisan with a sufficiently
definite roadmap leading to” the reference by “provid[ing] enough details
[to] determine that an interested party is reasonably certain to arrive at the
destination: the potentially invalidating reference.” Blue Calypso, LLC v.
Groupon, Inc., 815 F.3d 1331, 1350 (Fed. Cir. 2016).
      Here, Petitioner directs us to research aids for finding both
Voswinckel JESC and Voswinckel JAHA: a “June 2005 Ghofrani article in
the journal Herz” for the former, and “a March 2005 article authored by
Roxana Sulica et al. in the Expert Review of Cardiovascular Therapy” for
the latter. Reply 3, 7 (citing Ex. 1010, 298, 301; Ex. 1104, 359). The
Ghofrani article cites Voswinckel JESC as providing a solution to patients
experiencing “pain at the injection site” by replacing injected treprostinil for
“pulmonary arterial hypertension” with “inhaled treprostinil.” Ex. 1010,
298 (citing reference 6), 301 (defining reference 6 as Voswinckel JESC).
The Ghofrani article also discusses the study reported in Voswinckel JESC,
summarizing both the “major reduction in pulmonary selective pressure and
resistance” and the lack of “adverse effects” described in Voswinckel JESC.
Id. The Sulica article cites to Voswinckel JAHA, explaining that the
reference reports that “inhaled treprostinil demonstrated substantial
pulmonary vasodilatory efficacy in acute administration, as well as
symptomatic and functional benefit in chronic use in a small number of PAH
patients.” Ex. 1104, 351, 359. Thus, both the Ghofrani article and the
Sulica article provide roadmaps directing a person of ordinary skill in the art
looking for successful studies discussing the use of inhaled treprostinil in


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pulmonary arterial hypertension straight to Voswinckel JESC or Voswinckel
JAHA. Because these articles provide these roadmaps, they are “research
aid[s]” that “establish [the] public accessibility” of Voswinckel JESC and
Voswinckel JAHA. Blue Calypso, 815 F.3d at 1350.

          5.    Analysis
      Petitioner argues that the combination of the ’212 patent, Voswinckel
JESC, and Voswinckel JAHA teaches or suggests the subject matter of
claims 1–8 and that a person of ordinary skill in the art would have had a
reason to combine the teachings of these references with a reasonable
expectation of success. Pet. 30–46. Patent Owner argues that this
combination of references fails to teach or suggest delivering a dose of
treprostinil within the dose range of the challenged claims in a single dosing
event of one to three breaths. Prelim. Resp. 42–55.

                   a. Claim 1
                           (1) “A method of treating pulmonary hypertension
                               comprising administering by inhalation to a
                               human suffering from pulmonary hypertension
                               a therapeutically effective single event dose of a
                               formulation comprising treprostinil or a
                               pharmaceutically acceptable salt thereof”
      Claim 1 recites “[a] method of treating pulmonary hypertension
comprising administering by inhalation to a human suffering from
pulmonary hypertension a therapeutically effective single event dose of a
formulation comprising treprostinil or a pharmaceutically acceptable salt
thereof.” Ex. 1001, 18:23–27. Petitioner argues that the ’212 patent,
Voswinckel JESC, and Voswinckel JAHA each teach or suggest this
limitation. Pet. 35–37. Patent Owner does not dispute this argument.
PO Resp. 10–40.

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      The ’212 patent teaches treating pulmonary hypertension via
inhalation of a benzindene prostaglandin called UT-15, which was also
known as “treprostinil sodium.” Ex. 1006, code (57) (identifying
“benzindene prostaglandin” as “UT-15”), 2:66–3:5 (“This invention relates
to . . . a method of treating pulmonary hypertension by administering an
effective amount of a benzindene prostaglandin to a mammal in need thereof
by inhalation.”); Ex. 1035, 582 (“UT-15” also known as “treprostinil
sodium”). Voswinckel JAHA teaches treating “patients with severe
pulmonary hypertension” with “Inhaled Treprostinil Sodium (TRE)” with
“3 single breaths” of “TRE solution 600 μg/ml,” resulting in “strong
pulmonary selective vasodilatory efficacy with a long duration of effect
following single acute dosing.” Ex. 1008, 3. Voswinckel JESC describes
“the acute hemodynamic response to inhaled treprostinil” following the
administration to patients of nebulized treprostinil solution in concentrations
of 16, 32, 48, and 64 μg/ml for six minutes, resulting in “significant long-
lasting pulmonary vasodilatation” without “adverse effects.” Ex. 1007, 7.
      Accordingly, Petitioner has shown by a preponderance of the evidence
that the ’212 patent, Voswinckel JESC, and Voswinckel JAHA each teach or
suggest this portion of claim 1.

                          (2) “With an inhalation device”
      Next, claim 1 recites “with an inhalation device.” Ex. 1001,
18:27–28. Petitioner argues that the ’212 patent, Voswinckel JESC, and
Voswinckel JAHA each teach or suggest this limitation. Pet. 37. Patent
Owner does not dispute this argument. PO Resp. 10–40. The ’212 patent
teaches the use in its inhalation method of “a nebulizer, inhaler, atomizer or
aerosolizer” to “form[] droplets from a solution or liquid containing the


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active ingredient(s).” Ex. 1006, 5:30–32. Both Voswinckel JESC and
Voswinckel JAHA teach the use of a “nebulizer” in their inhalation
methods. Ex. 1007, 7 (“OptiNeb ultrasound nebulizer”); Ex. 1008, 3 (“the
pulsed OptiNeb® ultrasound nebulizer”). Dr. Hill testifies that a person of
ordinary skill in the art would have understood “that nebulizers and inhalers
are inhalation devices.” Ex. 1002 ¶ 94. Accordingly, Petitioner has shown
by a preponderance of the evidence that the ’212 patent, Voswinckel JESC,
and Voswinckel JAHA each teach or suggest this limitation of claim 1.

                          (3) “Wherein the therapeutically effective single
                              event dose comprises from 15 micrograms to 90
                              micrograms of treprostinil or a
                              pharmaceutically acceptable salt thereof”
      Claim 1 recites “wherein the therapeutically effective single event
dose comprises from 15 micrograms to 90 micrograms of treprostinil or a
pharmaceutically acceptable salt thereof.” Ex. 1001, 18:28–30. Petitioner
argues that the combination of the ’212 patent and Voswinckel JESC teaches
or suggests this limitation. Pet. 37–40. Patent Owner disagrees. PO
Resp. 18–38.
      Petitioner calculates the dose that the prior art teaches delivering by
inhalation in three separate ways: (1) relying on Voswinckel JESC’s solution
concentrations and solution volumes taught by Ex. 1037, (2) relying on
Voswinckel JESC’s solution concentrations and solution volumes normally
delivered according to the testimony of Petitioner’s declarants, and
(3) relying on the ’212 patent’s conversion from an intravascular treprostinil
dose to an equivalent inhaled dose. Pet. 22–24, 38–39. According to
Petitioner, each of these three calculation methods results in a teaching of a




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therapeutically effective single event dose comprising from 15 micrograms
to 90 micrograms of treprostinil. Id.
      We agree with Patent Owner that Petitioner’s first and third
calculation methods do not demonstrate that the prior art taught or suggested
a therapeutically effective single event dose comprising from 15 micrograms
to 90 micrograms of treprostinil, and we do not discuss these calculations
any further. The preponderance of the evidence, however, supports
Petitioner’s argument that its second calculation demonstrates that the prior
art taught or suggested a therapeutically effective single event dose
comprising from 15 micrograms to 90 micrograms of treprostinil.
      Voswinckel JESC teaches that “patients inhaled solvent solution
(placebo) (n=8) or treprostinil for 6 min (OptiNeb ultrasound nebulizer,
Nebu-tec, Germany) in concentrations of 16, 32, 48, and 64 μg/ml (n=6, 6,
6, and 3 patients).” Ex. 1007, 7. Although this teaching shows
administration to patients of inhaled solutions with particular concentrations
of treprostinil, it does not disclose the amount of solution administered,
which is necessary in order to calculate the amount of treprostinil
administered. Id. Petitioner directs us to the testimony of its declarants,
Dr. Nicholas Hill and Dr. Igor Gonda, to understand how a person of
ordinary skill in the art would have interpreted Voswinckel JESC’s
disclosure. Pet. 23 (citing Ex. 1002 ¶ 65; Ex. 1004 ¶ 56). Dr. Gonda
testifies that “in May 2006 . . . nebulizers conventionally deliver[ed]
between 1 and 5 mL” of solution. Ex. 1004 ¶ 56. Relying on Dr. Gonda’s
testimony as well as his own experience, Dr. Hill testifies that a person of
ordinary skill in the art in 2006 would have understood that “nebulizers . . .
nebulize (i.e. aerosolize liquid) at least” 1 mL of solution. Ex. 1002 ¶ 65.


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Multiplying Voswinckel JESC’s 16, 32, 48, or 64 micrograms of treprostinil
per milliliter of solution by the 1 to 5 milliliters of solution in the testimony
of Drs. Hill and Gonda, a person of ordinary skill in the art would have
interpreted Voswinckel JESC as teaching the delivery of 16–80, 32–160,
48–240, or 64–320 micrograms of treprostinil. Each of those four dose
ranges has at least one endpoint that falls within the 15–90 microgram
claimed range.
      Patent Owner argues that this evidence is insufficient to show that the
combination of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA
teaches or suggests a therapeutically effective single event dose comprising
from 15 micrograms to 90 micrograms of treprostinil. Specifically, Patent
Owner argues that the volume of solution that Drs. Hill and Gonda testify
was typically used in nebulizers is “the fill volume,” or the amount of
solution loaded into a nebulizer to be nebulized, which cannot be used with
the concentrations in Voswinckel JESC to arrive at the amount of treprostinil
actually delivered to a patient. PO Resp. 30–31. This is because “there is no
guarantee that the entire fill volume would be completely nebulized in” the
time period over which Voswinckel JESC teaches delivering its dose of
treprostinil. Id. at 30. In addition, Patent Owner argues that there were
other factors that might have caused less than all the solution nebulized by a
nebulizer to be actually delivered to the patient, none of which Petitioner
accounts for. Id. at 31–32.
      Petitioner “presented evidence that nebulizers at the time typically
involved fill volumes of 1-5mL.” Reply 10–11. To the extent that
something less than the entire fill volume was delivered to the patient, either
because it was not nebulized or because other factors resulted in the


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nebulized solution not reaching the mouthpiece, the preponderance of the
evidence still supports the actual delivered solution volume being at least
one milliliter. Dr. Hill testifies that the “at least 1 mL” of solution he
discusses is the volume that “nebulizers at the time were known to
nebulize,” not the amount of liquid loaded into the nebulizer. Ex. 1002 ¶ 65.
Patent Owner’s declarant, Dr. Aaron Waxman, testifies that standard
nebulizers had fill volumes of “3 to 5 [milliliters]” and that he had never
administered a dose as low as one milliliter to a patient. Ex. 1108,
153:1–22; 156:12–16.
      Thus, Voswinckel JESC teaches delivering solution with a treprostinil
concentration of 16, 32, 48, or 64 micrograms per milliliter, and the
preponderance of the evidence supports a finding that a person of ordinary
skill in the art would have understood the volume of solution delivered in
Voswinckel JESC to be at least one milliliter. Accordingly, Petitioner has
shown by a preponderance of the evidence that Voswinckel JESC teaches or
suggests a therapeutically effective single event dose comprising from 15
micrograms to 90 micrograms of treprostinil.

                           (4) “Delivered in 1 to 3 breaths”
      Claim 1 recites “delivered in 1 to 3 breaths.” Ex. 1001, 18:31.
Petitioner argues that Voswinckel JAHA teaches or suggests this limitation.
Pet. 40–41. Patent Owner does not dispute this teaching of Voswinckel
JAHA. PO Resp. 10–40.
      Voswinckel JAHA teaches delivering to patients “a TRE inhalation by
use of the pulsed OptiNeb® ultrasound nebulizer (3 single breaths, TRE
solution 600 μg/ml).” Ex. 1008, 3. It also reports that “[t]olerability is
excellent even at high drug concentrations and short inhalation times (3


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breaths).” Id. Accordingly, Petitioner has shown by a preponderance of the
evidence that Voswinckel JAHA teaches or suggests this limitation of
claim 1.

                    b. Reason to Combine with a Reasonable Expectation
                       of Success
      As discussed above, Petitioner has shown sufficiently on the present
record that the combination of the ’212 patent, Voswinckel JESC, and
Voswinckel JAHA teaches or suggests every limitation of claim 1. This
alone is not sufficient to show that the challenged claims would have been
obvious; Petitioner also must show that a person of ordinary skill would
have had a reason to combine the teachings of the references and would have
had a reasonable expectation of success in doing so.
      Petitioner argues that a person of ordinary skill in the art would have
had a reason to combine the teachings of the ’212 patent, Voswinckel JESC,
and Voswinckel JAHA. Pet. 30–34. Patent Owner argues that a person of
ordinary skill in the art would have had “serious concerns about side effects”
that would have persuaded them not to combine the teachings of the ’212
patent, Voswinckel JESC, and Voswinckel JAHA. PO Resp. 37–38.
      The ’212 patent teaches the use of inhaled treprostinil sodium for the
treatment of pulmonary hypertension at doses between 10 and 50 percent of
the doses needed for intravascular delivery. Ex. 1006, code (57), 6:1–2,
8:8–12. According to the ’212 patent, the inhaled treprostinil sodium is used
in sheep, which are a model for pulmonary hypertension in humans. Id.
at 9:14–27. Dr. Hill testifies that, based on these teachings, a person of
ordinary skill in the art would have looked for further information regarding
“experimentation [with] inhaled treprostinil in humans.” Ex. 1002 ¶ 78. On


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the present record, such information can be found in Voswinckel JESC,
which reports on a study in which humans with pulmonary hypertension
inhaled treprostinil and experienced “significant long-lasting pulmonary
vasodilatation . . . without adverse effects.” Ex. 1007, 7.
      Dr. Hill testifies that, based on the teachings of these references a
person of ordinary skill would reasonably have expected that treprostinil
could safely and effectively treat pulmonary hypertension in humans.
Ex. 1002 ¶ 79. Dr. Hill also testifies that a person of ordinary skill in the art
“would have been motivated to further decrease the 6 minute administration
time in Voswinckel JESC.” Ex. 1002 ¶ 80. Specifically, Dr. Hill testifies
that patients often did not adhere to “inhalation therapy for respiratory
diseases,” that “[p]oor adherence to medication was known to correlate with
worse outcomes,” and that “reducing administration time or the number of
breaths required for therapy [was known to] improve adherence rates.” Id.
(citing Ex. 1002 ¶¶ 36–37; Ex. 1030, 63; Ex. 1032, 179–80; Ex. 1077, 4).
Voswinckel JAHA teaches administering treprostinil in three breaths using a
high concentration of treprostinil in the aerosolized solution. Ex. 1008, 3.
Accordingly, Dr. Hill testifies that a person of ordinary skill in the art would
have looked to Voswinckel JAHA to improve patient adherence to the
treatment suggested by the combination of the ’212 patent and Voswinckel
JESC, providing a reason to combine its teachings with those of the other
two references. Ex. 1002 ¶¶ 80–82.
      Against this evidence, Patent Owner directs us to the report in
Voswinckel JESC that “there were no significant adverse effects” at the
lowest treprostinil concentration but that “mild and transient” “[h]eadache,
cough or bronchoconstriction were observed” in some patients at higher


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doses, and that one patient at Voswinckel JESC’s highest treprostinil dose
“complained of major headache for 1 hour.” Ex. 1007, 7; see
PO Resp. 37–38. As Patent Owner puts it, “Voswinckel JESC warns in its
Conclusion that ‘at a concentration of 16 μg/ml, near maximal pulmonary
vasodilation is achieved without adverse effects’ but ‘[a]t higher doses, local
and systemic side effects may occur.’” PO Resp. 37–38 (quoting Ex. 1007,
7). Because Petitioner’s proffered reason to combine the teachings of the
’212 patent, Voswinckel JESC, and Voswinckel JAHA requires an increase
in treprostinil concentration in order to administer the full dose in three
breaths, Patent Owner argues that Voswinckel JESC’s warning about side
effects at higher doses would have persuaded a person of ordinary skill in
the art not to pursue such a course. Id.
      The preponderance of the evidence supports Petitioner’s position.
Patent Owner is correct that Voswinckel JESC notes that side effects could
occur more frequently at higher doses than at lower doses. Ex. 1007, 7. But
there is considerable evidence of record that a person of ordinary skill in the
art would not have avoided increasing Voswinckel JESC’s dose due to the
side effects reported in Voswinckel JESC. First, Dr. Hill testifies that
“[p]otential side effects are always weighed against potential clinical benefit,
and pulmonary arterial hypertension is a serious, life-threatening disease
where physicians and patients are more willing to tolerate side effects . . . to
obtain clinical benefit.” Ex. 1106 ¶ 74. Second, Dr. Waxman testifies that
“[u]sually the headache goes away” and “there are things that can be done to
help ameliorate the cough so in general we are able to get over that issue.”
Ex. 1108, 101:19–102:10. Together with Voswinckel JESC’s description of
potential side effects as “mild and transient,” this evidence supports a


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finding that a person of ordinary skill in the art would not have been deterred
from pursuing the course that is supported by the evidence to which
Petitioner directs us.
      With respect to reasonable expectation of success, Petitioner argues
that a person of ordinary skill in the art would have had a reasonable
expectation of success in combining the teachings of the ’212 patent,
Voswinckel JESC, and Voswinckel JAHA because Voswinckel JAHA
teaches that “[t]olerability is excellent” for its short-duration,
high-concentration treprostinil inhalation therapy. Pet. 33 (citing Ex. 1008,
3). Other than the argument discussed above about side effects reported in
Voswinckel JESC, Patent Owner does not raise any timely counter to this
argument. 8 PO Resp. 10–40. The record supports Petitioner’s argument.
Ex. 1008, 3.
      Accordingly, Petitioner has shown by a preponderance of the evidence
that a person of ordinary skill in the art would have had a reason to combine
the teachings of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA
and that they reasonably would have expected to succeed in doing so.


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  In the Sur-Reply, Patent Owner raises for the first time three arguments
against a reasonable expectation of success. Sur-Reply 21–22 (arguing that
a person of ordinary skill in the art would not expect success in delivering
Voswinckel JESC’s dose over Voswinckel JAHA’s three breaths because (1)
it would require “increas[ing] the number [of] doses per day,” (2)
Voswinckel JAHA “lacked any placebo arm,” and (3) Voswinckel JESC and
Voswinckel JAHA used patients with differing pulmonary vascular
resistances). “A sur-reply may only respond to arguments raised in the
corresponding reply.” 37 C.F.R. § 42.23(b). Petitioner’s Reply did not raise
any argument regarding a reasonable expectation of success. Reply 1–27.
Therefore, we do not consider these newly raised arguments as they exceed
the proper scope of the Sur-Reply.

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                   c. Objective Indicia of Nonobviousness
      Patent Owner directs us to evidence of three objective indicia that
Patent Owner argues show the nonobviousness of the challenged claims. PO
Resp. 55–62. Petitioner argues that the claims would have been obvious
despite the evidence to which Patent Owner directs us. Reply 23–27.

                          (1) Unexpected Results
      First, Patent Owner directs us to evidence that allegedly demonstrates
that the challenged claims would have been nonobvious because they
“unexpectedly achieved a therapeutically effective dose that was well
tolerated” despite the fact that such “high doses of treprostinil were known
in the art to produce dose-limiting side effects.” PO Resp. 55. According to
Patent Owner, the challenged claims “produce[d] a new and unexpected
result which is different in kind and not merely in degree from the results of
the prior art,” which is evidence of those claims’ nonobviousness. Id. at 55–
57 (quoting In re Aller, 220 F.2d 454, 456 (CCPA 1955)). Specifically,
Patent Owner argues that the inhaled treprostinil dose recited in the
challenged claims represented an increase of “an order of magnitude” over
“the maximal tolerated dose” of “intravenous epoprostenol” or “intravenous
treprostinil.” Id. at 56. Similarly, Patent Owner argues that the challenged
claims cover doses of inhaled treprostinil higher than a dose of inhaled
iloprost that many patients were unable to tolerate. Id. at 56–57.
      “[U]nexpected results must establish . . . a difference between the
results obtained and those of the closest prior art.” Bristol-Myers Squibb v.
Teva Pharms. USA, 752 F.3d 967, 977 (Fed. Cir. 2014). Petitioner argues
that the prior art over which Patent Owner argues the challenged claims
showed unexpected results is not the closest prior art. Reply 24. We agree.


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As noted above, Patent Owner argues that the challenged claims show
unexpected results over inhaled iloprost, intravenous epoprostenol, and
intravenous treprostinil. PO Resp. 55–57. But the challenged claims recite
inhaled treprostinil, and, as discussed above, inhaled treprostinil is taught by
each of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA.
Ex. 1001, 18:22–44; Ex. 1006, code (57); Ex. 1007, 7; Ex. 1008, 3;
Ex. 1035, 582. Patent Owner does not even allege that the results of the
challenged claims are unexpected over these references. 9 Accordingly, we
find that the evidence of record does not establish that the challenged claims
produced a result that was unexpected over the closest prior art.

                          (2) Copying
      Second, Patent Owner directs us to evidence that allegedly
demonstrates that the challenged claims would have been nonobvious
because Petitioner copied Patent Owner’s product, Tyvaso, which is an
embodiment of the challenged claims, when Petitioner developed its
product, LIQ861. PO Resp. 57–61.
      “[F]or objective indicia of nonobviousness to be accorded substantial
weight, its proponent must establish a nexus between the evidence and the
merits of the claimed invention.” Lectrosonics, Inc. v. Zaxcom, Inc.,
IPR2018-01129, Paper 33, 32 (PTAB Jan. 24, 2020) (precedential) (citing
ClassCo, Inc. v. Apple, Inc., 838 F.3d 1214, 1220 (Fed. Cir. 2016)). A
patentee is entitled to a presumption of nexus “when the patentee shows that


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 Patent Owner argues that Voswinckel JESC and Voswinckel JAHA are not
prior art to the ’793 patent. PO Response 44–55; Sur-Reply 2–11, 25. As
discussed above, however, Petitioner has shown by a preponderance of the
evidence that these references qualify as prior art.

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the asserted objective evidence is tied to a specific product and that product
‘embodies the claimed features, and is coextensive with them.’” Fox
Factory, Inc. v. SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019) (quoting
Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056, 1072 (Fed. Cir. 2018)
(quoting Brown & Williamson Tobacco Corp. v. Philip Morris Inc., 229
F.3d 1120, 1130 (Fed. Cir. 2000))).
      Here, Patent Owner does not allege, let alone “show[]” as required by
Fox Factory, that Petitioner’s LIQ861 product “is coextensive with” the
features claimed in the ’793 patent. 944 F.3d at 1373; see PO Resp. 57–61;
Sur-Reply 26. Patent Owner does allege that the LIQ861 product embodies
the challenged claims, PO Resp. 58–61, and we presume for purposes of our
analysis that Patent Owner’s allegation on this issue is correct. But Fox
Factory requires both a showing that the product in question embodies the
claims and a showing that the product in question is coextensive with the
claims, and Patent Owner satisfies at most one of those two requirements.
Accordingly, we find that a presumption of nexus is inappropriate.
      “A finding that a presumption of nexus is inappropriate does not end
the inquiry into secondary considerations.” Fox Factory, 944 F.3d at 1373.
“To the contrary, the patent owner is still afforded an opportunity to prove
nexus by showing that the evidence of secondary considerations is the
‘direct result of the unique characteristics of the claimed invention.’” Id.
at 1373–74 (quoting In re Huang, 100 F.3d 135, 140 (Fed. Cir. 1996)).
“Where the offered secondary consideration actually results from something
other than what is both claimed and novel in the claim, there is no nexus to
the merits of the claimed invention,” meaning that “there must be a nexus to




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some aspect of the claim not already in the prior art.” In re Kao, 639 F.3d
1057, 1068–69 (Fed. Cir. 2011) (emphasis in original).
      On the other hand, there is no requirement that “objective evidence
must be tied exclusively to claim elements that are not disclosed in a
particular prior art reference in order for that evidence to carry substantial
weight.” WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1331 (Fed. Cir. 2016).
A patent owner may show, for example, “that it is the claimed combination
as a whole that serves as a nexus for the objective evidence; proof of nexus
is not limited to only when objective evidence is tied to the supposedly
‘new’ feature(s).” Id. Ultimately, the fact finder must weigh the secondary
considerations evidence presented in the context of whether the claimed
invention as a whole would have been obvious to a skilled artisan. Id.
at 1331–32.
      Here, Patent Owner directs us to several pieces of evidence that it
contends show the LIQ861 product has a nexus to the challenged claims.
First, as noted above, Patent Owner argues that LIQ861 embodies those
claims. PO Resp. 58–61. Second, Patent Owner notes that “[t]he
pharmacokinetics and bioavailability of a 79.5 microgram capsule dose [of
LIQ861] was directly compared [by Petitioner] with Patent Owner’s
commercial product,” demonstrating that “Petitioner’s commercial product
had comparable treprostinil bioavailability with Tyvaso® when delivered in
a similar dosage range.” Id. at 57–58 (citing Ex. 2085). Third, Patent
Owner directs us to the new drug application Petitioner filed with the FDA,
“relying in part on FDA’s previous findings of efficacy and safety of
Tyvaso® for the treatment of PAH.” Id. at 58 (citing Ex. 2089, 3).




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      Taking these pieces of evidence in reverse order, we note first that the
new drug application for LIQ861 was filed “under the 505(b)(2) regulatory
pathway.” Id.; see also Reply 25; Ex. 2089, 3. As Petitioner notes,
Reply 25, and as Patent Owner does not dispute, Sur-Reply 26, applications
for drugs under this pathway do not necessarily copy all aspects of the
original drug, but they may rely on the investigations that showed the safety
and efficacy of the original drug that uses the same active ingredient.
21 U.S.C. § 355(b)(2). In this respect, they differ from applications under
the § 505(j) regulatory pathway, under which the new drug must generally
have the same “active ingredient,” “route of administration,” “dosage form,”
“strength,” and “labeling” as the original drug. 21 U.S.C. § 355(j)(2).
Because the challenged claims here recite limitations requiring
administration by inhalation of a particular amount of treprostinil in a
particular number of breaths (and in some cases using a particular type of
device and with the drug in a particular form), evidence that Petitioner
merely relied on previous studies of the safety and efficacy of the recited
active ingredient is not particularly strong evidence of copying.
      Next, we consider the evidence that Petitioner compared the
pharmacokinetics and bioavailability of its LIQ861 product with those of
Patent Owner’s Tyvaso product. Ex. 2085. Patent Owner argues that this
evidence shows that “Petitioner’s commercial product had comparable
treprostinil bioavailability with Tyvaso® when delivered in a similar dosage
range.” PO Resp. 57–58. Regardless of whether an objective indicium of
nonobviousness has its nexus to a single “aspect of the claim not already in
the prior art,” Kao, 639 F.3d at 1068–69, or to “the claimed combination as a
whole,” WBIP, 829 F.3d at 1331, it still must have some nexus to the claim


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in question. The challenged claims, however, do not recite any limitations
for treprostinil bioavailability or pharmacokinetics. Ex. 1001, 18:22–44.
Accordingly, evidence that Petitioner formulated its product to have similar
bioavailability and pharmacokinetics to Patent Owner’s product is, at most,
very weak evidence of copying as to the claims at issue here.
      Finally, we consider the evidence that LIQ861 embodies the
challenged claims. PO Resp. 58–61. “Not every competing product that
arguably falls within the scope of a patent is evidence of copying; otherwise,
‘every infringement suit would automatically confirm the nonobviousness of
the patent.’” Wyers v. Master Lock Co., 616 F.3d 1231, 1246 (quoting Iron
Grip Barbell Co., Inc. v. USA Sports, Inc., 392 F.3d 1317, 1325 (Fed. Cir.
2004)). Proof of copying requires “actual evidence of copying efforts as
opposed to mere allegations regarding similarities between the accused
product and a patent.” Liqwd, Inc. v. L’Oreal USA, Inc., 941 F.3d 1133,
1137–38 (Fed. Cir. 2019). Thus, evidence that LIQ861 embodies the
challenged claims is not evidence that could, without more, support a finding
that Petitioner copied Patent Owner’s patented method. As discussed above,
to the extent there is any evidence of what Liqwd refers to as “copying
efforts” beyond mere similarity between LIQ861 and the challenged claims,
that evidence shows that Petitioner copied only features that appear in the
prior art, are not recited in the challenged claims, or both. Accordingly, we
do not find that Patent Owner has shown that Petitioner copied the method
of the challenged claims.

                            (3) Long-Felt and Unmet Need
      Patent Owner directs us to evidence that allegedly demonstrates that
the challenged claims would have been nonobvious because “[t]he claimed


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invention of the ’793 patent satisfies a long-felt unmet need in the treatment
of pulmonary hypertension.” PO Resp. 61–62; see Sur-Reply 26. Patent
Owner relies on three separate theories to demonstrate this long-felt need.
First, in the Response, Patent Owner argues that the approval of inhaled
treprostinil as the first treatment for “pulmonary hypertension associated
with interstitial lung disease” satisfied “a completely unmet medical need.”
PO Resp. 61–62 (quoting Ex. 2056, 105:6–8). Second, also in the Response,
Patent Owner argues that Petitioner admitted that its LIQ861 product
“fulfill[ed] a significant unmet need for PAH patients by maximizing the
therapeutic benefits of treprostinil by safely delivering doses to the lungs in
1 to 2 breaths using a discreet, convenient, easy-to-use inhaler.” Id. at 62
(quoting Ex. 2085). Third, in the Sur-Reply, Patent Owner argues that its
Tyvaso product satisfied a need for an “inhaled treatment for pulmonary
hypertension” that avoided the “inconvenient dosing and side effects of
Ventavis,” the only previously approved treatment. Sur-Reply 26 (citing
Ex. 1002 ¶ 42; Ex. 1108, 44:19–21, 49:17–50:10; Ex. 2055, 28:22–29:20).
Each of these arguments fails for a different reason.
      We begin with Patent Owner’s third argument, that Tyvaso satisfied a
need for an inhaled treatment that avoided the dosing problems and side
effects of Ventavis. Patent Owner offers this argument for the first time in
the Sur-Reply. Id. “A sur-reply may only respond to arguments raised in
the corresponding reply.” 37 C.F.R. § 42.23(b). “‘Respond,’ in the context
of 37 C.F.R. § 42.23(b), does not mean proceed in a new direction with a
new approach as compared to the positions taken in a prior filing.” Patent
Trial and Appeal Board Consolidated Trial Practice Guide 74 (Nov. 2019),
available at https://www.uspto.gov/sites/default/files/documents/tpgnov.pdf.


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As discussed in more detail below, in its prior filings, Patent Owner’s only
positions with respect to long-felt need were (1) that the patented method
satisfied a need for a treatment for pulmonary hypertension associated with
interstitial lung disease and (2) that Petitioner admitted that its product
satisfied a need. PO Resp. 61–62. Neither of those positions related to a
need for a treatment that avoided the problems associated with Ventavis. Id.
Accordingly, Patent Owner’s argument in the Sur-Reply is a new argument
that we do not consider further.
      Next, we consider Patent Owner’s argument that the method of the
’793 patent provided the first treatment for pulmonary hypertension
associated with interstitial lung disease. Id. Even if this is true, it is
extremely weak evidence of the nonobviousness of the claims at issue
because those claims do not cover treatment of pulmonary hypertension
associated with interstitial lung disease. There are multiple groups of
pulmonary hypertension conditions. Ex. 1088, 1. In addition to other
groups not relevant here, these groups include “WHO Group 1,” or
“[p]ulmonary arterial hypertension,” and “WHO Group 3,” or “[p]ulmonary
hypertension associated with interstitial lung disease.” Id. Patent Owner’s
declarant, Dr. Waxman, testifies that all pulmonary hypertension groups
other than Group 1 fall outside the scope of the claims of the ’793 patent.
Ex. 1132, 116:9–119:12. Dr. Hill agrees. Ex. 1106 ¶ 100. Thus, to the
extent the challenged claims satisfied a long-felt and unmet need for a
treatment for pulmonary hypertension associated with interstitial lung
disease, Patent Owner has not shown that that need is tied to any limitation
of the challenged claims or to any challenged claim as a whole.




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      Finally, we consider Patent Owner’s argument that Petitioner admitted
that its LIQ861 product “fulfill[ed] a significant unmet need for PAH
patients by maximizing the therapeutic benefits of treprostinil by safely
delivering doses to the lungs in 1 to 2 breaths using a discreet, convenient,
easy-to-use inhaler.” PO Resp. 62 (quoting Ex. 2085). “Evidence of a long-
felt but unresolved need can weigh in favor of the non-obviousness of an
invention because it is reasonable to infer that the need would not have
persisted had the solution been obvious.” Apple Inc. v. Samsung Elecs. Co.,
839 F.3d 1034, 1056 (Fed. Cir. 2016). Patent Owner directs us to two pieces
of evidence. First, Patent Owner directs us to Exhibit 2085, which states
that LIQ861 “fulfill[ed] a significant unmet need for PAH patients by
maximizing the therapeutic benefits of treprostinil by safely delivering doses
to the lungs in 1 to 2 breaths using a discreet, convenient, easy-to-use
inhaler.” Ex. 2085, 1. This demonstrates that Petitioner believed its product
satisfied a particular “significant unmet need,” but it does not demonstrate
how long that need persisted. Id. Second, Patent Owner directs us to page
F-7 of Exhibit 2089, but this page does not address the filling of any need by
LIQ861. Ex. 2089, F-7. Thus, Patent Owner does not show that any
previously unmet need satisfied by LIQ861 was a need that had persisted, as
required by Apple v. Samsung. Accordingly, we do not find that Patent
Owner has shown that the patented method satisfied any previously unmet
and long-felt need.

                      d. Dependent Claims
      Claims 2–8 of the ’793 patent depend directly or indirectly from
claim 1. Ex. 1001, 18:32–45. Petitioner argues that the combination of the
’212 patent, Voswinckel JESC, and Voswinckel JAHA teaches or suggests


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the additional limitations of these claims. Pet. 41–46. Patent Owner does
not dispute these arguments, except with respect to claims 4, 6, and 7. PO
Resp. 38–40.
      We have reviewed the evidence cited by Petitioner with respect to
dependent claims 2, 3, 5, and 8, and we are persuaded that Petitioner has
shown by a preponderance of the evidence that the combination of the ’212
patent, Voswinckel JESC, and Voswinckel JAHA teaches or suggests the
subject matter of these claims. For example, claim 2 depends from claim 1
and recites a further limitation that requires that “the inhalation device [be] a
soft mist inhaler,” and Petitioner directs us to evidence that soft mist inhalers
were known in the prior art, as well as evidence that soft mist inhalers were
known to be suitable for inhaled delivery of drugs in a small number of
breaths. Ex. 1001, 7:33–39, 18:32–33; Ex. 1002 ¶¶ 106–110; Ex. 1004
¶¶ 66–71; Ex. 1006, 5:30–32; Ex. 1034, 175.
      The parties dispute the obviousness of claims 4, 6, and 7. Claim 4
depends from claim 1 and recites a limitation requiring that “the inhalation
device [be] a dry powder inhaler.” Ex. 1001, 18:36–37. Claim 6 depends
from claim 4 and adds a limitation requiring that “the formulation [be] a
powder.” Id. at 18:40–41. Claim 7 depends from claim 6 and adds a
limitation requiring that “the powder comprise[] particles less than 5
micrometers in diameter.” Id. at 18:42–43. Petitioner argues that each of
these limitations is taught or suggested by the ’212 patent. Pet. 43–45
(citing Ex. 1006, 5:30–32, 5:37–41, 14:19–21; Ex. 1002 ¶¶ 116–117; Ex.
1004 ¶¶ 77–80; Ex. 1038, 311). Patent Owner argues that Petitioner’s
obviousness argument with respect to these claims is inconsistent with
Petitioner’s argument in the parallel District Court proceeding that these


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claims are not enabled. PO Resp. 38–40. Specifically, Patent Owner argues
that Dr. Gonda’s testimony here that a person of ordinary skill in the art
“would have had a reasonable expectation of success that the ‘powder’
disclosed and claimed in the ’212 Patent could be ‘inhaled’ by a patient
using a dry powder inhaler” contradicts Dr. Gonda’s testimony in District
Court that a person of ordinary skill in the art “would be unable to formulate
a treprostinil powder suitable for administration via a dry powder inhaler for
[pulmonary hypertension] patients without excessive experimentation.”
PO Resp. 38–39 (quoting Ex. 1004 ¶ 80; Ex. 2091, 40–61). Because
Dr. Gonda’s District Court testimony is more “lengthy” than his testimony
here, Patent Owner argues that the District Court testimony is more reliable
and that, accordingly, we should not rely on Dr. Gonda’s testimony here. Id.
at 40.
         Dr. Gonda’s testimony here provides support for Petitioner’s
argument that a person of ordinary skill in the art would have had a
reasonable expectation of success in combining the teachings of the ’212
patent, Voswinckel JESC, and Voswinckel JAHA in order to arrive at the
invention of claims 4, 6, and 7. Ex. 1004 ¶ 80. Reasonable expectation of
success is a separate inquiry from enablement. UCB, Inc. v. Accord
Healthcare, Inc., 890 F.3d 1313, 1327 (Fed. Cir. 2018) (finding no
“authority for the proposition that the presumption of” enablement of prior
art “precludes . . . finding that there was no reasonable expectation of
success”). Accordingly, the mere fact that Dr. Gonda testifies to a lack of
enablement in one forum and to the presence of a reasonable expectation of
success in a second forum does not render unreliable the testimony in either
forum. Therefore, we credit the unrebutted testimony of Dr. Gonda that a


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person of ordinary skill in the art “would have had a reasonable expectation
of success that the ‘powder’ disclosed and claimed in the ’212 Patent could
be ‘inhaled’ by a patient using a dry powder inhaler.” Ex. 1004 ¶ 80. In
addition, Dr. Gonda’s testimony in this proceeding is supported by a citation
to Ex. 1038, an October 2005 article that states that dry powder inhalers “are
a widely accepted inhaled delivery dosage form,” as well as to Ex. 1019, an
article stating that 14 separate dry powder inhalers were approved in the
United States by 2006. Ex. 1019, 33; Ex. 1038, 1311. This evidence
provides us with an additional reason to credit Dr. Gonda’s testimony as to
reasonable expectation of success.
      Moreover, even if there were some connection between enablement
and reasonable expectation of success, Patent Owner concedes that the ’212
patent enables its own claims. Tr. 43:6–50:9. In other words, the ’212
patent provides enough information for a person of ordinary skill in the art to
have made and used the invention defined by the claims of the ’212 patent.
See 35 U.S.C. § 112. That invention includes “[a] method for treating
pulmonary hypertension in a mammal comprising delivering to said
mammal an effective amount of [treprostinil] or its pharmaceutically
acceptable salt or ester by inhalation,” wherein the treprostinil “is inhaled in
powder form comprising particles less than 10 micrometers in diameter.”
Ex. 1006, 14:9–12, 14:19–21. To the extent that, despite UCB, 890 F.3d
at 1327, there remains any connection at all between a reasonable
expectation of success and enablement, the fact that a person of ordinary
skill in the art was enabled to make and use this invention presumably would
have rendered that person more likely to expect success in achieving the
similar invention of claims 4, 6, and 7 of the ’793 patent.


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      Further, as discussed above with respect to the reason to combine the
teachings of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA,
Petitioner directs us to other evidence that a person of ordinary skill in the
art would have had a reasonable expectation of success.
      For all these reasons, we determine that Petitioner has shown by a
preponderance of the evidence that a person of ordinary skill in the art would
have had a reason to combine the teachings of the ’212 patent, Voswinckel
JESC, and Voswinckel JAHA and would have had a reasonable expectation
of success in doing so in order to arrive at the invention of the challenged
claims, including claims 4, 6, and 7.
      Thus, we move on to whether the prior art teaches or suggests the
additional limitations of claims 4, 6, and 7. Petitioner argues that the ’212
patent teaches or suggests each of these limitations, and Patent Owner does
not dispute that argument. Pet. 43–45; PO Resp. 38–40. Claim 4 recites a
limitation requiring that “the inhalation device [be] a dry powder inhaler.”
Ex. 1001, 18:36–37. The ’212 patent teaches using an “inhaler” to deliver
treprostinil, that “solid formulations, usually in the form of a powder, may
be inhaled in accordance with the present invention,” and that treprostinil “is
inhaled in powder form.” Ex. 1006, 5:30–32, 5:37–39, 14:19–21. Dr. Hill
testifies that a person of ordinary skill in the art would have known that the
“inhaler” used to deliver the “powder” of the ’212 patent was a dry powder
inhaler. Ex. 1002 ¶ 116. Claim 6 depends from claim 4 and adds a
limitation requiring that “the formulation [be] a powder.” Ex. 1001, 18:40–
41. The ’212 patent teaches that “solid formulations, usually in the form of
a powder, may be inhaled in accordance with the present invention,” as well
as that treprostinil “is inhaled in powder form.” Ex. 1006, 5:37–39, 14:19–


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21. Claim 7 depends from claim 6 and adds a limitation requiring that “the
powder comprise[] particles less than 5 micrometers in diameter.” Ex. 1001,
18:42–43. The ’212 patent teaches that “the particles are preferably less
than 10 micrometers in diameter, and more preferably, less than 5
micrometers in diameter.” Ex. 1006, 5:39–41. Accordingly, Petitioner has
shown by a preponderance of the evidence that the ’212 patent teaches or
suggests the additional limitations of claims 4, 6, and 7 of the ’793 patent.

                    e. Conclusion
      As discussed above, Petitioner has shown by a preponderance of the
evidence that the combination of the ’212 patent, Voswinckel JESC, and
Voswinckel JAHA teaches or suggests the subject matter of claims 1–8.
Petitioner also has shown by a preponderance of the evidence that a person
of ordinary skill in the art would have had a reason to combine the teachings
of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA and would
have had a reasonable expectation of success in doing so to arrive at the
invention of the challenged claims. In addition, the preponderance of the
evidence shows that there is at most very weak evidence of objective indicia
of nonobviousness, including unexpected results, copying, and long-felt but
unmet need. Weighing together the evidence of the prior art teaching or
suggesting the subject matter of the claims, of a reason to combine the
teachings of the prior art with a reasonable expectation of success, and of
objective indicia of nonobviousness, we conclude that Petitioner has
demonstrated that claims 1–8 of the ’793 patent would have been obvious
over the combination of the ’212 patent, Voswinckel JESC, and Voswinckel
JAHA and, accordingly, that those claims are unpatentable.




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      C. Asserted Obviousness over ’212 Patent and Voswinckel JESC
      Petitioner argues that claims 1–8 would have been obvious over the
combination of the ’212 patent and Voswinckel JESC. Pet. 46–50. Because
Petitioner has shown by a preponderance of the evidence that all of the
challenged claims would have been obvious over the similar combination of
the ’212 patent, Voswinckel JESC, and Voswinckel JAHA, we need not
reach this asserted ground.

      D. Grounds Relying on Ghofrani or Voswinckel 2006
      Petitioner argues that claim 1 was anticipated by Ghofrani; that
claims 1, 3, and 8 would have been obvious over the combination of
Voswinckel JAHA and Ghofrani; that claims 1 and 3 were anticipated by
Voswinckel 2006; and that claims 2 and 4–8 would have been obvious over
the combination of Voswinckel 2006 and the ’212 patent. Pet. 50–64.
Patent Owner argues that each of these grounds fails because Petitioner fails
to show sufficiently that Ghofrani and Voswinckel 2006 qualify as prior art.
PO Resp. 44–54. Petitioner disagrees, arguing that these references qualify
as prior art under 35 U.S.C. § 102(a). Pet. 25–30.
      In the institution decision, we determined that, on the preliminary
record available at the time, Petitioner had not shown that either Ghofrani or
Voswinckel 2006 qualified as prior art. Inst. Dec. 37–43. Since that
decision, Petitioner has neither supplemented the record nor made any
additional arguments on this issue. Reply 1–27. During the hearing,
Petitioner did not agree that it had abandoned its argument on the grounds
asserting Ghofrani or Voswinckel 2006. Tr. 35:13–36:10. Nevertheless, in
the absence of any new evidence or argument, we have been directed to
nothing that persuades us to reach any decision other than we reached


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initially. Accordingly, our analysis below mirrors the analysis we conducted
in the institution decision.

           1.    Prior-Art Status of Ghofrani
      Ghofrani is an article published in the German journal Herz in
June 2005, less than one year before the priority date of the ’793 patent.
Pet. 25; Ex. 1010, 9; Ex. 1036 ¶¶ 47–55. Petitioner argues that Ghofrani is
prior art to the ’793 patent under 35 U.S.C. § 102(a). Pet. 25–27. Patent
Owner disagrees, arguing that Petitioner has not shown sufficiently that
Ghofrani is “by others” under § 102(a). PO Resp. 44–51.
      As both parties acknowledge, establishing prior-art status under
§ 102(a) requires showing that the reference is “by others,” meaning that it
was authored by an entity different from the entity that invented the
challenged patent. Pet. 26–27; PO Resp. 44–46; see Lacks Industries, Inc. v.
McKechnie Vehicle Components USA, Inc., 322 F.3d 1335, 1346 (Fed. Cir.
2003) (“it is well-settled law that an inventor’s own disclosure will not
anticipate his later invention” unless published more than one year prior to
the priority date (internal quotation marks omitted)).
      The authors of Ghofrani are “Hossein Ardeschir Ghofrani, Robert
Voswinckel, Frank Reichenberger, Friedrich Grimminger, [and] Werner
Seeger.” Ex. 1010, 9. The inventors of the ’793 patent are Horst
Olschewski, Robert Roscigno, Lewis J. Rubin, Thomas Schmehl, Werner
Seeger, Carl Sterritt, and Robert Voswinckel. Ex. 1001, code (72). Thus,
there are, as Petitioner argues, “inventors listed on the ’793 Patent that are
not listed as authors on Ghofrani, and vice versa.” Pet. 26. Specifically,
Ghofrani, Reichenberger, and Grimminger authored the Ghofrani reference
but were not inventors of the ’793 patent; and Olschewski, Roscigno, Rubin,


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Schmehl, and Sterritt were inventors of the ’793 patent but not authors of the
Ghofrani reference.
      Petitioner argues that these differences alone are sufficient to show
that Ghofrani is “by others.” Id. at 26–27. We agree that it is possible,
depending on the state of the rest of the evidence of record, for any
difference between the authors of an alleged prior-art reference and the
inventors of a challenged patent to render the reference “by others” for
purposes of § 102(a). See, e.g., In re Katz, 687 F.2d 450, 455 (CCPA 1982)
(“ambiguity [was] created by the printed publication” where authors
included people not named as inventors); cf. In re Land, 368 F.2d 866, 877
(CCPA 1966) (for purposes of § 102(e), reference authored by one
co-inventor was “by another”).
      That said, it is not always sufficient for Petitioner merely to show a
difference between a list of authors and a list of inventors. Where the record
contains evidence that the reference was derived entirely from the work of
the inventors or at least one joint inventor, this evidence may be sufficient to
show that the reference is not “by others” for purposes of § 102(a). Katz,
687 F.2d at 455–56 (finding inventor’s declaration of sole inventorship
sufficient to render reference authored by inventor and others not “by
others”). Although the testimony of an inventor that the reference in
question was derived from the inventors’ work may be sufficient on its own,
at least where it is not “a mere pro forma restatement of the oath in [the
inventor’s] application,” affidavits from the other authors disclaiming the
invention are particularly strong evidence that the reference is not “by
others.” Id. (“Submission of such affidavits or declarations would have
ended the inquiry . . . .”). Here, for the reasons discussed below, the


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preponderance of the evidence persuades us that, despite the differences
between its list of authors and the list of the inventors of the ’793 patent,
Ghofrani is not “by others” for purposes of § 102(a).
      Petitioner’s first argument that Ghofrani is “by others” is that there are
people who are authors of Ghofrani who are not inventors of the ’793 patent.
Pet. 26. But Dr. Seeger, one of the inventors of the ’793 patent, as well as
an author of Ghofrani, describes the roles of the other authors of Ghofrani,
explaining that Dr. Ghofrani drafted the portion of the article “relating to
phosphodiesterase inhibitors,” that Drs. Reichenberger and Grimminger
drafted the portion of the article relating to “the use of selective endothelin A
receptor agonists for treating pulmonary hypertension,” and that he and
Dr. Voswinckel—another co-inventor—drafted the portion of the article
relating to “the use of inhaled iloprost and inhaled treprostinil for treatment
of pulmonary hypertension,” the only portion on which Petitioner’s
unpatentability case rests. Ex. 2003 ¶¶ 4–8. Dr. Seeger’s testimony is
corroborated by the testimony of Drs. Ghofrani, Reichenberger, and
Grimminger, each of whom testifies that they “did not make material
contributions to” the portion of the Ghofrani reference relating to inhaled
treprostinil. Ex. 2004 ¶¶ 4–5; Ex. 2005 ¶¶ 4–5; Ex. 2006 ¶¶ 4–5. This is
precisely the type of testimony that the Katz court held should “end[] the
inquiry” into whether Ghofrani was “by others.” 687 F.2d at 455–56.
Accordingly, this evidence overcomes Petitioner’s argument that the
difference between the Ghofrani authors and the inventors of the ’793 patent
is sufficient to show that Ghofrani is “by others.”
      Petitioner also argues that the failure to include some of the inventors
of the ’793 patent—Olschewski, Roscigno, Rubin, Schmehl, and Sterritt—as


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authors of Ghofrani renders Ghofrani “by others.” Pet. 26–27. But “the fact
that a reference does not list any co-inventors as authors . . . is certainly not
dispositive in itself.” Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 969 (Fed.
Cir. 2014); see MPEP § 2132.01(I) (“An inventor’s or at least one joint
inventor’s disclosure of his or her own work within the year before the
application filing date cannot be used against the application as prior art
under pre-AIA 35 U.S.C. 102(a).”). Moreover, Dr. Seeger explains the roles
of the other named inventors in designing trials and clinical studies leading
to the patent application. Ex. 2003 ¶¶ 22–27. In particular, Dr. Seeger
testifies that the Ghofrani reference did not report on the details of the
studies and trials that were in part designed by these other authors,
explaining why they did not contribute to writing Ghofrani, even though
they were involved in the related work that gave rise to the ’793 patent. Id.
¶¶ 11–12. Dr. Seegar further explains that, “any study that formed the basis
of our discussion of inhaled trepostinil in [Ghofrani and two other
references] was performed by me in conjunction with my ongoing
collaboration with Drs. Voswinckel, Olschewski, Rubin, Schmehl, Sterrit,
and Roscigno.” Id. ¶ 12. Again, then, the preponderance of the evidence
supports a determination that Ghofrani is not “by others” for purposes of
§ 102(a).

            2.   Prior-Art Status of Voswinckel 2006
      The issues and arguments regarding Voswinckel 2006 are quite
similar to those discussed above regarding Ghofrani. Petitioner argues that
Voswinckel 2006 qualifies as prior art under § 102(a) and that it is “by
others” both because some of its authors—specifically, Ghofrani and
Grimminger—are not inventors of the ’793 patent and because some


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inventors of the ’793 patent—specifically, Olschewski, Roscigno, Rubin,
Schmehl, and Sterritt—are not authors of Voswinckel 2006. Pet. 27–30.
Patent Owner disagrees, pointing to the testimony of Drs. Seeger, Ghofrani,
and Grimminger explaining the role that the other inventors of the ’793
patent played, as well as making clear that neither Ghofrani nor Grimminger
authored the portion of Voswinckel 2006 that is relevant as prior art. PO
Resp. 44–46, 51–54; Ex. 2003 ¶¶ 20–21 (describing the roles of Drs.
Ghofrani and Grimminger, explaining that they “did not participate in the
design of any of the studies, did not select the dosing regimen, and did not
conduct analysis of patient results discussed in . . . Voswinckel 2006”); 19
(“any study that formed the basis of our discussion of inhaled treprostinil in
this reference was performed by me in connection with my ongoing
collaboration with [the other inventors]”).
      For the same reasons discussed above with respect to Ghofrani, we
determine that the preponderance of the evidence shows that Petitioner has
not shown sufficiently that Voswinckel 2006 is “by others.”

          3.    Conclusion
      For the reasons discussed above, Petitioner has not shown that either
Ghofrani or Voswinckel 2006 qualifies as prior art. Accordingly, Petitioner
has not shown the unpatentability of any challenged claim on any ground
that relies on either Ghofrani or Voswinckel 2006.

      E. Motions to Exclude Evidence
      Each party filed a motion to exclude evidence. Paper 65; Paper 66.
We consider each motion separately below.




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          1.    Petitioner’s Motion to Exclude
      Petitioner moves to exclude Exhibits 2092, 2100, 2101, 2102,
and 2103 as not authenticated and, for Ex. 2092, as incomplete. Paper 65, 1.
Petitioner also moves to exclude the portions of Patent Owner’s Sur-Reply
that rely on these exhibits. Id.
      We do not rely on any of the exhibits Petitioner challenges in reaching
our decision in this case. Accordingly, we dismiss Petitioner’s motion to
exclude as moot.

          2.    Patent Owner’s Motion to Exclude
      Patent Owner moves to exclude Exhibits 1037, 1114, 1117, and 1120
as hearsay and, for Ex. 1037, as not authenticated, irrelevant, and lacking the
original writing. Paper 66, 2. Patent Owner also moves to exclude
Exhibits 1029, 1050, 1066, 1074, and 1078 as not authenticated. Id. Patent
Owner moves to exclude Exhibit 1087 as lacking personal knowledge and as
irrelevant. Id. Patent Owner also moves to exclude portions of Exhibit 1112
as not based on sufficient facts and analysis. Id. Further, Patent Owner
moves to exclude the portions of Petitioner’s Petition and Reply, as well as
the portions of Exhibits 1002 and 1004, that cite these exhibits. Id. at 2–3.
      We do not rely on any of the exhibits or portions of exhibits Patent
Owner moves to exclude in reaching our decision in this case, with two
exceptions: paragraphs 36 and 42 of Ex. 1002, which cite Ex. 1029, and
paragraph 56 of Ex. 1004, which Patent Owner argues cites Ex. 1029,
Ex. 1050, and Ex. 1066. We dismiss as moot Patent Owner’s motion to
exclude, except as to these paragraphs of Exhibits 1002 and 1004. We
discuss the remaining portions of Patent Owner’s motion to exclude below.




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                    a. Paragraphs 36 and 42 of Exhibit 1002
      Patent Owner moves to exclude paragraphs 36 and 42 of Exhibit 1002
because they rely on Exhibit 1029, which Patent Owner argues lacks
authentication. Paper 66, 2–3.
      Certain items are self-authenticating under Federal Rule of Evidence
(“FRE”) 902, and, for items that are not self-authenticating, FRE 901
provides that “the proponent [of the evidence in question] must produce
evidence sufficient to support a finding that the item is what the proponent
claims it is.” Fed. R. Evid. 901(a). The evidence showing “that the items is
what the proponent claims it is” may include “[t]estimony that an item is
what it is claimed to be,” or “[t]he appearance, contents, substance, internal
patterns, or other distinctive characteristics of the item, taken together with
all the circumstances,” among other things. Fed. R. Evid. 901(b).
      Here, Dr. Hill, Petitioner’s declarant, testifies three times that
Exhibit 1029 is the “Ventavis Label 2004.” Ex. 1002 ¶¶ 36, 41, 42.
Dr. Gonda, another declarant for Petitioner, testifies that Exhibit 1029 is the
“Ventavis (iloprost) Label.” Ex. 1004 ¶ 56 n.4. Dr. Waxman, Patent
Owner’s declarant, cites to Exhibit 1029 twice as support for the approved
dose for, and side effects experienced by, patients taking Ventavis. Ex. 2052
¶ 100. The “appearance, contents, substance, internal patterns, [and] other
distinctive characteristics,” Fed. R. Evid. 901(b), of Ex. 1029 confirm the
testimony of Drs. Hill, Gonda, and Waxman. The document contains
sections titled “description,” “clinical pharmacology,” “indications and
usage,” “contraindications,” “warnings,” “precautions,” “adverse reactions,”
“overdosage,” “dosage and administration,” “how supplied,” “storage,” and
“patient information,” with each section providing information related to


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“Ventavis.” Ex. 1029, 1–17. This information is consistent with a drug
label for Ventavis, which is what Dr. Hill and Dr. Gonda testify, what
Dr. Waxman assumes, and what Petitioner argues, Ex. 1029 is.
Accordingly, we find that Petitioner has “produce[d] evidence sufficient to
support a finding that [Ex. 1029] is what [Petitioner] claims it is.” Fed. R.
Evid. 901(a). Because Ex. 1029 does not lack authentication, we deny
Patent Owner’s motion to exclude paragraphs 36 and 42 of Ex. 1002, which
cite to Ex. 1029.

                    b. Paragraph 56 of Exhibit 1004
      Patent Owner moves to exclude paragraph 56 of Exhibit 1004 because
it relies on Exhibits 1029, 1050, and 1066, all of which Patent Owner argues
lack authentication. Paper 66, 2–3. We discuss Exhibit 1029 above, finding
that it is sufficiently authenticated. The situation with respect to
Exhibits 1050 and 1066 is similar. Dr. Gonda testifies that Ex. 1050 is the
“Pulmozyme® Label” and that Ex. 1066 is the “AccuNeb® Label.”
Ex. 1004 ¶ 56 n.4. Moreover, Dr. Gonda’s testimony about what
Exhibits 1050 and 1066 are is confirmed by the contents of those exhibits.
Exhibit 1050 contains sections titled “description,” “clinical pharmacology,”
“indications and usage,” “contraindications,” “warnings,” “precautions,”
“adverse reactions,” “overdosage,” “dosage and administration,” and “how
supplied,” with each section providing information related to “Pulmozyme.”
Ex. 1050, 1–2. Exhibit 1066 contains sections titled “description,” “clinical
pharmacology,” “indications and usage,” “contraindications,” “warnings,”
“precautions,” “adverse reactions,” “overdosage,” “dosage and
administration,” “how supplied,” “storage,” and “patient’s instructions for
use,” with each section providing information related to “AccuNeb.”


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Ex. 1066, 1–2. This information is consistent with drug labels for
Pulmozyme and AccuNeb, which is what Dr. Gonda testifies, and what
Petitioner argues, Exhibits 1050 and 1066 are. Accordingly, we find that
Petitioner has “produce[d] evidence sufficient to support a finding that
[Ex. 1050 and Ex. 1066 are] what [Petitioner] claims [they are].” Fed. R.
Evid. 901(a). Because Exhibits 1050 and 1066 do not lack authentication,
we deny Patent Owner’s motion to exclude paragraph 56 of Ex. 1004, which
cites to those exhibits.




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                               CONCLUSION 10
         For the reasons discussed above, Petitioner has shown by a
preponderance of the evidence that claims 1–8 of the ’793 patent are
unpatentable.


     Claims      35       Reference(s)/Basis     Claims       Claims
               U.S.C.                            Shown       Not Shown
                 §                             Unpatentable Unpatentable
      1–8      103(a)        ’212 patent,          1–8
                          Voswinckel JESC,
                          Voswinckel JAHA
      1–8      103(a)        ’212 patent,
                          Voswinckel JESC11
        1      102(a)          Ghofrani                                  1
     1, 3, 8   103(a)     Voswinckel JAHA,                            1, 3, 8
                               Ghofrani
      1, 3     102(a)      Voswinckel 2006                             1, 3
     2, 4–8    103(a)     Voswinckel 2006,                            2, 4–8
                             ’212 patent
 Overall                                               1–8
 Outcome


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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
Decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3), (b)(2).
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  This Final Written Decision does not reach these grounds because
Petitioner has proven all challenged claims are unpatentable based on
obviousness over the combination of the ’212 patent, Voswinckel JESC, and
Voswinckel JAHA.

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                                  ORDER
      It is hereby
      ORDERED that, based on the preponderance of the evidence, claims
1–8 of the ’793 patent have been shown to be unpatentable;
      FURTHER ORDERED that Petitioner’s Motion to Exclude is
dismissed as moot;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
denied as to paragraphs 36 and 42 of Exhibit 1002 and as to paragraph 56 of
Exhibit 1004;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
dismissed as moot in all other respects; and
      FURTHER ORDERED that, because this is a Final Written Decision,
parties to this proceeding seeking judicial review of this Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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            EXHIBIT 2
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Trials@uspto.gov                                               Paper 81
571-272-7822                                       Date October 26, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE
                              ____________


        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                   LIQUIDIA TECHNOLOGIES, INC.,
                             Petitioner,

                                   v.

             UNITED THERAPEUTICS CORPORATION,
                        Patent Owner.
                        ____________

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                            ____________



Before KATHERINE K. VIDAL, Under Secretary of Commerce for
Intellectual Property and Director of the United States Patent and
Trademark Office, SCOTT R. BOALICK, Chief Administrative Patent
Judge, and JACQUELINE WRIGHT BONILLA, Deputy Chief
Administrative Patent Judge.

PER CURIAM.



                               ORDER
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      The Office received a request for Precedential Opinion Panel (POP)
review of issues raised in the Board’s Final Written Decision. Ex. 3003; see
Paper 78. In the request, Patent Owner argues that the Board improperly
determined that the Voswinckel JESC (Ex. 1007) and Voswinckel JAHA
(Ex. 1008) references were publicly accessible and therefore qualify as prior
art under pre-AIA 35 U.S.C. § 102(b) because a person of ordinary skill in
the art would have been able to find them with the benefit of certain research
aids. Paper 79, 1–3; see Paper 78, 8–12. The request was referred to the
POP panel referenced above.
      We have reviewed the request, the Board’s Final Written Decision,
the Papers, and the Exhibits in the above-listed proceeding. We determine
that the Board’s Final Written Decision did not address adequately whether
the Voswinckel JESC and Voswinckel JAHA references qualify as prior art.
See Paper 78, 8–12. Specifically, the Board’s analysis did not consider
whether the research aids themselves were available prior to the critical date,
such that a person of ordinary skill in the art would have used them to find
Voswinckel JESC and Voswinckel JAHA. Id. at 12. Further, the Board’s
analysis did not address whether the Voswinckel JESC and Voswinckel
JAHA references were publicly accessible by way of their presentation
and/or inclusion in distributed materials, such as at a conference or library.
Paper 78, 8–12; see In re Klopfenstein, 380 F.3d 1345, 1350–52 (Fed. Cir.
2004) (“The determination of whether a reference is a ‘printed publication’
under 35 U.S.C. § 102(b) involves a case-by-case inquiry into the facts and
circumstances surrounding the reference’s disclosure to members of the
public.”).


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      However, because the record has been fully developed on these issues,
the Board panel is best suited to make the appropriate factual findings for
this analysis in its decision on rehearing. Accordingly, we deny Patent
Owner’s request for POP review of the Final Written Decision. With this
denial of POP review, authority over all issues in this case — including
consideration of Patent Owner’s pending rehearing request — is returned to
the original panel. We direct the Board, in its consideration on rehearing, to
clearly identify whether the Voswinckel JESC and Voswinckel JAHA
references qualify as prior art. Such analysis shall clarify whether the relied
upon research aids were available prior to the critical date and whether the
Voswinckel JESC and Voswinckel JAHA references were publicly
accessible by way of their presentation and/or inclusion in distributed
materials, such as at a conference or library.
       Accordingly, based on the foregoing, it is:
       ORDERED that the request for POP review is denied;
       FURTHER ORDERED that the original panel maintains authority
over all matters, including considering the submitted rehearing request in
view of the complete record; and
       FURTHER ORDERED that the Board, on rehearing, shall clearly
identify whether the Voswinckel JESC and Voswinckel JAHA references
qualify as prior art.




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            EXHIBIT 3
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Tel: 571-272-7822                                  Entered: February 2, 2023



       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                    LIQUIDIA TECHNOLOGIES, INC.,
                              Petitioner,

                                   v.

             UNITED THERAPEUTICS CORPORATION,
                        Patent Owner.


                            IPR2021-00406
                          Patent 10,716,793 B2




Before ERICA A. FRANKLIN, CHRISTOPHER M. KAISER,
and DAVID COTTA, Administrative Patent Judges.

KAISER, Administrative Patent Judge.



                            DECISION
 Denying Patent Owner’s Request on Rehearing of Final Written Decision
                        37 C.F.R. § 42.71(d)
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                              INTRODUCTION
      Liquidia Technologies, Inc. (“Petitioner”) filed a Petition (Paper 2,
“Pet.”) requesting an inter partes review of claims 1–8 of U.S. Patent
No. 10,716,793 B2 (Ex. 1001, “the ’793 patent”). United Therapeutics
Corporation (“Patent Owner”) filed a Preliminary Response. Paper 13
(“Prelim. Resp.”).
      On August 11, 2021, we instituted inter partes review of claims 1–8
of the ’793 patent on all grounds set forth in the Petition. Paper 18 (“Inst.
Dec.”). After institution of trial, Patent Owner filed a Response (Paper 29,
“PO Resp.”), Petitioner filed a Reply (Paper 44), and Patent Owner filed a
Sur-Reply (Paper 55). In addition, both parties filed Motions to Exclude
Evidence (Papers 65 and 66), Oppositions to their respective opponents’
Motions to Exclude (Papers 68 and 69), and Replies in support of their own
Motions to Exclude (Papers 71 and 72). At the request of both parties, we
held an oral hearing, the transcript of which was entered into the record.
Paper 77 (“Tr.”).
      On July 19, 2022, we issued a Final Written Decision determining that
Petitioner had proven by a preponderance of evidence that all the challenged
claims were unpatentable. Paper 78 (“Final Dec.”). On August 18, 2022,
Patent Owner requested rehearing and filed a request that rehearing be
conducted by the Precedential Opinion Panel. Paper 79 (“Req. Reh’g”);
Paper 80. The request for rehearing by the Precedential Opinion Panel was
denied, returning jurisdiction to us to consider the rehearing request itself.
Paper 81.
      For the reasons discussed below, we deny Patent Owner’s Request for
Rehearing. Where the present decision differs from the Final Written


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Decision, the present decision controls. Otherwise, the Final Written
Decision remains in force.

                              ANALYSIS
      A. The Final Written Decision
      Petitioner asserted the unpatentability of the challenged claims on six
separate grounds. Final Dec. 3–4. Four of those grounds relied on
references referred to as Voswinckel 2006 and Ghofrani, both of which we
determined did not qualify as prior art. Id. at 3–4, 36–41. The remaining
two grounds both relied on a reference referred to as Voswinckel JESC, and
one of the grounds also relied on a reference referred to as Voswinckel
JAHA. Id. at 3.
      Patent Owner argued during the trial that Petitioner had not proven
that either Voswinckel JESC or Voswinckel JAHA had been made publicly
accessible early enough to qualify as prior art in the way that Petitioner
argued they did. PO Resp. 11–18; Sur-Reply 2–11. Petitioner countered
these arguments with several arguments for the public accessibility of
Voswinckel JESC and Voswinckel JAHA. Reply 2–9. In particular,
Petitioner argued that each of these references was cited in a publicly
available journal article that could have served as a research aid to help a
person of ordinary skill in the art locate the references. Id. at 3–4 (arguing
that Voswinckel JESC was cited in Ghofrani), 7–8 (arguing that Voswinckel
JAHA was cited in Sulica).
      In the Final Written Decision, we were persuaded by Petitioner’s
argument regarding these research aids. Final Dec. 10–12. Based in part on
our determination that these research aids established the public accessibility
of Voswinckel JESC and Voswinckel JAHA, we determined that Petitioner


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had proven by a preponderance of the evidence that each of the challenged
claims would have been obvious over the combination of the ’212 patent,
Voswinckel JESC, and Voswinckel JAHA. Id. at 12–35.

      B. The Rehearing Request
      Patent Owner seeks rehearing of our Final Written Decision on the
ground that we overlooked Patent Owner’s argument that the Ghofrani and
Sulica research aids had been “published after the critical §102(b) date of
May 15, 2005.” Req. Reh’g 1 (emphasis in original). Patent Owner notes
that this argument appeared in the Sur-Reply. Id. at 5 (citing Sur-Reply 9).
According to Patent Owner, had we not overlooked this argument, we would
have determined that Petitioner had not shown that Voswinckel JESC and
Voswinckel JAHA were publicly accessible in the way necessary to treat
them as prior art to the ’793 patent. Id. at 5–14.
      When it requested rehearing, Patent Owner also requested that the
rehearing be conducted by the Precedential Opinion Panel. Ex. 3003. The
Precedential Opinion Panel denied that request and directed us to consider
Patent Owner’s rehearing request. Paper 81, 3. The Precedential Opinion
Panel directed us, “in [our] consideration on rehearing, to clearly identify
whether the Voswinckel JESC and Voswinckel JAHA references qualify as
prior art” and specified that “[s]uch analysis shall clarify whether the relied
upon research aids were available prior to the critical date and whether the
Voswinckel JESC and Voswinckel JAHA references were publicly
accessible by way of their presentation and/or inclusion in distributed
materials, such as at a conference or library.” Id.




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       C. Standard of Review
       A request for rehearing of an institution decision is reviewed under
the abuse of discretion standard. 37 C.F.R. § 42.71(c). “The burden of
showing a decision should be modified lies with the party challenging the
decision.” 37 C.F.R. § 42.71(d). “The request must specifically identify all
matters the party believes the Board misapprehended or overlooked, and the
place where each matter was previously addressed in a motion, an
opposition, reply, or a sur-reply.” Id. An abuse of discretion may be found
where a decision “(1) is clearly unreasonable, arbitrary, or fanciful; (2) is
based on an erroneous conclusion of law; (3) rests on clearly erroneous fact
findings; or (4) involves a record that contains no evidence on which the
Board could rationally base its decision.” Redline Detection, LLC v. Star
Envirotech, Inc., 811 F.3d 435, 442 (Fed. Cir. 2015) (quoting Abrutyn v.
Giovanniello, 15 F.3d 1048, 1050–51 (Fed. Cir. 1994) (citation omitted)).

       D. We Overlooked Patent Owner’s Argument
       Patent Owner is correct that its argument that the Ghofrani and Sulica
research aids were dated after May 15, 2005, appeared in the Sur-Reply.
Sur-Reply 9–11. Patent Owner also is correct that we overlooked this
argument in relying on these research aids as supporting that Petitioner had
established that Voswinckel JESC and Voswinckel JAHA were prior art to
the ’793 patent. Final Dec. 11–12; Paper 81, 2 (“the Board’s analysis did
not consider whether the research aids themselves were available prior to the
critical date”).




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      E. Reconsideration of the Record Shows that the Research Aids Did
         Not Establish the Prior-Art Status of Voswinckel JESC and
         Voswinckel JAHA
      Petitioner argued that Voswinckel JESC and Voswinckel JAHA were
“prior art to the ’793 Patent under at least 35 U.S.C. § 102(b).” Pet. 22, 24.
In the Final Written Decision, we determined that Petitioner had shown that
these references were prior art based on the existence of research aids. Final
Dec. 10–12. As noted above, that determination overlooked Patent Owner’s
argument that the research aids themselves were published too late for their
mention of Voswinckel JESC and Voswinckel JAHA to render those
references prior art under § 102(b). We now consider that argument.
      To qualify as prior art under § 102(b), a reference must have been
publicly accessible “more than one year prior to the date of application for
patent in the United States.” 35 U.S.C. § 102(b) (2006). Here, the parties
agree that the application that ultimately led to the issuance of the ’793
patent was filed May 15, 2006. Pet. 12; PO Resp. 5. Thus, to qualify as
§ 102(b) prior art, Voswinckel JESC and Voswinckel JAHA must have been
publicly accessible before May 15, 2005.
      Petitioner argues that Voswinckel JESC “was cited in the June 2005
Ghofrani article in the journal Herz . . . , an article that was publicly
accessible.” Reply 3 (citing Ex. 1010, 298, 301). Patent Owner argues that
“Ghofrani bears a July 2005 date-stamp.” Sur-Reply 9 (citing Ex. 1121, 1).
Petitioner does not explain its characterization of Ghofrani as a “June 2005”
article. The pages of Ghofrani cited by Petitioner do not indicate a
June 2005 publication date. Ex. 1010, 298, 301. The same article appears,
however, as Exhibit 1121, which bears a date of July 7, 2005. Compare
Ex. 1010, with Ex. 1121. Accordingly, Patent Owner’s characterization of


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Ghofrani as having been published in July 2005 is better supported by the
evidence of record than is Petitioner’s characterization of Ghofrani as having
been published in June 2005. Even if the evidence of record supported
Petitioner’s June 2005 publication date, that date is still later than May 15,
2005, so the citation of Voswinckel JESC in Ghofrani does not show that
Voswinckel JESC was prior art under § 102(b).
      Petitioner argues that Voswinckel JAHA “was cited by a March 2005
article authored by Roxana Sulica et al. in the Expert Review of
Cardiovascular Therapy.” Reply 7 (citing Ex. 1104, 359). Patent Owner
argues that the Sulica article “shows only the year 2005.” Sur-Reply 9
(citing Ex. 1104, 347). We agree with Patent Owner. The Sulica article
bears a 2005 copyright date but otherwise does not indicate when it was
published. Ex. 1104, 347. The 2005 copyright date does not support a
finding that the Sulica article was published before May 15, 2005, so the
citation of Voswinckel JAHA in the Sulica article does not show that
Voswinckel JAHA was prior art under § 102(b).

      F. Reexamination of the Record Shows that Voswinckel JESC and
         Voswinckel JAHA Were Prior Art to the ’793 Patent Due to
         Distribution at Conferences
      The Precedential Opinion Panel directed us, “in [our] consideration on
rehearing, to clearly identify whether the Voswinckel JESC and Voswinckel
JAHA references qualify as prior art” and specified that “[s]uch analysis
shall clarify . . . whether the Voswinckel JESC and Voswinckel JAHA
references were publicly accessible by way of their presentation and/or
inclusion in distributed materials, such as at a conference or library.”
Paper 81, 3. Accordingly, we consider below whether the evidence of
record establishes the prior-art status of Voswinckel JESC and Voswinckel

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JAHA due to presentation and/or inclusion in distributed materials. We
answer this question in the affirmative.
      “Because there are many ways in which a reference may be
disseminated to the interested public, ‘public accessibility’ has been called
the touch-stone in determining whether a reference constitutes a ‘printed
publication.’” Jazz Pharm., Inc. v. Amneal Pharm., LLC, 895 F.3d 1347,
1356 (Fed. Cir. 2018) (quoting In re Hall, 781 F.2d 897, 898–99 (Fed. Cir.
1986)). A reference is considered publicly accessible if it was “disseminated
or otherwise made available to the extent that persons interested and
ordinarily skilled in the subject matter or art, exercising reasonable
diligence, can locate it.” Id. at 1355–56 (citing In re Wyer, 655 F.2d 221,
226 (CCPA 1981)). Under at least some circumstances, a reference may be
a printed publication under § 102(b) if it was “displayed to the public,” even
if it “was not later indexed in any database, catalog, or library.” In re
Klopfenstein, 380 F.3d 1345, 1350 (Fed. Cir. 2004). There are several
factors relating to whether such a display is sufficient to constitute a printed
publication, including “the length of time the display was exhibited, the
expertise of the target audience, the existence (or lack thereof) of reasonable
expectations that the material displayed would not be copied, and the
simplicity or ease with which the material displayed could have been
copied.” Id. In addition, distribution of a reference at a professional
conference may, under at least some circumstances, constitute sufficient
dissemination to show public accessibility. Nobel Biocare Services AG v.
Instradent USA, Inc., 903 F.3d 1365, 1375–80 (Fed. Cir. 2018); Medtronic,
Inc. v. Barry, 891 F.3d 1368, 1380–83 (Fed. Cir. 2018).




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          1.   Voswinckel JESC Was Sufficiently Distributed at a
               Conference to be Publicly Accessible as of the Conference
               Date
      A reference may be “[a] printed publication ‘ . . . if it was sufficiently
disseminated at the time of its publication.’” Medtronic, 891 F.3d at 1381
(quoting Suffolk Techs., LLC v. AOL Inc., 752 F.3d 1358, 1365 (Fed. Cir.
2014)). Several factors are relevant to the determination of whether
distribution of a reference at a conference constitutes such sufficient
dissemination. Id. at 1381–82. These include “the size and nature of the
meetings and whether they are open to people interested in the subject
matter of the material disclosed,” as well as “whether there is an expectation
of confidentiality between the distributor and the recipients of the materials.”
Id. at 1382. “The expertise of the target audience can [also] be a factor in
determining public accessibility.” Id. To the extent that these factors are
addressed via testimonial evidence, corroboration of that evidence may be
necessary. Nobel Biocare, 903 F.3d at 1377–78. “Corroborating evidence
may include documentary or testimonial evidence,” and “[c]ircumstantial
evidence can be sufficient corroboration.” Id. (citing TransWeb, LLC v. 3M
Innovative Props. Co., 812 F.3d 1295, 1301 (Fed. Cir. 2016)).
      Voswinckel JESC is an abstract contained in “Volume 25 Abstract
Supplement August/September 2004” of “European Heart Journal,” with a
subtitle indicating that the journal is the “Journal of the European Society of
Cardiology” and that the supplement relates to “ESC Congress 2004,” held
“28 August – 1 September” in “Munich, Germany.” Ex. 1007, 1; see also
Ex. 1089, 1. The Table of Contents organizes abstracts into categories,
including “Epidemiology and treatment of pulmonary arterial hypertension,”
with each category associated with an entry corresponding to a day of the


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conference, such as “Day 2—Sunday 29 August 2004.” Id. at 2. Each of
these categories points to a page or pages in the supplement, with those
pages containing abstracts that report the “Background,” “Methods,”
“Results,” and “Conclusion” of studies. Id. at 7.
      The conference with which Voswinckel JESC is associated “is the
largest medical congress in Europe and among the top three cardiology
meetings in the world,” and “it has become an established forum for the
exchange of science as much as education.” Ex. 1105, 19. Attendees of the
conference include “basic scientists, nurses and allied professionals working
in the field of cardiovascular care of patients.” Id. At the 2004 conference,
there were “24,527 attendees,” including “18,413 professionals, 4,715
exhibitors, 636 journalists and 763 accompanying persons.” Id. Both
Petitioner’s declarant, Dr. Nicholas Hill, and Patent Owner’s declarant,
Dr. Aaron Waxman, testify that anyone who paid to attend the ESC
Congress 2004 would have received a copy of the abstract book from which
Voswinckel JESC is excerpted, either at the meeting itself or as a
distribution before the meeting. Ex. 1106 ¶ 28; Ex. 1108, 105:16–108:1.
      Thus, the evidence of record shows that Voswinckel JESC was
distributed to more than twenty thousand people before or at the time of the
ESC Congress 2004 in late August and early September of 2004. Those
twenty thousand recipients included both highly skilled professionals,
including scientists, nurses, and other clinicians, as well as journalists and
those who accompanied the professionals and the journalists. That the
recipients included journalists and “accompanying persons” suggests very
strongly that there was no expectation that the contents of Voswinckel JESC
would be kept confidential. Moreover, Drs. Hill and Waxman corroborate


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one another’s testimony, and their testimony is further corroborated by the
contents of both Voswinckel JESC itself and Exhibit 1105. The distribution
of Voswinckel JESC to over twenty thousand recipients, including
thousands of experts in the field of cardiology, with no expectation of
confidentiality, establishes that Voswinckel JESC was a printed publication
as of the date of the conference at which that distribution occurred. Because
that conference occurred in August and September 2004, more than one year
before the May 15, 2006 application date of the ’793 patent, Voswinckel
JESC was a printed publication early enough to qualify as prior art under 35
U.S.C. § 102(b).

          2.    Voswinckel JAHA Was Sufficiently Distributed at a
                Conference to be Publicly Accessible as of the Conference
                Date
      Like Voswinckel JESC, Voswinckel JAHA is associated with a
professional conference. Ex. 1008. It is an abstract that has been extracted
from a document headed “Supplement to Circulation,” subtitled “Journal of
the American Heart Association” and “Abstracts from Scientific Sessions
2004,” indicating that those sessions occurred “November 7–10.” Id. at 1.
The abstract in question appears in a section titled “Pulmonary Arterial
Hypertension: New Therapies,” subtitled “Subspecialty: Integrative
Biology” and indicating that the session occurred on “Wednesday” in “Hall
I2” of the “Ernest N Morial Convention Center.” Id. at 3. We take official
notice that the range of dates from November 7, 2004, to November 10,
2004, includes Wednesday, November 10, 2004.
      Both Dr. Hill and Dr. Waxman agree that attendance at the Scientific
Sessions 2004 conference was large. Ex. 1106 ¶ 22 (“a [person of ordinary
skill in the art] would have attended the Scientific Sessions 2004

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Conference, as it is one of the principal conferences on the circulatory
system and diseases and conditions affecting circulation”); Ex. 1108, 116:4–
21 (testifying that attendance at Scientific Sessions 2004 was likely larger
than the 18,000 professionals who attended ESC Congress 2004). Dr. Hill
testifies that the conference was “attended by physicians and researchers
working on and studying the cardiovascular system, including pulmonary
circulation.” Id. Both Dr. Hill and Dr. Waxman also agree that a copy of
the abstract book from which Voswinckel JAHA is excerpted would have
been provided to all attendees at Scientific Sessions 2004. Ex. 1106 ¶ 23;
Ex. 1108, 108:3–20. We have not been directed to any evidence of record
indicating there was any expectation of confidentiality. The distribution of
thousands of copies of Voswinckel JAHA at the conference is strong
evidence that Voswinckel JAHA was a printed publication as of the date of
the conference. Because that conference occurred in November 2004, more
than one year before the May 15, 2006 application date of the ’793 patent,
Voswinckel JAHA was a printed publication early enough to qualify as prior
art under 35 U.S.C. § 102(b).

          3. Conclusion
      As instructed by the Precedential Opinion Panel, we have considered
“whether the Voswinckel JESC and Voswinckel JAHA references qualify as
prior art” and in particular “whether the Voswinckel JESC and Voswinckel
JAHA references were publicly accessible by way of their presentation
and/or inclusion in distributed materials, such as at a conference.” Paper 81,
3. As discussed above, we find that both references were distributed
sufficiently at professional conferences to be publicly accessible at the time
of those conferences. By virtue of this public accessibility, both Voswinckel


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JESC and Voswinckel JAHA were printed publications early enough to
qualify as prior art under 35 U.S.C. § 102(b).

      G. Asserted Obviousness over ’212 Patent, Voswinckel JESC, and
         Voswinckel JAHA
      Petitioner argues that claims 1–8 would have been obvious over the
combination of the ’212 patent, Voswinckel JESC, and Voswinckel JAHA.
Pet. 30–46. As discussed above, Petitioner has shown by a preponderance of
the evidence that both Voswinckel JESC or Voswinckel JAHA qualify as
prior art. Accordingly, we do not disturb the obviousness analysis in the
Final Written Decision, which relies on the prior-art status of Voswinckel
JESC and Voswinckel JAHA. Final Dec. 12–35.

      H. Remaining Grounds
      Petitioner argues that claims 1–8 would have been obvious over the
combination of the ’212 patent and Voswinckel JESC. Pet. 46–50. We do
not disturb the determination in the Final Written Decision that we need not
reach this ground “[b]ecause Petitioner has shown by a preponderance of the
evidence that all of the challenged claims would have been obvious over the
similar combination of the ’212 patent, Voswinckel JESC, and Voswinckel
JAHA.” Final Dec. 36.
      Petitioner argues that claim 1 was anticipated by Ghofrani; that
claims 1, 3, and 8 would have been obvious over the combination of
Voswinckel JAHA and Ghofrani; that claims 1 and 3 were anticipated by
Voswinckel 2006; and that claims 2 and 4–8 would have been obvious over
the combination of Voswinckel 2006 and the ’212 patent. Pet. 50–64.
These grounds fail for the reasons discussed in the Final Written Decision.
Final Dec. 36–41.


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                                CONCLUSION1
          For the reasons discussed above, Patent Owner has shown that we
overlooked its argument regarding the date of availability of the research
aids that Petitioner argued showed that Voswinckel JESC and Voswinckel
JAHA qualified as prior art. A proper consideration of that argument shows
that the research aids do not establish the prior-art status of Voswinckel
JESC and Voswinckel JAHA, but there is no change to the outcome with
respect to Petitioner’s asserted grounds of unpatentability, because the
distribution of Voswinckel JESC and Voswinckel JAHA at professional
conferences proves the prior-art status of those references. Accordingly, we
deny Patent Owner’s request for rehearing.
          When all arguments are properly considered, Petitioner has shown by
a preponderance of the evidence that claims 1–8 of the ’793 patent are
unpatentable.
                      Outcome of Decision on Rehearing:
      Claims       35 U.S.C Reference(s)/Basis    Denied           Granted
                       §
    1–8            103(a)   ’212 patent,        1–8
                            Voswinckel JESC,
                            Voswinckel JAHA
    Overall                                     1–8
    Outcome

1
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
Decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3), (b)(2).

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            Final Outcome of Final Written Decision after Rehearing:
                   35                            Claims        Claims Not
      Claims U.S.C. Reference(s)/Basis           Shown            Shown
                    §                        Unpatentable Unpatentable
    1–8         103(a) ’212 patent,          1–8
                        Voswinckel JESC,
                        Voswinckel JAHA
    1–8         103(a) ’212 patent,
                        Voswinckel JESC 2
    1           102(a) Ghofrani                               1
    1, 3, 8     103(a) Voswinckel                             1, 3, 8
                        JAHA, Ghofrani
    1, 3        102(a) Voswinckel 2006                        1, 3
    2, 4–8      103(a) Voswinckel 2006,                       2, 4–8
                        ’212 patent
    Overall                                  1–8
    Outcome



                                   ORDER
        It is hereby
        ORDERED that Patent Owner’s Request for Rehearing is denied;
        FURTHER ORDERED that the determination in the Final Written
Decision that the research aids relied on by Petitioner show the prior-art
status of Voswinckel JESC and Voswinckel JAHA is overturned and
replaced with the determination in the present decision that the distribution




2
 Neither the Final Written Decision nor this Rehearing Decision reaches this
ground because Petitioner has proven all challenged claims are unpatentable
based on obviousness over the combination of the ’212 patent, Voswinckel
JESC, and Voswinckel JAHA.

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of Voswinckel JESC and Voswinckel JAHA at professional conferences
establishes the prior-art status of those references;
      FURTHER ORDERED that, based on the preponderance of the
evidence, claims 1–8 of the ’793 patent have been shown to be unpatentable;
      FURTHER ORDERED that all other rulings in the Final Written
Decision remain undisturbed; and
      FURTHER ORDERED that parties to this proceeding seeking judicial
review of this Decision must comply with the notice and service
requirements of 37 C.F.R. § 90.2.




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                             IN THE UNITED STATES DISTRJCT COURT
                                 FOR THE DISTRJCT OF DELAWARE


   UNITED THERAPEUTICS
   CORPORATION,

                      Plaintiff,
                                                        Civil Action No. 20-755-RGA
             V.

   LIQUIDIA TECHNOLOGIES, INC .,

                      Defendant.


                                        TRJAL OPINION

  Jack B. Blumenfeld, Michael J. Flynn, Sarah E. Simonetti, MORRJS , NICHOLS, ARSHT &
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  William C. Jackson, Eric Levi, GOODWIN PROCTER LLP, Washington, DC; Douglas H.
  Carsten, Mandy H. Kim, Arthur Dykhuis, Jiaxiao Zhang, Katherine Pappas, MCDERMOTT
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   August   3{,2022
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              United Therapeutics Corporation ("UTC") brought this action against Liquidia

  Technologies, Inc. for infringement of U.S. Patent Nos. 9,593,066 ("the '066 patent"), 9,604,901

  ("the ' 901 patent"), and 10,716,793 ("the '793 patent") under 35 U.S.C. § 27l(e)(2)(A). (D.I. 1,

   16). I held a four-day bench trial. (D.I. 402-405). 1 The disputes at trial were related to the

  infringement and validity of claims 1, 2, 3, 6, 8, and 9 of the '066 patent and claims 1, 4, 6, 7,

  and 8 of the '793 patent. The ' 901 patent is no longer at issue.

              I have considered the parties' post-trial submissions. (D.I. 406,407, 408,409, 411 , 412,

  413 , 414, 415, 416,423 , 424). Having considered the documentary evidence and testimony, I

  make the following findings of fact and conclusions of law pursuant to Federal Rule of Civil

  Procedure 52(a).

  I.          BACKGROUND

              UTC is the holder of New Drug Application ("NDA") No. 022387 for Tyvaso®, an

   inhaled solution formulation of treprostinil approved for the treatment of pulmonary arterial

   hypertension and pulmonary hypertension associated with interstitial lung disease. (D.I. 322-1,

   Ex. 1, ,r,r 5, 12). The '066 and '793 patents are listed in the FDA's Orange Book for Tyvaso®.

   (Id.,   ,r 14).   The ' 066 patent discloses an improved process for preparing treprostinil. (See ITX

   2). The ' 793 patent discloses a method of administering treprostinil by inhalation. (See JTX

   3).

              Liquidia submitted NDA No. 213005 under§ 505(b)(2) of the Federal Food, Drug, and

   Cosmetic Act seeking FDA approval for the manufacture, use, and sale of its proposed product

   LIQ861 (Yutrepia™). (D.I. 322-1 , Ex. 1, ,r 2). LIQ861 is a dry powder formulation of


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       I cite to the trial transcript as "Tr." The trial transcript is consecutively numbered.
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   treprostinil sodium. (Id., 116). The FDA tentatively approved LIQ861 for the treatment of

  pulmonary arterial hypertension. (Id.,   11 17-18).
          Liquidia's NDA contains Paragraph IV certifications alleging that both the '066 and '793

  patents are invalid and/or will not be infringed by the manufacture, use, or sale of its proposed

  product. (Id.,   1 8). UTC received notice of Liquidia' s Paragraph IV certifications and initiated
   the present lawsuit. (Id.,   1 9).
   II.    INFRINGEMENT OF THE '066 PATENT

          A.       Legal Standard

          A patent is directly infringed when a person "without authority makes, uses, offers to sell,

   or sells any patented invention, within the United States or imports into the United States any

   patented invention during the term of the patent." 35 U.S.C. § 271(a). Determining

   infringement is a two-step analysis. Markman v. Westview Instruments, Inc. , 52 F.3d 967, 976

   (Fed. Cir. 1995) (en bane), ajf'd, 517 U.S. 370 (1996). First, the court must construe the

   asserted claims to ascertain their meaning and scope. Id.    The trier of fact must then compare

   the properly construed claims with the accused infringing product. Id. This second step is a

   question of fact. Bai v. L & L Wings, Inc. , 160 F.3d 1350, 1353 (Fed. Cir. 1998). The patent

   owner bears the burden of proving infringement by a preponderance of the evidence.

   SmithKline Diagnostics, Inc. v. Helena Lab '.Ys Corp., 859 F.2d 878, 889 (Fed. Cir. 1988).

          In a Hatch-Waxman case, the plaintiff's infringement claim is based on the accused

   infringer' s future conduct, rather than past acts of infringement. Under § 271 (e)(2), the

   "infringement inquiry ... is focused on the product that is likely to be sold following FDA

   approval." Abbott Lab '.Ys v. TorPharm, Inc., 300 F.3d 1367, 1373 (Fed. Cir. 2002). "Because

   drug manufacturers are bound by strict statutory provisions to sell only those products that

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  comport with the []ND A' s description of the drug, an []NDA specification defining a proposed[]

  drug in a manner that directly addresses the issue of infringement will control the infringement

  inquiry." Id.   For product-by-process claims, the infringement inquiry is focused "on the

  process of making the product as much as it is on the product itself." Amgen Inc. v. F. Hoffman-

  La Roche Ltd, 580 F.3d 1340, 1370 (Fed. Cir. 2009). Thus, "a product-by-process claim is not

  infringed by a product made by a process other than the one recited in the claim." Id.

         B.       Asserted Claims of the '066 patent

         1.     A pharmaceutical composition comprising treprostinil or a pharmaceutically
         acceptable salt thereof, said composition prepared by a process comprising providing a
         starting batch of treprostinil having one or more impurities resulting from prior alkylation
         and hydrolysis steps, forming a salt of treprostinil by combining the starting batch and a
         base, isolating the treprostinil salt, and preparing a pharmaceutical composition comprising
         treprostinil or a pharmaceutically acceptable salt thereof from the isolated treprostinil salt,
         whereby a level of one or more impurities found in the starting batch oftreprostinil is lower
         in the pharmaceutical composition, and wherein said alkylation is alkylation ofbenzindene
         triol.

         2. The pharmaceutical composition of claim 1, wherein the salt is isolated in crystalline
         form.

         3. The pharmaceutical composition of claim 1, wherein the base is selected from the
         group consisting of sodium, ammonia, potassium, calcium, ethanolamine, diethanolamine,
         N-methylglucamine, and choline.

         6. The pharmaceutical composition of claim 1, wherein the isolated salt is stored at
         ambient temperature.




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         8. A process of preparing a pharmaceutical product compnsmg treprostinil or a
         pharmaceutically acceptable salt thereof, comprising alkylating a triol intermediate of the
         formula:




                                          H


                                                    .... u,QH


                                          H
                          OH

         hydrolyzing the resulting compound to form treprostinil, forming a salt of treprostinil stable
         at ambient temperature, storing the treprostinil salt at ambient temperature, and preparing
         a pharmaceutical product from the treprostinil salt after storage, wherein the
         pharmaceutical product comprises treprostinil or a pharmaceutically acceptable salt
         thereof.

         9. A pharmaceutical product prepared by the process of claim 8.

         C.      Findings of Fact

      1. A POSA would be either a chemical engineer or process research chemist with 3-5 years
         of experience in API and drug manufacturing or a master' s degree in chemistry or
         chemical engineering who collaborated with individuals having 3-5 years of experience
         in API drug manufacturing.

     2. Y onsung, based in South Korea, manufactures the treprostinil sodium API used to make
        Liquidia's LIQ861 product. (Tr. at 74:21-75 :5 (Nuckolls); PTX 20 at 7). Yonsung has
        a Drug Master File ("DMF") for the treprostinil sodium used in LIQ861. (PTX 112
        (Open DMF); PTX 201 (Restricted DMF)).

      3. Yonsung synthesizes the treprostinil sodium by alkylating a batch ofbenzindene triol
         ("BTO") to provide a batch of"TN0l " (PTX 201 at 7, 22, 35 (DMF Step 10)), then
         performing a hydrolysis step to provide a batch of treprostinil ("TN02") (id. at 8, 23, 36
         (DMF Step 11)), and performing a salt formation step by combining the treprostinil with
         a base (sodium) to yield treprostinil sodium ("TN") (id. at 8, 24, 37 (DMF Step 12); Tr. at
         75:19-76:20 (Nuckolls); Tr. at 407:2-408 :2 1 (Winkler)).


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      4. LGM is a U.S. based administrative intermediary between Yonsung and Liquidia. (Tr.
         at 346:7-10 (Kindig); Tr. at 439:2-5 (Winkler)). Yonsung's shipments oftreprostinil
         sodium sometimes go through LGM to Liquidia; however, LGM does not manufacture
         treprostinil sodium, nor is it involved in the development or administration of Liquidia' s
         LIQ861 product. (Tr. at 331 :14-21 (Kindig); Tr. at 366:5-16 (Lenox)).

      5. A POSA would understand that the impurities limitations in claim 1 of the ' 066 patent
         refer to any impurities generated during the process steps of alkylating and hydrolyzing a
         batch of BTO (including from side reactions, impurities in reagents, solvents, or starting
         materials).

      6. Yonsung ' s analytical testing oftreprostinil sodium is a reliable and accurate measure of
         impurities in the pharmaceutical composition resulting from the alkylation and hydrolysis
         steps; Liquidia' s processing of the TN into the pharmaceutical composition (LIQ861 bulk
         powder) does not affect those impurities.

      7. Liquidia' s proposed LIQ861 product will be prepared by a process which lowers the level
         of one or more impurities resulting from prior alkylation and hydrolysis steps as claimed
         in the ' 066 patent. The percentage of total "related substance" impurities and the
         amount of total "related substance" impurities increase during the alkylation and
         hydrolysis steps from BTO to the starting batch of treprostinil (TN02), and then decrease
         in the TN batch after the salt formation and isolation steps.

      8. Liquidia' s NDA and Yonsung ' s DMF require treprostinil sodium to be stored at 2°C to
         goc.

      9. Liquidia will not use treprostinil sodium batches which have been stored at ambient
         temperature for GMP manufacturing.

      10. Liquidia begins preparing a pharmaceutical product during Step 1 of its PRINT process.

          D.      Conclusions of Law

                  1.     Claims 1, 2, and 3

          Liquidia only disputes infringement of the impurities limitations in claims 1, 2, and 3.

   Claim 1 recites "providing a starting batch of treprostinil having one or more impurities resulting

   from prior alkylation and hydrolysis steps . . . wherein said alkylation is alkylation of benzindene

   triol." As a preliminary issue, the parties dispute the proper construction of "impurities

   resulting from prior alkylation and hydrolysis steps." Liquidia argues that the claimed

   impurities must result from alkylation and hydrolysis of "BTO," not the alkylation and
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  hydrolysis of any compound that may be present in the reaction vessel. (D .I. 411 at 3 ). UTC

  argues that the claimed impurities encompass any impurities generated during the process steps

  of alkylating and hydrolyzing a batch of BTO (including from side reactions, impurities in

  reagents, solvents, or starting materials). (D.I. 408 at 7-8).

            UTC ' s construction is correct. The claim language requires that the impurities result

  from the "prior alkylation and hydrolysis steps." A POSA would understand that the alkylation

   step involves alkylating all materials in a batch ofBTO, not just the single alkylation reaction of

  BTO. (See Tr. at 110:23- 111 :10 (Nuckolls); Tr. at 810 :16-19, 818:18-22 (Scheidt); see also

  Tr. at 423:15-20 (Winkler) ("[A] real batch of- a bottle ofbenzindene triol could contain

   impurities.")). Thus, I find that a POSA would understand that any impurities generated during

  the alkylation and hydrolysis steps (including from side reactions) are within the scope of the

   claim.

            Claim 1 further recites: "whereby a level of one or more impurities found in the starting

   batch of treprostinil is lower in the pharmaceutical composition." UTC has identified the

   LIQ861 bulk powder as the "pharmaceutical composition" and Yonsung ' s TN02 as the "starting

   batch oftreprostinil." Liquidia argues that UTC cannot prove infringement of this limitation

   because UTC ' s experts only compared the impurities between TN02 and TN, not the LIQ861

   powder. (D.I. 411 at 2). UTC responds that Yonsung' s impurities testing for TN is a proper

   measure of impurities in the pharmaceutical composition resulting from the alkylation and

   hydrolysis steps because Liquidia' s processing of TN into LIQ861 bulk powder has no effect on

   the impurities from these steps. (D.I. 416 at 4). Once Liquidia receives the TN from Yonsung,




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  Liquidia uses its proprietary PRINT process 2 to prepare the LIQ861 bulk powder using the TN

  as the APL (DTX 204; PTX 20). In simple terms, Liquidia puts the TN in solution, adds

  excipients, and dries this formulation into the powder. (DTX 204 at 2-6; Tr. at 741:7-16

  (Gonda)).

            UTC's expert Dr. Nuckolls testified that he "wouldn't expect" Liquidia's processing of

  TN to impact the impurities from the alkylation and hydrolysis steps. (Tr. at 157:7-17

   (Nuckolls); see also PTX 66 at 96 ("Treprostinil sodium drug substance process impurities are

   controlled by the manufacturer, Yonsung Fine Chemicals Co., Ltd. (Yonsung).")). Dr. Nuckolls

   also testified that it would be difficult for a POSA to test the impurities resulting from the

   alkylation and hydrolysis steps in the LIQ861 bulk powder because the composition has been

   mixed with other excipients. (Tr. at 133:25-134:3 (Nuckolls)). Liquidia has not provided any

   expert testimony to rebut these opinions; thus, I will credit Dr. Nuckolls' testimony on this point.

   I therefore find that the TN impurities are representative of the impurities in the "pharmaceutical

   composition" (LIQ861 bulk powder) resulting from the prior alkylation and hydrolysis steps.

   Cf Vectura Ltd. v. GlaxoSmithKline LLC, 397 F. Supp. 3d 579, 587-88 (D. Del. 2019) (finding

   that comparison testing supported the jury' s infringement verdict where there was evidence that

   the tested products were representative of the accused products), aff'd, 981 F.3d 1030 (Fed. Cir.

   2020).

            To prove infringement of the impurities limitations, UTC compared the (1) amount of

   total impurities; (2) number of total impurities; and (3) amount of epi-treprostinil in BTO, TN02,

   and TN.




   2
       PRINT stands for Particle Replication in Nonwetting Templates. (DTX 204 at 2).
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          First, Dr. Nuckolls analyzed the total "related substance" impurities data provided by

  Yonsung in its DMF. (See PTX 201 at 270-72). 3 For two of the three DMF validation batches

  (TN 1171010, TN 117K0 10), the percentage of total "related substance" impurities increased

  between BTO and TN02, and then decreased in TN.4 (Tr. at 77:23-80:18 (Nuckolls); PTX 201

  at 270-72; PTX 326 at 4 (identifying the corresponding BTO, TN0l , and TN02 batch numbers

  for each TN batch number)). Dr. Nuckolls opined that these changes in the percentage of total

  "related substance" impurities between BTO, TN02, and TN show infringement of the impurities

  limitations. (Tr. at 77:23-80: 18 (Nuckolls)).

          Second, Dr. Nuckolls analyzed the number of total impurities detected in Yonsung' s

  validation batches. To do so, Dr. Nuckolls looked at Yonsung' s underlying high-performance

   liquid chromatography (HPLC) data. (Tr. at 81:8-84 :19 (Nuckolls)). HPLC separates

   components in a mixture by running the mixture down a column. (Tr. at 81 :8-23 (Nuckolls)).

   The mixture's components are separated based on how they interact with the column, so each

   component will elute at different retention times, depicted by peaks on a chromatogram. (Id. ;

   Tr. at 176:3-18 (Toste)).

          To determine the number of impurities, Dr. Nuckolls counted the number ofHPLC peaks

   in the chromatograms for BTO, TN02, and TN, excluding the peaks for "the material of interest"




   3
     Because Liquidia relies on the same impurities data in its NDA, I find these data to be reliable.
   (See PTX 66 at 96; PTX 105 at 7-11 ).
   4
     For validation batch TNl 171010, the percentage of "related substance" impurities was 0.07%
   in BTO, 0.20% in TN02, and 0.03% in TN. (PTX 201 at 270-72). For validation batch
   TNl 17K010, the percentage of "related substance" impurities was 0.08% in BTO, 0.20% in
   TN02, and 0.01 % in TN. (Id.). These results are consistent with Yonsung's acceptance
   criteria, which allow for a greater percentage of "related substance" impurities in TN02 than in
   TN. (Id. (2.0% for TN02; 0.5% for TN)). For validation batch TNl l 7K020, the percentage of
   "related substance" impurities was 0.38% in BTO, 0.21 % in TN02, and 0.01 % in TN. (Id.).
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   (e.g., BTO, TN02, and TN) and for the "known impurities" that were "labeled as missing or not

   detected." (Tr. at 81:24-83:4 (Nuckolls)). For example, the chromatogram for TN02 for

   validation batch TNl 171010 reported six peaks. (PTX 1540 at 79-80). One of these peaks

   identified TN02, which is the material of interest, not an impurity. (Id.). Thus, this peak was

   excluded from the impurities count. The chromatogram also identifies "15-epi-Treprostinil"

   and "Treprostinil ethyl ester" as "Peak Names," but reports these impurities as "Missing." (Id.).

   Because these known impurities were not detected in this sample, they are also excluded from

   the impurities count. Accordingly, Dr. Nuckolls identified three "related substance" impurities

   in this batch of TN02. (Tr. at 82:3-83:4 (Nuckolls)). Dr. Nuckolls testified that for two

   validation batches (TNl 171010, TN117K010), the number of"related substance" impurities

   increased between BTO and TN02, and then decreased in TN. 5 (Tr. at 81:24-84:19 (Nuckolls)).

   Dr. Nuckolls testified that this decrease shows that one or more impurities resulting from the

   alkylation and hydrolysis steps are lowered from TN02 to TN. (Id.).

          Liquidia argues that Dr. Nuckolls has failed to show a reduction in impurities "resulting

   from prior alkylation and hydrolysis steps .. . wherein said alkylation is alkylation of benzindene

   triol." (D.I. 411 at 4).   Liquidia argues that the reported "total impurities" relied on by Dr.

   Nuckolls in his amount of total impurities analysis include "residual solvents and any impurity




   5
     For validation batch TNl 171010, one "related substance" impurity was identified in BTO,
   three "related substance" impurities were identified in TN02, and one "related substance"
   impurity was identified in TN. (Tr. at 82:3-83:4 (Nuckolls); PTX 1536 at 51 (BTO); PTX 1539
   at 77 (TN); PTX 1540 at 79-80 (TN02)). For validation batch TN117K010, two "related
   substance" impurities were identified in BTO, three "related substance" impurities were
   identified in TN02, and one "related substance" impurity was identified in TN. (PTX 1410 at
   59-62 (BTO); PTX 1157 at 33-34 (TN02); PTX 1543 at 83-84 (TN)). The underlying HPLC
   chromatogram for validation batch TN117K020 was not available to Dr. Nuckolls. (Tr. at
   84:14-19 (Nuckolls)).
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   contained in the reagents or starting materials, not just impurities resulting from the claimed

   process steps." (Id.). Liquidia similarly faults Dr. Nuckolls ' number of impurities analysis.

   Liquidia argues that since Dr. Nuckolls failed to correlate the unidentified HPLC peaks to any

   specific impurity, he cannot show that these impurities resulted from the alkylation and

   hydrolysis steps. (Id.).

          These arguments, however, rely on Liquidia' s improper interpretation of the impurities

   limitations. As concluded above, a POSA would understand that the claimed impurities include

   any impurities generated during the alkylation and hydrolysis steps, including impurities

   originating from starting materials or reagents. Thus, Liquidia' s arguments rest on an infirm

   foundation.

          As described in its DMF, Yonsung uses a twelve-step process to manufacture TN. (PTIC

   201 at 3). Step 10 of this process is the alkylation step--BTO is reacted with the alkylating

   agent to produce TN0l. (Tr. at 75 :20-76 :2, 76:11-13 (Nuckolls); PTX 201 at 7). Next, in Step

   11-the hydrolysis step--TN0l is hydrolyzed to produce TN02. (Tr. at 76:1-3 , 13-15

   (Nuckolls); PTIC 201 at 8). In Step 12, TN02 is treated with a base to form TN. (Tr. at 76:3-5,

   15-18 (Nuckolls); PTX 201 at 8). Thus, Dr. Nuckolls opined that any increased impurities in

   TN02 as compared to BTO resulted from the alkylation and hydrolysis steps, because those were

   the steps that were run to synthesize TN02 from BTO. (Tr. at 80:4-18, 82:3-15 (Nuckolls)).

   He further opined that the impurities that were generated during the alkylation and hydrolysis

   steps (Steps 10 and 11) were reduced during the final salt formation step (Step 12), as shown by

   the reduced levels of impurities in TN as compared to TN02. (Id.) . I credit Dr. Nuckolls'

   testimony over Dr. Winkler' s contrary testimony, which relied on Liquidia's erroneous

   construction. (See Tr. at 427: 19-429: 17 (Winkler)).

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            Based on the total impurities analyses conducted by Dr. Nuckolls, I find that UTC has

   proven that Liquidia will meet the impurities limitations of claim 1.6 I therefore find that UTC

   has proven by a preponderance of the evidence that Liquidia' s proposed LIQ861 product will

   infringe claims 1, 2, and 3 of the ' 066 patent. 7

                   2.      Claim 6

            Claim 6, which depends from claim 1, further requires that "the isolated salt is stored at

   ambient temperature" before it is used to prepare a pharmaceutical composition. I construed

   "ambient temperature" as "room temperature (equal to or less than the range of 15°C to 30°C)."

   (D.I. 119). I construed "stored"/"storing"/"storage" to have its plain and ordinary meaning.

   (Id.).

            Liquidia has represented to the FDA that it will store treprostinil sodium between 2°C

   and 8°C. Yonsung ' s DMF, which is incorporated in Liquidia' s NDA (see PTX 105 at 3),

   specifies the following storage conditions for TN: "STORAGE: Should be kept in a tight

   container, protected from moisture and light and stored at 2°C to 8°C." (PTX 112 at 517). The

   certificates of analysis for TN and Yonsung ' s 2017 List of Finished and Intermediate Products

   also include these storage requirements. (Id. at 448, 450 ("Storage condition: Should be kept in

   a tight container, protected from moisture and light and stored at 2 °C to 8 °C (Long-term

   storage)."); DTX 43 at 6 (specifying TN' s "Storage Conditions" as "Refrigerated")). LGM, an

   intermediary between Yonsung and Liquidia, stores TN in accordance with Yonsung' s set



   6 Because I find UTC's first two analyses sufficient to show infringement, I need not consider
   UTC ' s third analysis, which compares the amount of epi-treprostinil in TN02 and TN.
   7
     "To be sure, if at the end of the day, an act that would have been an infringement . . . pertains
   to a patent that is shown to be invalid, there is no patent to be infringed." Cammi! USA, LLC v.
   Cisco Sys., Inc. , 575 U.S. 632,644 (2015). Since I ultimately conclude that claims 1, 2, and 3 of
   the '066 patent are invalid as anticipated, there is ultimately no infringement.
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   storage conditions. (Tr. at 365:23- 366:4, 367:9-15, 368:2- 7 (Lenox); see also DTX 105).

   Liquidia' s raw material specification for treprostinil sodium states: "Storage Conditions: 2° -

   8°C, protected from light and moisture." (DTX 9 at l ; see also Tr. at 374:12-15, 396:7- 10

   (Fuson) (testifying that the FDA would expect Liquidia to follow the temperature storage

   conditions set in its raw material specification and Yonsung' s DMF); DTX 407 at 3 (FDA pre-

   approval inspection report wherein the FDA checked Liquidia' s compliance with the 2°C to 8°C

   storage conditions)).

          Despite these clear statements to the FDA, UTC argues that Liquidia' s NDA and

   Yonsung' s DMF permit storage of TN at ambient temperature because Yonsung' s stability data

   show that TN is stable at ambient temperature. (See PTX 112 at 519-61). The parties' FDA

   experts Mr. Matto and Mr. Fuson both agree that if there were an out-of-specification

   temperature excursion (e.g. , TN was exposed to ambient temperatures), Liquidia would need to

   conduct a full investigation before using that TN to make LIQ861. (Tr. at 272 :9-274:3 (Matto);

   Tr. at 378:1-15 (Fuson)). But the fact that Liquidia might, in some circumstances, be permitted

   to use TN exposed to ambient temperatures is insufficient to show that Liquidia will do so. 8 See

   Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1329 (Fed. Cir. 2010) ("[I]t is not enough to simply




   8
      UTC argues that Liquidia infringes as a matter of law under Sunovion. (D .I. 408 at 10-11 ).
   Sunovion is inapposite. The patent claim at issue in that case limited the concentration of a
   particular isomer to "less than 0.25%," and the amended ANDA specified a product containing
   " [not more than] 0.6%" concentration of the same isomer. Sunovion Pharms. , Inc. v. Teva
   Pharms. USA, Inc., 731 F.3d 1271 , 1274-75 (Fed. Cir. 2013). Since the ANDA specification of
   not more than 0.6% necessarily included products meeting the claim limitation ofless than
   0.25%, the Court held that Defendant had sought "FDA approval to market a generic compound
   within the scope of a valid patent," and thus infringed as a matter of law. Id. at 1280. In
   contrast, here, Liquidia asks the FDA to approve sales that fall outside the scope of the ' 066
   patent. Liquidia' s NDA (through incorporation of Yonsung ' s DMF) specifically provides that
   TN should be stored at 2°C to 8°C, not ambient temperature.
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   show that a product is capable of infringement; the patent owner must show evidence of specific

   instances of direct infringement.").

          UTC further argues that the isolated salt (TN) used to make LIQ861 is stored at ambient

   temperature at three points in the process: before acceptance into Y onsung ' s warehouse; during

   shipment from Yonsung to Liquidia; and during Step 1 ofLiquidia' s PRINT process. (D.I. 408

   at 10). I will address each argument in turn.

          First, UTC asserts that TN is stored at ambient temperature in "finished product storage

   containers" before acceptance into Yonsung' s warehouse. Relying on Yonsung' s 2017 batch

   production record for TN 117IO 10, Dr. Nuckolls claimed that Y onsung stored the TN at ambient

   temperature for 43 days between production and acceptance into the warehouse. (Tr. at 96:10-

   97:24 (Nuckolls); PTX 1409 at 47-50, 70). Dr. Nuckolls, however, only based his opinion on

   the lack of temperature notation in this batch record. The absence of temperature notation on a

   single batch record does not show storage at ambient temperature by a preponderance of the

   evidence. Rather, Yonsung' s List of Finished/Intermediate Products from 2017 required TN to

   be stored at refrigerated temperatures. (DTX 43 at 6). Further, batch production records from

   2019 indicate that TN is "refrigerated" between production and acceptance into the warehouse.

   (DTX 413 at 12).

           Second, UTC contends that TN is stored at ambient temperature when it is shipped from

   Yonsung to Liquidia. 9 Three batches of TN (TN120C010, TN120G010, and TN120I010) 10




   9
      Liquidia argues that the plain and ordinary meaning of "stored" does not include shipping.
   (D.I. 412 at 8 n.2). I disagree. A POSA would understand that a material can be stored during
   shipment. (Tr. at 137:6-138:11 (Nuckolls)).
   10
       These batches are not listed as "Representative Treprostinil Sodium Drug Substances
   Batches" in the NDA. (PTX 105 at 8).
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   experienced ambient temperatures for nine days during shipment from Yonsung to LGM. (PTX

   19 at 17, 19- 21 , 26-27; Tr. at 98 :1-13 (Nuckolls)). LGM notified Liquidia that these batches

   experienced temperature excursions, stating, "[O]ur QC released the shipment because Yonsung

   has long-term stability showing the Treprostinil is stable at room temperature for 6 months."

   (PTX 2020 at 475-78). Liquidia accepted these shipments, marking "Requirements Met" for

   "Transport Conditions (Temperature-if applicable)" on the receiving reports. (PTX 19 at 1;

   PTX 104 at 1).

          UTC provides no evidence showing that Liquidia used these batches in GMP

   manufacturing to make a pharmaceutical composition, as is required by claim 6. Instead, the

   evidence shows that Liquidia only used these batches for R&D. Liquidia's Executive Director

   of Analytical Operation, Mr. Kindig, testified that TN l 20CO 10 was ordered specifically for use

   in R&D, not GMP manufacturing. (Tr. at 309:1-4, 321:1- 13 (Kindig)). Mr. Kindig also

   testified that TN120G010 and TN120I010 were rejected by Liquidia' s Quality Unit for GMP use

   and were relegated to R&D use only. (Tr. at 317:1-320:20 (Kindig)). 11 The fact that Liquidia

   accepted these out-of-specification batches instead of requesting a refund from Yonsung is not

   persuasive evidence of infringement, as Liquidia had another use for these batches.

          UTC also asserts that three other batches of TN (TN116J010, TNl 17K010, and

   TNl 17!010) were stored at ambient temperature during shipment and were subsequently used for

   clinical trials. (See PTX 105 at 8 (listing these batches as "Representative Treprostinil Sodium



   11
     Nevertheless, UTC again argues that the FDA will permit Liquidia to use these batches
   because ofYonsung' s stability data. (D.I. 408 at 13-14). But, as discussed above, this does
   not show by a preponderance of the evidence that Liquidia will use batches exposed to ambient
   temperatures to prepare pharmaceutical compositions. Liquidia rejected these batches for GMP
   manufacturing because they were exposed to ambient temperatures, and UTC has failed to
   provide evidence showing that Liquidia will not continue to do so.
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   Drug Substances Batches")). While the temperature data loggers for these batches do show a

   spike to ambient temperature, this spike directly corresponds with Liquidia' s receipt of the

   batches. (PTX 116; PTX 117; Tr. at 324 :11- 327:24 (Kindig); Tr. at 150:17- 153:22 (Nuckolls)

   (confirming that receipt date and spike date were both December 11 , 2017)). Once Liquidia

   receives the TN shipment, an employee will open the box, set aside the data logger and

   paperwork, and transfer the TN to the GMP refrigerator. (Tr. at 321: 18-323 :7 (Kindig)).

   Because the temperature logger does not automatically stop once the box is opened, the

   employee will later press the button to stop the data logging when dealing with the paperwork.

   (Tr. at 322:15- 323:2; 327:18- 328:8 (Kindig)). This explains why the data loggers immediately

   spiked into ambient temperature on the date Liquidia received and opened the box. Thus, the

   temperature data loggers for these three batches do not prove storage at ambient temperature.

          The remaining shipments that UTC points to did not include temperature data loggers.

   (PTX 123 ; PTX 124; PTX 127; PTX 823; see also PTX 126 at 24 (temperature logger showing a

   maximum temperature of 6.1°C)). Contrary to UTC ' s assertion, the lack of temperature data is

   not persuasive evidence that these batches were stored at ambient temperature.

          Third, UTC argues that TN is stored at ambient temperature in a drybox during Step 1 of

   Liquidia' s PRINT process. Liquidia' s PRINT process has six steps: (1) "Preparation of aqueous

   stock solution"; (2) "Preparation of engineered particles (particle fabrication)"; (3) "Dry

   collection of engineered particles as bulk LIQ861 inhalation powder"; (4) "Drying and

   packaging of bulk LIQ861 inhalation powder"; (5) "Drug Product Primary Packaging-

   encapsulation of bulk LIQ861 inhalation powder in [HPMC] capsules"; and (6) "Drug Product

   Secondary Packaging - blister packaging and assembly of commercial drug product kit." (DTX



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   204 at 2). After Step 4, the LIQ861 bulk powder is shipped to Xcelience for encapsulation and

   packaging (Steps 5 and 6). (Id. at 12).

          During Step 1, a sample of TN is placed in a dry box and used to make a stock aqueous

   solution. (PTX 70 at 9-17). Dr. Nuckolls claims that TN is " stored" in the drybox for three

   hours. (Tr. at 99:24-100:7 (Nuckolls) (relying on the time stamps in Step 2-2 (8:12am) and

   Step 2-17 (11 :46am) of the Batch Production Record (PTX 70))). A POSA, however, would

   understand that TN is being used, not stored, during Step 1 of the PRINT process. (See DTX

   204 at 2 (referring to the PRINT process as "[t]he manufacturing process"). Thus, evidence that

   Liquidia places TN in a dry box does not prove infringement of the storage limitation.

          Liquidia has represented to the FDA that it will store treprostinil sodium at 2°C to 8°C.

   UTC has failed to prove that Liquidia will go against these representations and store isolated

   treprostinil sodium at ambient temperature before it is used to prepare a pharmaceutical

   composition. See In re Brimonidine Pat. Litig. , 643 F.3d 1366, 1378 (Fed. Cir. 2011) ("We

   cannot assume that [the NDA filer] will not act in full compliance with its representations to the

   FDA."). Accordingly, I find that UTC has failed to prove by a preponderance of the evidence

   that Liquidia's proposed LIQ861 product will infringe claim 6.

                  3.     Claims 8 and 9

          Liquidia only disputes infringement of the temperature storage limitation in claims 8 and

   9. Claims 8 and 9 require "storing the treprostinil salt at ambient temperature, and preparing a

   pharmaceutical product from the treprostinil salt after storage." UTC asserts that the three

   instances of storage discussed above with respect to claim 6 apply equally to claims 8 and 9.

   (D.I. 408 at 16). This evidence fails to show storage of TN at ambient temperature for the

   reasons discussed above.

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            Because claims 8 and 9 require storage of "the treprostinil salt," whether isolated or not,

   UTC points to three additional instances of storage at ambient temperature to show infringement.

   Specifically, UTC contends that the LIQ861 bulk powder, which contains the treprostinil salt

   after it is mixed with excipients, is stored at ambient temperature between PRINT Steps 1 and 2;

   between PRINT Steps 2 and 3; and between PRINT Steps 3 and 4. (Id.) .

            Claim 8 recites a method for "preparing a pharmaceutical product," while claim 6 recites

   a "pharmaceutical composition." UTC contends that the LIQ861 bulk powder is the

   "pharmaceutical composition" and LIQ861 is the "pharmaceutical product." (Id. ). UTC

   asserts that Liquidia prepares the pharmaceutical composition during PRINT Steps 1-4 and

   begins "preparing a pharmaceutical product" at PRINT Step 5. (Id.). I disagree. I find that a

   POSA would understand that Liquidia begins preparing the LIQ861 product at PRINT Step 1,

   not Step 5. 12 Steps 5 and 6 simply involve encapsulating and packaging the LIQ861 inhalation

   powder produced in Step 4, i.e. , putting it in final dosage form. (Tr. at 455:9-12 (Winkler);

   DTX 204 at 2). A POSA would understand that the encapsulation and packaging performed

   during these steps would not change the chemical properties of the bulk LIQ861 inhalation

   powder produced in Step 4. (Tr. at 455:5-18 (Winkler)). Accordingly, a POSA would

   understand that Liquidia begins preparing a pharmaceutical product before the final packaging

   steps.

            Any "storage" between steps in the PRINT process thus cannot meet the limitations of

   claims 8 and 9, which require storage before preparing a pharmaceutical product. I therefore



   12
      While I agree with UTC that a POSA would understand the "pharmaceutical product" of claim
   8 to be distinct from the "pharmaceutical composition" of claim 6, this does not mean that the
   preparation of the pharmaceutical composition and pharmaceutical product cannot begin at the
   same point.
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   find that UTC has failed to prove infringement of claims 8 and 9 by a preponderance of the

   evidence. 13

   III.    INVALIDITY OF THE '066 PATENT

           A.     Product-by-Process Claims (Claims 1, 2, 3, 6, and 9)

                  1.      Legal Standard

           "In determining validity of a product-by-process claim, the focus is on the product and

   not on the process of making it." Amgen Inc. v. F. Hoffman-La Roche Ltd, 580 F.3d 1340, 1369

   (Fed. Cir. 2009). "That is because of the . . . long-standing rule that an old product is not

   patentable even if it is made by a new process." Id. at 1370. "If the product in a product-by-

   process claim is the same as or obvious from a product of the prior art, the claim is unpatentable

   even though the prior product was made by a different process." In re Thorpe , 777 F.2d 695 ,

   697 (Fed. Cir. 1985). However, there is an exception to this general rule when "the process by

   which a product is made imparts ' structural and functional differences ' distinguishing the

   claimed product from the prior art." Greenliant Sys., Inc. v. Xicor LLC, 692 F.3d 1261 , 1268

   (Fed. Cir. 2012) (quoting Amgen, 580 F.3d at 1370). "The party asserting anticipation bears the

   burden of proving that the process limitations do not result in an invention distinguishable from

   the prior art." Cubist Pharms., Inc. v. Hospira, Inc., 75 F. Supp. 3d 641 , 668 (D. Del. 2014)

   (citing Amgen, 580 F.3d at 1370), aff'd, 805 F.3d 1112 (Fed. Cir. 2015).

                  2.      Findings of Fact

                  1.    The priority date of the ' 066 patent is December 17, 2007.



   13
      Liquidia also argues that UTC has failed to show that Liquidia uses "a salt of treprostinil
   stable at ambient temperature" as required by claims 8 and 9. (D.I. 411 at 12). Because I have
   found that UTC has failed to prove infringement of the storage limitation, I need not address this
   argument.
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                  2.   Treprostinil is also known as UT-15 or treprostinil free acid. (DTX 258 at
                       1; DTX 674 at 4; Tr. at 408:16-17, 459:5-6, 461 :5-6 (Winkler); Tr. at
                       742:5-9 (Gonda)).

                  3.   A 2004 Journal of Organic Chemistry article by Moriarty et al., in relevant
                       part titled "Synthesis of UT-15 (Treprostinil)" ("Moriarty"), teaches the
                       synthesis of 99. 7% pure treprostinil free acid, via alky lation and hydrolysis.

                  4.    Moriarty is prior art.

                  5.    The UT-15 treprostinil taught by Moriarty is the same chemical structure as
                        the treprostinil product of claims 1-3, 6, and 9 of the '066 patent.

                  6.    The average purity ofUTC's batches ofUT-15 treprostinil made by
                        Moriarty and the ' 066 process are the same: 99.7%.

                  7.    There are no structural or functional differences between the UT-15
                        treprostinil taught by Moriarty and the treprostinil claimed in the '066
                        patent.

                  3.      Conclusions of Law

          Claims 1, 2, 3, 6, and 9 are product-by-process claims, which claim a "pharmaceutical

   composition(/product] comprising treprostinil or a pharmaceutically acceptable salt thereof."

   Liquidia argues that these claims are invalid because the claimed product is the same product

   previously disclosed in the prior art by the 2004 Moriarty publication. 14 (D.I. 406 at 3).



   14
      UTC faults Liquidia for failing to assert Moriarty as a§ 102(a) anticipating reference. (D.I.
   413 at 14 & n.10). This argument misunderstands Liquidia' s invalidity theory. Liquidia claims
   that Moriarty anticipates under product-by-process law, not that Moriarty anticipates the claimed
   process steps. UTC did not object to the admission of evidence relating to this anticipation
   theory at trial. Thus, UTC cannot now argue that Moriarty is not prior art because Liquidia
   failed to disclose it as such. UTC also (newly) argues that Liquidia has failed to show that
   Moriarty was enabled. (Id at 15-16). However, it is UTC ' s burden to prove that Moriarty is
   not enabled. Apple Inc. v. Corephotonics, Ltd, 861 F. App'x 443,450 (Fed. Cir. 2021)
   (nonprecedential) ("[R]egardless of the forum, prior art patents and publications enjoy a
   presumption of enablement, and the patentee/applicant has the burden to prove nonenablement
   for such prior art."); In re Antor Media Corp. , 689 F.3d 1282, 1289 (Fed. Cir. 2012) ("[D]uring
   patent prosecution, an examiner is entitled to reject claims as anticipated by a prior art
   publication or patent without conducting an inquiry into whether or not that prior art reference is
   enabling. As long as an examiner makes a proper prima facie case of anticipation ... , the burden
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          The 2004 article published in the Journal of Organic Chemistry by Robert M. Moriarty et

   al., entitled, in relevant part, "Synthesis of UT-15 (Treprostinil)" ("Moriarty"), teaches the

   synthesis of treprostinil free acid by alkylation and hydrolysis of BTO. (DTX 258 at 8; Tr. at

   461: 17-25 (Winkler)). Liquidia argues that the treprostinil product claimed in the product-by-

   process claims is identical to the treprostinil free acid of Moriarty.

          As a preliminary matter, UTC argues that Moriarty cannot invalidate the product-by-

   process claims because it only discloses treprostinil, not a "pharmaceutical

   composition[/product] comprising treprostinil." (D.I. 413 at 8-9). The ' 066 patent, however,

   makes no distinction between treprostinil and a pharmaceutical composition/product comprising

   treprostinil. The specification only describes the steps for synthesizing treprostinil or

   treprostinil salt. (See JTX 2 at 9:46-14:54 (Examples 1-5), 17:23 (Example 6, step 51 , final

   yield is "UT-15"); see also id. at 5:57-59 ("The present invention provides for a process for

   producing treprostinil and other prostacyclin derivatives and novel intermediate compounds

   useful in the process.")). There is no description of combining treprostinil or treprostinil salt

   with excipients. Thus, a POSA reading the ' 066 patent specification would understand that

   treprostinil is a "pharmaceutical composition[/product] comprising treprostinil." This reading is

   confirmed by the testimony of both parties ' experts. (Tr. at 104:22-105 :8 (Nuckolls) (stating

   that the pharmaceutical composition in claim 1 "could be Treprostinil or the pharmaceutically

   acceptable [salt thereof]"); Tr. at 462 :15- 24 (Winkler) (confirming that the product claimed by

   the product-by-process claims "could just be Treprostinil")).




   shifts to the applicant to submit rebuttal evidence of nonenablement. "). UTC has failed to
   submit such evidence.
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          Liquidia' s expert Dr. Winkler testified that the UT-15 treprostinil disclosed in Moriarty

   and the '066 treprostinil were structurally and functionally the same. (Tr. at 457 :6-480:2

   (Winkler)). Specifically, the UT-15 treprostinil disclosed in Moriarty has the same chemical

   structure as the treprostinil product of claims 1, 2, 3, 6, and 9. (Tr. at 462:25-463:2, 467:3-5

   (Winkler). Compare DTX 258 at 3 (depicting the chemical structure ofUT-15 treprostinil as

   compound 7), with JTX 2 at 14:20-30 (depicting the chemical structure of treprostinil)). Claims

   1, 2, 3, 6, and 9 do not claim any purity percentage, impurity profile, or commercial scale

   production. 15 (Tr. at 460:8-16 (Winkler)). The specification discloses that the treprostinil

   generated by the claimed process has a purity ranging from 99.7% to 99.9%. (JTX 2 at 14:55-

   65). The patent further advises, "In one embodiment, the purity of [treprostinil free acid] is at

   least 90.0%, 95 .0%, 99.0%, 99.5%." (Id. at 9:22-23). The UT-15 treprostinil disclosed in

   Moriarty has a purity of 99. 7%, which falls within the disclosures of the '066 patent

   specification. (DTX 258 at 13 ; Tr. at 462 :9-14 (Winkler)).

          Dr. Winkler also testified that UTC manufactured UT-15 treprostinil according to both

   processes. (Tr. at 463:20-22 (Winkler)). He testified that UTC used the Moriarty process in

   Chicago starting in 1997, 16 and in 2007, UTC moved the manufacturing process to Silver



   15
      UTC argues that the claim limitation requiring that the "level of one or more impurities found
   in the starting batch of treprostinil is lower in the pharmaceutical composition" defines the
   claimed product. (D.I. 413 at 7-8 (citing In re Nordt Dev. Co., 881 F.3d 1371 , 1376 (Fed. Cir.
   2018))). I disagree. This impurities limitation is a process limitation that requires comparing
   the level of certain process impurities in the starting batch of treprostinil and the pharmaceutical
   composition, as shown in the infringement analysis above. This limitation merely describes the
   process and does not impart any structural or functional differences in the claimed
   pharmaceutical composition (as shown in Dr. Winkler's analysis discussed infra). See In re
   Nordt, 881 F.3d at 1375-76; Greenliant, 692 F.3d at 1268-69.
   16
      UTC argues that Dr. Winkler failed to show that UTC's former Chicago process was the same
   process disclosed in Moriarty. (D.I. 413 at 17-19). In reaching this conclusion, Dr. Winkler
   compared the Moriarty paper and the description of the Chicago process and determined that
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   Spring, Maryland and changed to the ' 066 process. (Tr. at 464:15-465:2 (Winkler) (citing DTX

   627A); Tr. at 546:1-4 (Batra); DTX 619). UTC told the FDA that the products made by both

   processes were the "same" and "equivalent." (DTX 70 at 3 ("[T]he lots of treprostinil API

   produced by the new process in Silver Spring are of the same high quality and purity as the

   commercial lots of API produced by the existing process at the Chicago facility. "); DTX 619 at

   10 ("The release data for the drug substance batch prepared by the revised route of synthesis

   indicate that it is of equivalent quality to the batches produced by the current synthetic route,

   particularly with respect to the assay and purity profile."); DTX 646 at 4-5 ("[T]he simplified

   chemical synthesis of treprostinil will provide API that meets the same acceptance criteria as API

   obtained from the 20-step chemical synthesis, with a very similar impurity profile and similar

   acceptance criteria.")).

          UTC used both processes to make treprostinil free acid for its drug Remodulin®. (Tr. at

   467:17-468 :3 (Winkler); Tr. at 545:7-19 (Batra); JTX 2 (titled "Process to Prepare Treprostinil,

   The Active Ingredient in Remodulin®")). UTC never represented to the FDA that the UT-15

   treprostinil made according to the ' 066 patent in Silver Spring was safer, less toxic, or purer than

   the UT-15 treprostinil made according to Moriarty in Chicago. (Tr. at 469:7- 14, 478:23-479:2 1

   (Winkler)). Based on this, Dr. Winkler concluded that a POSA would understand there not to




   they recited the same reactions. (Tr. at 519:18-22, 520:9-21 (Winkler)). Dr. Winkler also
   relied on one of the inventors, Dr. Batra, who testified that "Moriarty 's process" "might be one
   of the terms" used to describe the Chicago process. (Tr. at 546:5-10 (Batra); see also JTX 2 at
   1:28-31 ("Treprostinil, and other prostacyclin derivatives have been prepared as described in
   Moriarty . ... ")). No UTC witness disputed Dr. Winkler's statement that the Moriarty process
   was used in Chicago. In fact, UTC's witnesses relied on documents comparing the Chicago and
   Silver Spring products to demonstrate a structural difference. (See Tr. at 783 :21-786: 17
   (Bunce); Tr. at 793:16-794:12, 799:4-802:19 (Walsh)). I therefore credit Dr. Winkler' s
   testimony that the "Chicago process" and "Moriarty process" are the same.
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   be any "efficacy, toxicity," or "biological activity" differences between the treprostinil made

   according to Moriarty and the ' 066 treprostinil. (Tr. at 479:12-21 (Winkler)).

          Dr. Winkler further testified that UTC had identical specification limits (with respect to

   unidentified impurities, identified impurities, and total related substances) on allowable

   impurities between the two processes' products. (Tr. at 469:15-471:23 (Winkler). Compare

   DTX 151 at 1 (Silver Spring Product Certificate of Analysis from 2020), and DTX 627 A at 5-6

   (Silver Spring Process Optimization Batches Release Testing Data), with DTX 627 A at 7

   (Chicago Release Testing Data)). UTC increased its purity assay range from 97-101 %

   (Chicago) to 98-102% (Silver Spring). (Tr. at 784:23-786:9 (Bunce); DTX 70 at 3; DTX 151

   at 1; DTX 627 A at 7). But Dr. Winkler testified that the purity of 96 batches of treprostinil

   made by the Chicago process was 98.9%- 100.3%, within both the 97- 101 % and 98-102%

   ranges. (Tr. at 470:21-473:5 (Winkler)). Dr. Winkler testified, and UTC did not refute, that

   the average purity ofUTC's batches ofUT-15 treprostinil made by the Chicago process and the

   Silver Spring process were the same: 99.7%. (Tr. at 473:16-477 :18 (Winkler) (relying on the

   purity data submitted during the IPR for UTC's U.S. Patent No. 8,497,393 (DTX 664 at App. A

   ("Sample of product of Moriarty process")))).

          No UTC expert or fact witness rebutted Dr. Winkler' s opinions or provided testimony

   identifying any structural or functional difference between the Moriarty treprostinil free acid and

   the claimed treprostinil free acid product/composition. UTC only provided evidence relating to

   the functional and structural differences between the Moriarty treprostinil free acid and the

   claimed treprostinil salt product/composition. Dr. Walsh (inventor and former UTC employee)

   testified that the '066 process greatly reduced the 3AU90 impurity (an isomer of treprostinil) as

   compared to UTC's former Chicago process. (Tr. at 793:2-794:5, 795:12-796:12, 797 :11-

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   802: 19 (Walsh)). Dr. Walsh, however, did not compare the Moriarty treprostinil free acid

   prepared in Chicago and the claimed treprostinil free acid product/composition. Instead, he

   compared the treprostinil free acid prepared at the Chicago facility and the treprostinil

   diethanolarnine salt prepared by the ' 066 process. (Tr. at 803:1- 12 (Walsh)). Dr. Walsh

   confirmed that treprostinil diethanolarnine salt is a different compound from treprostinil free

   acid. (Tr. at 804:17-19 (Walsh)). Thus, Dr. Walsh' s testimony fails to identify any structural

   or functional differences between the treprostinil products.

          UTC also argues that the ' 066 patent' s "capability for making a pharmaceutical

   composition from treprostinil salt that had been stored at ambient temperature is novel over the

   prior art." (D.I. 413 at 24). UTC is improperly focusing on the process limitations of the

   claims. The storage and stability limitations in claims 6 and 9 relate to the intermediate salt

   generated during the process steps, not the final composition/product. The claims do not cover

   any stability or storage of the final treprostinil product. Nor is this "capability" a structural or

   functional difference which appears in the claimed product. Instead, UTC admitted that the

   claimed treprostinil free acid was not stable at room temperature, which presents no

   improvement over the Moriarty UT-15 treprostinil. (Tr. at 964:19-965 :7 (UTC Closing)).

          The product-by-process claims recite a "pharmaceutical composition[/product]

   comprising treprostinil or a pharmaceutically acceptable salt thereof." Thus, if the treprostinil

   product is anticipated, then the claims are invalid, regardless of whether the treprostinil salt is

   anticipated. See Brown v. 3M, 265 F.3d 1349, 1351 (Fed. Cir. 2001 ) ("When a claim covers

   several structures or compositions, either generically or as alternatives, the claim is deemed

   anticipated if any of the structures or compositions within the scope of the claim is known in the

   prior art."). UTC has not provided any evidence or expert testimony which compares the

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   claimed treprostinil free acid to the Moriarty UT-15 treprostinil, instead choosing to focus on the

   claimed treprostinil salt. Accordingly, there is no record evidence that contradicts Dr. Winkler' s

   testimony that the claimed treprostinil product and Moriarty UT-15 treprostinil are the same.

          Liquidia has shown by clear and convincing evidence that the claimed treprostinil

   product is functionally and structurally the same as the UT-15 treprostinil disclosed in Moriarty.

   Thus, I find that claims 1, 2, 3, 6, and 9 of the ' 066 patent are invalid as anticipated.

           B.     Written Description (Claims 1, 2, 3, and 6)

                   1.      Legal Standard

           The written description requirement contained in 35 U.S.C. § 112 requires that the

   specification "clearly allow persons of ordinary skill in the art to recognize that [the inventor]

   invented what is claimed." Ariad Pharms. , Inc. v. Eli Lilly & Co. , 598 F.3d 1336, 1351 (Fed.

   Cir. 2010) (en bane) (alteration in original). "In other words, the test for sufficiency is whether

   the disclosure of the application relied upon reasonably conveys to those skilled in the art that the

   inventor had possession of the claimed subject matter as of the filing date." Id.      "When

   determining whether a specification contains adequate written description, one must make an

   ' objective inquiry into the four comers of the specification from the perspective of a person of

   ordinary skill in the art. "' Bos. Sci. Corp. v. Johnson & Johnson, 647 F.3d 1353, 1366 (Fed.

   Cir. 2011) (quoting Ariad, 598 F.3d at 1351).

           The written description inquiry is a question of fact. Ariad, 598 F.3d at 1351. "A party

   must prove invalidity for lack of written description by clear and convincing evidence."

    Vasudevan Software, Inc. v. MicroStrategy, Inc., 782 F.3d 671 , 682 (Fed. Cir. 2015).

                   2.      Findings of Fact

                   1.   A POSA reading the ' 066 patent specification would have understood that
                        the alkylation step results in a light brown material, the hydrolysis step
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                       results in a pale yellow material, and the salt formation step results in an off-
                       white material, indicating the generation and lowering of impurities from the
                       alkylation and hydrolysis steps.

                  2. TLC may be used to qualitatively see the presence of impurities generated as
                     the reaction proceeds. A POSA would have understood from the
                     specification disclosure that monitoring the progress of a reaction by TLC
                     would include identification of impurities generated during the reaction step.

                  3.      Conclusions of Law

          Liquidia asserts that there is no written description support for claim 1' s limitation

   requiring that "a level of one or more impurities found in the starting batch of treprostinil is

   lower in the pharmaceutical composition." Claim 1 further requires "a starting batch of

   treprostinil having one or more impurities resulting from prior alkylation and hydrolysis steps ...

   wherein said alkylation is alkylation of benzindene triol."

          The specification provides adequate written description support for the impurities

   limitation. Specifically, the specification provides, "The impurities carried over from

   intermediate steps (i.e. alkylation of triol and hydrolysis ofbenzindene nitrile) are removed

   during the carbon treatment and the salt formation step." (JTX 2 at 17:29-32). Liquidia argues

   that this passage does not provide adequate written description support because it does not

   specify whether the impurities that are reduced are from the alkylation and hydrolysis ofBTO.

   (D.I. 406 at 12- 13). This argument, however, is based on Liquidia' s narrow claim construction,

   which I rejected above. A POSA would understand that claim 1 encompasses any impurity

   generated during the alkylation and hydrolysis steps. Thus, based on this language in the

   specification, a POSA would understand that the inventors were in possession of the impurities

   limitation. (See Tr. at 818:1-22 (Scheidt)).

           Yet, Liquidia argues that since the specification does not report the level of impurities

   generated during the alkylation and hydrolysis steps, the ' 066 patent does not provide any
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   written description of a "level of one or more impurities found in the starting batch of

   treprostinil" to compare to the pharmaceutical composition. (Tr. at 480:25-482:7 (Winkler); see

   JTX 2 at 9:49- 10:37, 10:40-11 :49). Liquidia argues, "[T]here is insufficient data and

   information in the specification of the ' 066 patent for a POSA to make such a comparison as

   claimed." (D.I. 406 at 10). This argument is not a written description argument; it might be an

   enablement argument. The specification need not report quantitative impurities data to provide

   written description support. While the ' 066 patent does not disclose quantitative impurities

   measurements, it provides qualitative measures that would alert a POSA to the generation and

   reduction of impurities as claimed.

          As UTC ' s expert Dr. Scheidt testified, the ' 066 patent describes that the alkylation step

   results in a light brown material, the hydrolysis step results in a pale yellow material (i.e., the

   starting batch of treprostinil), and the salt formation step results in an off-white material. (Tr. at

   810:13- 811:1 (Scheidt); JTX 2 at 9:49-10:37 (alkylation ofbenzindene triol), 10:40-11:49

   (hydrolysis of benzindene nitrile), 14: 1- 54 (conversion of treprostinil diethanolamine salt to

   treprostinil)). Dr. Scheidt credibly testified that a POSA would understand that these color

   changes indicate the generation and lowering of impurities from the alkylation and hydrolysis

   steps. (Tr. at 811: 17-812:5, 817:5- 25 , 819:7- 18 (Scheidt); see also Tr. at 484 :2-8, 488:3- 15,

   532:16-24 (Winkler) (acknowledging that changes in color can indicate the presence of an

   impurity)). Liquidia faults Dr. Scheidt' s analysis because the color differences do not show the

   specific impurity or the amount of impurity removed. (D.I. 406 at 11 ). This argument,

   however, relies on Liquidia' s erroneous construction. A POSA would understand that claim 1

   encompasses any impurity generated during the alkylation and hydrolysis steps. Further, the



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   claim simply requires the lowering of the impurities, so the specification need not disclose the

   specific amount of impurities removed to provide adequate written description support.

           The ' 066 patent specification also provides that the progress of the alkylation and

   hydrolysis reactions were monitored by thin layer chromatography ("TLC"). (JTX 2 at 10:30-

   32, 11 : 13-16). TLC may be used to qualitatively see the presence of impurities generated as the

   reaction proceeds. (Tr. at 81 2 :9-814: 16 (Scheidt)). Although the patent does not disclose the

   use of TLC to identify or measure impurities, I credit Dr. Scheidt' s testimony that a POSA would

   understand that the TLC would include identification of impurities generated during the reaction

   steps. (Id.) .

           I find that these disclosures in the ' 066 patent "reasonably convey[] to those skilled in the

   art that the inventor had possession" of the impurities lirnitation. 17 Ariad, 598 F.3d at 1351.

   Liquidia has not proven by clear and convincing evidence that claims 1, 2, 3, and 6 of the ' 066

   patent are invalid for lack of written description.




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      Liquidia relies on inventor testimony to show that the inventors did not possess the impurities
   limitation. (D.I. 406 at 10, 12-13). This inventor testimony does not alter my conclusion.
   The test for written description "requires an objective inquiry into the four comers of the
   specification." Ariad, 598 F.3d at 1351. The disclosures in the ' 066 patent reasonably convey
   possession of the claimed impurities limitation. I therefore see no reason to look beyond the
   four comers of the specification. See Biogen Int '! GmbHv. Mylan Pharms. Inc., 28 F.4th 1194,
   1202 (Fed. Cir. 2022) (Lourie, J. , dissenting from the denial of the petition for rehearing en bane)
   ("Where the disclosure in a patent' s specification plainly corresponds to what is claimed,
   extrinsic evidence should not be used to cast doubt on the meaning of what is disclosed.").
   Even if I were to consider the inventor testimony, I would find that it does not provide clear and
   convincing evidence that the claims lack written description.

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   IV.    INFRINGEMENT OF THE '793 PATENT

          A.      Legal Standard

          "Whoever actively induces infringement of a patent shall be liable as an infringer." 3 5

   U.S.C. § 27l(b); Warner-Lambert Co. v. Apotex Corp. , 316 F.3d 1348, 1363 (Fed. Cir. 2003).

   To prevail on a claim of induced infringement, the plaintiff must show ( 1) "that there has been

   direct infringement," and (2) "that the alleged infringer knowingly induced infringement and

   possessed specific intent to encourage another' s infringement." Enplas Display Device Corp. v.

   Seoul Semiconductor Co., 909 F.3d 398,407 (Fed. Cir. 2018) (internal citation omitted).

          In a Hatch-Waxman case, a plaintiff "can satisfy its burden to prove the predicate direct

   infringement by showing that if the proposed []NDA product were marketed, it would infringe

   the [asserted claims]."   Vanda Pharms. Inc. v. W-Ward Pharms. Int '! Ltd. , 887 F.3d 1117, 1130

   (Fed. Cir. 2018). For method-of-treatment patents, if an NDA applicant' s "proposed label

   instructs users to perform the patented method[,] ... the proposed label may provide evidence of

   [the NDA applicant' s] affirmative intent to induce infringement." AstraZeneca LP v. Apotex,

   Inc. , 633 F.3d 1042, 1060 (Fed. Cir. 2010). In that setting, the Federal Circuit has explained,

   "The label must encourage, recommend, or promote infringement." Takeda Pharms. US.A. ,

   Inc. v. W-Ward Pharrn. Corp., 785 F.3d 625, 631 (Fed. Cir. 2015). Evidence that a proposed

   label will "inevitably lead some consumers to practice the claimed method" can suffice to

   support a finding of specific intent to induce infringement. AstraZeneca, 633 F.3d at 1060.

          B.      Asserted Claims of the '793 patent

          1. A method of treating pulmonary hypertension comprising administering by inhalation
          to a human suffering from pulmonary hypertension a therapeutically effective single event
          dose of a formulation comprising treprostinil or a pharmaceutically acceptable salt thereof
          with an inhalation device, wherein the therapeutically effective single event dose comprises
          from 15 micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
          thereof delivered in 1 to 3 breaths.
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         4. The method of claim 1, wherein the inhalation device is a dry powder inhaler.

         6. The method of claim 4, wherein the formulation is a powder.

         7. The method of claim 6, wherein the powder comprises particles less than 5 micrometers
         in diameter.

         8. The method of claim 1, wherein the formulation contains no metacresol.

         C.     Findings of Fact

         1.   A POSA would have a medical degree with a specialty in pulmonology or
              cardiology, plus at least two years of experience treating patients with PH as an
              attending, including with inhaled therapies, or equivalent degree or experience.

         2.   LIQ861 is administered "3 to 5 times per day." Each administration is a single
              event dose.

         3.   LIQ861 is administered in a single event dose that is therapeutically effective.

         4.   Treprostinil is a vasodilator that reduces vasoconstriction in the pulmonary
              vasculature, causing vasodilation (widening of vasculature) and reduction of
              pulmonary artery pressure ("PAP") and pulmonary vascular resistance ("PVR").

         5.   A single administration of treprostinil will improve a patient' s hemodynamics.

         6.   A single administration ofLIQ861 will have positive hemodynamic effects, i.e.,
              reduce PAP and PVR.

         7.   Liquidia has knowledge of the ' 793 patent.

         8.   Liquidia's proposed LIQ861 label teaches all elements of the asserted claims of the
              '793 patent.

         9.   Knowing that the method of administering LIQ861 is infringing, Liquidia will
              encourage, recommend, and promote use of LIQ861 in an infringing manner,
              including by providing the label, patient instructions, and additional training and
              other information to physicians and patients.




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           D.     Conclusions of Law

                  1.      Act of Direct Infringement

           Liquidia argues that UTC has failed to prove that LIQ861 is administered in "a

   therapeutically effective single event dose," as required by claim 1 and therefore every asserted

   claim. 18

           Liquidia argues that claim 1 is limited to one single event dose per day rather than

   multiple doses per day. (D.I. 411 at 13). Liquidia reasons that claim 1 recites a "single event

   dose" rather than simply a "dose." (Id. ). Liquidia' s argument lacks merit. The term "single"

   modifies "event," not "dose." The experts agree that "single event dose" refers to a dose that is

   delivered in a single treatment session (i.e., a "single event"), including a session that involves

   multiple breaths. (Tr. at 675:4-15 (Waxman); Tr. at 704:25-705 :9 (Hill)).

           The claim language does not limit the number of single event doses per day. The claim

   recites the administration of "a" single event dose. The Federal Circuit "has repeatedly

   emphasized that an indefinite article ' a' or ' an' in patent parlance carries the meaning of ' one or

   more' in open-ended claims containing the transitional phrase ' comprising. "' KCJ Corp. v.

   Kinetic Concepts, Inc. , 223 F.3d 1351 , 1356 (Fed. Cir. 2000). There is no language in the

   claims or specification that necessitates a departure from this general rule. See Baldwin Graphic

   Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1342-43 (Fed. Cir. 2008) ("An exception to the general

   rule that ' a' or ' an' means more than one only arises where the language of the claims

   themselves, the specification, or the prosecution history necessitate a departure from the rule.").




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      Liquidia does not dispute infringement of the remaining limitations in claims 1, 4, 6, 7, and 8.
   (See D.I. 411 at 12-17).
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          The specification is consistent with the general meaning of "a." The specification

   expressly states, "Treprostinil can be administered a single time per day or several times per

   day." (JTX 3 at 8:1-2). Further, based on treprostinil' s three- to four-hour half-life, a POSA

   would understand that a patient would need to receive more than one single event dose per day .

   (Tr. at 704:9-24 (Hill)). Accordingly, I conclude that the scope of claim 1 is not limited to one

   single event dose per day. I find that LIQ861 is administered in a single event dose. The

   proposed LIQ861 label states that LIQ861 "should be administered 3 to 5 times per day." (PTX

   469 at 4). Each administration is a single event dose. (See Tr. at 676:15- 20 (Waxman); Tr. at

   705 :1-9, 707:5-22 (Hill)).

          The parties agree that claim 1 requires that each "single event dose" be "therapeutically

   effective." (Tr. at 651:5-22 (Waxman); Tr. at 683:2-9 (Hill)). The parties, however, dispute

   the plain and ordinary meaning of "therapeutically effective." UTC ' s expert Dr. Waxman

   testified that a therapeutically effective single event dose is one that causes a positive change in a

   patient's hemodynamics-i.e., "a therapeutically effective dose should cause a reduction in

   pulmonary artery pressure and cause a reduction in pulmonary vascular resistance." (Tr. at

   651:3-22 (Waxman)). In contrast, Liquidia' s expert Dr. Hill testified that a single event dose is

   therapeutically effective when it causes an "improvement in symptoms, in function, and/or in

   survival." (Tr. at 685 :15-21 (Hill)). Based on the teachings of the ' 793 patent, I agree with Dr.

   Waxman that a POSA would understand the plain and ordinary meaning of "therapeutically

   effective single event dose" to be a dose given in a single treatment session that causes an

   improvement in a patient's hemodynamics (reduced PAP or PVR).

          The examples in the specification studied the hemodynamic effects after a single event

   dose oftreprostinil. (See, e.g. , JTX 3 at 8:57-18:11 ; 9:11- 21 ("Pulmonary hemodynamics and

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   blood gases were measured at defined time points .... [Inhaled treprostinil sodium] doses of 30

   µg, 45 µg and 60 µg reduced pulmonary vascular resistance (PVR) .... Reduction of PVR by a

   single inhalation of the two higher doses outlasted the observation period of 120 minutes.");

   11 :62-66 ("The application of an effective amount of treprostinil in only few or even one single

   breath was achieved with a highly concentrated treprostinil sodium solution.")). The examples

   in the patent do not report long-term measures like patient survival rate. (See Tr. at 702: 12-20

   (Hill)). A POSA reading the ' 793 patent would thus understand that a single event dose is

   therapeutically effective when it improves a patient' s hemodynamics.

          I find that UTC has proven by a preponderance of the evidence that LIQ861 is

   administered in a therapeutically effective single event dose. Treprostinil is a vasodilator that

   reduces vasoconstriction in the pulmonary vasculature, causing vasodilation (widening of

   vasculature) and reduction of PAP and PVR. (Tr. at 650:20-25 (Waxman); Tr. at 700:13-17

   (Hill) (acknowledging that "the goal of using a vasodilator such as Treprostinil is to reduce the

   pulmonary arterial pressure and/or pulmonary vascular resistance")). Both experts agree that

   the ' 793 patent shows that the claimed single-event dosing of treprostinil improves a patient's

   hemodynamics. (Tr. at 637:22-25 (Waxman); Tr. at 702 :1-4 (Hill) (agreeing that the ' 793

   patent shows hemodynamic effectiveness from treprostinil); see also Tr. at 702:5-11 (Hill)

   (agreeing that on average, "a single administration of Treprostinil to someone suffering from

   pulmonary hypertension results in a beneficial reduction of pulmonary arterial pressure and/or

   vascular resistance")).

          Liquidia argues that these disclosures are not evidence that a single event dose of LIQ861

   will have hemodynamic effects because LIQ861 is administered in a completely different form

   than Tyvaso®. (D.I. 411 at 15). LIQ861 is a dry powder formulation, while Tyvaso® is a

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   liquid formulation delivered to the patient via a nebulizer. (Tr. at 696:6-12 (Hill)). But, as Dr.

   Hill acknowledged, Tyvaso® and LIQ861 involve the same molecule (treprostinil). (Tr. at

   711 :4-6 (Hill)). Dr. Hill testified that, because they involve the same molecule, he would

   expect Tyvaso® and LIQ861 to have similar effects on PAP and PVR. (Tr. at 711 :4-11 (Hill);

   see also Tr. at 694:20-{595:2 (Hill) (after a single event dose of LIQ861 , "There might be a

   transient improvement in hemodynamics. There might be no effect on the hemodynamics, but in

   the longer term, the effect would dissipate within hours, and you would expect no therapeutic

   effect beyond those first few hours.")). In fact, Liquidia relied on Tyvaso®' s safety and

   efficacy data in its NDA. (PTX 573 at 7 ("The NDA for LIQ861 inhalational powder ...

   rel[ies] on the FDA' s previous finding of safety and effectiveness for Tyvaso, the selected

   reference listed drug (RLD) for demonstration of the effectiveness of treprostinil in the treatment

   of PAH."); see also PTX 1213 (demonstrating that LIQ861 and Tyvaso® have the same

   bioavailability)).

           UTC ' s evidence shows that a single administration of treprostinil will improve a patient's

   hemodynamics, and thus proves by a preponderance of the evidence that a single administration

   of LIQ861 at the claimed doses will improve a patient's hemodynamics. I therefore find that

   UTC has proven by a preponderance of the evidence that the administration ofLIQ861 will

   directly infringe claims 1, 4, 6, 7, and 8 of the '793 patent.

                   2.     Specific Intent to Induce Infringement

           Liquidia argues that it lacks specific intent to induce infringement because the proposed

   LIQ861 label does not encourage administration of a "therapeutically effective single event

                                                                                   •
   dose." (D.I. 411 at 16-17). Liquidia argues that the label does not "instruct that LIQ861

   produces hemodynamic changes after a single event dose" because the label does not contain any

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   hemodynamic data or instruction to doctors to measure hemodynamic changes after a single

   event dose. (Id.). The label, however, does not need to provide hemodynamic data to induce

   infringement. It just needs to instruct doctors and patients to administer a single event dose that

   is therapeutically effective. See AstraZeneca, 633 F.3d at 1060 (finding that evidence that a

   proposed label will "inevitably lead some consumers to practice the claimed method" can suffice

   to support a finding of intent to induce infringement). The LIQ861 label does so by instructing

   doctors and patients to administer LIQ861 "3 to 5 times per day" at the claimed doses. (See

   PTX 469 at 4----6). As discussed above, UTC has proven that a single administration ofLIQ861

   will be therapeutically effective. Thus, the label ' s instructions will "inevitably lead" to the

   administration of a "therapeutically effective single event dose." 19 UTC has met its burden to

   show intent to induce infringement.

          I therefore find that UTC has proven by a preponderance of the evidence that Liquidia

   will induce infringement of claims 1, 4, 6, 7, and 8 of the '793 patent.

          On July 19, 2022, the PTAB issued a Final Written Decision in the IPR of the '793

   patent, invalidating all claims of the '793 patent as obvious. Liquidia Techs. , Inc. v. United

   Therapeutics Corp. , No. IPR2021-00406, 2022 WL 2820717 (P.T.A.B. July 19, 2022).

   Liquidia argues that it therefore cannot be liable for induced infringement under the Supreme

   Court' s decision in Commil. (D.I. 427).




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      Liquidia also argues that the label does not encourage patients to use LIQ861 as a "single
   event dose" because the label instructs doctors and patients to administer LIQ861 "3 to 5 times
   per day." (D.I. 411 at 16-17). But, as discussed above, claim 1 is not limited to one single
   event dose per day. The LIQ861 label instructs and encourages the administration of LIQ861 as
   a "single event dose."
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          In Commil, the Supreme Court held that an accused infringer' s "belief regarding patent

   validity" is not a defense to a claim of induced infringement. Commil USA, LLC v. Cisco Sys.,

   Inc., 575 U.S. 632, 642 (2015). The Supreme Court also stated, "[I]f .. . an act that would have

   been an infringement or an inducement to infringe pertains to a patent that is shown to be invalid,

   there is no patent to be infringed." Id at 644. The Supreme Court further explained, " An

   accused infringer can, of course, attempt to prove that the patent in suit is invalid; if the patent is

   indeed invalid, and shown to be so under proper procedures, there is no liability." Id The

   Supreme Court never stated, however, that a PTAB decision invalidating patent claims in an IPR

   will preclude liability before it becomes final and nonappealable. Id at 644--45 . The Court

   simply stated that an IPR proceeding is one procedure through which an accused infringer can

   pursue an invalidity challenge. Id at 645. I therefore do not think that Commil compels this

   Court to treat the ' 793 patent as invalid for purposes of assessing Liquidia' s induced

   infringement. (See D.I. 427 at 1).

           Instead, the Federal Circuit has indicated that an IPR decision does not have collateral

   estoppel effect until that decision is affirmed or the parties waive their appeal rights. See XY,

   LLC v. Trans Ova Genetics, 890 F.3d 1282, 1294 (Fed. Cir. 2018) ("[A]n affirmance of an

   invalidity finding, whether from a district court or the Board, has a collateral estoppel effect on

   all pending or co-pending actions."); Papst Licensing GMBH & Co. KG v. Samsung Elecs. Am.,

   Inc. , 924 F.3d 1243 , 1249 (Fed. Cir. 2019) (finding IPR decision became final after appeals were

   voluntarily dismissed). Further, the PTAB ' s FWD does not cancel claims. The claims are

   cancelled when the Director issues a certificate confirming unpatentability, which only occurs

   after "the time for appeal has expired or any appeal has terminated." 35 U.S.C. § 318(b); see



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   also Fresenius USA, Inc. v. Baxter Int 'l, Inc., 721 F.3d 1330, 1346 (Fed. Cir. 2013) ("[I]t could

   hardly be clearer that Congress meant for cancellation to terminate pending suits.").

          Therefore, I find that the PTAB' s decision-which is not yet final-has no impact on my

   finding of induced infringement.

   V.     INVALIDITY OF THE '793 PATENT

          A.      Legal Standard

          A patent's specification must enable the claimed invention. In re Cortright, 165 F.3d

   1353, 1356 (Fed. Cir. 1999). For a patent claim to be enabled, "The specification shall contain a

   written description of the invention, and of the manner and process of making and using it, in

   such full, clear, concise, and exact terms as to enable any person skilled in the art to which it

   pertains, or with which it is most nearly connected, to make and use the same[.]" 35 U .S.C. §

   112(a). "The enablement requirement is met where one skilled in the art, having read the

   specification, could practice the invention without 'undue experimentation. "' Streck, Inc. v.

   Rsch. & Diagnostic Sys. , Inc. , 665 F.3d 1269, 1288 (Fed. Cir. 2012) (citation omitted). Factors

   for assessing whether a disclosure would require undue experimentation include:

           (1) the quantity of experimentation necessary, (2) the amount of direction or
           guidance presented, (3) the presence or absence of working examples, (4) the
           nature of the invention, (5) the state of the prior art, (6) the relative skill of those
           in the art, (7) the predictability or unpredictability of the art, and (8) the breadth of
           the claims.

   In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

          "Enablement is a question of law based on underlying facts."        Wyeth & Cordis Corp. v.

   Abbott Lab ys, 720 F.3d 1380, 1384 (Fed. Cir. 2013). The party challenging validity must prove

   lack of enablement by clear and convincing evidence. Cephalon, Inc. v. Watson Pharms., Inc. ,

   707 F.3d 1330, 1336 (Fed. Cir. 2013).

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         B.     Findings of Fact

         1.   The ' 793 patent has a priority date of May 15, 2006.

         2.   With respect to treating PH, a POSA would have a medical degree with a specialty
              in pulmonology or cardiology, plus at least two years of experience treating patients
              with PH as an attending, including with inhaled therapies, or equivalent degree or
              experience. With respect to inhaled formulations used in treating PH, a POSA
              would have a Ph.D. in pharmaceutical science or a related discipline like chemistry
              or medicinal chemistry, plus two years of experience in pharmaceutical
              formulations, including inhaled products, or equivalents (e.g., an M.S. in the same
              fields, plus five years of experience).

         3.   A POSA would understand "treating pulmonary hypertension," as claimed, to
              encompass treating all five WHO Groups of pulmonary hypertension ("PH"),
              including both isolated Group 2 (also referred to as isolated postcapillary Group 2)
              and pre- and postcapillary combined Group 2.

         4.   Treprostinil is a member of the family of compounds referred to as prostacyclins or
              prostacyclin analogs. (JTX 3 at 5:37-39; Tr. at 573:21-22 (Hill)). Prostacyclins
              dilate, or widen, the blood vessels of the lungs. (Tr. at 574:10-15 (Hill)).

         5.   A POSA would understand that the claimed administration of treprostinil vasodilates
              the pulmonary vasculature and reduces PAP and PVR, even in Group 2 PH patients.

         6.   The processes involved in developing dry powder formulations were well known as
              of 2006 and utilized routine techniques for both manufacturing and analysis.

         7.   Numerous dry powder inhaler ("DPI") devices were available by 2006.

         8.   By 2006 it was common for a POSA to develop a powder blend and then choose an
              available DPI for delivery of the powder formulation. Not all DPI devices need to
              be separately developed or specifically chosen for a given patient population.

         9.   Using well-known and routine techniques, Dr. Smyth prepared treprostinil free acid
              and treprostinil diethanolamine dry powder formulations that delivered doses within
              the claimed 15-90 µgrange with three weeks of testing. Dr. Smyth's testing
              demonstrated that PH patients could effectively inhale these dry powder
              formulations using a DPI.

         10. Selecting a suitable form of treprostinil was routine as of 2006. Methods for
             determining suitable forms, including salt forms, of a particular API were well
             known and routine for several decades prior to 2006.

         11 . Lactose was the only FDA-approved carrier in 2006 and was also the most common
              excipient for use in dry powder inhalers.
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          12. The Maillard reaction was well known and understood as of 2006. A POSA would
              have understood how to monitor any Maillard reaction between treprostinil
              diethanolamine and lactose.

          13. Meyer (PTX 1980) was available before the priority date and discloses that PH
              patients were able to obtain maximum inspiratory efforts of 5.2 kPa in females and
              6.8 kPa in males, which is enough to use a DPI.

          C.      Conclusions of Law

                  1.      Enablement of "Treating Pulmonary Hypertension"

          The asserted claims of the ' 793 patent recite: "A method of treating pulmonary

   hypertension comprising administering by inhalation to a human suffering from pulmonary

   hypertension a therapeutically effective single event dose of a formulation comprising

   treprostinil or a pharmaceutically acceptable salt thereof . . . ." Liquidia argues that the full

   scope of "treating pulmonary hypertension" is not enabled.

          Before addressing enablement, I must first resolve the parties' claim construction dispute.

   Liquidia asserts that the phrase "treating pulmonary hypertension" encompasses treating all five

   WHO groups of pulmonary hypertension ("PH"). (D.I. 406 at 14). UTC argues that the claims

   are limited to treating precapillary PH. (D.I. 413 at 29- 30).

          PH refers to abnormally high blood pressure in the lungs. (Tr. at 562:13- 14, 563:18-21

   (Hill); Tr. at 629:9-630:1, 677:21-678:7 (Waxman)). PH includes a range of conditions

   classified in five different WHO groups: Group 1, pulmonary arterial hypertension; Group 2,

   pulmonary venous hypertension, i.e., PH related to left heart disease; Group 3, PH associated

   with disorders damaging the lungs; Group 4, PH caused by chronic thrombotic or embolic

   disease, including chronic blood clots in the lungs; and Group 5, a miscellaneous category for

   conditions that do not fit well into the other four groups. (JTX 3 at 1:41-46; Tr. at 564: 19-

   566:7, 575:22-576:4 (Hill); Tr. at 609:18-610:11 (Rubin); DTX 385 at 2).
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          PH Groups 1, 3, and 4 are classified as "precapillary" PH as they are characterized by

   conditions affecting the pulmonary arteries or precapillary vessels. (Tr. at 564:18-566:4,

   591 :24-592: 1 (Hill)). In contrast, the high blood pressure in the lungs of Group 2 PH patients

   has a different underlying cause. Defects in the left side of the heart cause elevated pressure in

   the postcapillary veins which reflects back as high pressure in the pulmonary arteries. (Tr. at

   565 :4-16, 571:17-24 (Hill)). Because the left heart is downstream (in terms of blood flow) of

   the pulmonary capillaries, Group 2 PH is sometimes referred to as "postcapillary" PH. (Tr. at

   564:5-17, 565:4-16 (Hill); Tr. at 630:10- 17 (Waxman)). Group 2 PH patients can suffer from

   isolated postcapillary PH or combined pre- and postcapillary PH. (Tr. at 571 :10-14 (Hill); Tr.

   at 659:8-14 (Waxman)). In combined Group 2 PH patients, the precapillary vessels undergo

   changes similar to those in precapillary Group 1 PH. (Tr. at 571: 10-572:8 (Hill)).

          Because the cause of postcapillary PH is the left heart, not precapillary resistance, the

   "mainstay of treatment" by POSAs for postcapillary PH is a diuretic, not a vasodilator like

   treprostinil. (Tr. at 636:1-5 (Waxman); see also Tr. at 587:5-588 :5, 600:2- 9 (Hill) (stating that

   treating postcapillary PH patients with a vasodilator would be "stupid" because vasodilation can

   lead to pulmonary edema)).

          Claim 1 requires "treating pulmonary hypertension comprising administering . . .

   treprostinil," a vasodilator. Based on this language, UTC argues that a POSA would understand

   claim 1 to be limited to "treating varieties of PH where using a vasodilator addresses the cause of

   the disease." (D.I. 413 at 30). Thus, because both experts agree that a POSA would not treat

   postcapillary PH with treprostinil, UTC contends that a POSA would read the claim to be limited

   to the treatment of precapillary PH.



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          This expert testimony, however, is no substitute for the clear disclosures in the ' 793

   patent specification. The specification expressly includes all five Groups when describing

   "pulmonary hypertension." (JTX 3 at 1:41-45 ("Pulmonary hypertension may occur due to

   various reasons and the different entities of pulmonary hypertension were classified based on

   clinical and pathological grounds in 5 categories according to the latest WHO convention."

   (citing DIX 385)); see also id. at 1:37-38 ("Generally, pulmonary hypertension is defined

   through observations of pressures above the normal range .... ")). The specification does not

   contain any disclosures which limit the scope of "pulmonary hypertension" to any particular

   subset of PH patients. Instead, the specification refers to both "precapillary pulmonary

   hypertension" and "pulmonary hypertension," demonstrating that the inventors viewed

   precapillary PH as a subset of the broadly claimed "pulmonary hypertension." (Id. at 9:36-37,

   12:64-65, 16:64-65).

          Based on these clear disclosures in the specification, I conclude that the scope of

   "treating pulmonary hypertension" includes treating all five Groups of PH.

          Returning to enablement, Liquidia argues that it would require undue experimentation to

   practice the full scope of the claimed "treating pulmonary hypertension," specifically treating

   Group 2 PH patients. (D.I. 406 at 15-19). Dr. Hill testified that as of May 15, 2006, a POSA

   would have had significant safety concerns about administering inhaled treprostinil to treat

   Group 2 PH patients. (Tr. at 592:3-593:18 (Hill)). Several studies have indicated that Group 1

   PH therapies like prostacyclins could exacerbate symptoms in Group 2 PH patients. In the

   FIRST trial, patients with Group 2 PH were treated intravenously with the prostacyclin

   epoprostenol. (Tr. at 582: 12-583 :23 (Hill)). Because more people died in the epoprostenol

   treatment group than in the control group, the study was prematurely stopped. (Tr. at 583:4-13 ,

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   585 :10-14, 585 :21-586:2 (Hill); DTX 358 at 1, 8-9 (" [C]hronic epoprostenol infusion in severe

   left ventricular failure resulted in increased mortality rates and no evidence of improved quality

   of life."); see also DTX 385 at 2 (citing the FIRST study when noting "epoprostenol therapy in

   patients with pulmonary venous hypertension [Group 2 PH] can be harmful")).

          The label for Ventavis® (iloprost), which was the only inhaled prostacyclin approved for

   treatment of Group 1 PH as of May 15, 2006, similarly warned that treatment should be stopped

   if signs of pulmonary edema occur, as this may be a sign of pulmonary venous hypertension.

   (DTX 345 at 6; Tr. at 586:6-587:22 (Hill)). Dr. Hill testified that, based on this warning and the

   results of the FIRST trial, a POSA would have been extremely cautious about using intravenous

   and inhaled prostacyclins, like treprostinil, in Group 2 PH patients, as such use could create a

   potentially life-threatening situation in these patients. (Tr. at 587:5-588:5 (Hill)).

   Prostacyclins dilate the precapillary vessels, which allows more blood to flow through the

   capillaries and into the pulmonary veins. (Id.).    According to Dr. Hill, this increased blood

   flow "could increase the pulmonary venous pressure, the pressure filling the left heart, and that

   increase in the capillaries can cause leakage of fluid into the gas exchanging areas of the lungs,

   interfering with oxygenation and creating a potentially life-threatening situation." (Id.).

          The experts agree that the ' 793 patent only describes treating Groups 1, 3, and 4 PH,

   which are all precapillary. (See JTX 3 at 8:57-18:20; Tr. at 579:25-580:23 , 590:25-592:2

   (Hill); Tr. at 634:22-635 :13 (Waxman)). Because there are no disclosures in the ' 793 patent or

   the prior art establishing the feasibility or safety of treating Group 2 PH patients with inhaled

   treprostinil, Dr. Hill concluded that a POSA would have had to conduct undue experimentation

   to treat Group 2 PH with treprostinil. (Tr. at 592:13-593:18 (Hill)). Specifically, a POSA

   would have had to "start at square one," conducting additional preclinical and clinical trials to

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   determine whether the treprostinil formulation was safe and effective in treating Group 2 PH

   patients. (Tr. at 593:2- 18 (Hill)).

          I have no doubt that a physician would have certain safety concerns about treating Group

   2 PH patients-particularly isolated Group 2 PH patients-with treprostinil. (See Tr. at 635:16-

   636: 10 (Waxman)). But the fact that a POSA would have safety concerns does not necessarily

   show a lack of enablement. The claims do not require "safely and effectively treating pulmonary

   hypertension," as Liquidia seems to be arguing. The claims instead require "treating pulmonary

   hypertension comprising administering .. . a therapeutically effective single event dose of a

   formulation comprising treprostinil."

          As discussed above, a POSA would understand "a therapeutically effective single event

   dose" to be a dose given in a single treatment session that causes an improvement in a patient' s

   hemodynamics (reduced PAP or PVR). Applying this construction, Liquidia has not shown by

   clear and convincing evidence that a POSA would have to conduct undue experimentation to

   practice the claimed method of treating PH.

           There is no dispute that the ' 793 patent enables treatment of patients with Groups 1, 3, 4,

   and 5 PH. (See D.I. 406 at 16-17). The '793 patent describes the invention including the

   specific drug, conditions the invention is intended to treat (PH), dosages (15-90 µg) , and mode

   and method of treatment (1-3 breaths by inhalation). (JTX 3 at 6:41-45, 7:7-12, 7:55-58, 7:64,

   8:20-31 , 18:1-6). The ' 793 patent also describes the improved hemodynamics that result from

   the use of the claimed invention, and the absence or reduction of side effects. (Id at 8:57-

   18: 11; Tr. at 637:22-638 :3 (Waxman); Tr. at 702:1-11 (Hill)).

           The record demonstrates that the claimed administration of treprostinil vasodilates the

   pulmonary vasculature and reduces pulmonary blood pressure, even in isolated Group 2 PH

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   patients. (See Tr. at 582:11- 19, 583 :14-585:23, 587:5- 588:5 (Hill); Tr. at 637 :18-640:5

   (Waxman); DTX 358). The FIRST study, involving Flolan® (epoprostenol), showed that

   treating isolated Group 2 PH patients with a prostacyclin had preliminary clinical evidence of

   benefit and a statistically significant acute hemodynamic improvement, including a reduction of

   mean PAP, wedge pressure, and PVR, and improvements in exercise duration and dyspnea score.

   (Tr. at 582:11-19, 583:14-585 :23 (Hill); DTX 358 at 1, 5- 7). Thus, even with a risk of

   pulmonary edema, a POSA would understand that the claimed administration of treprostinil

   would vasodilate the pulmonary vasculature, affect hemodynamics, and treat a patient' s elevated

   pulmonary blood pressure, i.e., treat PH. (Id. ; JTX 3 at 1:33-40, 2:13-15, 2:30-38; Tr. at

   587:5-588:5 (Hill); Tr. at 637:18-640:5 (Waxman)).

          Liquidia has thus failed to show by clear and convincing evidence that it would require

   undue experimentation for a POSA to use treprostinil to improve a patient's hemodynamics, i.e.,

   to treat PH as claimed. The fact that a physician might be cautious and need to monitor the

   patient more closely when administering treprostinil to isolated Group 2 PH patients does not

   change this result.

          I therefore find that Liquidia has failed to show by clear and convincing evidence that

   claims 1, 4, 6, 7, and 8 of the ' 793 patent are invalid for lack of enablement.

                  2.      Written Description of "Treating Pulmonary Hypertension"

           Liquidia argues that the asserted claims of the ' 793 patent are invalid for lack of written

   description. Specifically, Liquidia contends that the ' 793 patent fails to convey with reasonable

   certainty that the inventors possessed the full scope of treating PH as claimed. Liquidia reasons

   that the ' 793 patent specification does not describe treating Group 2 PH patients with inhaled

   treprostinil and does not address the safety concerns that a POSA would have with respect to

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   treating Group 2 PH patients with treprostinil. (D .I. 406 at 19). But just like its enablement

   argument, Liquidia' s position seems to be based on the flawed premise that the claims require "a

   method of safely and effectively treating pulmonary hypertension."

          As the Federal Circuit has explained, to satisfy the written description requirement, " An

   inventor need not prove that a claimed pharmaceutical compound actually achieves a certain

   result. But when the inventor expressly claims that result, our case law provides that such result

   must be supported by adequate disclosure in the specification." Biogen Int 'l GMBH v. My lan

   Pharms. Inc. , 18 F.4th 1333 , 1343 (Fed. Cir. 2021) (cleaned up). The '793 patent claims require

   "treating pulmonary hypertension comprising administering . . . a therapeutically effective single

   event dose of a formulation comprising treprostinil." The only effectiveness that is claimed is

   "a therapeutically effective single event dose of ... treprostinil." The '793 patent contains

   adequate written description support for this claimed result.

          The '793 patent describes how administering inhaled treprostinil targets the lungs, dilates

   the blood vessels, and reduces blood pressure. (See JTX 3 at 2:29-43 , 3 :25-5 :2, 5:13-36, 8:57-

   18: 11; Tr. at 637:22-25 (Waxman); Tr. at 702:1-11 (Hill)). Even though a POSA might have

   safety concerns regarding the treatment of isolated Group 2 PH patients, a POSA would

   understand, based on these disclosures, that treprostinil would effectively vasodilate the

   pulmonary vasculature, affect hemodynamics, and treat a patient's elevated pulmonary blood

   pressure. (Id.). Accordingly, these disclosures "reasonably convey      • to those skilled in the art
   that the inventor had possession" of the full scope of treating PH as claimed.

          I therefore find that Liquidia has failed to prove by clear and convincing evidence that

   claims 1, 4, 6, 7, and 8 of the '793 patent are invalid for lack of written description.



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                  3.      Written Description of Dry Powder Formulations and Dry Powder
                          Inhaler

          Claim 1 of the '793 patent recites using an inhaled "formulation comprising treprostinil

   or a pharmaceutically acceptable salt thereof with an inhalation device." The parties agree that

   claim 1 encompasses inhaled liquid solutions delivered via nebulizers, soft mist inhalers, and

   metered dose inhalers, and dry powder formulations delivered via a dry powder inhaler ("DPI").

   (See D.I. 406 at 21 ; D.I. 413 at 35). Further, dependent claims 4, 6, and 7 specifically recite the

   use of a DPI and a powder formulation of treprostinil. Liquidia argues that the ' 793 patent does

   not provide adequate written description support for the claimed dry powder formulation of

   treprostinil or corresponding DPI suitable for treating PH patients. (D.I. 406 at 21).

          The ' 793 patent specification provides, "The inhalation device can be also a dry powder

   inhaler. In such case, the respiratory drug is inhaled in solid formulation, usually in the form of a

   powder with particle size less than 10 micrometers in diameter or less than 5 micrometers in

   diameter." (JTX 3 at 7:22-26). Liquidia argues that this statement is nothing more than a

   "mere wish or plan" for a powder formulation and that the ' 793 patent contains no other

   disclosures relevant to developing a dry powder formulation of treprostinil that can be used for

   the claimed method of treating PH. (D.I. 406 at 22). I disagree.

          The ' 793 patent describes the delivery of a therapeutically effective bolus dose of 15-90

   µg oftreprostinil by inhalation in 1-3 breaths without the expected negative side effects. (JTX

   3 at Exs. 1 and 2, 17:4-24, 17:42-43, 18:4-6; Tr. at 832:19-833:6, 835:7-13 , 836:17- 21

   (Clark)). The '793 patent demonstrates the efficacy of the claimed bolus dose by presenting

   data from the administration of a liquid formulation of treprostinil in 1-3 breaths using a soft

   mist inhaler and an ultrasonic nebulizer. (JTX 3 at Exs. 1 and 2; Tr. at 832: 19-833 :6 (Clark)).


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          Liquidia claims that this information regarding liquid formulations in the ' 793 patent

   does not inform the development of powder formulations, relying on testimony from the ' 793

   patent inventors Drs. Rubin and Seeger. (D.I. 406 at 21 ). But Dr. Rubin merely stated that a

   solution could not be used in a DPI; he never stated that information about an inhaled solution

   cannot be used to develop a powder formulation. (Tr. at 612 :4-5 (Rubin)). Further, Dr. Seeger

   merely testified, " [B]ringing something down as a powder may or may not be simply identical to

   bringing something down with the fluid solution." (Tr. at 297:12-23 (Seeger)). These

   statements are not clear and convincing evidence that information regarding liquid formulations

   cannot inform the development of powder formulations.

          Rather, UTC ' s expert Dr. Clark credibly testified that the "starting point for developing a

   powder formulation" is determining the dose and whether it is "safe to deliver it in a single

   bolus." (Tr. at 833:10-20 (Clark)). Although the ' 793 patent does not contain any examples of

   dry powder formulations or DPis, the ' 793 patent discloses the bolus dose and demonstrates its

   efficacy. The patent further states that the claimed bolus dose of treprostinil can be delivered

   using a DPI with a powder formulation consisting of particles less than ten microns and

   preferably less than five microns. (JTX 3 at 7:22-26; Tr. at 834:9-15 (Clark)). Numerous

   DPis were available by 2006 and the process for developing dry powder formulations was well

   known and involved routine techniques. (Tr. at 758:8-10, 761:19-23 (Gonda); Tr. at 835 :24-

   836:3 , 837:19-838 :1 (Clark); PTX 271 at 4; PTX 905).

          Given the disclosures in the '793 patent and the state of the art, I find that a POSA would

   have understood that the inventors possessed a method of treating PH using a dry powder




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   formulation oftreprostinil with a DPI. 20 (See Tr. at 832:19-835:16 (Clark)); Bos. Sci. Corp. v.

   Johnson & Johnson , 647 F.3d 1353 , 1366 (Fed. Cir. 2011) ("Because the specification is viewed

   from the perspective of one of skill, in some circumstances, a patentee may rely on information

   that is 'well-known in the art' for purposes of meeting the written description requirement.").

          I therefore find that Liquidia has failed to prove by clear and convincing evidence that

   claims 1, 4, 6, 7, and 8 of the ' 793 patent are invalid for lack of written description.

                  4.      Enablement of Dry Powder Formulations and Dry Powder Inhaler

          Liquidia argues that the ' 793 patent does not enable the claimed method of treating PH

   patients with a dry powder treprostinil formulation and corresponding DPI. (D.I. 406 at 23-28).

           The ' 793 patent does not provide any examples of treprostinil dry powder formulations,

   methods of manufacture of such powders, or DPI devices for the delivery of such formulations.

   (Tr. at 729:22-731:14 (Gonda); Tr. at 847:22-25 (Clark)). The processes involved in

   developing a dry powder formulation, however, were well known as of 2006. (Tr. at 837:1 9-

   838 :1, 838 :15- 841:3 , 842:6-844 :11 , 845:17- 846:14 (Clark); Tr. at 864 :15-865 :25, 867:8-

   870:15 (Smyth)).

           Liquidia' s expert Dr. Gonda testified that to develop a treprostinil dry powder

   formulation, a POSA would need to (1) identify a suitable form oftreprostinil; (2) identify a

   suitable carrier that is safe and compatible with the API; and (3) identify a suitable DPI that can


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      Liquidia also provides inventor testimony and evidence ofUTC ' s agreement with MannKind
   to show that the inventors did not possess a dry powder formulation of treprostinil as of 2006.
   (See D.I. 406 at 22 & n.4). I have found, however, that the four comers of the specification
   reasonably convey possession of this limitation. Thus, this extrinsic evidence is irrelevant. See
   Biogen Int '! GmbH v. Mylan Pharms. Inc., 28 F.4th 1194, 1202 (Fed. Cir. 2022) (Lourie, J.,
   dissenting from the denial of the petition for rehearing en bane) ("Where the disclosure in a
   patent' s specification plainly corresponds to what is claimed, extrinsic evidence should not be
   used to cast doubt on the meaning of what is disclosed."); Ariad Pharms., 598 F.3d at 1352
   ("[T]he written description requirement does not demand .. . an actual reduction to practice[.]").
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   be used with the formulation to treat PH patients. (Tr. at 734:16-737:11 (Gonda)). Liquidia

   argues that a POSA would need to perform undue experimentation to perform these steps. (D.I.

   406 at 24-25). Yet the experiments conducted by UTC's expert Dr. Smyth show otherwise.

          With three weeks of testing, Dr. Smyth prepared treprostinil free acid and treprostinil

   diethanolamine dry powder formulations that delivered doses within the claimed 15-90 µg range.

   (Tr. at 863:6-864:14, 870:9-15, 876:18-879:8 (Smyth); PTX 1344; PTX 1345). Dr. Smyth

   used well-known and routine techniques for each step of his powder development process. (Tr.

   at 864:15-865 :25, 867:8-876:17 (Smyth)). At a high level, Dr. Smyth's experiments involved

   jet milling the API several times, blending the formulations with lactose, adding the formulations

   to capsules, and testing the capsules using a DPI device and machine called a Next Generation

   Impactor, intended to mimic patient inhalation. (Tr. at 864:23-865:3 (Smyth)).

          Based on this testing, I find that Liquidia has failed to prove by clear and convincing

   evidence that a POSA would need to perform undue experimentation to develop a treprostinil dry

   powder formulation. See Bristol-Myers Squibb Co. v. Aurobindo Pharma USA Inc., 477 F.

   Supp. 3d 306, 352-53 (D. Del. 2020) (finding that defendants failed to prove lack of enablement

   where plaintiffs expert could successfully practice the claims), ajf'd sub nom. Bristol-Myers

   Squibb Co. v. Sigmapharm Lab ys, LLC, 858 F. App'x 359 (Fed. Cir. 2021).

          First, Liquidia has failed to prove that a POSA would need to perform undue

   experimentation to identify a suitable form of treprostinil. The patent identifies the API to be

   used in the claimed invention: "treprostinil or a pharmaceutically acceptable salt thereof." (JTX

   3 at claim 1; see also id. at 6:41-7:6 (defining what constitutes a "pharmaceutically acceptable

   salt" of treprostinil)). Methods for determining suitable forms, including salt forms, of a



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   particular API were well known and routine for several decades prior to 2006. (Tr. at 761:4-10

   (Gonda); Tr. at 838:19-839:4, 841:4-21 (Clark)).

          Dr. Smyth tested three forms of treprostinil: treprostinil free acid, treprostinil

   diethanolamine salt, and treprostinil sodium. Dr. Smyth was unable to develop a dry powder

   formulation oftreprostinil sodium because it was too hygroscopic. (Tr. at 737:24-740:13

   (Gonda); Tr. at 880:19-881:8 (Smyth)). Dr. Smyth attributed this to the lack of humidity

   control in his lab. (Tr. at 882:9-883 :23 (Smyth)). I do not think Dr. Smyth' s failure in

   developing a dry powder formulation of treprostinil sodium shows by clear and convincing

   evidence that a POSA would require undue experimentation to identify a suitable form of

   treprostinil. Dr. Smyth used routine techniques to determine that treprostinil sodium would not

   work. Further, Dr. Gonda testified that a POSA in 2006 would have a laboratory with

   temperature and humidity control. (Tr. at 762:4-14 (Gonda)).

          Liquidia also faults Dr. Smyth' s experiments with treprostinil free acid. Treprostinil free

   acid is not stable at room temperature and has the tendency to form dimers. (DTX 674 at 4; Tr.

   at 741 :20-744:4 (Gonda)). Liquidia argues that despite this, Dr. Smyth did not test the stability

   of his treprostinil free acid powder formulation. (D.I. 406 at 27). Dr Smyth' s failure to

   conduct additional testing is not clear and convincing evidence that undue experimentation

   would be required to select a suitable form of treprostinil. Dr. Gonda testified that "stability

   testing" was known and routine by 2006. (Tr. at 770:15- 16 (Gonda)). Further, Liquidia did

   not perform extensive stability tests in selecting the API for LIQ861. (Tr. at 275 :10-24

   (Maynor)).

          Second, Liquidia has failed to prove that a POSA would require undue experimentation

   to identify a suitable carrier. Although the ' 793 patent does not disclose any suitable carriers,

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   lactose was the only FDA-approved carrier for dry powder formulations as of 2006. (PTX 905

   at 13; Tr. at 763:14-21 (Gonda); Tr. at 844:12-15 (Clark); Tr. at 866:1-4 (Smyth)). For this

   reason, Dr. Smyth selected lactose as the carrier for his dry powder formulations. (Tr. at 866: 1-

   4 (Smyth)).

          Dr. Gonda testified that "a POSA would have been reluctant to use lactose" as a carrier

   with treprostinil diethanolamine because lactose reacts with amines by the Maillard reaction.

   (Tr. at 754:1-11 (Gonda); see also DTX 481).21 According to UTC's expert Dr. Clark,

   however, the Maillard reaction would not deter a POSA from attempting to formulate an amine

   drug with lactose unless the POSA witnessed an adverse reaction. (Tr. at 844:16-845:2

   (Clark)).     Dr. Clark reasoned that in 2006, the Physician' s Desk Reference-which generally

   only describes approved drugs-described 72 examples of amine drugs formulated with lactose.

   (Tr. at 844:12-23 (Clark); Tr. at 866:5-867:7 (Smyth); PTX 47 at 2). Further, a POSA would

   have understood how to monitor any Maillard reaction between treprostinil diethanolamine and

   lactose. (Tr. at 844:16-845:2 (Clark); PTX 47 at 2; DTX 481 at 5). There is no evidence that

   Dr. Smyth noticed any Maillard reaction with treprostinil diethanolamine. (See Tr. at 867:22-

   870:15 (Smyth)). I am therefore not convinced that a POSA would require undue

   experimentation to select an appropriate carrier.

           Third, Liquidia has not proven that identifying a suitable DPI for PH patients would

   require undue experimentation. A 2005 publication by Meyer et al. discloses that PH patients

   were able to obtain maximum inspiratory efforts of 5.2 kPa in females and 6.8 kPa in males,




   21
      There is no amine in the treprostinil molecule itself, so a POSA would have no concern about
   the Maillard reaction with respect to combining treprostinil free acid and lactose. (Tr. at
   767:23-768:8 (Gonda)).
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   which is enough to use a DPI. (PTX 1980 at 1; Tr. at 851:20-852:1 , 852:14-854:20 (Clark)).

   Dr. Smyth's analytical testing involved the use of a Next Generation Impactor simulating a

   single breath at 4.0 kPa and 4.0L through a Plastiape RS0l low resistance inhaler (which was

   available as of2006). (Tr. at 869:22-870:8 (Smyth); Tr. at 845:17-846:8 (Clark); PTX 905 at

   7).22 Dr. Smyth' s testing resulted in an average emitted dose of 53.54 µg for treprostinil free

   acid and 52.60 µg for treprostinil diethanolamine, falling well within the claimed range of 15-90

   µg . (PTX 1344 at 2; PTX 1345 at 2). Dr. Smyth' s testing demonstrated that PH patients could

   effectively inhale his dry powder formulations using a DPI.

          I find that a POSA reading the '793 patent would be able to develop a dry powder

   formulation of treprostinil and a corresponding DPI for treatment of PH with routine

   experimentation. Notably, Liquidia and its experts did not perform any experiments attempting

   to make dry powder formulations. Liquidia instead tries to discredit Dr. Smyth' s testing. But,

   for the reasons discussed above, these efforts do not amount to clear and convincing evidence

   that a POSA would require undue experimentation. That Dr. Smyth would not administer his

   dry powder formulations to PH patients without conducting more studies makes no difference.

   (See D.I. 406 at 28). Of course, there is no expectation that Dr. Smyth test his formulations on

   actual patients for purposes of patent litigation.



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      Liquidia challenges Dr. Smyth' s testing on the basis that he "assumed large inhaled volumes
   and flow rates." (D.I. 406 at 28). Dr. Smyth did not explicitly set forth his assumed inspiratory
   effort (4.0 kPa) and inhaled volume (4.0 L) in his testimony, but these values were set forth on a
   demonstrative exhibit. (DDX 5.4). Liquidia argues that these values were too high as a 2021
   article by Faria-Urbina et al. reported that P AH patients have a maximum inspiratory pressure of
   2.6 ± 1.2 kPa and inhale a total volume of 1.4 ± 0.03 L. (DTX 468 at 4 (Table 2); Tr. at 751:14-
   754:13 (Gonda); Tr. at 854:16-20 (Clark)). I nevertheless find Dr. Smyth's testing to be
   credible. The assumed inspiratory pressure of 4.0 kPa is consistent with the maximum
   inspiratory pressure reported in Meyer (5 .2 kPa in females, 6.8 kPa in males). Meyer was
   available to a POSA as of 2006, unlike the 2021 Faria-Urbina publication.
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          Liquidia also argues that UTC is improperly "attempting to use a POSA' s knowledge as

   an entire substitute for a deficient specification." (Id. at 26 ( citing Trs. of Bos. Univ. v. Everlight

   Elecs. Co., 896 F.3d 1357, 1364 (Fed. Cir. 2018); Auto. Techs. Int'!, Inc. v. BMW ofN Am., Inc. ,

   501 F.3d 1274, 1283 (Fed. Cir. 2007))). I do not think that is the case. The ' 793 patent teaches

   a POSA that a bolus dose of 15-90 µg of treprostinil delivered by inhalation in 1- 3 breaths

   provides therapeutic efficacy without the expected negative side effects. (JTX 3 at Exs. 1 and 2,

   17:4-24, 17:42-43, 18:4-6; Tr. at 832:19- 833 :6, 835:7- 13, 836:17-21 (Clark); see also JTX 3 at

   2:60-62 ("Currently, there is no treatment for pulmonary hypertension that can be administered

   using a compact inhalation device such as a metered dose inhaler.")). UTC ' s experts Dr. Smyth

   and Dr. Clark supplemented these disclosures by showing that a POSA at the time of the

   invention would have been able to use well-known and routine techniques to make the claimed

   dry powder formulations . See AK Steel Corp. v. Sollac, 344 F.3d 1234, 1244 (Fed. Cir. 2003)

   ("[T]he artisan' s knowledge of the prior art and routine experimentation can often fill gaps,

   interpolate between embodiments, and perhaps even extrapolate beyond the disclosed

   embodiments, depending upon the predictability of the art. ").

           I therefore find that Liquidia has failed to prove by clear and convincing evidence that

   claims 1, 4, 6, 7, and 8 of the ' 793 patent are invalid for lack of enablement.

   VI.     CONCLUSION

           UTC failed to prove by a preponderance of the evidence that Liquidia will infringe claim

   8 of the ' 066 patent. Liquidia proved by clear and convincing evidence that claims 1, 2, 3, 6,

   and 9 of the ' 066 patent are invalid. UTC proved by a preponderance of the evidence that

   Liquidia will induce infringement of claims 1, 4, 6, 7, and 8 of the ' 793 patent.




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          The parties shall submit a final judgment consistent with this memorandum opinion

   within one week.




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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

   UNITED THERAPEUTICS                              )
   CORPORATION,                                     )
                                                    )
                          Plaintiff,                )
                                                    )
          v.                                        ) C.A. No. 20-755 (RGA) (JLH)
                                                    )
   LIQUIDIA TECHNOLOGIES, INC.,                     )
                                                    )
                          Defendant.                )

                                        FINAL JUDGMENT
                                        9th day of September, 2022:
         At Wilmington, Delaware, this ____

         WHEREAS, Plaintiff United Therapeutics Corporation (“UTC”) commenced this action

  against Defendant Liquidia Technologies, Inc. (“Liquidia”) asserting infringement of U.S. Patent

  Nos. 9,593,066 (the “’066 patent”), 9,604,901 (the “’901 patent”), and 10,716,793 (the “’793

  patent”) by the products that are the subject of Liquidia’s New Drug Application No. 213005

  seeking approval by the U.S. Food and Drug Administration (“FDA”) for the manufacture, use,

  and sale of its proposed product LIQ861 (Yutrepia™);

         WHEREAS, on January 3, 2022, the Court granted UTC’s stipulation of non-infringement

  of the ’901 patent based on the Court’s construction of the claim term “contacting the solution

  comprising treprostinil from step (b) with a base to form a salt of treprostinil,” with UTC

  preserving all rights to appeal the Court’s construction of that term (D.I. 278);

         WHEREAS, at trial, UTC asserted infringement of claims 1, 2, 3, 6, 8, and 9 of the ’066

  patent and claims 1, 4, 6, 7, and 8 of the ’793 patent against Liquidia, and Liquidia asserted

  counterclaims of non-infringement and invalidity of those claims;

         WHEREAS, the Court held a bench trial in the above-captioned action on March 28 to

  March 31, 2022; and
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         WHEREAS, the Court issued a Trial Opinion setting forth its Findings of Facts and

  Conclusions of Law on August 31, 2022 (D.I. 433);

         IT IS HEREBY ORDERED AND ADJUDGED:

         1.      Judgment is hereby entered in favor of Liquidia and against UTC that claims 1, 2,

  3, 6, and 9 of the ’066 patent are invalid for the reasons set forth in the Court’s Trial Opinion of

  August 31, 2022 (D.I. 433);

         2.      Judgment is hereby entered in favor of Liquidia and against UTC that Liquidia’s

  proposed LIQ861 product will not infringe claim 6, 8, and 9 of the ’066 patent for the reasons set

  forth in the Court’s Trial Opinion of August 31, 2022 (D.I. 433);

         3.      Judgment is hereby entered in favor of UTC and against Liquidia that Liquidia’s

  proposed LIQ861 product will induce infringement of claims 1, 4, 6, 7, and 8 of the ’793 patent,

  and that those claims are not invalid, for the reasons set forth in the Court’s Trial Opinion of August

  31, 2022 (D.I. 433); and

         4.      Pursuant to 35 U.S.C. § 271(e)(4)(A), it is hereby ordered that the effective date of

  any final approval by the FDA of Liquidia’s New Drug Application No. 213005 shall be a date

  which is not earlier than the expiration date of the ’793 patent.

         IT IS FURTHER ORDERED:

         5.      In the event that any party appeals this Final Judgment, any motion for attorneys’

  fees and/or costs under Fed. R. Civ. P. 54(d) and/or Local Rules 54.1 and/or 54.3, including any

  motion that this case is exceptional under 35 U.S.C. § 285, shall be considered timely if filed and

  served within thirty days after final disposition of any such appeal; and

         6.      In the event that no party appeals this Final Judgment, any motion for attorneys’

  fees and/or costs under Fed. R. Civ. P. 54(d) and/or Local Rules 54.1 and/or 54.3, including any

  motion that this case is exceptional under 35 U.S.C. § 285, shall be considered timely if filed and

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  served within thirty days after the expiration of the time for filing a notice of appeal under Federal

  Rules of Appellate Procedure 3 and 4; and

         7.      Except as provided herein, all other claims and counterclaims in this action are

  withdrawn and dismissed with prejudice.



                                                  /s/ Richard G. Andrews
                                                 The Honorable Richard G. Andrews
                                                 United States District Judge




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            EXHIBIT 6
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            EXHIBIT 6
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                                                  Liquidia Technologies, Inc.
                                                C.A. No. 1:20-cv-00755-RGA-JLH



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            EXHIBIT 7
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Trials@uspto.gov                                                     Paper 45
571-272-7822                                          Entered: October 8, 2021

       UNITED STATES PATENT AND TRADEMARK OFFICE

                              ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                   LIQUIDIA TECHNOLOGIES, INC.,
                             Petitioner,

                                     v.

             UNITED THERAPEUTICS CORPORATION,
                        Patent Owner.
                        ____________

                             IPR2020-00770
                           Patent 9,604,901 B2
                              ____________

Before ERICA A. FRANKLIN, ZHENYU YANG, and
JOHN E. SCHNEIDER, Administrative Patent Judges.

PER CURIAM

                               JUDGMENT

                       Final Written Decision
          Determining Some Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)

                   Denying Petitioner’s Request to Strike
                            37 C.F.R. § 42.5

              Denying Patent Owner’s Motion to Exclude
                        37 C.F.R. § 42.64(c)

    Granting Petitioner’s Motion to Submit Supplemental Information
                          37 C.F.R. § 42.123(b)
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IPR2020-00770
Patent 9,604,901 B2

                           I.   INTRODUCTION
      Liquidia Technologies, Inc. (“Petitioner”) filed a Petition (Paper 1
(“Pet.”)), seeking an inter partes review of claims 1–9 of U.S. Patent
No. 9,604,901 B2 (Ex. 1001, “the ’901 patent”). We instituted trial to review
the challenged claims. Paper 7 (“Dec.” or “Decision to Institute”).
Thereafter, United Therapeutics Corporation (“Patent Owner”) filed a
Response to the Petition (Paper 12, “PO Resp.”), Petitioner filed a Reply
(Paper 15), and Patent Owner filed a Sur-reply (Paper 25).
      The parties filed a Joint Paper Concerning Petitioner’s Request to
Strike Portions of Patent Owner’s Paper Nos. 12 and 25 and Exhibits 2002
and 2025. Paper 29. The parties also briefed the issues of (1) whether we
should exclude Exhibits 1002 and 1012 (Papers 31, 32, 37), and (2) whether
Petitioner may submit, as supplemental information, the transcript and order
from the Markman hearing in a parallel district court case (Papers 38, 40).
An oral hearing for this proceeding was held on June 23, 2021, and the
transcript of that hearing is of record. See Paper 44 (“Tr.”).
      The Board has jurisdiction under 35 U.S.C. § 6 and issues this final
written decision pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73. For
the reasons provided below, we conclude Petitioner has established by a
preponderance of the evidence that claims 1–5, 8, and 9 are unpatentable.
Petitioner, however, has not established by a preponderance of the evidence
that claims 6 and 7 are unpatentable.




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                                 A. The ’901 Patent
       The ’901 patent relates to “an improved process to convert benzindene
triol to treprostinil via salts of treprostinil and to purify treprostinil.”
Ex. 1001, Abstract.
       Prostacyclin derivatives are useful pharmaceutical compounds. Id.
at 1:23–26. Treprostinil, a known prostacyclin derivative, is the active
ingredient in Remodulin. Id. at 1:27–32. Before the ’901 patent, treprostinil
had been prepared as described in Moriarty1 and other prior-art references.
Id. According to the ’901 patent, because treprostinil is “of great importance
from a medicinal point of view, a need exists for an efficient process to
synthesize th[is] compound[] on a large scale suitable for commercial
production.” Id. at 1:66–2:3.
       The ’901 patent discloses “a process for the preparation of a
compound having formula IV, or a hydrate, solvate, or pharmaceutically
acceptable salt thereof.” Id. at 8:44–46. Petitioner represents that Formula IV
is treprostinil. Pet. 11; Ex. 1002 ¶ 30. Formula IV has the following
structure:




1
 Moriarty et al., The Intramolecular Asymmetric Pauson-Khand Cyclization
as a Novel and General Stereoselective Route to Benzindene Prostacyclins:
Synthesis of UT-15 (Treprostinil), 69 J. ORG. CHEM. 1890–1902 (2004)
(Ex. 1009). Moriarty is one of the prior-art references asserted in this
proceeding.
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      The figure above shows the structure of Formula IV. Ex. 1001,
8:48–63.
      The process of the ’901 patent comprises
      (a) alkylating a compound of structure V with an alkylating
      agent such as ClCH2CN to produce a compound of formula VI,
      (b) hydrolyzing the product of step (a) with a base such as
      KOH,
      (c) contacting the product of step (b) with a base B such as
      diethanolamine to for [sic] a salt of the following structure, and
      (d) reacting the salt from step (b) with an acid such as HCl to
      form the compound of formula IV.
Id. at 8:65–9:48. Structure V, formula VI, and the salt formed in step (c)
have the following structures:




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      The figures above show the structures of structure V, formula VI, and
the salt formed in step (c). Id. at 9:1–28, 9:33–45. The ’901 patent states that
“[i]n one embodiment, the purity of compound of formula IV is at least
90.0%, 95.0%, 99.0%, 99.5%.” Id. at 9:49–50.
      According to the ’901 patent:
      The quality of treprostinil produced according to this invention
      is excellent. The purification of benzindene nitrile by column
      chromatography is eliminated. The impurities carried over from
      intermediate steps (i.e. alkylation of triol and hydrolysis of
      benzindene nitrile) are removed during the carbon treatment and
      the salt formation step. Additional advantages of this process are:
      (a) crude treprostinil salts can be stored as raw material at
      ambient temperature and can be converted to treprostinil by
      simple acidification with diluted hydrochloric acid, and (b) the
      treprostinil salts can be synthesized from the solution of
      treprostinil without isolation. This process provides better
      quality of final product as well as saves significant amount of
      solvents and manpower in purification of intermediates.
Id. at 16:66–17:12, see also id. at 6:4–18 (the same).
                               B. Illustrative Claim
      Claim 1 is the only independent claim. With the Certificate of
Correction (Ex. 1006, 2) incorporated, it is reproduced below:
      1.      A pharmaceutical batch consisting of treprostinil or a salt
      thereof and impurities resulting from (a) alkylating a benzindene
      triol, (b) hydrolyzing the product of step (a) to form a solution
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       comprising treprostinil, (c) contacting the solution comprising
       treprostinil from step (b) with a base to form a salt of treprostinil,
       (d) isolating the salt of treprostinil, and (e) optionally reacting
       the salt of treprostinil with an acid to form treprostinil, and
       wherein the pharmaceutical batch contains at least 2.9 g of
       treprostinil or its salt.
                     C. Instituted Grounds of Unpatentability
       We instituted trial to determine whether the challenged claims are
unpatentable based on the following grounds:
    Claims Challenged 35 U.S.C. § 2                   References
           1–9           103(a)                         Phares3
           1–9           103(a)                      Moriarty, Phares
       To support their respective arguments, Petitioner relies on the
Declaration of Jeffrey D. Winkler, Ph.D. (Exs. 1002, 1017) and Sylvia
Hall-Ellis, Ph.D. (Exs. 1015, 1052); and Patent Owner relies on the
Declarations of Rodolfo Pinal, Ph.D. (Exs. 2002, 2025).
                                 D. Related Matters
       Patent Owner asserted the ’901 patent against Petitioner in United
Therapeutics Corporation v. Liquidia Technologies, Inc., No. 1:20-cv-00755
(D. Del.) (“the district court case”). Paper 5, 1.
       Petitioner filed IPR2020-00769, challenging the claims of U.S. Patent
No. 9,593,066 (“the ’066 patent”), a patent in the same family as



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  The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29,
125 Stat. 284, 287–88 (2011), amended 35 U.S.C. §§ 102 and 103, effective
March 16, 2013. Because the ’901 patent has an effective filing date prior to
March 16, 2013, we apply the pre-AIA version of § 103.
3
  PCT Application No. WO 2005/007081 A9, published Jan. 27, 2005
(Ex. 1008).
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the ’901 patent. Id. We declined to institute trial in that case.
IPR2020-00769, Paper 7.
       U.S. Patent No. 8,497,393 (Ex. 1004, “the ’393 patent”) is a parent of
the ’901 patent. Ex. 1001, code (63). The ’393 patent is the subject of
SteadyMed Ltd. v. United Therapeutics Corp., IPR2016-00006
(“the ’393 IPR”). The petition for the ’393 IPR challenged claims 1–5, 7–9,
11–14, and 16–20 of the ’393 patent as anticipated by Phares, and as obvious
over Moriarty and Phares. IPR2016-00006, Paper 82 (PTAB March 31,
2017) (“the ’393 Decision” or “the ’393 Dec.”), 7. It also challenged claims
6, 10, 15, 21, and 22 as obvious over Moriarty, Phares, and additional prior
art. Id.
       Claim 9 of the ’393 patent recites:
       9.     A product comprising a compound of formula IV




       or a pharmaceutically acceptable salt thereof, wherein said
       product is prepared by a process comprising
       (a) alkylating a compound of structure V with an alkylating agent
       to produce a compound of formula VI,




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      (b) hydrolyzing the product of formula VI of step (a) with a base,
      (c) contacting the product of step [(b)] with a base B to form a
      salt of formula IVs, and




      (d) optionally reacting the salt formed in step (c) with an acid to
      form the compound of formula IV.
      Formula IV of the ’393 patent is the same as that of the ’901 patent,
and shows the structure of treprostinil. See the ’393 Dec. 24 (“Claim 9 . . . is
drawn to a product comprising the specific treprostinil compound.”).
      On March 31, 2017, the ’393 IPR panel held that the petitioner in the
’393 IPR prevailed in all asserted grounds, and that claims 1–22 of
the ’393 patent are unpatentable. Id. at 44, 67, 84, 90. Specifically, it
determined that the petitioner there demonstrated the obviousness of claim 9
over the combination of Moriarty and Phares. Id. at 44, 68.
      In reaching that conclusion, the ’393 IPR panel found that “an
ordinarily skilled artisan at the time of invention of the ’393 patent would
have had a doctorate in chemistry, pharmaceutics, pharmaceutical sciences,

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medicine, or a related discipline, or a lesser degree in one of those fields,
with correspondingly more experience.” Id. at 49. It also found that the
relevant skilled artisan “would have had experience in synthesizing and
analyzing complex organic compounds.” Id.
         Dr. Winkler, Petitioner’s expert in this proceeding, also provided
testimony in the ’393 IPR. He testified that “an ordinarily skilled artisan
would have sought to combine Moriarty and Phares in order to eliminate the
intermediate purification step taught by Moriarty, thereby increasing
synthetic efficiency and lowering production costs for treprostinil
diethanolamine salt.” Id. at 46. The ’393 IPR panel credited this testimony,
finding that Phares teaches “intermediate purification is unnecessary to the
production of treprostinil diethanolamine salt by the disclosed process.” Id.
at 47; see also id. at 50 (“[T]he proposed combination of Moriarty and
Phares would eliminate the need for intermediate purification as required by
Moriarty alone, and thereby confer efficiency and cost benefits.”). Thus, it
determined that “an ordinarily skilled artisan would have sought to combine
Moriarty and Phares in order to reap these efficiency and cost benefits.” Id.
at 50.
         The ’393 IPR panel also found “an ordinarily skilled artisan would
have sought to make the proposed combination for the independent reason
that Phares is directed to improving treprostinil, and the Moriarty process . . .
was a well-known way to make treprostinil.” Id. It further found “an
ordinarily skilled artisan would have a reasonable expectation of success in
combining Moriarty and Phares.” Id. at 52. The ’393 IPR panel analyzed the
evidence of objective indicia, including long-felt but unmet need and

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unexpected results, but found that the evidence did not show nonobvious. Id.
at 57–67. Thus, it concluded that the combination of Moriarty and Phares
renders claim 9 of the ’393 patent obvious. Id. at 68.
      The Federal Circuit affirmed that decision. United Therapeutics Corp.
v. SteadyMed Ltd., 702 F. App’x. 990 (Fed. Cir. 2017).
                       E. The Prosecution of the ’901 Patent
      During the prosecution of the ’901 patent, the applicant submitted the
petition for the ’393 IPR in an IDS. Ex. 1006, 127. Thereafter, the examiner
issued an office action, rejecting then pending claims 1–3, 6, 8, and 9 as
anticipated by Moriarty. Id. at 118. The examiner found that those claims are
product-by-process claims and stated
      [E]ven though product-by-process claims are limited by and
      defined by the process, determination of patentability is based on
      the product itself. The patentability of a product does not depend
      on its method of production. If the product in the product-by-
      process claim is the same or obvious from the product of the prior
      art, the claim is unpatentable even though the prior art product
      was made by a different process.
Id. at 119 (quoting In re Thorpe, 777 F.2d 695, 698 (Fed. Cir. 1985)).
      The examiner found that
      Moriarty et al disclose[s] a method for preparing treprostinil.
      Said method comprises the steps of: (a) alkylation of benzindene
      triol and (b) hydrolysis of the product of step (a) . . . . 441 g of
      treprostinil (a therapeutically effective amount) was prepared at
      99.7% purity. Moriarty also discloses removing impurities via
      extraction and further purification via crystallization. Although
      the method of Moriarty and the steps recited in the instant claims
      are not identical, the product obtained is the same.
Id. at 118–19.


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      The examiner also rejected then pending claims 10–12 as obvious
over Moriarty and Phares. Id. at 120. The examiner acknowledged that
Moriarty fails to teach the “preparation of a diethanolamine salt of
treprostinil” and the “preparation of a pharmaceutical product comprising
diethanolamine salt.” Id. The examiner, however, found “Phares et al
teach[es] preparation of treprostinil diethanolamine by dissolving treprostinil
acid and treating it with diethanolamine.” Id. at 121.
      According to the examiner,
      One skilled in the art practicing the invention of Phares would
      have found it obvious to prepare a diethanolamine salt of
      treprostinil prepared by the method of Moriarty. Moriarty
      discloses a method for preparing a treprostinil acid which is a
      needed starting material for the process of Phares. The resulting
      salt would meet the limitations directed to pharmaceutical
      product because treprostinil diethanolamine is the sole claimed
      component of the claimed pharmaceutical product.
      One skilled in the art would have found it obvious to prepare a
      pharmaceutical product from the treprostinil diethanolamine salt
      of Phares prepared from the treprostinil free acid that has been
      obtained by the process of Moriarty.
Id.
      In response to the rejections, the applicant cancelled then pending
claims 2 and 3, and amended other claims. Id. at 96–97. Most significantly,
the applicant amended claim 1 as follows:
      1.      (Currently Amended) A pharmaceutical batch comprising
      consisting of treprostinil or a salt thereof and impurities resulting
      from prepared by (a) alkylating a benzindene triol, (b)
      hydrolyzing the product of step (a) to form a solution comprising
      treprostinil, (c) contacting the solution comprising treprostinil
      from step (b) with a base to form a salt of treprostinil, (d)
      isolating the salt of treprostinil, and (e) optionally reacting the
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       salt of treprostinil with an acid to form treprostinil, and, wherein
       the pharmaceutical batch contains at least 2.9 g of treprostinil or
       its salt.
Id. at 96.
       The applicant also submitted “Patent Owner’s Response and expert
declarations from Dr. Williams and [Dr.] Ruffolo” from the ’393 IPR. Id.
at 98. Relying on the expert declarations, the applicant argued that “a
pharmaceutical batch produced according to steps (a)-(e) of claim l is
different from the product produced by the process described in
Moriarty 2004” because “the processes result in products having different
impurity profiles, and in fact, the pharmaceutical batch of claim 1 has higher
average purity.” Id. at 99. The applicant highlighted that
       As noted in the Patent Owner’s [’393] IPR Response, the
       differences between claim 1’s pharmaceutical batch and a
       product produced according to the process of Moriarty were
       significant enough to result in FDA’s acceptance of a new purity
       specification for the commercial product, thus proving that the
       products are not the same in the eyes of the FDA.
Id. As a result, the applicant requested that the examiner withdraw the
anticipation rejection. Id.
       Regarding the obviousness rejection, the applicant contended that “the
differences in the resulting products, as explained above, would not have
been expected based on the prior art.” Id. According to the applicant, “it
would not have been obvious to use the salt formation step of Phares to
decrease amounts of stereoisomer impurities of treprostinil” and an
ordinarily skilled artisan “would have had no reasonable expectation of
success in removing any undesired treprostinil stereoisomer impurities by
salt formation and subsequent regeneration of the free acid.” Id. at 99–100.
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The applicant again emphasized that “even small changes in impurity are
important to FDA.” Id. at 100. Thus, according to the applicant, “FDA’s
decision to adopt a new purity specification for the resulting product further
establishes unobviousness of the presently claimed invention.” Id.
      Thereafter, the examiner withdrew the anticipation and obviousness
rejections “in view of applicants’ arguments, amendments and the
accompanying declarations.” Id. at 87. And, after the applicant filed a
terminal disclaimer to overcome a double-patenting rejection (id. at 73–75),
the examiner allowed claims 1, 6, and 8–14 (id. at 62), and they issued as the
challenged claims 1–9. The ’901 patent issued on March 28, 2017, three
days before the Board issued the ’393 Decision.
                             II.   ANALYSIS
                              A. Principles of Law
      To prevail in this inter partes review, Petitioner “shall have the
burden of proving a proposition of unpatentability by a preponderance of the
evidence.” 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d) (2019).
      A patent claim is unpatentable under 35 U.S.C. § 103(a) if the
differences between the claimed subject matter and the prior art are such that
the subject matter, as a whole, would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;



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(3) the level of skill in the art; and (4) objective evidence of nonobviousness.
Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966); KSR, 550 U.S. at 406.
      We analyze the instituted grounds of unpatentability in accordance
with these principles.
                            B. Prior Art Disclosures
                                   1. Moriarty
      Moriarty describes synthesizing treprostinil “via the stereoselective
intramolecular Pauson-Khand cyclization.” Ex. 1009, 1.4 Formula 7 of
Moriarty is reproduced below:




Id. at 3. Formula 7 of Moriarty depicts the chemical structure of treprostinil.
Id.
      An excerpt of Scheme 4 of Moriarty is reproduced below:




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 For Moriarty, the parties cite to the pagination added by Petitioner. For
consistency, we do the same.
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Id. at 6. The excerpted portion of Scheme 4 of Moriarty illustrates that
“[t]riol 34 was alkylated at the phenolic hydroxyl group with use of
chloroacetonitrile in refluxing acetone with potassium carbonate (34 → 35)
and nitrile 35 was hydrolyzed with ethanolic potassium hydroxide to yield
UT-15 (7),” treprostinil. Id. at 8.
                                      2. Phares
      Phares teaches compounds, including treprostinil and derivatives
thereof, “and methods for inducing prostacyclin-like effects in a subject or
patient.” Ex. 1008, 8.5 “Treprostinil is a chemically stable analog of
prostacyclin, and as such is a potent vasodilator and inhibitor of platelet
aggregation.” Id. Phares states that “[t]he compounds provided herein can be
formulated into pharmaceutical formulations and medicaments that are
useful in the methods of the invention.” Id.; see also id. at 48 (“provid[ing]
for compositions which may be prepared by mixing one or more compounds
of the instant invention, or pharmaceutically acceptable salts thereof, with
pharmaceutically acceptable carriers, excipients, binders, diluents or the like,
to treat or ameliorate a variety of disorders related vasoconstriction and/or
platelet aggregation”).
      The chemical structure of treprostinil, as shown in Phares, is
reproduced below:




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 For Phares, the parties cite to the original page numbers of the exhibits, and
not the pagination added by Petitioner. For consistency, we do the same.
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The figure above shows the structure of treprostinil. Id. at 8.
      Phares teaches that “[a] preferred embodiment of the present
invention is the diethanolamine salt of treprostinil.” Id. at 9. The structure of
the diethanolamine salt of treprostinil, as shown in Phares, is reproduced
below:




The figure above shows the structure of treprostinil diethanolamine salt. Id.
at 96 (claim 49).
      Phares teaches two crystalline forms of treprostinil diethanolamine
salt, the metastable Form A and the thermodynamically more stable Form B.


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Id. at 85. Phares states that “[a] particularly preferred embodiment of the
present invention is form B of treprostinil diethanolamine.” Id. at 9.
      Phares teaches the synthesis of (-)-treprostinil, the enantiomer of
(+)-treprostinil. Id. at 39–40. Specifically, Phares teaches the following
reaction procedure:




Id. at 40. The figure above shows the reaction procedure for the conversion
of 11b to 2. Id. Phares describe it as: “(l) i. ClCH2CN, K2CO3. ii, KOH,
CH3OH, reflux. 83% (2 steps).” Id.
      Phares further teaches that “the enantiomer of the commercial drug
(+)-treprostinil was synthesized using the stereoselective intramolecular
Pauson Khand reaction as a key step and Mitsunobu inversion of the side-
chain hydroxyl group.” Id., see also id. at 39 (“Enantiomers of these
compounds . . . can be synthesized using reagents and synthons of
enantiomeric chirality of the above reagents.”).
                              C. Claim Construction
      In an inter partes review, we construe a claim term “using the same
claim construction standard that would be used to construe the claim in a
civil action under 35 U.S.C. [§] 282(b).” 37 C.F.R. § 42.100(b). Under that
standard, the words of a claim “are generally given their ordinary and
customary meaning,” which is “the meaning that the term would have to a
person of ordinary skill in the art in question at the time of the invention, i.e.,
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as of the effective filing date of the patent application.” Phillips v. AWH
Corp., 415 F.3d 1303, 1312–13 (Fed. Cir. 2005) (en banc).
                             1. “Pharmaceutical Batch”
      In the Petition, Petitioner argues that no construction of claim terms is
required and “[a]ll terms should be given their plain and ordinary meaning in
the art” at the priority date of the ’901 patent. Pet. 18–19. In the Preliminary
Response, Patent Owner emphasizes the difference between a “compound,”
as recited in the claims of the ’393 patent, and a “pharmaceutical batch,” as
recited in challenged claim 1. Paper 6 (“Prelim. Resp.”), 8. In proposing the
construction for “pharmaceutical batch,” Patent Owner relies on the FDA
definition of “batch.” Id. at 9.
      In our Decision to Institute, we generally agreed with Patent Owner’s
proposed construction that
      The POSA viewing the ’901 patent claims in light of the ’901
      patent specification would have understood claim 1’s
      ‘pharmaceutical batch’ to be a specific quantity of treprostinil (or
      its salt) that is intended to have uniform character and quality,
      within specified limits, and is produced according to a single
      manufacturing order during the same cycle of manufacture,
      wherein the uniform character and quality is such that it still
      contains impurities resulting from the method by which it is
      produced.
Dec. 15–16 (quoting Prelim. Resp. 9). Later, in our Decision Denying Patent
Owner’s Request on Rehearing of Decision on Institution, we clarified that
“we did not construe the term ‘pharmaceutical batch’ in claim 1 to require
storage stability.” Paper 14, 6 (citing Dec. 15–16).
      In its Reply, Petitioner argues that Patent Owner’s construction of
“pharmaceutical batch” “pulls language directly from FDA regulations” and
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“creates more ambiguity than clarity by introducing terms that themselves
would require construction.” Reply 4 (internal quotation marks omitted).
According to Petitioner, “a POSA would understand ‘pharmaceutical batch’
to mean one ‘made according to the process recited in steps (a)–(d) and
optionally (e), wherein no purification steps appear between alkylation and
salt formation.’” Id. at 5. Petitioner further argues that “under either
construction, Moriarty discloses a ‘pharmaceutical batch’ of 500g.” Id. at 6.
      As discussed below, we agree with Petitioner that the challenged
claims exclude any isolation 6 between the alkylation and salt formation
steps. See infra, Section II.C.3. That interpretation, however, flows from the
language “contacting the solution comprising treprostinil from step (b) with
a base to form a salt of treprostinil,” and not “pharmaceutical batch.” Id. As
a result, we decline to adopt Petitioner’s proposed construction of
“pharmaceutical batch.”
      Claim terms need only be construed to the extent necessary to resolve
the controversy. Wellman, Inc. v. Eastman Chem. Co., 642 F.3d 1355, 1361
(Fed. Cir. 2011). Here, we do not need to define the outer bounds of the term
“pharmaceutical batch” because the parties’ dispute over this term centers on
the issue of storage stability. 7 Patent Owner argues “the correct construction



6
  The parties use the terms “purification” and “isolation” interchangeably in
the papers. We use the term “isolation” in this Decision.
7
  The parties agree on the “pharmaceutical” aspect of the term. We note
the ’901 patent defines “pharmaceutically acceptable” as “being useful in
preparing a pharmaceutical composition that is generally safe, non-toxic and
neither biologically nor otherwise undesirable and includes being useful for
veterinary use as well as human pharmaceutical use.” Ex. 1001, 5:27–31.
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of ‘pharmaceutical batch’ requires storage stability such that the batch could
be stored stably for a period of time customary in pharmaceutical
manufacturing.” PO Resp. 43 (citing Ex. 2025 ¶ 78)). Petitioner contends
otherwise. Reply 6 (arguing Patent Owner’s construction “imports storage
limitations into ‘pharmaceutical batch’ (POR9), but the Board’s construction
did not (Dec. at 15-16)”). We agree with Petitioner.
      Patent Owner supports its argument, relying on the testimony of
Dr. Pinal, who in turn relies on the definitions of “batch,” “in-process
material,” and “lot” in the FDA regulations. Ex. 2025 ¶ 78 (citing Ex. 2004,
133–34). Even if we consider the FDA regulations, none of the cited
definitions mentions, let alone requires, storage. Thus, we reiterate that the
term “pharmaceutical batch” in claim 1 does not require storage stability.
See Paper 14, 6. This determination as to the scope of “pharmaceutical
batch” is sufficient for purposes of this Decision, and we need not further
address the term.
                             2. “Storing”/“Storage”
      Claim 6 recites “storing a pharmaceutical batch of a salt of treprostinil
as claimed in claim 1 at ambient temperature, and preparing a
pharmaceutical product from the pharmaceutical batch after storage.” In our
Decision to Institute, we agreed with Patent Owner that the terms
“storing”/“storage” “require that the stored material possesses stability
sufficient to allow manufacture and which maintains integrity for a sufficient
period of time to be useful for the preparation of a pharmaceutical product.”
Dec. 17 (quoting Prelim. Resp. 11).



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      In its Response, Patent Owner maintains its proposed claim
construction. PO Resp. 11. Together with its Response, Patent Owner
submitted the Prosecution History of Application No. 13/933,623
(“the ’623 application) (Ex. 2028). The ’623 application, issued as Patent
No. 9,156,786 (the ’786 patent), is the parent of the application that issued as
the challenged ’901 patent. See Ex. 1001, code (63); Ex. 2028, 264.
      Petitioner asserts that Patent Owner’s proposed construction is
“inconsistent with its construction of this same term during prosecution of
the ʼ901 Patent’s parent, the ʼ786 Patent.” Reply 7. We agree.
      During the prosecution of the ’623 application, the applicant amended
pending claim 1 as following:
      1. (Currently Amended) A process for preparing a
      pharmaceutical product comprising treprostinil or a treprostinil
      salt, comprising:
      combining treprostinil and a base in solution to form a base
      addition salt;
      allowing crystallization of the base addition salt of treprostinil;
      [[and]]
      collecting the base addition salt of treprostinil, storing the
      collected base addition salt, and preparing a pharmaceutical
      product comprising treprostinil or a treprostinil salt from the base
      addition salt after storage.
Ex. 2028, 159. The examiner rejected this claim as obvious over Phares and
another prior art reference. Id. at 172. The examiner specifically addressed
the limitation directed to storing the treprostinil salt. Id. at 173–74.
According to the examiner,
      The step of storing the treprostinil diethanolamine salt is
      inherently met by Phares. Examiner is interpreting the term

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      “storing” to mean a time period between preparation of
      treprostinil salt and its use in preparation of a pharmaceutical
      product. Said limitation is inherently met by Phares. Phares
      teaches preparation of pharmaceutical products and
      administration of said compounds to a subject
      (paragraphs [0049], [0071], [0072], [0074]). It is inherent that
      some time elapses between preparation of a compound and its
      use in preparation of a pharmaceutical formulation. Phares
      describes obtaining an X-ray diffraction spectrum of treprostinil
      diethanolamine. It is inherent that while obtaining the X-ray
      diffraction spectrum the compound is being stored.
Id.
      In response, the applicant further amended the relevant part of the
claim to “storing the collected base addition salt at ambient temperature, and
preparing a pharmaceutical product comprising treprostinil or a treprostinil
salt from the base addition salt after the storage.” Id. at 189. Relying on a
Rule 132 Declaration of Dr. Liang Guo, the applicant argued:
      [T]he PTO’s interpretation of the term “storing” is too broad
      even under the broadest reasonable interpretation standard. Even
      under the broadest reasonable interpretation standard, the PTO
      may not erase the meaning of a step in a method claim that is tied
      to the preamble. The claim is directed to “preparing a
      pharmaceutical product.” In the accompanying Guo Declaration,
      Dr. Liang Guo explains that a person of ordinary skill in the art
      would recognize that the term “stored” in the expression “crude
      treprostinil salts can be stored as raw material at ambient
      temperature” in paragraph 0046 of the specification as filed
      means stored for a period of at least three months. Guo
      Declaration at ¶ 6. Thus, “storing” in the context of “preparing a
      pharmaceutical product” would be understood by one of ordinary
      skill in the art to mean a period of at least three months. Based
      on this understanding of “storing,” Phares clearly does not meet
      the storing element of claim 1.


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Id. at 193; see also id. at 198 (Guo Declaration ¶ 6 stating the same). The
examiner, apparently finding this argument persuasive, allowed the claims
thereafter. Id. at 243–44.
      “[A]n invention is construed not only in the light of the claims, but
also with reference to the file wrapper or prosecution history in the Patent
Office.” Graham, 383 U.S. 1, 33. “The prosecution history of a related
patent can be relevant if . . . it addresses a limitation in common with the
patent in suit.” Advanced Cardiovascular Sys., Inc. v. Medtronic, Inc.,
265 F.3d 1294, 1305 (Fed. Cir. 2001); see also Elkay Mfg. Co. v. Ebco Mfg.
Co., 192 F.3d 973, 980 (Fed. Cir. 1999) (“When multiple patents derive
from the same initial application, the prosecution history regarding a claim
limitation in any patent that has issued applies with equal force to
subsequently issued patents that contain the same claim limitation.”).
      Here, the Specification of the ’901 patent includes the same language
“crude treprostinil salts can be stored as raw material at ambient
temperature” addressed in the prosecution of the parent ’623 application.
Ex. 1001, 17:5–6. More importantly, challenged claim 6 recites the same
limitation “preparing a pharmaceutical product . . . after storage” the
applicant expressly interpreted there. See Ex. 2028, 193. Because “the same
claim limitation is at issue, prosecution disclaimer made on the same
limitation in an ancestor application will attach,” the applicant’s
interpretation of “storing”/“storage” during the prosecution of
the ’623 application applies here. See Omega Eng’g, Inc., v. Raytek Corp.,
334 F.3d 1314, 1333 (Fed. Cir. 2003).



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      In the parallel district court case, the court accorded the terms
“stored”/“storing”/“storage” their plain and ordinary meaning. Ex. 2035,8 1.
Under 37 C.F.R. § 42.100(b), we have considered the district court’s claim
construction. In this case, however, the prosecution history, part of the
intrinsic evidence, is so unambiguous that we must apply the applicant’s
interpretation presented therein. See Chimie v. PPG Indus., Inc.,
402 F.3d 1371, 1384 (Fed. Cir. 2005) (“The purpose of consulting the
prosecution history in construing a claim is to exclude any interpretation that
was disclaimed during prosecution.”); Phillips, 415 F.3d at 1317.
      Petitioner points out that Patent Owner’s expert in the parallel district
court case, Dr. Robert R. Ruffolo, opined that, in the ʼ901 patent, actual
storage was not required.9 Paper 29, 3–5 (citing Ex. 2034, 130:12–132:4,
132:15–136:11). We acknowledge Dr. Ruffolo’s testimony that claim 6 does
not require that the pharmaceutical product be made after storage of the
pharmaceutical batch of a salt of treprostinil. See Ex. 2034, 136:7–11.
Claim 6, however, explicitly recites storing a pharmaceutical batch of a salt
of treprostinil, and preparing a pharmaceutical product from the
pharmaceutical batch after storage. Thus, we discount the cited Ruffolo
testimony on “storage” because it “is clearly at odds with the claim
construction mandated by the claims themselves.” See Phillips, 415 F.3d


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  The parties agreed to submit the claim construction order from the district
court case (Ex. 2035) as supplemental information. Paper 40, 2.
9
  Petitioner asks us to strike “Patent Owner’s Submissions Regarding
‘Storage’” in Patent Owner Response, Sur-reply, and the two declarations of
Dr. Pinal (Exs. 2002, 2025). Paper 29, 8. We address this issue below in
Section IV.
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at 1318; see also id. at 1324 (holding extrinsic evidence cannot be used to
“contradict claim meaning that is unambiguous in light of the intrinsic
evidence”).
      In sum, we determine that claim 6 requires actual storage, and in view
of the applicant’s statements during the prosecution of the parent
’623 application, we determine the terms “storing”/“storage” in the context
of “preparing a pharmaceutical product” require storing or storage for a
period of at least three months.
                        3. Step (c) of Challenged Claim 1
      Step (c) of challenged claim 1 recites “contacting the solution
comprising treprostinil from step (b) with a base to form a salt of
treprostinil.” In its Response, Patent Owner points out that “[t]he claim’s
preamble requires the pharmaceutical batch be one ‘consisting of’ what
results from the recited steps.” PO Resp. 11. According to Patent Owner,
“[t]ogether, this language means treprostinil is not isolated from the solution
formed in step (b) before forming a salt in step (c).” Id. Petitioner does not
contest Patent Owner’s proposed construction. Reply 3 n.2.
      Later, however, Patent Owner retracts its argument, apparently in
response to certain disputes between the parties in the co-pending district
court case. Sur-reply 8. Relying on the testimony of Dr. Pinal, Patent Owner
points out claim 5 of the ’066 patent recites “the base is combined with
treprostinil that has not been previously isolated.” Ex. 2025 ¶ 157 (quoting
Ex. 2027, 18:31–33); Sur-reply 8 (citing Ex. 2025 ¶ 157). In contrast, Patent
Owner argues “not isolating the treprostinil before contacting it with a base



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is not an explicit limitation of claim 1 of the ’901 patent.” Sur-reply 8
(quoting Ex. 2025 ¶ 157 (emphasis added by Patent Owner)).
      Patent Owner also relies on the testimony of Dr. Ruffolo in the
parallel district court case. Id. at 8–9 (citing Ex. 2033 ¶ 15; Ex. 2034,
247–48). According to Dr. Ruffolo, “a POSA would understand that the
passage in the Patent Owner’s Response upon which [Petitioner] Liquidia
relies is incorrect to the degree it suggests that Examples 2 and 3 describe
synthesizing treprostinil without isolating it prior to salt formation.”
Ex. 2033 ¶ 15. Patent Owner argues:
      [PO Resp.] at 11 inaccurately suggests that the language of claim
      1 means treprostinil is “not isolated” from the solution formed in
      step (b) before forming a salt in step (c). See, e.g., POR, 15, 29,
      34, 53 . . . These statements are unsupported and a POSA would
      not have understood them as consistent with the claims read in
      light of the specification.
Sur-reply 8. As a result, Patent Owner states that it “withdraws those
statements.” 10 Id. at 9; see also Paper 29, 1.
      Whether Patent Owner is allowed to withdraw its arguments regarding
step (c) does not have any effect on our construction of step (c). This is
because “[w]hen construing claim terms, we first look to, and primarily rely
on, the intrinsic evidence, including the claims themselves, the specification,
and the prosecution history of the patent, which is usually dispositive.”


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   Petitioner argues that if Patent Owner is permitted to withdraw the
statements related to the issue of “not isolated,” then we should strike not
only those in Patent Owner Response, as identified by Patent Owner, but
also many other statements in the Patent Owner Response, the Pinal
Declarations (Exs. 2002, 2025), and the Sur-reply. Paper 29, 1–2. We
address this issue below in Section IV.
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Sunovion Pharm., Inc. v. Teva Pharm. USA, Inc., 731 F.3d 1271, 1276 (Fed.
Cir. 2013). Here, step (c) of challenged claim 1 requires “contacting the
solution comprising treprostinil from step (b) with a base to form a salt of
treprostinil.” Ex. 1001, 17:27–29 (emphasis added). The claim language
itself, thus, dictates that the solution formed in step (b), and not treprostinil
isolated from step (b), is the starting material for forming a salt in step (c).
      The Specification of the ’901 patent supports our determination.
Indeed, the Specification touts that one of the advantages of the disclosed
process is that “the treprostinil salts can be synthesized from the solution of
treprostinil without isolation,” because “[t]he impurities carried over from
intermediate steps (i.e. alkylation of triol and hydrolysis of benzindene
nitrile) are removed during the carbon treatment and the salt formation step.”
Ex. 1001, 17:1–11. As a result, we agree with the argument presented in the
Patent Owner Response that “claim 1 requires the solution in which
treprostinil is formed be used directly in the next salt-forming step without
isolating treprostinil in between.” See PO Resp. 11.
      The testimony of Dr. Pinal and Dr. Ruffolo do not change our
determination. First, extrinsic evidence in the form of expert testimony,
although useful at times, cannot be used to “contradict claim meaning that is
unambiguous in light of the intrinsic evidence.” Phillips, 415 F.3d at 1324.
Because the testimony of Patent Owner’s experts on this issue are “clearly at
odds with the claim construction mandated by the claims themselves,” we
accord them little weight. See id. at 1318.
      Second, “extrinsic evidence consisting of expert reports and testimony
is generated at the time of and for the purpose of litigation and thus can

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suffer from bias that is not present in intrinsic evidence.” Id. at 1318. Here,
Dr. Ruffolo indicated that his testimony was prepared specifically in
response to Petitioner’s “documentary evidence that treprostinil in
[Petitioner] Liquidia’s LIQ861 is isolated prior to salt formation and cannot
infringe.” Ex. 2033 ¶ 4. Thus, the testimony of Dr. Ruffolo on this issue are
not sufficiently reliable.
      Third, Patent Owner’s reliance on claim 5 of the ’066 patent is
unavailing. Patent Owner argues when it “wants to exclude purification from
its claim . . . it knows specifically how to do that.” Tr. 56:20–22. Patent
Owner essentially invites us to assume that, as an applicant, it always
follows the same pattern of claiming. We decline to do so and do not
construe step (c) of challenged claim 1 based on the entirely different
language in claim 5 of the ’066 patent.
      In sum, in view of the intrinsic evidence, including the claim language
and the Specification, we conclude that treprostinil is not isolated from the
solution formed in step (b) before forming a salt in step (c).
                               D. Level of Ordinary Skill
      In the Decision to Institute, we found “the level of ordinary skill in the
art is reflected by the prior art, including Phares and Moriarty.” Dec. 22.
Patent Owner argues that the challenged claims “contemplate batch-scale
synthesis and late-stage chemical purification.” PO Resp. 23. According to
Patent Owner, “scaling up is a separate and difficult process.” Id. at 24.
Thus, Patent Owner contends that an ordinarily skilled artisan “would have
been an industrial chemist or chemical engineer with experience in



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pharmaceutical manufacturing.” Id. at 23. We find Patent Owner’s definition
of the skill level too narrow.
      Patent Owner relies on the declaration of Dr. Pinal, who testifies that
the ’901 patent is “focused on the production of pharmaceutical
compositions and products, on a commercial batch-size scale.” Ex. 2002
¶ 91; see also id. ¶ 92 (opining that organic and medicinal chemists do not
have the “requisite skill set for the large-scale manufacture” of drugs); PO
Resp. 24 (arguing an ordinarily skilled artisan is aware of “problems
encountered in preparing a commercial-scale pharmaceutical product”).
      Patent Owner does not explain what “a commercial batch-size scale,”
a “large-scale,” or “a commercial-scale” encompasses. Moreover, during his
deposition, Dr. Pinal, Patent Owner’s expert, testified that a pharmaceutical
product is not limited to a commercial one, and many of them are in clinical
trials. Ex. 1018, 111:17–112:8. And during the oral argument, counsel for
Patent Owner acknowledged that a compounding pharmacy can also make a
pharmaceutical batch. Tr. 47:11–20.
      Patent Owner emphasizes the “distinction between the academic and
the practical.” PO Resp. 24 (citing Ex. 2025 ¶¶ 55–63). Dr. Pinal testifies
that “[o]ne cannot overemphasize that benchtop synthetic chemistry is not a
viable replacement for, i.e., closely related to, the commercial production of
pharmaceutical drug products, which is performed to high scale, in a pilot
plant, kilo-lab plant, or manufacturing plant.” Ex. 2025 ¶ 55.
      Challenged claim 1 requires “the pharmaceutical batch contains at
least 2.9 g of treprostinil or its salt.” In comparison, Moriarty teaches the
synthesis of 441 grams of treprostinil. Ex. 1009, 13. Indeed, treprostinil had

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been prepared as described in Moriarty, and used as the active ingredient in
Remodulin. Ex. 1001, 1:27–32. And the ’901 patent itself describes the
Moriarty process as having “[b]atch size: 500 g” with a yield of treprostinil
of “~535 g.” Id. at 15:38, 16:7, 16:60. Yet, Dr. Pinal characterizes Moriaty
as on a “benchtop” scale. Ex. 2025 ¶ 92. This inconsistency casts further
doubt over Dr. Pinal’s testimony on this issue.
      We also note that Phares teaches not one, but two, clinical studies
with treprostinil diethanolamine. Ex. 1008, 82–86. As Dr. Pinal
acknowledged during his deposition, pharmaceutical products include those
used in clinical trials, even if they are used only in clinical trials. Ex. 1018,
111:17–112:8. Thus, Phares reflects the skill level, even under Patent
Owner’s construction.
      Patent Owner challenges Dr. Winkler’s qualification to provide expert
testimony. See, e.g., PO Resp. 23 n.2 (“Prof. Winkler frames the issues in
terms of academic and undergraduate lab organic chemistry because that is
where his experience lies.”); Paper 31,11 4 (“Dr. Winkler is unqualified to
testify on the relevant subject matter.”). We are not persuaded.




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   Patent Owner argues that Dr. Winkler does not have qualifications in the
relevant field even under Petitioner’s own definition of the skill level, as
stated in the Declaration of Dr. Hall-Ellis. Paper 31, 4 (citing Ex. 1015 ¶ 16).
Dr. Hall-Ellis, in her Declaration in support of the Petition, testified that an
ordinarily skilled artisan is “a medical physicist” with “experience in
radiation oncology physics.” Ex. 1015 ¶ 16. Petitioner later filed a
supplemental Hall-Ellis Declaration to correct that error. See Ex. 1052.

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         “A person may not need to be a person of ordinary skill in the art in
order to testify as an expert under Rule 702, but rather must be qualified in
the pertinent art.” Patent Trial and Appeal Board Consolidated Trial Practice
Guide12 34 (“There is . . . no requirement of a perfect match between the
expert’s experience and the relevant field.”). Here, we are satisfied that
Dr. Winkler qualifies as an expert witness “by knowledge, skill, experience,
training, or education to testify in the form of an opinion.” See id.; Ex. 1003.
         In sum, after considering the full record developed at trial, we
maintain that the level of ordinary skill in the art is reflected by the prior art,
including Phares and Moriarty. We further note that our analyses and legal
conclusions apply with equal force under the skill level as defined by either
party.
                     E. Obviousness over Phares and Moriarty
         Petitioner argues that claims 1–9 of the ’901 patent would have been
obvious over Moriarty and Phares. Pet. 49–75. After reviewing the entire
record, we conclude Petitioner has shown by a preponderance of the
evidence that the combination of Moriarty and Phares renders claims 1–5, 8,
and 9 obvious. Petitioner, however, has not shown by a preponderance of the
evidence that the combination of Moriarty and Phares renders claims 6 and 7
obvious.




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  Available at https://www.uspto.gov/sites/default/files/documents/
tpgnov.pdf.
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                              1. Claims 1–5, 8, and 9
                                   i.   Claim 1
      Regarding claim 1, Petitioner points out that Moriarty describes
synthesizing treprostinil via the stereoselective intramolecular Pauson-
Khand cyclization, and Phares teaches forming treprostinil diethanolamine
salt having the same structure as disclosed in the ’901 patent. Pet. 53–55
(citing Ex. 1008, 9, 22, 96; Ex. 1009, 1). According to Petitioner, “[t]he
combination of Moriarty and Phares discloses the same process steps and
product of the ’901 patent and as such, the combination of these references
would disclose a purity of at least equal purity to that claimed in the ’901
patent.” Id. at 56 (citing Ex. 1002 ¶ 159). In addition, Phares teaches “the
pharmaceutical acceptability of the compounds.” Id. at 29 (citing Ex. 1008,
22). Thus, Petitioner concludes “Moriarty in combination with Phares
disclose a pharmaceutical batch consisting of treprostinil or a salt thereof
and impurities,” as recited in challenged claim 1. Id. at 56.
      Specifically, Petitioner refers to Moriarty for teaching alkylating
benzindene triol 34 to yield nitrile 35, and hydrolyzing nitrile 35 to yield
treprostinil. Id. at 57, 59 (citing Ex. 1009, 6, 8, 13). Thus, Petitioner
contends that Moriarty teaches steps (a) and (b) of challenged claim 1.
      Acknowledging that step (c), “the step of reacting treprostinil with a
base to form a salt of 7 is not disclosed in Moriarty,” Petitioner asserts “this
step is clearly disclosed in Phares.” Id. at 54. Petitioner refers to Phares for
teaching dissolving treprostinil in a 1:1 molar ratio mixture of ethanol:water
and then adding diethanolamine. Id. at 54, 61 (citing Ex. 1008, 22).
Petitioner asserts that “a POSA would likely understand the treprostinil acid

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disclosed at page 22 [of Phares] to have been isolated before addition of the
base.” Id. at 61 (citing Ex. 1002 ¶ 176). But, according to Petitioner, “not
isolating the treprostinil before contacting it with a base is obvious based on
what is taught by Phares,” and “[a] POSA would be motivated to do so to
save a step of isolation.” Id. (citing Ex. 1002 ¶¶ 177, 178; Ex. 1008; 40).
         Petitioner argues that Phares also teaches step (d) because it is needed
to form the disclosed crystalline forms of treprostinil diethanolamine salt. 13
Id. at 62 (citing Ex. 1008, 85–89).
         Regarding the wherein clause reciting “the pharmaceutical batch
contains at least 2.9 g of treprostinil or its salt,” Moriarty teaches that “[t]he
essential requirements for any large-scale, multistep synthesis of a molecule
of the complexity of [treprostinil] are very high overall stereoselectivity,
high overall chemical yield, and scalability of individual steps to multigram
quantities.” Ex. 1009, 3. Petitioner refers to Moriarty for synthesizing 441 g
of treprostinil. Pet. 63 (citing Ex. 1009, 13).
         Petitioner contends that an ordinarily skilled artisan would have had a
reason to combine Moriarty and Phares because “Phares is directed to
improving treprostinil, and the Moriarty process . . . was a well-known way
to make treprostinil.” Id. at 51–52 (citing Ex. 1002 ¶¶ 148, 151). Petitioner
further asserts that an ordinarily skilled artisan would have had a reasonable
expectation of success in combining the references because “[t]he proposed
combination of Moriarty and Phares yields treprostinil diethanolamine




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     We do not discuss step (e) because it is an optional step.
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salt . . . via the process taught by Phares,” and “Phares successfully
performed precisely that step.” Id. at 52–53 (citing Ex. 1002 ¶ 152).
      After reviewing the entire record developed at trial, and as explained
below, we determine Petitioner has shown, by a preponderance of the
evidence, that the combination of Moriarty and Phares teaches each
limitation of challenged claim 1. Petitioner has also shown that an ordinarily
skilled artisan would have had a reason to combine Moriarty and Phares, and
would have had a reasonable expectation of success when doing so.
      Patent Owner does not dispute that the combination of Moriarty and
Phares teaches steps (a), (b), and (d) of challenged claim 1. 14 Patent Owner
also does not dispute that the combined teachings suggest the “at least 2.9 g
of treprostinil or its salt” as recited in the wherein clause. Patent Owner,
however, challenges Petitioner’s accounting of step (c) of claim 1, asserting
that “claim 1’s recited steps differ from Phares and Moriarty because they do
not involve isolation of treprostinil intermediate.” 15 PO Resp. 57; see also id.



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   Patent Owner argues that Phares contains “an insufficient disclosure to
provide the POSA with enough conditions to successfully recrystallize
[tritreprostinil diethanolamine].” Id. at 55. To the extent Patent Owner
challenges Phares for not being enabling, this argument is unavailing.
“Under § 103 . . . a reference need not be enabled; it qualifies as a prior art,
regardless, for whatever is disclosed therein.” Amgen Inc. v. Hoechst Marion
Roussel, Inc., 314 F.3d 1313, 1357 (Fed. Cir. 2003) (instructing the trial
court to reconsider obviousness on remand “without reference to whether
[the prior art] is enabled, as enablement of the prior art is not a requirement
to prove invalidity under § 103”).
15
   Petitioner asks us to strike this and other arguments because Patent Owner
seeks to withdraw some statements related to the “no isolation” argument.

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at 62 (“[T]he recited steps are different from those disclosed in Moriarty and
Phares (no isolation of treprostinil after alkylation and hydrolysis steps
before forming a salt).”). Patent Owner also asserts that the product from the
combination of Moriarty and Phares does not necessarily include the same
impurities as recited in claim 1. Id. at 62–64. In addition, Patent Owner
contends that Phares and Moriarty are directed to different problems. Id. at
54–56. According to Patent Owner, Petitioner “has failed to demonstrate that
a POSA would have had the requisite motivation and expectation of
success.” Id. at 58. We address these contentions below.
                       a. Reason to Combine and Modify
      Moriarty teaches synthesis of treprostinil “via the stereoselective
intramolecular Pauson-Khand cyclization.” Ex. 1009, 1. Similarly, Phares
teaches that “the enantiomer of the commercial drug (+)-Treprostinil was
synthesized using the stereoselective intramolecular Pauson Khand reaction
as a key step.” Ex. 1008, 40. Thus, we find that the two references are not
directed to problems so different that an ordinarily skilled artisan would not
have combined their teachings.




Paper 29, 1–2. We address those requests below in Section IV. Our
obviousness analysis, however, remains the same regardless of whether we
grant Petitioner’s request to strike. This is because, as explained above,
based on the intrinsic evidence, we construe claim 1 to exclude isolation
between steps (b) and (c). See supra, Section II.C.3. Thus, Petitioner must
show, with or without Patent Owner’s arguments, that the combined
teachings of Moriarty and Phares suggest to an ordinarily skilled artisan to
skip the intermediate isolation step.
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      Petitioner asserts that one reason to combine Moriarty and Phares is
because “Phares is directed to improving treprostinil, and the Moriarty
process . . . was a well-known way to make treprostinil.” Pet. 51–52. This
assertion is supported not only by the Winkler Declaration (Ex. 1002 ¶ 151),
but also by the testimony of Dr. Pinal, Patent Owner’s expert. Indeed,
Dr. Pinal recognized, “[t]he end of Moriarty is the beginning of Phares.”
Ex. 1018, 135:6; see also id. at 135:16–19 (“Moriarty teaches how to make
treprostinil and Phares teaches how to take that treprostinil and further
modify it to produce other molecular entities.”). As Patent Owner
acknowledges, “Phares identifies the diethanolamine salt as a preferred
embodiment.” PO Resp. 61; Ex. 1008, 9. Thus, we are persuaded that an
ordinarily skilled artisan would have had a reason to start with the
treprostinil free acid of Moriarty and convert it into the diethanolamine salt.
      Phares teaches “treprostinil as the free acid has an absolute oral
bioavailability of less than 10%.” Ex.1008, 2. According to Patent Owner,
this shows “[i]f anything, Phares teaches away from the preparation of
treprostinil for use as a pharmaceutical product.” PO Resp. 55. We disagree.
      As Petitioner argues, an ordinarily skilled artisan would have had a
reason to combine Moriarty and Phares because “Phares is directed to
improving treprostinil.” Pet. 51. One of the improvements is on the
bioavailability. See Reply 13 (citing Ex. 1017 ¶ 128); Ex. 1008, 83 (“Based
on historical intravenous treprostinil sodium data, the mean absolute
bioavailability values for the 0.2 mg, 0.5 mg, 1.0 mg and 2.0 mg doses of
UT-15C [treprostinil diethanolamine] were estimated to be 21%, 23%, 24%
and 25%, respectively.”).

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      Patent Owner contends that, if Petitioner were right that “the claimed
invention may have worse purity than Moriarty and Phares,” then “a POSA
would have no motivation to change Moriarty at all.” PO Resp. 56 (citing
Pet. 56; Ex. 2025 ¶ 250). Patent Owner’s contention is unavailing.
      “[T]he problem motivating the patentee may be only one of many
addressed by the patent’s subject matter.” KSR, 550 U.S. at 420; see In re
Kahn, 441 F.3d 977, 990 (Fed. Cir. 2006) (stating that an ordinarily skilled
artisan need not be motivated to combine prior art for the same reason
contemplated by the inventor). Here, by taking treprostinil of Moriarty and
“further modify[ing] it to produce other molecular entities” (Ex. 1018,
135:16–19), such as treprostinil diethanolamine, Phares, even if it does not
improves the purity, improves at least the bioavailability, of treprostinil of
Moriarty. See Ex. 1008, 2, 83. This provides a sufficient reason for an
ordinarily skilled artisan to combine the teachings of Moriarty and Phares.
                        b. Step (c) and Recited Impurities
      Dr. Winkler testifies that, in Phares, “[t]reatment of Compound 11b
with KOH, CH3OH (methanol) . . . would lead to the formation of a solution
of treprostinil carboxylic acid after neutralization.” Ex. 1002 ¶ 174.
“[I]nstead of isolating the neutral carboxylic acid at this step by removal of
the methanol,” Dr. Winkler continues, “one could instead add
diethanolamine (i.e., a base) to the treprostinil solution so that removal of the
methanol would instead leave a salt, specifically, treprostinil diethanolamine
salt.” Id. ¶ 177. According to Dr. Winkler, “[a] POSA would understand that
an intermediate purification step is unnecessary because not purifying the
intermediate carboxylic acid before addition of a base does not affect salt

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formation.” Id. ¶ 151. Relying on the testimony of Dr. Winkler, Petitioner
argues that “a POSA would have sought to combine Moriarty and Phares in
order to eliminate the intermediate purification step taught by Moriarty,
thereby increasing synthetic efficiency and lowering production costs for
treprostinil diethanolamine salt.” Pet. 52 (citing Ex. 1002 ¶ 151).
      Patent Owner argues that Petitioner “cannot identify support in the
asserted art or the background references for these motivations.” PO
Resp. 61–62. Instead, according to Patent Owner, Petitioner’s “proffered
motivations—increasing synthetic efficiency and lowering production
costs—simply restate two advantages identified in the ’901 patent: reducing
solvents and labor.” Id. at 61.
      Patent Owner’s arguments are unavailing because “there is no
requirement that the prior art contain an express suggestion to combine
known elements to achieve the claimed invention. Rather, the suggestion to
combine may come from the prior art, as filtered through the knowledge of
one skilled in the art.” DyStar Textilfarben GmbH & Co. Deutschland KG v.
C.H. Patrick Co., 464 F.3d 1356, 1361 (Fed. Cir. 2006). Thus, Petitioner is
not required to cite to prior art for expressly disclosing the elimination of the
intermediate isolation step.
      This is especially true here because “the desire to enhance commercial
opportunities by improving a product or process is universal—and even
common-sensical.” Id. at 1368. After all, there is an implicit motivation to
combine or to modify prior art teachings when the improvement is
technology-independent and the combination or modification “results in a
product or process that is more desirable, for example because it is stronger,

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cheaper, cleaner, faster, lighter, smaller, more durable, or more efficient.” Id.
Such is the case here. We are persuaded that an ordinarily skilled artisan
would have had a reason to eliminate the intermediate isolation step,
“thereby increasing synthetic efficiency and lowering production costs for
treprostinil diethanolamine salt.” Pet. 52; Reply 15; Ex. 1017 ¶¶ 140–144.
Thus, we are persuaded that the combination of Moriarty and Phares teaches
step (c) of challenged claim 1.
      Having decided that an ordinarily skilled artisan would have
combined the teachings of Moriarty and Phares, and the combination teaches
each required step of challenged claim 1, we turn to Patent Owner’s
argument that “[a] product from Moriarty and Phares does not inherently
include the same resulting impurities.” PO Resp. 62. We reject this argument
because it is based on an incorrect premise.
      Patent Owner contends that “[i]nherency requires identity of steps
before inherency can be inferred.” Id. According to Patent Owner, “the
recited steps [of claim 1] are different from those disclosed in Moriarty and
Phares.” Id. In its Response, Patent Owner alleges that in claim 1, there is
“no isolation of treprostinil after alkylation and hydrolysis steps before
forming a salt.” Id. Patent Owner later seeks to withdraw this statement
(Paper 29, 1) but does not explain what other differences exist between the
combined prior art teachings and the required steps of claim 1.
      As explained above, we are persuaded by Petitioner’s evidence and
arguments that the combination of Moriarty and Phares teaches the same
process steps as those required in challenged claim 1. Thus, we agree with
Petitioner that the product from those steps would include the same resulting

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impurities. See Pet. 56; Reply 17 (pointing out that claim 1 recites only
“impurities resulting from” the steps, without identifying any specific “type”
of impurity, and without specifying the solvents and reagent required to
perform the steps).
                      c. Reasonable Expectation of Success
      Patent Owner also asserts that Petitioner has not shown an ordinarily
skilled artisan would eliminate the intermediate isolation step with a
reasonable expectation of success.16 PO Resp. 30–34. Patent Owner argues
Petitioner “ignores the practical realities.” Id. at 30. According to Patent
Owner, “a POSA would not know if the proposed step elimination would
work,” because “in the context of large-scale pharmaceutical manufacturing
involving batch production, elimination of an intermediate isolation step has
unpredictable impacts on the purity and quality of a final product.” Id. at 32
(citing Ex. 2025 ¶¶ 158, 289–297), 34 (quotation marks omitted). Patent
Owner’s arguments are unavailing.




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  Under the ground based on Moriarty and Phares, Patent Owner argues that
Petitioner “failed to demonstrate a motivation to combine the references to
meet the recited claim limitations with a reasonable expectation of success.”
PO Resp. 52; see also id. at 58 (the same). Patent Owner, however, does not
provide sufficient analysis to undermine Petitioner’s showing of reasonable
expectation of success. See Intelligent Bio-Sys., Inc. v. Illumina Cambridge
Ltd., 821 F.3d 1359, 1367 (Fed. Cir. 2016) (explaining the motivation and
reasonable expectation inquiries are different inquiries, and the latter refers
to likelihood of success in modifying the prior art to reach the claimed
invention). For the sake of completeness, we address here Patent Owner’s
arguments related to reasonable expectation of success that Patent Owner
proffered under the ground based on Phares alone.
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         Relying on Dr. Winkler’s testimony, Petitioner argues “[t]he
formation of a carboxylate salt, by the addition of a base to a neutral
carboxylic acid, and the subsequent addition of a strong acid to regenerate
carboxylic acid, as disclosed in claims 1 and 8 are standard chemistry
purification procedures.” Pet. 22–23 (citing Ex. 1002 ¶ 47); see also
Ex. 1002 ¶ 48 (citing Exs. 1010, 1011). “More specifically,” according to
Petitioner, “contacting a carboxylic acid of a prostacyclin derivative, such as
treprostinil, with a base to form a salt, followed by the addition of a strong
acid to regenerate the carboxylic acid, was a well-known chemical
purification technique in the prior art.” Pet. 23–24 (citing Ex. 1002 ¶ 49); see
also Ex. 1002 ¶ 49 (citing Exs. 1012, 1013).
         One of the prior art references Dr. Winkler relies on is Kawakami. 17
See Ex. 1002 ¶ 49 (citing Kawakami to support the testimony that
“contacting a carboxylic acid of a prostacyclin derivative, such as
treprostinil, with a base to form a salt, followed by the addition of a strong
acid to regenerate the carboxylic acid, was a well-known chemical
purification technique in the prior art”), ¶ 157 (the same); see also
Pet. 23–24 (citing Ex. 1002 ¶ 49), 55 (citing Ex. 1002 ¶ 157). Kawakami
describes using dicyclohexylamine to form a crystalline dicyclohexylamine
salt of a methanoprostacyclin derivative, in order to purify the
methanoprostacyclin. Ex. 1012, 3. It teaches obtaining a dicyclohexylamine
salt by “mixing a methanoprostacyclin derivative [I] . . . with
dicyclohexylamine in an appropriate solvent.” Id. at 5–6. According to



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     Translation of JP 56-122328, published Sept. 25, 1981 (Ex. 1012).
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Kawakami, “[t]he dicyclohexylamine salt of the methanoprostacyclin
derivative [I] thus obtained generally has fairly high purity, and the purity
can be further improved by recrystallization as needed with the use of an
appropriate solvent.” Id. at 6. Kawakami states “[t]he dicyclohexylamine salt
obtained by the present invention can be easily reverted to a free
methanoprostacyclin derivative [I] by conventional methods, and the
resulting methanoprostacyclin derivative exhibits excellent crystallinity
compared with substances not purified according to the present invention.”
Id.
      Dr. Winkler testifies that dicyclohexylamine is an amine base with
similar reactivity to diethanolamine. Ex. 1002 ¶ 49; Ex. 1017 ¶ 108.
Dr. Pinal, Patent Owner’s expert, disagrees. Ex. 2025 ¶¶ 180–184.
According to Dr. Pinal, even though both dicyclohexylamine and
diethanolamine are used as bases to form salts with acidic prostacyclins,
they have different miscibilities, which means the salt formation processes
using the two bases are “fundamentally different.” Id.
      On this point, we agree with Dr. Winkler that “Dr. Pinal’s discussion
of the relative miscibilities of dicyclohexylamine and diethanolamine is
irrelevant, because both compounds are highly soluble in ethanol and the salt
formation in Phares is taught in a 1:1 mixture of water and ethanol.”
Ex. 1017 ¶ 109. We also agree with Dr. Winkler that “Kawakami teaches the
purification of a methanoprostacyclin derivative by salt formation with a
secondary amine, which is the same reaction as taught in Phares for the
formation of the diethanolamine salt of treprostinil.” Id.



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      We also reject Patent Owner’s emphasis on “the context of large-scale
pharmaceutical manufacturing involving batch production.” See PO
Resp. 32. As explained above, it is unclear what this context means,
especially given that Dr. Pinal characterizes 441 grams of treprostinil in
Moriarty as on a “benchtop” scale, even though challenged claim 1 recites
“2.9 g of treprostinil or its salt.” See supra, Section II.D.
      Regardless, Kawakami recognizes that “establishment of an efficient
and industrially viable method of separating isomers of methanoprostacyclin
derivatives is essential in the development of these derivatives as
pharmaceutical products.” Ex. 1012, 4 (emphases added). It is “[i]n view
of” this goal that the Kawakami inventors “succeeded in inventing an
extremely simple and industrially viable purification method.” Id. (emphasis
added).
      Thus, even taking the context of pharmaceutical manufacturing into
consideration, we are persuaded that Kawakami “demonstrates that
contacting a carboxylic acid of a prostacyclin derivative . . . with a base to
form a salt, followed by the addition of a strong acid to regenerate the
carboxylic acid, was a well-known chemical purification technique in the
prior art.” Ex. 1017 ¶ 108. As a result, Petitioner has shown an ordinarily
skilled artisan would have had a reasonable expectation of success in
eliminating the intermediate isolation step.
                                   d. Conclusion
      After reviewing the record, we determine that Petitioner demonstrates
by a preponderance of the evidence that the combination of Moriarty and
Phares teaches each and every limitation of claim 1, and that an ordinarily

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skilled artisan would have had a reason to implement these teachings to
arrive at the subject matter of claim 1 with a reasonable expectation of
success.
                           ii.   Claims 2–5, 8, and 9
      Petitioner provides analysis and citations to record evidence to show
Moriarty and Phares teaches or suggests every additional limitation of
claims 2–5, 8, and 9. Pet. 64–67, 70–75. Patent Owner does not argue these
claims separately. Upon review of Petitioner’s arguments and the evidence
of record, we adopt Petitioner’s mapping of the additional limitations of
claims 2–5, 8, and 9 as our own findings.
      In sum, we determine that Petitioner has demonstrated by a
preponderance of the evidence that the combination of Moriarty and Phares
teaches or suggests every additional limitation of claims 2–5, 8, and 9.
                 iii.   Objective Indicia of Non-obviousness
      Patent Owner contends that objective indicia demonstrates
non-obviousness of the challenged claims. PO Resp. 66–69. We disagree.
      Objective indicia of non-obviousness guard against hindsight
reasoning in an obviousness analysis, and are often “the most probative and
cogent evidence in the record.” WBIP, LLC v. Kohler Co., 829 F.3d 1317,
1328 (Fed. Cir. 2016). As such, objective indicia of non-obviousness must
be considered in every case in which they are presented. Id. Objective
indicia of non-obviousness include commercial success, long-felt but
unsolved needs, failure of others, copying, praise in the art, unexpected
results, and industry acceptance. Brown & Williamson Tobacco Corp. v.
Philip Morris Inc., 229 F.3d 1120, 1129 (Fed. Cir. 2000).

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      Patent Owner begins by contending that the ’901 patent “contains
more than mere argument or conclusory statements; it contains specific data
indicating improved properties.” PO Resp. 66 (quoting In re Soni, 54 F.3d
746, 750 (Fed. Cir. 1995)). Patent Owner follows that assertion by stating
that the Specification “identifies a specific need,” when it explains that
“Treprostinil, and other prostacyclin derivatives are of great importance
from a medicinal point of view,” and therefore “a need exists for an efficient
process to synthesize these compounds on a large scale suitable for
commercial production.” Id. at 67 (quoting Ex. 1001, 1:66–2:3). According
to Patent Owner, “[t]his disclosure emphasizes not only the greater benefit
for large-scale synthesis but also the higher purity.” Id. (citing Ex. 1001,
6:4–18). Patent Owner asserts also that the Specification “illustrates these
advantages with comparative data,” and refers us to other portions of
the ’901 patent to support that assertion. Id. In particular, Patent Owner
contends the “storage stability as to the ‘pharmaceutical batch’ of claim 1
and its dependent claims” is an “unexpected advantage.” Id. at 68.
      We begin by noting, as Petitioner has, that “unexpected advantage” is
not a recognized secondary consideration. See Pet. Reply 26. Insofar as
Patent Owner’s argument is considered be one addressing unexpected
results, we find Patent’s Owner’s showing insufficient. As our reviewing
court has instructed, to properly evaluate whether a superior property was
unexpected, we must first consider what properties were expected. See
Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1371 (Fed. Cir. 2007). To do so,
we consider the results of the closest prior art and compare them to those
asserted for the claimed invention. See In re Baxter Travenol Labs., 952

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F.2d 388, 392 (Fed. Cir. 1991) (“[W]hen unexpected results are used as
evidence of nonobviousness, the results must be shown to be unexpected
compared with the closest prior art.”). A showing of unexpected results must
be commensurate in scope with the breadth of the claims. In re Grasselli,
713 F.2d 731, 743 (Fed. Cir. 1983).
      As presented, Patent Owner’s arguments are conclusory at best and do
not clearly identify what it considers to be the closest prior art or
demonstrate how any alleged unexpected results were unexpected compared
with the closest prior art. At most, Patent Owner provides a string citation to
portions of the Specification and declaration testimony, without providing a
discussion of the alleged evidence and explaining how it supports
nonobviousness. Nor does Patent Owner demonstrate adequately that the
alleged storage stability advantages were commensurate in scope with the
breadth of the challenged. And as explained above, the term “pharmaceutical
batch” in claim 1 does not require storage stability. See supra,
Section II.C.1.
      In view of the foregoing, we determine that Patent Owner’s evidence
of objective indicia does not sufficiently demonstrate non-obviousness of
claims 1–5, 8, and 9.
                                iv.   Conclusion
      Upon review of the record as a whole, including Patent Owner’s
evidence of objective indicia, and for the reasons discussed above, we
determine that Petitioner demonstrates by a preponderance of the evidence
that the subject matter of claims 1–5, 8, and 9 would have been obvious over
the combination of Moriarty and Phares.

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                                    2. Claims 6 and 7
      Claim 6 is directed to “[a] method of preparing a pharmaceutical
product from a pharmaceutical batch as claimed in claim 1, comprising
storing a pharmaceutical batch of a salt of treprostinil as claimed in claim 1
at ambient temperature, and preparing a pharmaceutical product from the
pharmaceutical batch after storage.” Claim 7 depends from claim 6, and
specifies that “the salt of treprostinil is a diethanolamine salt.”
      Petitioner argues that Phares inherently teaches the limitation of
“storing”/“storage.” Pet. 68. Petitioner points out that Phares teaches two
crystalline forms of treprostinil diethanolamine salt, Form A and Form B. Id.
(citing Ex. 1008, 85–89). According to Petitioner,
      Phares further discloses that Form B is made from Form A, with
      full conversion to Form B at ambient temperature after 7 days,
      15°C after 11 days and 30°C after 1 day, suggesting stability of
      the treprostinil diethanolamine salt at these temperatures . . . . A
      POSA would . . . understand that full conversion after 7 days at
      ambient temperature, as disclosed by Phares, inherently teaches
      that Form B is stable at ambient temperature and therefore could
      be stored at ambient temperature.
Id. (internal citations omitted).
      Patent Owner contends that Petitioner confuses “relative
thermodynamic stabilities with actual stability.” PO Resp. 50. According to
Patent Owner, “Phares provides no stability data for Form B. That one
polymorph is more stable than another does not show that either is stable
enough for storage in a pharmaceutical batch.” Id. at 50–51. We agree.
      Phares teaches two crystalline forms of treprostinil diethanolamine
salt, Form A and Form B. Ex. 1008, 85. Phares states that Form B appears to
be “thermodynamically more stable” than the “metastable” Form A. Id.
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at 85, 89. Phares reaches this conclusion after performing inter-conversion
experiments in two different solvents, using Forms A and B material. Id.
at 89. In isopropanol, Phares reports full conversion from Form A to Form B
at ambient temperature after seven days. Id. Dr. Winkler testifies that this
“inherently teaches that Form B is stable at ambient temperature and
therefore could be stored at ambient temperature.” Ex. 1002 ¶ 203.
Dr. Winkler, however, does not provide a sufficient explanation or cite any
support for this conclusory statement.
      Petitioner argues that “Phares discloses synthesis and isolation of
treprostinil diethanolamine without specifying a temperature.” Reply 19
(citing Ex. 1008, 22). According to Dr. Winkler, “[b]ecause there is no
temperature limitation here, a POSA would understand that treprostinil
diethanolamine was being isolated at ambient temperature, so that it was
stable at ambient temperature.” Ex. 1017 ¶ 150 (citing Ex. 2029, 249).
Petitioner also argues that the fact “Phares mentions no special storage
conditions for the treprostinil diethanolamine salt” further suggests nothing
other than ambient temperature is required. Reply 20 (citing Ex. 1017
¶ 153).
      We are not persuaded by Dr. Winkler’s testimony or Petitioner’s
arguments. As discussed above, we determine claim 6 requires actual
storage, and the terms “storing”/“storage” require storing or storage for a
period of at least three months. See supra, Section II.C.2. Even if an
ordinarily skilled artisan would have understood that treprostinil
diethanolamine is stable so that it can be isolated at ambient temperature,
nothing in Phares suggests the salt would be stable for at least three months.

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      Petitioner contends the ’901 patent refers to “storing” in a single
sentence: “Additional advantages of this process are: (a) crude treprostinil
salts can be stored as raw material at ambient temperature . . . .” 18 Reply 20
(citing Ex. 1001, 17:4–6). According to Petitioner, this “confirms that a
POSA would understand that all crude treprostinil salts can be stored at
ambient temperature.” Id. “Applying the same knowledge,” Petitioner
continues, “a POSA would understand the treprostinil diethanolamine salt
described [in Phares] to be storable at room temperature.” Id. (citing
Ex. 1017 ¶ 155). We are not persuaded.
      An invention “must be viewed not with the blueprint drawn by the
inventor, but in the state of the art that existed at the time.” Interconnect
Planning Corp. v. Feil, 774 F.2d 1132, 1138 (Fed. Cir. 1985). We cannot
use the disclosure of the ’901 patent as an instruction manual or template to
supply the missing “storing”/“storage” limitation in order to piece together
an obviousness theory. See In re Fritch, 972 F.2d 1260, 1266 (Fed.
Cir. 1992).
      Petitioner does not argue, let alone point to any persuasive evidence of
the record to show, an ordinarily skilled artisan would have understood
Phares to teach storing treprostinil diethanolamine for at least three months.
Thus, we conclude Petitioner has not demonstrated by a preponderance of
the evidence that the subject matter of claims 6 and 7 would have been
obvious over the combination of Moriarty and Phares.


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  Elsewhere, Petitioner argues that “the ’901 patent does not sufficiently
describe or enable this limitation of claim 6.” Pet. 68. We do not address
§ 112 issues in an inter partes review.
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                           F. Obviousness over Phares
      Petitioner argues that claims 1–9 of the ’901 patent would have been
obvious over Phares. Pet. 26–48.
      Because we determine that Petitioner demonstrates by a
preponderance of the evidence that the subject matter of claims 1–5, 8, and 9
would have been obvious over the combination of Moriarty and Phares (see
supra, Section II.E.1), we do not address the challenge of those claims here.
See SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018) (holding a
petitioner “is entitled to a final written decision addressing all of the claims
it has challenged”); Boston Sci. Scimed, Inc. v. Cook Grp. Inc.,
809 F. App’x 984, 990 (Fed. Cir. Apr. 30, 2020) (non-precedential)
(recognizing that the “Board need not address issues that are not necessary
to the resolution of the proceeding” and, thus, agreeing that the Board has
“discretion to decline to decide additional instituted grounds once the
petitioner has prevailed on all its challenged claims”).
      For claims 6 and 7, Petitioner presents the same arguments and
evidence here as under the ground based on the combination of Moriarty and
Phares. Compare Pet. 43–45, with id. at 68–70; see also Reply 26 (relying
on the same arguments regarding “storing”/“storage” for both challenges).
For the same reason explained above, we reject those arguments. See supra,
Section II.E.2. Thus, we conclude Petitioner has not demonstrated by a
preponderance of the evidence that the subject matter of claims 6 and 7
would have been obvious over Phares.




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               III.    CONSTITUTIONAL CHALLENGE
      Patent Owner contends subjecting the ’901 patent to inter partes
review violates its constitutional rights. PO Resp. 69–71. Patent Owner’s
arguments on this issue are foreclosed by the decisions in Celgene Corp. v.
Peter, 931 F.3d 1342, 1362–63 (Fed. Cir. 2019) and United States v.
Arthrex, Inc., 141 S. Ct. 1970, 1986–87, 1997 (2021). As such, we do not
further consider or address Patent Owner’s arguments.
             IV.      PETITIONER’S REQUEST TO STRIKE
      Petitioner seeks to strike portions of Patent Owner’s Response,
Sur-reply, and the Pinal Declarations (Exs. 2002, 2025). Paper 29;
Exs. 1043–1046.
      Petitioner’s first request, related to the “not isolated” arguments, is
unusual because it is prompted by Patent Owner’s requested withdrawal of
its own arguments. See Ex. 3001. We explained the situation above.
See supra, Section II.C.3. Briefly, in its Response, Patent Owner argues
“treprostinil is not isolated from the solution formed in step (b) before
forming a salt in step (c).” PO Resp. 11. Later, in its Sur-reply, Patent Owner
attempts to withdraw certain statements related to “not isolated” in the
Response. Sur-reply 8–9; Paper 29, 1. Petitioner objected, asking us to deny
this request. Ex. 3001; Tr. 16:3–5. Alternatively, Petitioner seeks to strike
Patent Owner’s proposed construction of step (c) in the Response and “strike
all arguments in the Patent Owner Response, expert declarations (Exhibits
2002, 2025), and Sur-Reply relying on the POR’s proposed construction.”
Ex. 3001; Tr. 16:5–9; Paper 29, 1–2; Exs. 1043–1046.



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      As explained above, we determine that, in claim 1, treprostinil is not
isolated from the solution formed in step (b) before forming a salt in step (c).
See supra, Section II.C.3. Because our construction is dictated by the
intrinsic evidence, and not by Patent Owner’ arguments, we dismiss Patent
Owner’s request to withdraw its statements related to “not isolated” as moot.
      Petitioner asks us to strike, in addition to the language Patent Owner
seeks to withdraw, large portions of Patent Owner’s Response, together with
portions of Patent Owner’s Response and expert declarations, because they
allegedly rely on the language Patent Owner seeks to withdraw. Ex. 3001;
Tr. 16:5–9; Paper 29, 1–2; Exs. 1043–1046. We deny this request.
      In the Petition, Petitioner argues that an ordinarily skilled artisan
“would likely understand the treprostinil acid disclosed at page 22 [of
Phares] to have been isolated before addition of the base.” Pet. 61.
Petitioner, however, asserts that “not isolating the treprostinil before
contacting it with a base is obvious based on what is taught by Phares.” Id.
In other words, Petitioner implicitly construed claim 1 to exclude an
isolation step between steps (b) and (c). See Tr. 14:6–16:2 (maintaining that
excluding isolation “is the actual right construction”). Patent Owner, thus, is
entitled to respond to Petitioner’s arguments on this issue, regardless of its
own position on how the claim should be construed.
      More importantly, we construe claim 1 to exclude isolation between
steps (b) and (c). Thus, Petitioner must demonstrate the asserted prior art and
the knowledge in the field teach or suggest the elimination of the isolation
step, and an ordinarily skilled artisan would have had a reason to eliminate
the isolation step, and would have had a reasonable expectation of success

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when doing so. Petitioner cannot circumvent these requirements by striking
Patent Owner’s arguments challenging, albeit unsuccessfully, Petitioner’s
showing.
      Petitioner also asks us to strike Patent Owner’s “Submissions
Regarding ‘Storage’” in the Patent Owner Response, Sur-reply, and the two
declarations of Dr. Pinal (Exs. 2002, 2025). Paper 29, 8. According to
Petitioner, Patent Owner’s expert in the parallel district court case,
Dr. Robert R. Ruffolo, testified that, in the ʼ901 patent, actual storage was
not required. Id. at 3–5 (citing Ex. 2034, 130:12–132:4, 132:15–136:11).
This is inconsistent, Petitioner asserts, with Patent Owner’s position in this
proceeding. Id. at 2. Even though Petitioner is correct on this point, we
decline to strike Patent Owner’s arguments related to “storage.”
      As explained above, we determine claim 6, by explicitly reciting
“storing,” requires actual storage. See supra, Section II.C.2. An expert’s
testimony, clearly at odds with the unambiguous claim language, does not
absolve Petitioner of its burden to demonstrate that the prior art teaches or
suggests this limitation.
      In sum, in view of our construction of step (c) and the terms
“storing”/“storage” based on the intrinsic evidence, we deny Petitioner’s
Request to Strike.
           V.   PATENT OWNER’S MOTION TO EXCLUDE
      Patent Owner filed a Motion to Exclude Exhibits 1002 and 1012, as
well as the portions of the Petition and Reply that rely on these exhibits.
Paper 31, 2. For the reasons provided below, we deny Patent Owner’s
Motion to Exclude.

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                          A. Winkler Declaration (Ex. 1002)
       Petitioner relies on the Winkler Declaration (Ex. 1002) to support the
arguments in the Petition. Pet. 3. Patent Owner contends that Exhibit 1002
“purports to be a declaration, but without authentication because it lacks the
statutorily-required oath or caveat for a declaration.” Paper 31, 3 (citing
35 U.S.C. § 25; 37 C.F.R. § 42.2). Alternatively, Patent Owner asserts that
“Prof. Winkler’s declaration warrants no weight because it lacks the required
oath or perjury statement.” PO Resp. 17 (citing 35 U.S.C. § 25(b);
37 C.F.R. § 42.63).
       Under our Rules, “[e]vidence consists of affidavits, transcripts of
depositions, documents, and things” (37 C.F.R. § 42.63(a)), and
“[u]ncompelled direct testimony must be submitted in the form of an
affidavit” (id. § 42.53(a)). “Affidavit means affidavit or declaration under [37
C.F.R.] §1.68 . . . . [A] declaration under 28 U.S.C. 1746 may be used as an
affidavit.” Id. § 42.2.
       As Patent Owner correctly points out, Exhibit 1002, the purported
declaration of Dr. Winkler, “does not state that the testimony is true or
believed to be true, much less reference the penalty for making willful false
statements.” PO Resp. 18.
       Petitioner does not dispute this deficiency. Instead, Petitioner argues
that Patent Owner “waived its argument regarding Dr. Winkler’s declaration
under 37 C.F.R. § 42.63, because it did not timely object to the issue with
sufficient particularity . . . to allow correction in the form of supplemental
evidence.” Paper 32, 1 (internal quotation marks omitted). We disagree with
Petitioner.

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      First, “[a]ny objection to evidence submitted during a preliminary
proceeding must be filed within ten business days of the institution of the
trial.” 37 C.F.R. § 42.64(b)(1). We instituted trial on October 13, 2020; and
Patent Owner timely filed and served its objections to Exhibit 1002 on
October 27, 2020. See Paper 10.
      Second, “[a] motion to exclude evidence must be filed to preserve any
objection.” 37 U.S.C. § 42.64(c). Patent Owner timely filed a Motion to
Exclude Exhibit 1002 (Paper 31, 2), and thus, has properly preserved its
objections to Exhibit 1002.
      Third, Petitioner faults Patent Owner for, in the objections,
“generically restat[ing] FRE 802, 901, and 902, and never identified the oath
as the issue.” Paper 32, 1; see also Tr. 21:19 (“The objections weren’t
specific to the perjury statement.”); id. at 23:2–4 (arguing that Patent
Owner’s objection was “ambiguous”). We disagree.
      Patent Owner objected to Exhibit 1002 “under FRE 901-902 as
lacking authentication and not self-authenticating because it lacks sufficient
indicia that the exhibit is what it purports to be.” Paper 10, 3. According to
Patent Owner, Petitioner “does not state that it did not understand the
objection . . ., that it sought clarification from [Patent Owner], or that it
could not identify how the exhibit lacked authentication.” Paper 37, 1.
      During oral argument, Petitioner explained that “we didn’t realize that
it was the perjury statement in particular that they were referring to. Or, we
didn’t realize that it had been omitted. And so, we looked at the signature
and saw that it was there.” Tr. 22:1–4; see also id. at 23:3–6 (“[W]hen we
saw a lack of authentication [objection], we thought, oh, did Dr. Winkler not

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sign his declaration. We saw that it was signed. We did not realize that they
were actually referring to the perjury statement.”).
      Counsel for Patent Owner pointed out, and Petitioner did not dispute,
“if it’s a declaration, the only thing that would render it inauthentic would be
the lack of a signature or an oath[; those] are the only two things it could
possibly be.” Tr. 40:3–5. We find Patent Owner’s objection sufficient to put
Petitioner on notice that the authentication of Exhibit 1002 is problematic;
no more is required of Patent Owner. The fact that Petitioner did not realize
the authentication objection is directed to the lack of perjury statement,
instead of the lack of a signature, does not make Patent Owner’s objection
ambiguous. Thus, we conclude that Patent Owner has not waived its
argument regarding Dr. Winkler’s declaration under 37 C.F.R. § 42.63.
      Petitioner argues that “any omissions in Dr. Winkler’s declaration
with respect to the oath or perjury statement were harmless and have been
cured.” Paper 32, 2; Reply 1–2. Petitioner points out that (1) Patent Owner
deposed Dr. Winkler on his opinions in Exhibit 1002; and (2) Dr. Winkler
“refiled Ex. 1002 as Ex. 1039” and Patent Owner “has not moved to exclude
Ex. 1039 or any [of] Dr. Winkler’s opinions therein.” Paper 32, 2; Reply 2.
According to Petitioner, Patent Owner “is exalting form over substance in
renewing this objection.” Paper 32, 2. We reject Petitioner’s cavalier attitude
towards this matter.
      First, because Exhibit 1039 was filed without proper authorization, we
give it no weight in rendering this Decision. Exhibit 1039 is not a
declaration in support of the Reply; instead, it was a “[r]efiled Declaration of
Jeffrey D. Winkler, Ph.D. (Ex. 1002)” that is in support of the Petition.

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Paper 42, 4; Ex. 1039, cover page. But, the Petition was filed on March 30,
2020 (Pet. 76; Paper 3, 1), and Exhibit 1039 was filed on March 1, 2021
(Ex. 1039, 81). Petitioner does not explain how a declaration executed
eleven months after can support the Petition.
      Exhibit 1039 is not proper supplemental evidence either. Under
37 C.F.R. § 42.64(b)(2), “[t]he party relying on evidence to which an
objection is timely served may respond to the objection by serving
supplemental evidence within ten business days of service of the objection.”
During oral argument, counsel for Patent Owner represented, and counsel
for Petitioner did not dispute, that Petitioner served Exhibit 1039 on the
same day it filed the Reply. Tr. 39:5–23. That is more than four months after
Patent Owner timely served the objections to Exhibit 1002. Thus,
Exhibit 1039 is not proper supplemental evidence in response to Patent
Owner’s objection. See Paper 31, 2 (“No supplemental evidence was timely
filed to address the[] objections.”).
      Second, Petitioner relies on Google LLC v. CyWee Group Ltd.,
IPR2018-01257, Paper 69 (PTAB Sept. 6, 2019), and Fidelity Information
Services, LLC v. Mirror Imaging, LLC, CBM2017-00064, Paper 54
(January 2, 2019). Paper 32, 2. As Petitioner recognizes, in those two cases,
the Board “grant[ed] party authorization to correct unsworn declaration
when opposing party cross-examined the expert.” Id. (emphasis added).
What is critically missing here, however, is that Petitioner never sought
leave to correct the unsworn declaration. In fact, Petitioner never brought the
issue to the attention of the Board. Instead, it resorted to self-help and
“fixed” the issue through a filing without authorization. See Tr. 22:5–7.

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      Despite our concerns over Petitioner first submitting a defective
“declaration,” and then disregarding our Rules when attempting to correct
the mistake, we find Patent Owner has suffered no undue prejudice. As
Petitioner emphasizes, Patent Owner deposed Dr. Winkler on his opinions in
Exhibit 1002. Paper 32, 2 (citing Ex. 2026). Indeed, Patent Owner’s counsel
conceded so during the oral argument. Tr. 64:5–6 (“I’d be hard pressed to sit
here and say . . . that we suffered a specific cognizable prejudice.”). As a
result, we deny Patent Owner’s Motion to Exclude Exhibit 1002.
                             B. Kawakami (Ex. 1012)
      Patent Owner also seeks to exclude Kawakami because, although it
purports to be a translation of JP56-122328, it is not authenticated, and not a
verified translation. Paper 31, 2, 10–11.
      Patent Owner points out that Exhibit 1012 “contains neither the
purported Japanese document being translated, nor a verified translator’s
declaration.” Id. at 10. Patent Owner states that it “timely objected to
EX1012 under FRE 402, 403, 802, 803-807, 901, 902, 1001-1003, 1012,”
but Petitioner failed to timely serve any supplemental evidence to address
these objections. Id. at 3 (citing Paper 10, 2–3). Patent Owner also contends
that Petitioner has failed to comply with 37 C.F.R. § 42.63(b). Id. at 11; see
also 37 C.F.R. § 42.63(b) (requiring the party who relies on a document in a
foreign language to file, with the original document, an English translation,
and an affidavit attesting to the accuracy of the translation).
      Petitioner argues “Ex. 1012 is exactly the same Kawakami document
that was submitted in the IPR2016-00006 as Ex. 1007.” Paper 32, 7.
Together with its Opposition to Patent Owner’s Motion to Exclude,

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Petitioner submitted Exhibits 1047–1051, which are “the original Japanese
version of Kawakami and declarations attesting to and confirming the
accuracy of the translation,” originally filed as Exhibits 1006, 1007, 1011,
1019, and 1020 in IPR2016-00006. Id. at 8. According to Petitioner, “[t]he
filing of these exhibits remedies any failure to comply with § 42.63(b) or
FRE 902(3), which in any event is harmless error.”
      As with Petitioner’s omission and later self-help relating to
Exhibit 1002, we do not condone Petitioner’s omission and self-help here
either. Petitioner contends that Patent Owner “did not move to exclude the
identical Kawakami translation in IPR2016-00006, and the Board [in that
case] relied on the same translation for an entire ground in its final written
decision.” Paper 32, 7. Petitioner fails to recognize that the petitioner in that
case properly complied with our Rules, and there was no good-faith basis for
Patent Owner to seek any exclusion.
      Despite our disappointment over Petitioner’s repeated carelessness,
we deny Patent Owner’s Motion to Exclude Exhibit 1012. First, Petitioner
relies on Exhibit 1012 through Dr. Winkler’s testimony. Pet. 23–24 (citing
Ex. 1002 ¶ 49), 55 (citing Ex. 1002 ¶ 157). Under Federal Rules of
Evidence 703, Dr. Winkler may rely on facts or data that are not admissible
themselves.
      Second, “a comparison between the IPR copies of a reference and a
version of the reference proven to be prior art was evidence that the IPR
reference was prior art.” Valve Corp. v. Ironburg Inventions Ltd.,
8 F.4th 1364, 1371 (Fed. Cir. 2021) (citing VidStream LLC v. Twitter, Inc.,
981 F.3d 1060, 1066–67 (Fed. Cir. 2020)). In the ’393 Decision, the panel

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relied on Kawakami in analyzing one of the obviousness grounds. See
the ’393 Dec. 68–84. Kawakami was properly authenticated in that
proceeding. See IPR2016-00006, Exs. 1006, 1007, 1011, 1019, 1020.
Because a comparison shows Exhibit 1012 in this case is the same as
Exhibit 1007 in IPR2016-00006, we deny Patent Owner’s Motion to
Exclude Exhibit 1012.
   VI.      PETITIONER’S MOTION TO SUBMIT SUPPLEMENTAL
                                  INFORMATION
         Under our Rules,
         A party seeking to submit supplemental information more than
         one month after the date the trial is instituted, must request
         authorization to file a motion to submit the information. The
         motion to submit supplemental information must show why the
         supplemental information reasonably could not have been
         obtained earlier, and that consideration of the supplemental
         information would be in the interests-of-justice.
37 C.F.R. § 42.123(b).
         With our authorization, Petitioner filed a Motion, seeking to submit
the Claim Construction Order from the parallel district court case.
Paper 38, 1. At the time of the Motion, only the Proposed Order was
available. Ex. 1054. Patent Owner does not oppose the Motion in this
respect, and submitted the official Order as Exhibit 2035. Paper 40, 2. Patent
Owner represents that Petitioner consented to this submission. Id.
         Our Rules require that we consider “[a]ny prior claim construction
determination concerning a term of the claim in a civil action . . . that is
timely made of record in the inter partes review proceeding.” 37 C.F.R.
§ 42.100(b). The parties timely filed the Claim Construction Order before

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the oral hearing in this proceeding. See Paper 38, 2–3 (arguing the Markman
Order could not have been obtained earlier). Thus, Petitioner’s Motion to
submit the Claim Construction Order from the district court case is granted,
and Exhibit 2035 is admitted into evidence in this proceeding. 19
         Petitioner also seeks to submit the transcript from the Markman
hearing at the district court (Ex. 1054). Paper 38, 1. According to Petitioner,
“the hearing transcript contains further evidence of Patent Owner’s
inconsistencies in its claim construction positions between the tribunals, and
the district court’s evaluation of those inconsistencies as likely disclaimer.”
Id. at 5; see also id. at 6–8 (listing “relevant excerpts”).
         Patent Owner opposes the Motion in this respect. Paper 40, 2.
According to Patent Owner, many of Petitioner’s citations to the hearing
transcript “amount to attempts to supplement the record with its own further
attorney argument and engage in a game of gotcha regarding allegedly
inconsistent statements.” Id. at 2–3.
         Because we consider the Claim Construction Order from the district
court, and because the Markman hearing transcript helps to explain how the
district court came to its constructions in the Order, we find it is in the
interests of justice to admit the hearing transcript into evidence of the record
in this proceeding, for just that purpose.
         In sum, Petitioner’s Motion to Submit Supplemental Information is
granted.



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     Because Exhibit 1054 is superseded, we expunge it from the record.

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                           VII.    CONCLUSION 20
       After reviewing the entire record and weighing evidence offered by
both parties, we determine that (1) Petitioner has demonstrated by a
preponderance of the evidence that claims 1–5, 8, and 9 of the ’901 patent
would have been obvious over the combination of Moriarty and Phares; and
(2) Petitioner has not demonstrated by a preponderance of the evidence that
claims 6 and 7 of the ’901 patent would have been obvious over either
Phares alone, or the combination of Moriarty and Phares.
       In summary:
     Claims        35             Reference(s)       Claims      Claims Not
                 U.S.C. §                             Shown        shown
                                                   Unpatentable Unpatentable
       1–9           103           Moriarty,         1–5, 8, 9       6, 7
                                    Phares
       1–9           103            Phares                              6, 7
     Overall                                         1–5, 8, 9          6, 7
     Outcome




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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed.
Reg. 16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue
application or a request for reexamination of the challenged patent, we
remind Patent Owner of its continuing obligation to notify the Board of any
such related matters in updated mandatory notices. See 37 C.F.R.
§ 42.8(a)(3), (b)(2).
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                            VIII.   ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that Petitioner has demonstrated by a preponderance of
the evidence that claims 1–5, 8, and 9 are unpatentable;
      FURTHER ORDERED that Petitioner has not demonstrated by a
preponderance of the evidence that claims 6 and 7 are unpatentable;
      FURTHER ORDERED that Petitioner’s Request to Strike (Paper 29)
is denied;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude
(Paper 31) is denied;
      FURTHER ORDERED that Petitioner’s Motion to Submit
Supplemental Information (Paper 38) is granted; and
      FURTHER ORDERED that, because this is a Final Written Decision,
parties to this proceeding seeking judicial review of our Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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            EXHIBIT 8
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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

     UNITED THERAPEUTICS                               )
     CORPORATION,                                      )
                                                       )
                             Plaintiff,                )
                                                       )
             V.                                        ) C.A. No. 20-755 (RGA) (JLH)
                                                       )
     LIQUIDIA TECHNOLOGIES, INC. ,                     )
                                                       )
                             Defendant.                )

              STIPULATION OF PARTIAL JUDGMENT OF NON-INFRINGEMENT

            WHEREAS, the Court has construed the term "contacting the solution comprising

    treprostinil from step (b) with a base to form a salt oftreprostinil" in claims 1 and 8 of U.S. Patent

    No. 9,604,901 (the "' 901 patent") to mean "contacting the solution comprising treprostinil from

    step (b) with a base to form a salt of treprostinil, wherein the salt is formed without isolation of

    treprostinil after alkylation and hydrolysis" (D.I. 245);

            WHEREAS, Plaintiff has preserved its argument for a different construction of that term ;

            WHEREAS, based on the discovery in the litigation Plaintiff does not contend that

    Defendant's current product infringes the ' 901 patent under the Court' s construction of that term ;

            WHEREAS , to simplify the proceedings and facilitate appellate review of the Court' s

    claim construction, Plaintiff agrees to the ministerial step of the entry of judgment of

    noninfringement as to the ' 901 patent under the Court' s construction of that term, while preserving

    its appellate ri ghts;

            NOW, THEREFORE, based on the Court's construction of that term, Plaintiff hereby

    stipulates and agrees to the entry of a partial judgment reflecting the Court' s claim construction,

    as follows:
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          Judgment of Non-Infringement of U.S. Patent No. 9,604,901 is entered for
          Defendant and against Plaintiff on Counts 3 and 4 of the First Amended Complaint
          (D.l. 16);

          Plaintiff expressly reserves and does not waive its ability to challenge the Court's
          claim-construction ruling on appeal, and therefore to challenge the above
          disposition of Counts 3 and 4 and Counterclaim IV on appeal.

                                                       MORRIS, NICHOLS, ARSHT & TuNNELL LLP

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     December 28, 2021


                            J  r/            J
                                             ~ v_
    IT IS SO ORDERED on this _ _ _ day of ____
                                               ,A             {
                                                 \.. _ _ , 202_.




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                                        CERTIFICATE OF SERVICE

               I hereby certify that on December 28, 2021, I caused the foregoing to be electronically

        filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

        registered participants.

               I further certify that I caused copies of the foregoing document to be served on December

        28, 2021, upon the following in the manner indicated:

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                                            / s/ <Jvlicfiae(J. P{ynn

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            EXHIBIT 9
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

UNITED THERAPEUTICS                               )
CORPORATION,                                      )
                                                  )
                       Plaintiff,                 )
                                                  ) C.A. No.
               v.                                 )
                                                  )
LIQUIDIA TECHNOLOGIES, INC.,                      )
                                                  )
                       Defendant.                 )

                                          COMPLAINT

       Plaintiff United Therapeutics Corporation (“UTC”), by its undersigned attorneys, for its

Complaint against Liquidia Technologies, Inc. (“Liquidia”), alleges as follows:

                                    NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code, Sections 100 et seq., involving United States Patent

Nos. 9,593,066 (the ’066 patent”) (attached as Exhibit A hereto) and 9,604,901 (the ’901

patent”) (attached as Exhibit B hereto) (collectively, the “Patents-in-Suit”).

       2.      This action arises out of Liquidia’s submission of New Drug Application No.

213005 under § 505(b)(2) of the Federal Food, Drug and Cosmetic Act (“Liquidia’s 505(b)(2)

Application”) to the United States Food and Drug Administration (“FDA”) seeking approval,

prior to the expiration of the ’066 patent and the ’901 patent, to manufacture, market, and sell a

generic copy of UTC’s TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/ml that is approved

by FDA for treatment of pulmonary arterial hypertension (“Liquidia’s Proposed Generic

Product”).
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                                        THE PARTIES

       3.      UTC is a corporation organized and existing under the laws of the State of

Delaware and having a place of business at 1040 Spring Street, Silver Spring, Maryland 20910.

UTC is a biotech company focused on the development and commercialization of products

designed to address the needs of patients with chronic and life-threatening conditions. UTC

continues to research and develop treatments for cardiovascular and pulmonary diseases,

pediatric cancers, and other orphan diseases.

       4.      Upon information and belief, Liquidia is a corporation organized and existing

under the laws of the State of Delaware, with a registered office at 51 Little Falls Drive,

Wilmington, Delaware 19808, and a principal place of business at 419 Davis Drive, Suite 100,

Morrisville, North Carolina 27560.

       5.      Upon information and belief, to manufacture Liquidia’s Proposed Generic

Product, Liquidia purchases the treprostinil sodium active pharmaceutical ingredient (“API”)

from third-party manufacturer Yonsung Fine Chemicals Co., LTD (“Yonsung”), operating out of

South Korea. Upon information and belief, Liquidia will import treprostinil sodium API from

Yonsung into the United States.

       6.      Upon information and belief, Liquidia’s Proposed Generic Product delivers

treprostinil through a dry powder inhaler (“DPI”) that is manufactured by Plastiape SpA

(“Plastiape”). Upon information and belief, Plastiape has a principal place of business at Via

Primo Maggio, 8 Osnago, 23875 Italy. Upon information and belief, Plastiape is a wholly-

owned subsidiary of Berry Global Group, Inc. Upon information and belief, Berry Global

Group, Inc. has a principal place of business at 101 Oakley Street, Evansville, Indiana 47710.




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                               JURISDICTION AND VENUE

       7.     This Court has jurisdiction over the subject matter of this action pursuant to the

provisions of 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       8.     Venue is proper in this Court under 28 U.S.C. § 1400(b).

       9.     Upon information and belief, this Court has personal jurisdiction over Liquidia

because it is a corporation organized and existing under the laws of the State of Delaware with a

registered agent in the State of Delaware. Further, upon information and belief, Liquidia has

publicly stated its intent to engage in commercializing Liquidia’s Proposed Generic Product

throughout the United States without any limitation. Upon information and belief, Liquidia will

manufacture, market, distribute, and/or sell Liquidia’s Proposed Generic Product throughout the

United States, including in Delaware, and will derive substantial revenue therefrom. Upon

information and belief, upon approval of Liquidia’s 505(b)(2) Application, Liquidia will place

Liquidia’s Proposed Generic Product into the stream of commerce with the reasonable

expectation or knowledge and the intent that such products will ultimately be purchased and used

by consumers in Delaware.

                                       BACKGROUND

       10.    UTC holds New Drug Application No. 022387, which has been approved for

TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/ml, which UTC markets and sells under the

registered trademark TYVASO®.

       11.    TYVASO® is a pharmaceutical product initially approved by FDA in the United

States in July 2009 and is indicated for the treatment of pulmonary arterial hypertension.

Pulmonary arterial hypertension is a rare disease affecting the pulmonary vasculature and results




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in high pressure in the pulmonary arteries, which increases strain on the right ventricle of the

heart, thereby leading to heart failure and death.

       12.       TYVASO® is an inhalable product approved for sale in a 0.6 mg/mL

concentration.

       13.       The ’066 patent, entitled “Process to prepare treprostinil, the active ingredient in

Remodulin®,” was duly and legally issued by the United States Patent and Trademark Office on

March 14, 2017, and is scheduled to expire on December 15, 2028. The named inventors are

Hitesh Batra, Sudersan M. Tuladhar, Raju Penmasta, and David A. Walsh.

       14.       UTC is the lawful owner of the ’066 patent by assignment of all right, title and

interest in and to the ’066 patent, including the right to bring infringement suits thereon.

       15.       The ’901 patent, entitled “Process to prepare treprostinil, the active ingredient in

Remodulin®,” was duly and legally issued by the United States Patent and Trademark Office on

March 28, 2017, and is scheduled to expire on December 15, 2028. The named inventors are

Hitesh Batra, Sudersan M. Tuladhar, Raju Penmasta, and David A. Walsh.

       16.       UTC is the lawful owner of the ’901 patent by assignment of all right, title and

interest in and to the ’901 patent, including the right to bring infringement suits thereon.

       17.       TYVASO® and its FDA approved manufacture and uses are covered by one or

more claims of the ’066 patent and the ’901 patent, which have been listed in connection with

TYVASO® in the FDA’s Approved Drug Products with Therapeutic Equivalents publication

(also known as the “Orange Book”).

                            ACTS GIVING RISE TO THIS ACTION

       18.       Liquidia notified UTC by letter dated April 24, 2020, which was delivered to UTC

on or about April 27, 2020 (“Liquidia’s Notice Letter”), that it had submitted NDA No. 213005 to




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the FDA seeking approval to engage in the commercial manufacture, use and/or sale of Liquidia’s

Proposed Generic Product prior to the expiration of the’066 patent and the ’901 patent.

       19.      Liquidia’s Notice Letter included a statement pursuant to 21 U.S.C.

§ 355(b)(3)(D)(ii) and 21 C.F.R.§ 314.52(c)(6) purporting to recite Liquidia’s “factual and legal

basis” for its opinion that the ’066 patent and the ’901 patent are invalid, unenforceable, and/or

are not, and will not, be infringed by the commercial manufacture, use or sale of Liquidia’s

Proposed Generic Product.       That statement did not include anything beyond conclusory

statements as to why the claims of the ’066 patent and the ’901 patent were allegedly invalid. The

statement also did not include anything beyond conclusory statements regarding alleged non-

infringement.

       20.      Upon information and belief, Liquidia submitted Liquidia’s 505(b)(2) Application

to FDA seeking approval to commercially manufacture, market, use, and sell generic copies of

UTC’s TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/mL prior to the expiration of the ’066

patent and the ’901 patent.

       21.      UTC is commencing this action before the expiration of forty-five days from the

date it received Liquidia’s Notice Letter.

       22.      Upon information and belief, Liquidia’s Proposed Generic Product contains the

same active compound, treprostinil, as UTC’s approved TYVASO® product.

       23.      Upon information and belief, Liquidia’s 505(b)(2) Application seeks approval

from the FDA to market Liquidia’s Proposed Generic Product for the same indication as UTC’s

approved TYVASO® product.

       24.      Upon information and belief, Liquidia’s 505(b)(2) Application refers to and relies

upon UTC’s NDA No. 022387 for TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/ml.




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       25.      Upon information and belief, Liquidia intends to commercially manufacture, sell,

offer for sale, and/or import Liquidia’s Proposed Generic Product upon, or in anticipation of,

FDA approval.

       26.      According to Liquidia’s Notice Letter, Liquidia’s 505(b)(2) Application contained

a “Paragraph IV” certification pursuant to 21 U.S.C. § 355(b)(2)(A)(iv) stating that in Liquidia’s

opinion the ’066 and the ’901 patents are invalid, unenforceable, and/or would not be infringed

by the commercial manufacture, use or sale of Liquidia’s Proposed Generic Product.

       27.      Upon information and belief, as of the date of Liquidia’s Notice Letter, Liquidia

was aware of the statutory provisions and regulations set forth in 21 U.S.C. § 355(b)(3)(D)(ii)

and 21 C.F.R.§ 314.52(c)(6).

       28.      In Liquidia’s Notice Letter, Liquidia offered confidential access to certain

information regarding Liquidia’s 505(b)(2) Application on the terms and conditions set forth in

that letter (“Liquidia’s Offer of Confidential Access”). Liquidia requested that UTC accept

Liquidia’s Offer of Confidential Access before receiving access to information regarding

Liquidia’s 505(b)(2) Application. Liquidia’s Offer of Confidential Access contained sweeping,

unreasonable restrictions that differ materially from restrictions found under protective orders.

For example, Liquidia’s Offer of Confidential Access required that UTC’s outside counsel “do

not engage, either formally or informally, in any patent prosecution for UTC and/or are involved

in the subject matter related to treprostinil, and/or provide any FDA counseling, litigation or

other work before or involving FDA.”

       29.      Under 21 U.S.C. § 355(c)(3)(D)(i)(III), an “offer of confidential access shall

contain such restrictions . . . on the use and disposition of any information accessed, as would




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apply had a protective order been entered for the purpose of protecting trade secrets and other

confidential business information.”

          30.     UTC attempted to negotiate with Liquidia to obtain relevant information from

Liquidia’s 505(b)(2) Application under restrictions “as would apply had a protective order been

issued.” Those negotiations were unsuccessful. For example, Liquidia continued to insist that

attorneys representing UTC and in-house counsel and the staff of such counsel agree not to be

engaged in the drafting of submissions related to compositions, treatment methods, or

formulations containing treprostinil to the FDA or to provide any FDA counseling related to such

matters, though such restrictions have not been present in any prior protective order relating to

any other UTC treprostinil-containing product, such as REMODULIN® (treprostinil) Injection.

See United Therapeutics Corp. v. Sandoz, Inc., 3:12-cv-01617-PGS-LHG, Protective Order,

Docket No. 32 (D.N.J. Sept. 12, 2012); United Therapeutics Corp. v. Teva Pharmaceuticals

USA,      Inc.,   3:14-cv-05498-PGS-LHG,    Protective   Order,    Docket   No.   24,   Discovery

Confidentiality Order (D.N.J. Nov. 25, 2014); United Therapeutics Corp. v. Sandoz, Inc., 3:14-

cv-05499-PGS-LHG, Stipulated Protective Order and Cross Use Agreement (D.N.J. Jan. 15,

2015.).     UTC objected to this provision of Liquidia’s Offer of Confidential Access as

unreasonable and in violation of 21 U.S.C. 355(j)(5)(C)(i)(III).

          31.     UTC is not aware of any other means of obtaining information regarding

Liquidia’s Proposed Generic Product within the 45-day statutory period.            Without such

information, UTC will use the judicial process and the aid of discovery to obtain, under

appropriate judicial safeguards, such information as is required to confirm its allegations of

infringement and to present to the Court evidence that Liquidia’s Proposed Generic Product falls

within the scope of one or more claims of the ’066 and ’901 patents.




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                     COUNT 1: INFRINGEMENT OF THE ’066 PATENT
                                UNDER 35 U.S.C. § 271(e)

          32.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          33.    Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture is covered by one or more claims of the ’066 patent.

          34.    Liquidia had knowledge of the ’066 patent when it submitted Liquidia’s 505(b)(2)

Application.

          35.    Liquidia’s submission of Liquidia’s 505(b)(2) Application for the purpose of

obtaining approval to engage in the commercial manufacture, use and/or sale of Liquidia’s

Proposed Generic Product was an act of infringement of the ’066 patent under 35 U.S.C.

§ 271(e)(2).

          36.    Upon information and belief, the commercial manufacture, use, offer for sale, sale

and/or importation of Liquidia’s Proposed Generic Product would infringe one or more claims of

the ’066 patent.

          37.    Upon information and belief, Liquidia was and is aware of the existence of the

’066 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’066 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          38.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’066 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.




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                    COUNT 2: INFRINGEMENT OF THE ’066 PATENT
                         UNDER 35 U.S.C. §§ 271(a)-(c) and (g)

          39.   UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          40.   Upon information and belief, upon FDA approval of Liquidia’s 505(b)(2)

Application, Liquidia will engage in the commercial manufacture, use, offer for sale, sale, and/or

importation of Liquidia’s Proposed Generic Product which will result in infringement of one or

more claims of the ’066 patent.

          41.   Liquidia’s 505(b)(2) Application and Liquidia’s intention to engage in the

commercial manufacture, use, offer for sale, sale, and/or importation of Liquidia’s Proposed

Generic Product upon receiving FDA approval prior to the expiration of the ’066 patent creates

an actual and justiciable controversy with respect to infringement of the ’066 patent.

          42.   Upon information and belief, upon FDA’s approval of Liquidia’s 505(b)(2)

Application, Liquidia’s commercial manufacture, use, sale, offer for sale, and/or importation into

the United States of Liquidia’s Proposed Generic Product will directly infringe one or more

claims of the ’066 patent, and will indirectly infringe by actively inducing infringement by

others, under 35 U.S.C. § 271(a), 35 U.S.C. § 271(b), 35 U.S.C. § 271(c), and/or 35 U.S.C.

§ 271(g).

          43.   Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture as described in and/or directed by Liquidia’s proposed labeling,

Liquidia’s 505(b)(2) Application, applicable drug master file (“DMF”), and/or other corporate

documents for Liquidia’s Proposed Generic Product would infringe one or more claims of the

’066 patent.




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       44.     Upon information and belief, Liquidia will induce others to infringe one or more

claims of the ’066 patent under 35 U.S.C. § 271(b) by, among other things, actively and

knowingly aiding and abetting others to infringe, including, but not limited to the manufacturer

of Liquidia’s Proposed Generic Product, or its API, or other subsequent purchasers, distributors,

or users thereof, which product or its manufacture constitutes direct infringement of one or more

claims of the ’066 patent. Upon information and belief, Liquidia’s aiding and abetting includes

Liquidia’s engagement of, contracting of, and/or encouragement of others to engage in the

manufacture, use, sale, or importation of infringing products pursuant to Liquidia’s 505(b)(2)

Application.

       45.     Upon information and belief, Liquidia will also contributorily infringe one or

more claims of the ’066 patent under 35 U.S.C. § 271(c) in that Liquidia will make, use, sell,

offer to sell, and/or import Liquidia’s Proposed Generic Product and/or the API thereof, which

Liquidia knows has no substantial non-infringing uses. Upon information and belief, subsequent

purchasers, distributors, or users thereof will also directly infringe one or more claims of the

’066 patent.

       46.     Upon information and belief, Liquidia will also infringe one or more claims of the

’066 patent under 35 U.S.C. § 271(g) by importing, selling, offering to sell or using Liquidia’s

Proposed Generic Product or the API or an intermediate thereof which is neither materially

changed by subsequent process nor a trivial or non-essential component of another product.

       47.     Upon information and belief, Liquidia was and is aware of the existence of the

’066 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’066 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.




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          48.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’066 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                     COUNT 3: INFRINGEMENT OF THE ’901 PATENT
                                UNDER 35 U.S.C. § 271(e)

          49.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          50.    Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture is covered by one or more claims of the ’901 patent.

          51.    Liquidia had knowledge of the ’901 patent when it submitted Liquidia’s 505(b)(2)

Application.

          52.    Liquidia’s submission of Liquidia’s 505(b)(2) Application for the purpose of

obtaining approval to engage in the commercial manufacture, use, sale, and/or offer for sale of

Liquidia’s Proposed Generic Product was an act of infringement of the ’901 patent under

35 U.S.C. § 271(e)(2).

          53.    Upon information and belief, the commercial manufacture, use, offer for sale, sale

and/or importation of Liquidia’s Proposed Generic Product would infringe one or more claims of

the ’901 patent.

          54.    Upon information and belief, Liquidia was and is aware of the existence of the

’901 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’901 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          55.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’901 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.



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                    COUNT 4: INFRINGEMENT OF THE ’901 PATENT
                         UNDER 35 U.S.C. §§ 271(a)-(c) and (g)

          56.   UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          57.   Upon information and belief, upon FDA approval, Liquidia will manufacture,

market, sell, offer to sell, import, and distribute Liquidia’s Proposed Generic Product which will

result in infringement of one or more claims of the ’901 patent.

          58.   Liquidia’s 505(b)(2) Application and Liquidia’s intention to engage in the

commercial manufacture, use, offer for sale, sale, and/or importation of Liquidia’s Proposed

Generic Product upon receiving FDA approval of Liquidia’s 505(b)(2) Application prior to the

expiration of the ’901 patent creates an actual and justiciable controversy with respect to

infringement of the ’901 patent.

          59.   Upon information and belief, upon FDA’s approval of Liquidia’s 505(b)(2)

Application, Liquidia’s commercial manufacture, use, sale, offer for sale, and/or importation into

the United States of Liquidia’s Proposed Generic Product will directly infringe one or more

claims of the ’901 patent, and will indirectly infringe by actively inducing infringement by

others, under 35 U.S.C. § 271(a), 35 U.S.C. § 271(b), 35 U.S.C. § 271(c), and/or 35 U.S.C.

§ 271(g).

          60.   Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture as described in and/or directed by Liquidia’s proposed labeling,

Liquidia’s 505(b)(2) Application, applicable DMF, and/or other corporate documents for

Liquidia’s Proposed Generic Product would infringe one or more claims of the ’901 patent.

          61.   Upon information and belief, Liquidia will induce others to infringe one or more

claims of the ’901 patent under 35 U.S.C. § 271(b) by, among other things, actively and



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knowingly aiding and abetting others to infringe, including, but not limited to the manufacturer

of Liquidia’s Proposed Generic Product, or its API, or other subsequent purchasers, distributors,

or users thereof, which product or its manufacture constitutes direct infringement of one or more

claims of the ’901 patent. Upon information and belief, Liquidia’s aiding and abetting includes

Liquidia’s engagement of, contracting of, and/or encouragement of others to engage in the

manufacture, use, sale, or importation of infringing products pursuant to Liquidia’s 505(b)(2)

Application.

       62.       Upon information and belief, Liquidia will also contributorily infringe one or

more claims of the ’901 patent under 35 U.S.C. § 271(c) in that Liquidia will make, use, sell,

offer to sell, and/or import Liquidia’s Proposed Generic Product and/or the API thereof, which

Liquidia knows has no substantial non-infringing uses. Upon information and belief, subsequent

purchasers, distributors, or users thereof will also directly infringe one or more claims of the

’507 patent.

       63.       Upon information and belief, Liquidia will also infringe one or more claims of the

’901 patent under 35 U.S.C. § 271(g) by importing, selling, offering to sell or using Liquidia’s

Proposed Generic Product or the API or an intermediate thereof which is neither materially

changed by subsequent process nor a trivial or non-essential component of another product.

       64.       Upon information and belief, Liquidia was and is aware of the existence of the

’901 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’901 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

       65.       UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’901 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.




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                                   PRAYER FOR RELIEF

WHEREFORE, UTC requests the following relief:

       1.     A judgment that:

              A.      Liquidia has infringed the ’066 patent and the ’901 patent; and

              B.      declaring that making, using, selling, offering for sale, or importing into

                      the United States of Liquidia’s Proposed Generic Product, or any product

                      or compound that infringes one or more of the ’066 patent and the ’901

                      patent, prior to the expiration dates of the respective patents, will infringe,

                      actively induce infringement of, and contribute to the infringement by

                      others of the ’066 patent and the ’901 patent;

       2.     A judgment ordering that the effective date of any FDA approval of Liquidia’s

NDA No. 213005 permitting Liquidia to commercially manufacture, make, use, offer to sell, sell,

market, or import into the United States Liquidia’s Proposed Generic Product be not earlier than

the latest of the expiration dates of the ’066 patent and the ’901 patent, inclusive of any

extension(s) and additional period(s) of exclusivity to which UTC is or may become entitled;

       3.     A judgment pursuant to 35 U.S.C. § 271(e)(4)(B) preliminarily and permanently

enjoining Liquidia, its officer, agents, servants, employees, parents, subsidiaries, affiliate

corporations, other business entities and all other persons acting in concert, participation, or

privity with them, their successors, and assigns, from infringing, contributorily infringing, or

inducing others to infringe the ’066 patent and the ’901 patent, including engaging in the

commercial manufacture, use, sale, offer to sale and/or importation in the United States of the

product that is the subject of Liquidia’s 505(b)(2) Application and/or any applicable DMF until




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the expiration of the ’066 patent and the ’901 patent, inclusive of any extension(s) and additional

period(s) of exclusivity to which UTC is or may become entitled;

       4.      A judgment awarding UTC damages or other monetary relief, pursuant to

35 U.S.C. §§ 271(e)(4)(c) and 284, if Liquidia engages in commercial manufacture, use, sale,

offer to sell and/or importation into the United States of any product that is the subject of

Liquidia’s 505(b)(2) Application that infringes one or more claims of the ’066 patent and the

’901 patent;

       5.      A judgment declaring that, pursuant to 35 U.S.C. § 285, this is an exceptional case

and awarding UTC its attorney’s fees;

       6.      An award of costs and expenses in this action to UTC; and

       7.      Such further and other relief as this Court may deem just and proper.

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June 4, 2020




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

UNITED THERAPEUTICS                             )
CORPORATION,                                    )
                                                )
                       Plaintiff,               )
                                                )
       v.                                       ) C.A. No. 20-755 (RGA)
                                                )
LIQUIDIA TECHNOLOGIES, INC.,                    )
                                                )
                       Defendant.               )

                               FIRST AMENDED COMPLAINT

       Plaintiff United Therapeutics Corporation (“UTC”), by its undersigned attorneys, for its

First Amended Complaint against Liquidia Technologies, Inc. (“Liquidia”), alleges as follows:

                                    NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code, Sections 100 et seq., involving United States Patent

Nos. 9,593,066 (“the ’066 patent”) (attached as Exhibit A hereto), 9,604,901 (“the ’901 patent”)

(attached as Exhibit B hereto), and 10,716,793 (“the ’793 patent”) (attached as Exhibit C hereto)

(collectively, the “Patents-in-Suit”).

       2.      This action arises out of Liquidia’s submission of New Drug Application No.

213005 under § 505(b)(2) of the Federal Food, Drug and Cosmetic Act (“Liquidia’s 505(b)(2)

Application”) to the United States Food and Drug Administration (“FDA”) seeking approval,

prior to the expiration of the ’066 patent, the ’901 patent, and the ’793 patent, to manufacture,

market, and sell a generic copy of UTC’s TYVASO® (treprostinil) Inhalation Solution,

0.6 mg/ml that is approved by FDA for treatment of pulmonary arterial hypertension (“Liquidia’s

Proposed Generic Product”).
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                                        THE PARTIES

       3.      UTC is a corporation organized and existing under the laws of the State of

Delaware and having a place of business at 1040 Spring Street, Silver Spring, Maryland 20910.

UTC is a biotech company focused on the development and commercialization of products

designed to address the needs of patients with chronic and life-threatening conditions. UTC

continues to research and develop treatments for cardiovascular and pulmonary diseases,

pediatric cancers, and other orphan diseases.

       4.      Upon information and belief, Liquidia is a corporation organized and existing

under the laws of the State of Delaware, with a registered office at 51 Little Falls Drive,

Wilmington, Delaware 19808, and a principal place of business at 419 Davis Drive, Suite 100,

Morrisville, North Carolina 27560.

       5.      Upon information and belief, to manufacture Liquidia’s Proposed Generic

Product, Liquidia purchases the treprostinil sodium active pharmaceutical ingredient (“API”)

from third-party manufacturer Yonsung Fine Chemicals Co., LTD (“Yonsung”), operating out of

South Korea. Upon information and belief, Liquidia will import treprostinil sodium API from

Yonsung into the United States.

       6.      Upon information and belief, Liquidia’s Proposed Generic Product delivers

treprostinil through a dry powder inhaler (“DPI”) that is manufactured by Plastiape SpA

(“Plastiape”). Upon information and belief, Plastiape has a principal place of business at Via

Primo Maggio, 8 Osnago, 23875 Italy. Upon information and belief, Plastiape is a wholly-

owned subsidiary of Berry Global Group, Inc. Upon information and belief, Berry Global

Group, Inc. has a principal place of business at 101 Oakley Street, Evansville, Indiana 47710.




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                               JURISDICTION AND VENUE

       7.     This Court has jurisdiction over the subject matter of this action pursuant to the

provisions of 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       8.     Venue is proper in this Court under 28 U.S.C. § 1400(b).

       9.     Upon information and belief, this Court has personal jurisdiction over Liquidia

because it is a corporation organized and existing under the laws of the State of Delaware with a

registered agent in the State of Delaware. Further, upon information and belief, Liquidia has

publicly stated its intent to engage in commercializing Liquidia’s Proposed Generic Product

throughout the United States without any limitation. Upon information and belief, Liquidia will

manufacture, market, distribute, and/or sell Liquidia’s Proposed Generic Product throughout the

United States, including in Delaware, and will derive substantial revenue therefrom. Upon

information and belief, upon approval of Liquidia’s 505(b)(2) Application, Liquidia will place

Liquidia’s Proposed Generic Product into the stream of commerce with the reasonable

expectation or knowledge and the intent that such products will ultimately be purchased and used

by consumers in Delaware.

                                       BACKGROUND

       10.    UTC holds New Drug Application No. 022387, which has been approved for

TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/ml, which UTC markets and sells under the

registered trademark TYVASO®.

       11.    TYVASO® is a pharmaceutical product initially approved by FDA in the United

States in July 2009 and is indicated for the treatment of pulmonary arterial hypertension.

Pulmonary arterial hypertension is a rare disease affecting the pulmonary vasculature and results




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in high pressure in the pulmonary arteries, which increases strain on the right ventricle of the

heart, thereby leading to heart failure and death.

       12.       TYVASO® is an inhalable product approved for sale in a 0.6 mg/mL

concentration.

       13.       The ’066 patent, entitled “Process to prepare treprostinil, the active ingredient in

Remodulin®,” was duly and legally issued by the United States Patent and Trademark Office on

March 14, 2017, and is scheduled to expire on December 15, 2028. The named inventors are

Hitesh Batra, Sudersan M. Tuladhar, Raju Penmasta, and David A. Walsh.

       14.       UTC is the lawful owner of the ’066 patent by assignment of all right, title and

interest in and to the ’066 patent, including the right to bring infringement suits thereon.

       15.       The ’901 patent, entitled “Process to prepare treprostinil, the active ingredient in

Remodulin®,” was duly and legally issued by the United States Patent and Trademark Office on

March 28, 2017, and is scheduled to expire on December 15, 2028. The named inventors are

Hitesh Batra, Sudersan M. Tuladhar, Raju Penmasta, and David A. Walsh.

       16.       UTC is the lawful owner of the ’901 patent by assignment of all right, title and

interest in and to the ’901 patent, including the right to bring infringement suits thereon.

       17.       The ’793 patent, entitled “Treprostinil Administration by Inhalation,” was duly

and legally issued by the United States Patent and Trademark Office on July 21, 2020, and is

scheduled to expire on May 14, 2027. The named inventors are Horst Olschewski, Robert

Roscigno, Lewis J. Rubin, Thomas Schmehl, Werner Seeger, Carl Sterritt, and Robert

Voswinckel.

       18.       UTC is the lawful owner of the ’793 patent by assignment of all right, title and

interest in and to the ’793 patent, including the right to bring infringement suits thereon.




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       19.      TYVASO® and its FDA approved manufacture and uses are covered by one or

more claims of the ’066 patent, the ’901 patent, and the ’793 patent, which have been listed in

connection with TYVASO® in the FDA’s Approved Drug Products with Therapeutic

Equivalents publication (also known as the “Orange Book”).

                              ACTS GIVING RISE TO THIS ACTION

       20.      Liquidia notified UTC by letter dated April 24, 2020, which was delivered to UTC

on or about April 27, 2020 (“Liquidia’s Notice Letter”), that it had submitted NDA No. 213005 to

the FDA seeking approval to engage in the commercial manufacture, use and/or sale of Liquidia’s

Proposed Generic Product prior to the expiration of the’066 patent and the ’901 patent.

       21.      Liquidia’s Notice Letter included a statement pursuant to 21 U.S.C.

§ 355(b)(3)(D)(ii) and 21 C.F.R. § 314.52(c)(6) purporting to recite Liquidia’s “factual and legal

basis” for its opinion that the ’066 patent and the ’901 patent are invalid, unenforceable, and/or

are not, and will not, be infringed by the commercial manufacture, use or sale of Liquidia’s

Proposed Generic Product.        That statement did not include anything beyond conclusory

statements as to why the claims of the ’066 patent and the ’901 patent were allegedly invalid. The

statement also did not include anything beyond conclusory statements regarding alleged non-

infringement.

       22.      Upon information and belief, Liquidia submitted Liquidia’s 505(b)(2) Application

to FDA seeking approval to commercially manufacture, market, use, and sell generic copies of

UTC’s TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/mL prior to the expiration of the ’066

patent and the ’901 patent.

       23.      UTC commenced this action before the expiration of forty-five days from the date

it received Liquidia’s Notice Letter.




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       24.      Upon information and belief, Liquidia’s Proposed Generic Product contains the

same active compound, treprostinil, as UTC’s approved TYVASO® product.

       25.      Upon information and belief, Liquidia’s 505(b)(2) Application seeks approval

from the FDA to market Liquidia’s Proposed Generic Product for the same indication as UTC’s

approved TYVASO® product.

       26.      Upon information and belief, Liquidia’s 505(b)(2) Application refers to and relies

upon UTC’s NDA No. 022387 for TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/ml.

       27.      Upon information and belief, Liquidia intends to commercially manufacture, sell,

offer for sale, and/or import Liquidia’s Proposed Generic Product upon, or in anticipation of,

FDA approval.

       28.      According to Liquidia’s Notice Letter, Liquidia’s 505(b)(2) Application contained

a “Paragraph IV” certification pursuant to 21 U.S.C. § 355(b)(2)(A)(iv) stating that in Liquidia’s

opinion the ’066 and the ’901 patents are invalid, unenforceable, and/or would not be infringed

by the commercial manufacture, use or sale of Liquidia’s Proposed Generic Product.

       29.      Upon information and belief, as of the date of Liquidia’s Notice Letter, Liquidia

was aware of the statutory provisions and regulations set forth in 21 U.S.C. § 355(b)(3)(D)(ii)

and 21 C.F.R. § 314.52(c)(6).

       30.      In Liquidia’s Notice Letter, Liquidia offered confidential access to certain

information regarding Liquidia’s 505(b)(2) Application on the terms and conditions set forth in

that letter (“Liquidia’s Offer of Confidential Access”). Liquidia requested that UTC accept

Liquidia’s Offer of Confidential Access before receiving access to information regarding

Liquidia’s 505(b)(2) Application. Liquidia’s Offer of Confidential Access contained sweeping,

unreasonable restrictions that differ materially from restrictions found under protective orders.




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For example, Liquidia’s Offer of Confidential Access required that UTC’s outside counsel “do

not engage, either formally or informally, in any patent prosecution for UTC and/or are involved

in the subject matter related to treprostinil, and/or provide any FDA counseling, litigation or

other work before or involving FDA.”

          31.     Under 21 U.S.C. § 355(c)(3)(D)(i)(III), an “offer of confidential access shall

contain such restrictions . . . on the use and disposition of any information accessed, as would

apply had a protective order been entered for the purpose of protecting trade secrets and other

confidential business information.”

          32.     UTC attempted to negotiate with Liquidia to obtain relevant information from

Liquidia’s 505(b)(2) Application under restrictions “as would apply had a protective order been

issued.” Those negotiations were unsuccessful. For example, Liquidia continued to insist that

attorneys representing UTC and in-house counsel and the staff of such counsel agree not to be

engaged in the drafting of submissions related to compositions, treatment methods, or

formulations containing treprostinil to the FDA or to provide any FDA counseling related to such

matters, though such restrictions have not been present in any prior protective order relating to

any other UTC treprostinil-containing product, such as REMODULIN® (treprostinil) Injection.

See United Therapeutics Corp. v. Sandoz, Inc., 3:12-cv-01617-PGS-LHG, Protective Order,

Docket No. 32 (D.N.J. Sept. 12, 2012); United Therapeutics Corp. v. Teva Pharmaceuticals

USA,      Inc.,   3:14-cv-05498-PGS-LHG,     Protective   Order,     Docket   No.   24,   Discovery

Confidentiality Order (D.N.J. Nov. 25, 2014); United Therapeutics Corp. v. Sandoz, Inc., 3:14-

cv-05499-PGS-LHG, Stipulated Protective Order and Cross Use Agreement (D.N.J. Jan. 15,

2015.).     UTC objected to this provision of Liquidia’s Offer of Confidential Access as

unreasonable and in violation of 21 U.S.C. § 355(j)(5)(C)(i)(III).




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          33.   UTC is not aware of any other means of obtaining information regarding

Liquidia’s Proposed Generic Product within the 45-day statutory period.            Without such

information, UTC will use the judicial process and the aid of discovery to obtain, under

appropriate judicial safeguards, such information as is required to confirm its allegations of

infringement and to present to the Court evidence that Liquidia’s Proposed Generic Product falls

within the scope of one or more claims of the ’066 and ’901 patents.

          34.   Upon information and belief, Liquidia’s Proposed Generic Product is intended to

deliver treprostinil through a DPI utilizing capsules in amounts from 26.5-106 mcgs of

treprostinil, and doses from 26.5-212 mcgs of treprostinil. Upon information and belief, the

contents of each capsule of Liquidia’s Proposed Generic Product “can be inhaled in 1-2 breaths.”

                    COUNT 1: INFRINGEMENT OF THE ’066 PATENT
                               UNDER 35 U.S.C. § 271(e)

          35.   UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          36.   Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture is covered by one or more claims of the ’066 patent.

          37.   Liquidia had knowledge of the ’066 patent when it submitted Liquidia’s 505(b)(2)

Application.

          38.   Liquidia’s submission of Liquidia’s 505(b)(2) Application for the purpose of

obtaining approval to engage in the commercial manufacture, use and/or sale of Liquidia’s

Proposed Generic Product was an act of infringement of the ’066 patent under 35 U.S.C.

§ 271(e)(2).




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          39.    Upon information and belief, the commercial manufacture, use, offer for sale, sale

and/or importation of Liquidia’s Proposed Generic Product would infringe one or more claims of

the ’066 patent.

          40.    Upon information and belief, Liquidia was and is aware of the existence of the

’066 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’066 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          41.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’066 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                     COUNT 2: INFRINGEMENT OF THE ’066 PATENT
                          UNDER 35 U.S.C. §§ 271(a)-(c) and (g)

          42.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          43.    Upon information and belief, upon FDA approval of Liquidia’s 505(b)(2)

Application, Liquidia will engage in the commercial manufacture, use, offer for sale, sale, and/or

importation of Liquidia’s Proposed Generic Product which will result in infringement of one or

more claims of the ’066 patent.

          44.    Liquidia’s 505(b)(2) Application and Liquidia’s intention to engage in the

commercial manufacture, use, offer for sale, sale, and/or importation of Liquidia’s Proposed

Generic Product upon receiving FDA approval prior to the expiration of the ’066 patent creates

an actual and justiciable controversy with respect to infringement of the ’066 patent.

          45.    Upon information and belief, upon FDA’s approval of Liquidia’s 505(b)(2)

Application, Liquidia’s commercial manufacture, use, sale, offer for sale, and/or importation into

the United States of Liquidia’s Proposed Generic Product will directly infringe one or more



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claims of the ’066 patent, and will indirectly infringe by actively inducing infringement by

others, under 35 U.S.C. § 271(a), 35 U.S.C. § 271(b), 35 U.S.C. § 271(c), and/or 35 U.S.C. §

271(g).

          46.   Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture as described in and/or directed by Liquidia’s proposed labeling,

Liquidia’s 505(b)(2) Application, applicable drug master file (“DMF”), and/or other corporate

documents for Liquidia’s Proposed Generic Product would infringe one or more claims of the

’066 patent.

          47.   Upon information and belief, Liquidia will induce others to infringe one or more

claims of the ’066 patent under 35 U.S.C. § 271(b) by, among other things, actively and

knowingly aiding and abetting others to infringe, including, but not limited to the manufacturer

of Liquidia’s Proposed Generic Product, or its API, or other subsequent purchasers, distributors,

or users thereof, which product or its manufacture constitutes direct infringement of one or more

claims of the ’066 patent. Upon information and belief, Liquidia’s aiding and abetting includes

Liquidia’s engagement of, contracting of, and/or encouragement of others to engage in the

manufacture, use, sale, or importation of infringing products pursuant to Liquidia’s 505(b)(2)

Application.

          48.   Upon information and belief, Liquidia will also contributorily infringe one or

more claims of the ’066 patent under 35 U.S.C. § 271(c) in that Liquidia will make, use, sell,

offer to sell, and/or import Liquidia’s Proposed Generic Product and/or the API thereof, which

Liquidia knows has no substantial non-infringing uses. Upon information and belief, subsequent

purchasers, distributors, or users thereof will also directly infringe one or more claims of the

’066 patent.




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          49.    Upon information and belief, Liquidia will also infringe one or more claims of the

’066 patent under 35 U.S.C. § 271(g) by importing, selling, offering to sell or using Liquidia’s

Proposed Generic Product or the API or an intermediate thereof which is neither materially

changed by subsequent process nor a trivial or non-essential component of another product.

          50.    Upon information and belief, Liquidia was and is aware of the existence of the

’066 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’066 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          51.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’066 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                     COUNT 3: INFRINGEMENT OF THE ’901 PATENT
                                UNDER 35 U.S.C. § 271(e)

          52.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          53.    Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture is covered by one or more claims of the ’901 patent.

          54.    Liquidia had knowledge of the ’901 patent when it submitted Liquidia’s 505(b)(2)

Application.

          55.    Liquidia’s submission of Liquidia’s 505(b)(2) Application for the purpose of

obtaining approval to engage in the commercial manufacture, use, sale, and/or offer for sale of

Liquidia’s Proposed Generic Product was an act of infringement of the ’901 patent under

35 U.S.C. § 271(e)(2).




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          56.    Upon information and belief, the commercial manufacture, use, offer for sale, sale

and/or importation of Liquidia’s Proposed Generic Product would infringe one or more claims of

the ’901 patent.

          57.    Upon information and belief, Liquidia was and is aware of the existence of the

’901 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’901 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          58.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’901 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                     COUNT 4: INFRINGEMENT OF THE ’901 PATENT
                          UNDER 35 U.S.C. §§ 271(a)-(c) and (g)

          59.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          60.    Upon information and belief, upon FDA approval, Liquidia will manufacture,

market, sell, offer to sell, import, and distribute Liquidia’s Proposed Generic Product which will

result in infringement of one or more claims of the ’901 patent.

          61.    Liquidia’s 505(b)(2) Application and Liquidia’s intention to engage in the

commercial manufacture, use, offer for sale, sale, and/or importation of Liquidia’s Proposed

Generic Product upon receiving FDA approval of Liquidia’s 505(b)(2) Application prior to the

expiration of the ’901 patent creates an actual and justiciable controversy with respect to

infringement of the ’901 patent.

          62.    Upon information and belief, upon FDA’s approval of Liquidia’s 505(b)(2)

Application, Liquidia’s commercial manufacture, use, sale, offer for sale, and/or importation into

the United States of Liquidia’s Proposed Generic Product will directly infringe one or more



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claims of the ’901 patent, and will indirectly infringe by actively inducing infringement by

others, under 35 U.S.C. § 271(a), 35 U.S.C. § 271(b), 35 U.S.C. § 271(c), and/or 35 U.S.C.

§ 271(g).

       63.     Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture as described in and/or directed by Liquidia’s proposed labeling,

Liquidia’s 505(b)(2) Application, applicable DMF, and/or other corporate documents for

Liquidia’s Proposed Generic Product would infringe one or more claims of the ’901 patent.

       64.     Upon information and belief, Liquidia will induce others to infringe one or more

claims of the ’901 patent under 35 U.S.C. § 271(b) by, among other things, actively and

knowingly aiding and abetting others to infringe, including, but not limited to the manufacturer

of Liquidia’s Proposed Generic Product, or its API, or other subsequent purchasers, distributors,

or users thereof, which product or its manufacture constitutes direct infringement of one or more

claims of the ’901 patent. Upon information and belief, Liquidia’s aiding and abetting includes

Liquidia’s engagement of, contracting of, and/or encouragement of others to engage in the

manufacture, use, sale, or importation of infringing products pursuant to Liquidia’s 505(b)(2)

Application.

       65.     Upon information and belief, Liquidia will also contributorily infringe one or

more claims of the ’901 patent under 35 U.S.C. § 271(c) in that Liquidia will make, use, sell,

offer to sell, and/or import Liquidia’s Proposed Generic Product and/or the API thereof, which

Liquidia knows has no substantial non-infringing uses. Upon information and belief, subsequent

purchasers, distributors, or users thereof will also directly infringe one or more claims of the

’901 patent.




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          66.    Upon information and belief, Liquidia will also infringe one or more claims of the

’901 patent under 35 U.S.C. § 271(g) by importing, selling, offering to sell or using Liquidia’s

Proposed Generic Product or the API or an intermediate thereof which is neither materially

changed by subsequent process nor a trivial or non-essential component of another product.

          67.    Upon information and belief, Liquidia was and is aware of the existence of the

’901 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’901 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          68.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’901 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                     COUNT 5: INFRINGEMENT OF THE ’793 PATENT
                                UNDER 35 U.S.C. § 271(e)

          69.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          70.    Upon information and belief, Liquidia’s Proposed Generic Product is covered by

one or more claims of the ’793 patent.

          71.    Liquidia’s maintenance of Liquidia’s 505(b)(2) Application for the purpose of

obtaining approval to engage in the commercial manufacture, use, sale, and/or offer for sale of

Liquidia’s Proposed Generic Product is an act of infringement of the ’793 patent under 35 U.S.C.

§ 271(e)(2).

          72.    Upon information and belief, the commercial manufacture, use, offer for sale, sale

and/or importation of Liquidia’s Proposed Generic Product would infringe one or more claims of

the ’793 patent.




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          73.    Upon information and belief, Liquidia was and is aware of the existence of the

’793 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’793 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.

          74.    UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’793 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                     COUNT 6: INFRINGEMENT OF THE ’793 PATENT
                              UNDER 35 U.S.C. §§ 271(a)-(c)

          75.    UTC repeats and realleges each of the foregoing paragraphs as if fully set forth

herein.

          76.    Upon information and belief, upon FDA approval, Liquidia will manufacture,

market, sell, offer to sell, import, and distribute Liquidia’s Proposed Generic Product which will

result in infringement of one or more claims of the ’793 patent.

          77.    Liquidia’s 505(b)(2) Application and Liquidia’s intention to engage in the

commercial manufacture, use, offer for sale, sale, and/or importation of Liquidia’s Proposed

Generic Product upon receiving FDA approval of Liquidia’s 505(b)(2) Application prior to the

expiration of the ’793 patent creates an actual and justiciable controversy with respect to

infringement of the ’793 patent.

          78.    Upon information and belief, upon FDA’s approval of Liquidia’s 505(b)(2)

Application, Liquidia’s commercial manufacture, use, sale, offer for sale, and/or importation into

the United States of Liquidia’s Proposed Generic Product will directly infringe one or more

claims of the ’793 patent, and will indirectly infringe by actively inducing infringement by

others, under 35 U.S.C. § 271(a), 35 U.S.C. § 271(b), and/or 35 U.S.C. § 271(c).




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       79.     Upon information and belief, Liquidia’s Proposed Generic Product or an

intermediate in its manufacture as described in and/or directed by Liquidia’s proposed labeling,

Liquidia’s 505(b)(2) Application, applicable DMF, and/or other corporate documents for

Liquidia’s Proposed Generic Product would infringe one or more claims of the ’793 patent.

       80.     Upon information and belief, Liquidia will induce others to infringe one or more

claims of the ’793 patent under 35 U.S.C. § 271(b) by, among other things, actively and

knowingly aiding and abetting others to infringe, including, but not limited to the manufacturer

of Liquidia’s Proposed Generic Product, or its API, or other subsequent purchasers, distributors,

or users thereof, which product or its manufacture constitutes direct infringement of one or more

claims of the ’793 patent. Upon information and belief, Liquidia’s aiding and abetting includes

Liquidia’s engagement of, contracting of, and/or encouragement of others to engage in the

manufacture, use, sale, or importation of infringing products pursuant to Liquidia’s 505(b)(2)

Application.

       81.     Upon information and belief, Liquidia will also contributorily infringe one or

more claims of the ’793 patent under 35 U.S.C. § 271(c) in that Liquidia will make, use, sell,

offer to sell, and/or import Liquidia’s Proposed Generic Product and/or the API thereof, which

Liquidia knows has no substantial non-infringing uses. Upon information and belief, subsequent

purchasers, distributors, or users thereof will also directly infringe one or more claims of the

’793 patent.

       82.     Upon information and belief, Liquidia was and is aware of the existence of the

’793 patent and acted without a reasonable basis for believing that it would not be liable for

infringement of the ’793 patent, thus rendering this case “exceptional” under 35 U.S.C. § 285.




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        83.      UTC will be substantially and irreparably damaged and harmed if Liquidia’s

infringement of the ’793 patent is not enjoined by this Court. UTC does not have an adequate

remedy at law.

                                       PRAYER FOR RELIEF

        WHEREFORE, UTC requests the following relief:

        1.       A judgment that:

                 A. Liquidia has infringed the ’066 patent, the ’901 patent, and the ’793 patent;

                        and

                 B.    declaring that making, using, selling, offering for sale, or importing into the

                        United States of Liquidia’s Proposed Generic Product, or any product or

                        compound that infringes one or more of the ’066 patent, the ’901 patent,

                        and the ’793 patent, prior to the expiration dates of the respective patents,

                        will infringe, actively induce infringement of, and contribute to the

                        infringement by others of the ’066 patent, the ’901 patent, and the

                        ’793 patent;

        2.       A judgment ordering that the effective date of any FDA approval of Liquidia’s

NDA No. 213005 permitting Liquidia to commercially manufacture, make, use, offer to sell, sell,

market, or import into the United States Liquidia’s Proposed Generic Product be not earlier than

the latest of the expiration dates of the ’066 patent, the ’901 patent, and the ’793 patent, inclusive

of any extension(s) and additional period(s) of exclusivity to which UTC is or may become

entitled;

        3.       A judgment pursuant to 35 U.S.C. § 271(e)(4)(B) preliminarily and permanently

enjoining Liquidia, its officer, agents, servants, employees, parents, subsidiaries, affiliate




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corporations, other business entities and all other persons acting in concert, participation, or

privity with them, their successors, and assigns, from infringing, contributorily infringing, or

inducing others to infringe the ’066 patent, the ’901 patent, and the ’793 patent, including

engaging in the commercial manufacture, use, sale, offer to sale and/or importation in the United

States of the product that is the subject of Liquidia’s 505(b)(2) Application and/or any applicable

DMF until the expiration of the ’066 patent, the ’901 patent, and the ’793 patent, inclusive of any

extension(s) and additional period(s) of exclusivity to which UTC is or may become entitled;

       4.      A judgment awarding UTC damages or other monetary relief, pursuant to

35 U.S.C. §§ 271(e)(4)(c) and 284, if Liquidia engages in commercial manufacture, use, sale,

offer to sell and/or importation into the United States of any product that is the subject of

Liquidia’s 505(b)(2) Application that infringes one or more claims of the ’066 patent, the ’901

patent, and the ’793 patent;

       5.      A judgment declaring that, pursuant to 35 U.S.C. § 285, this is an exceptional case

and awarding UTC its attorney’s fees;

       6.      An award of costs and expenses in this action to UTC; and

       7.      Such further and other relief as this Court may deem just and proper.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2020, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

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                            Nos. 22-2217, 23-1021


                       United States Court of Appeals
                           for the Federal Circuit


              UNITED THERAPEUTICS CORPORATION,

                                      Plaintiff-Cross-Appellant,

                                      v.

                  LIQUIDIA TECHNOLOGIES, INC.,

                                           Defendant-Appellant.

            Appeal from the United States District Court for the
         District of Delaware, No. 20-755, Judge Richard Andrews


           DEFENDANT-APPELLANT’S OPENING BRIEF


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                         CLAIMS AT ISSUE

                       U.S. Patent No. 9,593,066
1   A pharmaceutical composition comprising treprostinil or a
    pharmaceutically acceptable salt thereof, said composition prepared by
    a process comprising providing a starting batch of treprostinil having one
    or more impurities resulting from prior alkylation and hydrolysis steps,
    forming a salt of treprostinil by combining the starting batch and a base,
    isolating the treprostinil salt, and preparing a pharmaceutical
    composition comprising treprostinil or a pharmaceutically acceptable
    salt thereof from the isolated treprostinil salt, whereby a level of one or
    more impurities found in the starting batch of treprostinil is lower in the
    pharmaceutical composition, and wherein said alkylation is alkylation of
    benzindene triol.
2   The pharmaceutical composition of claim 1, wherein the salt is isolated
    in crystalline form.
3   The pharmaceutical composition of claim 1, wherein the base is selected
    from the group consisting of sodium, ammonia, potassium, calcium,
    ethanolamine, diethanolamine, N-methylglucamine, and choline.


                     U.S. Patent No. 10,716,793
1   A method of treating pulmonary hypertension comprising administering
    by inhalation to a human suffering from pulmonary hypertension a
    therapeutically effective single event dose of a formulation comprising
    treprostinil or a pharmaceutically acceptable salt thereof with an
    inhalation device, wherein the therapeutically effective single event dose
    comprises from 15 micrograms to 90 micrograms of treprostinil or a
    pharmaceutically acceptable salt thereof delivered in 1 to 3 breaths.
4   The method of claim 1, wherein the inhalation device is a dry powder
    inhaler.
6   The method of claim 4, wherein the formulation is a powder.
7   The method of claim 6, wherein the powder comprises particles less than
    5 micrometers in diameter.
8   The method of claim 1, wherein the formulation contains no metacresol.
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FORM 9. Certificate of Interest                                                Form 9 (p. 1)
                                                                                  July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-2217, 23-1021
   Short Case Caption United Therapeutics Corporation v. Liquidia Technologies, Inc.
   Filing Party/Entity Liquidia Technologies, Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        10/21/2022
  Date: _________________                   Signature:   /s/ Sanya Sukduang

                                            Name:        Sanya Sukduang
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FORM 9. Certificate of Interest                                                   Form 9 (p. 2)
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     1. Represented                   2. Real Party in           3. Parent Corporations
         Entities.                        Interest.                 and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).       Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of      Provide the full names of
 all entities represented         all real parties in interest   all parent corporations
 by undersigned counsel in        for the entities. Do not       for the entities and all
 this case.                       list the real parties if       publicly held companies
                                  they are the same as the       that own 10% or more
                                  entities.                      stock in the entities.

                                  ‫܆‬
                                  ✔ None/Not Applicable          ‫ ܆‬None/Not Applicable

Liquidia Technologies, Inc.                                        Liquidia Corporation




                                     Additional pages attached
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FORM 9. Certificate of Interest                                                                           Form 9 (p. 3)
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 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
            None/Not Applicable                                               Additional pages attached

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Deepa Kannappan, Cooley LLP Jonathan Davies, Cooley LLP




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
            None/Not Applicable                                               Additional pages attached
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      Technologies, Inc., IPR2020-00770           Technologies, Inc. (Fed. Cir.) No. 22-2174


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      Technologies, Inc., IPR2021-00406


  United Therapeutics Corporation v. Liquidia
   Technologies, Inc. (Fed. Cir.) No. 22-2133




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔         None/Not Applicable                                               Additional pages attached
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                       TABLE OF ABBREVIATIONS

Abbreviation                  Full Term
’066 patent                   U.S. Patent No. 9,593,066
’901 patent                   U.S. Patent No. 9,604,901
’793 patent                   U.S. Patent No. 10,716,793
’793 FWD                      Final Written Decision in IPR2021-00406
ʼ901 FWD                      Final Written Decision in IPR2020-007700
Asserted claims of the ’066   Claims 1, 2, 3, 6, 8, 9
patent
Asserted claims of the ’793   Claims 1, 4, 6, 7, 8
patent
Asserted Patents              ’066, ’901, and ’793 patents
BOARD or PTAB                 Patent Trial and Appeal Board
DMF                           Drug Master File
cl.                           claim
FDA                           Food and Drug Administration
FIRST                         Flolan International Randomized Survival Trial
FWD                           Final Written Decision
IPR                           Inter partes review
LHD                           Left heart disease
Liquidia                      Liquidia Technologies, Inc
NDA                           New Drug Application
PAH                           Pulmonary arterial hypertension (Group 1 PH)
PAP                           Pulmonary arterial pressure
PH                            Pulmonary hypertension
POSA                          Person of ordinary skill in the art
PVR                           Pulmonary vascular resistance
TN                            Treprostinil sodium
TRE or TN02                   Treprostinil
UTC                           United Therapeutics Corporation
WHO                           World Health Organization
Yonsung                       Yonsung Fine Chemicals



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                     STATEMENT OF RELATED CASES

      Three patents were involved in the district court proceeding, U.S. Patent Nos.

9,604,901; 9,593,066; and 10,716,793. After Liquidia appealed the district court

decision, UTC filed a cross-appeal (No. 23-1021), which has been consolidated with

this appeal. The ’901 patent was partially invalidated in IPR2020-00770, and that

decision is on appeal and cross-appeal as Nos. 22-2133 and 22-2174, which are

companion cases to the present appeals. The ’793 patent was fully invalidated in

IPR2021-00406, and UTC’s rehearing and precedential opinion panel review

requests are still pending before the Board.

                       JURISDICTIONAL STATEMENT

      Liquidia appeals the August 31, 2022, opinion and September 9, 2022, final

judgment of the United States District Court for the District of Delaware, finding

claims 1, 4, and 6-8 of the ’793 patent valid and infringed and claims 1, 2, and 3 of

the ’066 patent infringed. Appx00020-00074, Appx00075-00077. The district court

had jurisdiction over this matter, filed against Liquidia on June 4, 2020, under 28

U.S.C. §§ 1331 and 1338(a). Liquidia promptly noticed this appeal on September

12, 2022. This Court has jurisdiction under 28 U.S.C. § 1295.

                              ISSUES PRESENTED

1.    Did the district court err, as a matter of law, in construing “treating pulmonary

      hypertension” to exclude safety when the plain meaning, consistent with the



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      specification of the ʼ793 patent, indicates “treating pulmonary hypertension”

      requires both safety and efficacy?

2.    Did the district court err in finding the full scope of the ʼ793 patent claims

      enabled a method of treating isolated Group 2 pulmonary hypertension when

      a POSA knew at the time of the invention that treprostinil did not treat this

      patient population safely or effectively?

3.    Did the district court err in finding the full scope of the ʼ793 patent claims

      adequately described a method of treating isolated Group 2 pulmonary

      hypertension when a POSA, reviewing the specification, would conclude that

      the inventors were not in possession of a method of administering inhaled

      treprostinil to treat this patient population?

4.    Did the district court err in finding Liquidia liable for induced infringement

      of the ʼ793 patent even though the Board had already determined that all

      claims of the ’793 patent were unpatentable?

5.    Did the district court err in finding infringement of claims 1-3 of the ’066

      patent where UTC did not compare the construed claims to the accused

      product?

                                 INTRODUCTION

      This appeal concerns Liquidia’s YUTREPIATM product, a dry powder

inhalation formulation of treprostinil tentatively approved by the FDA for the



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treatment of pulmonary arterial hypertension, a chronic, life-threatening disease.

Liquidia successfully proved at the district court that two asserted Orange Book

listed patents—the ʼ901 and ʼ066 patents—were not infringed and, with respect to

the ʼ066 patent, also invalid. Liquidia also successfully challenged the ʼ901 patent

in an IPR, obtaining FWD from the Board that asserted claims 1–5, 8, and 9 were

unpatentable. Yet, Liquidia’s FDA approval for YUTREPIATM remains tentative

only because the district court found the asserted claims of the ʼ793 patent, also listed

in the Orange Book, valid and infringed despite an earlier IPR FWD from the Board

finding all asserted claims unpatentable.

      The ʼ793 patent claims include two pertinent limitations: (1) “treating

pulmonary hypertension,” through (2) administration by inhalation of a

“therapeutically effective single event dose” of treprostinil. The specification makes

clear that pulmonary hypertension (“PH”) may occur for various reasons and, is

categorized into five (5) different Groups by the WHO (Groups 1, 2, 3, 4 and 5).

The specification and examples also make clear that the claimed method requires

safely and effectively treating a patient’s PH by administering treprostinil by

inhalation. While the court correctly construed the scope of “treating pulmonary

hypertension” to include all five Groups of PH, the court strayed from the

specification and confirmatory expert testimony and determined, sua sponte, that the

construction of this phrase does not require “safely and effectively” treating PH, but



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instead merely administering a dose of treprostinil that affects the hemodynamics of

a patient. Based on this incorrect construction, and a clinical study that showed a

change in hemodynamics, but was prematurely stopped due to increased mortality

and lack of efficacy in treating Group 2 PH, the court found the ʼ793 patent claims

adequately enabled and described the full scope of treating PH.

      The court’s enablement and written description decisions stand in stark

contrast to the specification, expert testimony, and state of the art at the time of the

invention.     Both parties’ experts agreed that among the five PH Groups, the

specification only describes and includes examples of treating Groups 1, 3 and 4, but

no information about treating isolated Group 2 PH—a Group that accounts for 50%

of all PH patients. The lack of disclosure is not surprising because the prior art

clinical study established that administering prostacyclin vasodilators, like

treprostinil, not only has no beneficial effect in treating an isolated Group 2 patient’s

PH, but the hemodynamic effect itself leads to death and/or an increased risk of death

such that the study was stopped. Indeed, the experts also agreed that vasodilators,

like treprostinil, were not and still are not used today to treat isolated Group 2 PH

patients due to these significant safety issues, and the demonstrated lack of efficacy

in this large patient population. The evidence at trial leads to the inescapable

conclusion that the asserted ʼ793 patent claims are not enabled for their full scope,

including isolated Group 2 PH, and the inventors never possessed a method of



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treating this large group of PH patients. The court’s decision on validity must be

reversed and the ʼ793 patent invalidated.

      Separately, the court found Liquidia liable for induced infringement of the

ʼ793 claims despite that, nearly a month prior, the Board issued its IPR FWD

rendering unpatentable all claims of the ʼ793 patent.          In doing so, the court

disregarded the Supreme Court’s Commil decision, indicating that actual knowledge

of patent invalidity, obtained through a successful IPR FWD decision, negates an

accused inducer’s liability for infringement under 35 U.S.C. § 271(b). Despite the

lack of any requirement for finality upon appeal in Commil, the court required

collateral estoppel to take effect before liability is negated, thereby improperly

conflating liability for infringement and invalidity. This decision was clearly wrong

and requires reversal.

      Finally, claims 1, 2, and 3 of the ʼ066 patent require, in pertinent part, “a level

of one or more impurities found in the starting batch of treprostinil is lower in the

pharmaceutical composition[.]” Despite never presenting evidence comparing the

level of impurities in Liquidia’s “pharmaceutical composition” to the impurities in

the “starting batch of treprostinil” as required by the claims, the court found

infringement by relying on UTC’s proxy for the pharmaceutical composition and

speculative testimony from UTC’s expert that, based on this proxy, he would

“expect” the impurities in the actual pharmaceutical composition to be lower.



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UTC’s proxy, however, is not representative of the identified “pharmaceutical

composition,” and the court’s reliance on such evidence was clearly erroneous,

requiring reversal.

                             STATEMENT OF THE CASE

I.    YUTREPIA™

      Pulmonary hypertension is a potentially life-threatening condition

characterized by persistent and progressive shortness of breath, fatigue and

dizziness.      Appx13165-13166 (562:18-563:2); Appx13197 (685:22-686:9).

Liquidia developed YUTREPIATM (formerly LIQ861) to treat pulmonary arterial

hypertension (“PAH”), one of five sub-groups of PH.

      Liquidia filed its NDA for YUTREPIATM on January 24, 2020. Appx08605

(¶ 2); Appx13206 (722:20-723:9). YUTREPIATM is not a generic version of any

currently marketed drug but is instead a new product developed by Liquidia that

utilizes Liquidia’s proprietary PRINT technology.         Appx13200 (696:6-12);

Appx13206 (721:17-722:19); Appx13448-13464. YUTREPIA™ is a first-of-its-

kind powder formulation that is easier to use than other PAH drugs, leading to

improved patient compliance and disease outcomes.        Appx13206 (721:17-25),

Appx13207 (724:19-725:1), Appx13211 (741:17-19); Appx29466-29467. Liquidia

was the first company to receive tentative FDA approval for a dry powder

formulation of treprostinil for the treatment of “pulmonary arterial hypertension



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(PAH; WHO Group 1),” which is one of the five recognized PH Groups.

Appx13207 (724:19-725:1); Appx29537, Appx29540-29541; Appx13450-13452.

      Treprostinil is the active pharmaceutical ingredient (“API”) in YUTREPIA™.

Liquidia obtains treprostinil from a third party-contractor, Yonsung, who

manufactures the treprostinil according to its DMF. Appx13126-13127 (406:23-

407:1, 408:3-21); Appx13593. Yonsung makes treprostinil (identified as “TN02”)

and then makes a salt of treprostinil, treprostinil sodium (identified as “TN”).

Appx00024; Appx13127 (408:3-21). Using the TN from Yonsung as a starting

material, Liquidia prepares a treprostinil bulk powder (LIQ861 bulk powder) using

its proprietary PRINT process and further processes this bulk powder into capsules.

Appx13126-13127       (406:23-407:1,    408:3-21);   Appx13137      (447:12-449:9);

Appx13211 (741:7-16); Appx14131-14144.

II.   PULMONARY HYPERTENSION

      The pulmonary circulation supplies oxygenated blood to the body. The

circulation carries deoxygenated blood from the right side of the heart to the lungs,

where it is oxygenated in the pulmonary capillaries. Appx13477-13481; Appx13166

(563:14-564:17). The circulation then carries the blood back to the left side of the

heart and then out to the body. Id.

      PH is a chronic condition and generally refers to elevated pressure in the

lungs. Appx13165 (562:13-22), Appx13183 (629:9-630:13); Appx00162 (1:37-40);



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Appx00146-00170; Appx31018 (¶ 127); Appx00059. The elevated pressure does

not have a single cause. Instead, PH includes a range of conditions classified into

five different groups, first designated by the WHO. Appx0059-00060; Appx00162

(1:41-46); Appx13166 (563:3-10, 564:18-566:24), Appx13169 (575:22-576:25),

Appx13177 (609:18-610:11); Appx29475-29482. Groups 1, 3, and 4 PH are caused

by conditions affecting the precapillary vessels of the lungs—either by thickening

of the precapillary vessels (Group 1), damage to or destruction of the lung tissue and

precapillary vessels (Group 3), or blood clots in the precapillary vessels resulting in

blockage of blood flow (Group 4). Appx13166 (564:18-566:4); Appx29475-29476.

Group 5 includes miscellaneous causes for PH that do not fit well into Groups 1, 2,

3 or 4. Appx13166 (566:5-7). In all of Groups 1, 3, and 4, resistance to blood flow

in the precapillary vessels of the lungs increases because the vessel walls are

narrowed, damaged, or blocked. Appx13166 (564:18-566:4); Appx29475-29476.

Because this condition affects blood vessels found before the pulmonary capillaries,

Groups 1, 3, 4 (and 5) are also referred to as precapillary PH. Appx00059-00060,

Appx13166 (563:3-565:3, 564:18-566:4), Appx13169-13170 (577:14-579:24),

Appx13173 (591:24-592:2), Appx13184 (634:24-635:10). PAH is one form of

precapillary PH.

      In contrast, the defect in Group 2 PH patients is not in the narrowing, damage,

or blockage of the precapillary vessels of the lungs, but instead a defect in the left



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side of the heart. Appx00059-00060; Appx13166 (565:4-16), Appx13168 (571:17-

24), Appx13183 (630:10-13); Appx29476. Because the underlying cause of PH in

these patients is left heart disease (“LHD”) or conditions affecting the left heart (to

which the blood flows after the capillaries in the lung), Group 2 PH is also referred

to as postcapillary PH.     Appx00059-00060; Appx13166 (564:5-17, 565:4-16),

Appx13168 (571:17-24), Appx13183 (630:4-17).

       Approximately fifty percent (50%) of all PH patients have isolated Group 2

PH, meaning they have only LHD and no precapillary cause for their PH.

Appx13167-13168 (568:9-569:5, 569:9-570:25, 571:2-573:1), Appx13172 (589:14-

17); Appx30699-30710 (reporting 52% of PH patients had isolated Group 2 PH);

Appx29500-29513 (reporting that 78.7% of PH patients had LHD). Accordingly,

approximately 50% of PH patients (isolated Group 2), have a completely different

cause for their PH than the precapillary Groups 1, 3, 4 and 5 PH patients. Cf. id.

III.   THE CHALLENGED PATENTS

       A.     The ’793 Patent

       The ’793 patent, which has a priority date of May 15, 2006, is directed to a

“[a] method of treating pulmonary hypertension comprising administering by

inhalation to a human suffering from pulmonary hypertension a therapeutically

effective single event dose of a formulation comprising treprostinil[.]” Appx00146,

Appx00170 (cl. 1).     Treprostinil belongs to a class of compounds known as



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prostacyclins, which dilate precapillary blood vessels and can, in some cases, help

to decrease pulmonary arterial pressure (“PAP”) or pulmonary vascular resistance

(“PVR”) in the lungs.        Appx00058 (¶¶ 4-5); Appx13168 (573:19-574:15);

Appx00164 (5:37-39). This decrease in pressure or resistance is referred to as a

hemodynamic change.          Appx00058 (¶¶ 4-5); Appx13169 (577:21-578:8),

Appx13175 (602:14-22).

      The ’793 patent describes PH broadly, stating that “[g]enerally, pulmonary

hypertension is defined through observations of pressures above the normal range”

(Appx00162 (1:37-38)), and that PH “may occur due to various reasons and the

different entities of pulmonary hypertension were classified based on clinical and

pathological grounds in 5 categories according to the latest WHO convention, see

e.g., Simonneau G., et al. J. Am. Coll. Cardiol. 2004; 43(12 Suppl S):5S-12S.”

Appx00162 (1:41-46). Based on these disclosures, and the fact that the specification

“does not contain any disclosures which limit the scope of ‘pulmonary hypertension’

to any particular subset of PH patients[,]” the court construed “treating pulmonary

hypertension” to encompass “treating all five Groups of PH[,]” including isolated

Group 2 PH. Appx00059-00061.

      Although the ʼ793 patent claims are directed broadly to a method of treating

all five Groups of PH, the two Examples in the specification only describe

administering treprostinil to precapillary, and not postcapillary isolated Group 2, PH



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patients. Appx00062 (noting the “experts agree that the ’793 patent only describes

treating Groups 1, 3, and 4 PH, which are all precapillary”). Example 1 describes a

study to examine the safety, tolerability, and potency of inhaled treprostinil applied

in seconds using a soft-mist inhaler. Appx00165 (8:63-67). All 54 patients in the

study had “moderate to severe precapillary pulmonary hypertension.” Appx00166

(9:35-36). Example 1 identifies patients with Groups 1, 3, and 4 PH. Appx00166

(9:44-47) (describing “[d]isease etiologies were idiopathic PAH (iPAH) (n=13),

PAH other (n=11), chronic thromboembolic pulmonary hypertension (CTEPH)

(n=17) and pulmonary fibrosis (n=4)”); Appx13169-13170 (577:14-579:6).

      Example 2 describes measuring hemodynamic changes after treprostinil

inhalation in only precapillary PH patients. Appx00167 (12:8-27). Example 2

contains three studies, all of which describe administration of an inhaled solution of

treprostinil. Appx00167-00168 (12:60-14:47). Like Example 1, Example 2 only

identifies patients in Groups 1, 3, and 4.       Appx00168 (Table 3) (explaining

“[e]tiology of pulmonary hypertension was classified as idiopathic PAH (i), PAH of

other causes (o), chronic thromboembolic PH (t), and pulmonary fibrosis (f)”);

Appx13170 (579:7-580:23).

      B.     The ’066 Patent

      The ’066 patent’s product-by-process claims (1-3, 6 and 9) are directed to

treprostinil, or a pharmaceutically acceptable salt thereof, made by a specific



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process. Appx00121-00132. Claim 1 and dependent claims 2, 3, and 6 include the

following process step: “starting batch of treprostinil having one or more impurities

resulting from prior alkylation and hydrolysis steps . . . whereby a level of one or

more impurities found in the starting batch of treprostinil is lower in the

pharmaceutical composition, and wherein said alkylation is alkylation of benzindene

triol.” Appx00132 (cl. 1).

         Claim 6, which depends from claim 1, and claim 8 require storage. Claim 6

of the ’066 patent recites “the isolated salt is stored at ambient temperature”; and

claim 8 recites “storing the treprostinil salt at ambient temperature, and preparing a

pharmaceutical product from the treprostinil salt after storage[.]” Appx00132 (cls.

6, 8).

         C.     The ’901 Patent

         The claims of the ’901 patent, like the claims of the ʼ066 patent, are product-

by-process claims directed to treprostinil made by a specific process. Appx00133-

00145. The ʼ901 patent is a continuation of U.S. Application No. 13/933,623, and

the ʼ066 patent is a divisional of the same application. Appx00133 (Related U.S.

Application Data); Appx00121 (Related U.S. Application Data). As such, the ʼ066

and ʼ901 patents share a specification.




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IV.   PROCEEDINGS BELOW

      A.     The District Court Proceeding

      UTC asserted the ’901 and ’066 patents against Liquidia on June 4, 2020.

Appx00171. After Liquidia filed its NDA, UTC filed the application leading to the

ʼ793 patent, which issued on July 21, 2020, and this patent was added to the district

court action on July 22, 2020. Appx08603-08609 (¶ 35); Appx00146; Appx00187-

00207. On June 16, 2021, the court issued its first claim construction order and, in

pertinent part, construed “stored”/“storage”/“storing” in claims 6 and 8 of the ʼ066

and claim 6 of the ʼ901 patent to have their plain and ordinary meaning and “ambient

temperature” to mean “room temperature (equal to or less than the range of 15°C to

30°C).”    Appx04889-04890; Appx00031.             The court, however, deferred on

construing additional disputed terms in the ʼ901 patent. Appx04889 (n.1). Later, on

November 18, 2021, the court construed the phrase “contacting the solution

comprising treprostinil from step (b) with a base to form a salt of treprostinil” in

claims 1 and 8 of the ʼ901 patent to mean “contacting the solution comprising

treprostinil from step (b) with a base to form a salt of treprostinil, wherein the salt is

formed without isolation of treprostinil after alkylation and hydrolysis.”

Appx06245, Appx06235-06244. Based on this construction, UTC stipulated to

partial judgment of non-infringement of the ’901 patent. Appx06711-06713. In

view of UTC’s stipulation, Liquidia stipulated not to present evidence of non-



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infringement and invalidity of the asserted claims of the ’901 patent at trial, but

expressly reserved its right to present the evidence at a future trial should UTC

prevail in any appeal of the court’s claim construction. Appx12982-12984.

      The district court conducted a bench trial from March 28 to 31, 2022, where

Liquidia presented non-infringement and invalidity defenses with respect to the ʼ066

and ʼ793 patents. As discussed below, the court issued its opinion on August 31,

2022. Appx00020-00074.

      B.     The Board’s Decision Rendering the ’793 Patent Claims
             Unpatentable

      On November 3, 2020, the district court denied UTC’s motion to dismiss

Liquidia’s invalidity defenses based on assignor estoppel. Appx01358-01360. UTC

continued to pursue its assignor estoppel defense, including in pre-trial submissions,

but ultimately did not try the issue. Appx08938-08940 (¶¶ 136-140). Due to UTC’s

assignor estoppel allegations, and because assignor estoppel does not apply to IPR

proceedings, Liquidia filed an IPR petition on the ’793 patent to preserve its prior

art invalidity defenses. The IPR was instituted on August 11, 2021. Appx31149.

      On July 19, 2022, before the district court issued its opinion, the Board found

all claims of the ’793 patent unpatentable as obvious over the prior art under 35




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U.S.C. § 103. Appx31145-31196.1 Liquidia submitted the ʼ793 FWD to the district

court on July 19, 2022 (Appx31145-31196), and subsequently, the court requested

additional briefing to address the issue as to whether the ’793 FWD “compels that

[the district court] treat the 793 patent as being invalid.” Appx00118 (D.I. 426).

The parties submitted their additional briefing on August 15, 2022. Id; Appx31197-

31201; Appx31202-31205.

      C.     The Board’s Decision Rendering Unpatentable Claims 1-5, 8 and 9
             of the ʼ901 Patent

      On March 30, 2020, Liquidia petitioned for IPR of the ’901 patent.

Appx05838, Appx05893. The Board instituted the IPR on October 13, 2020, and on

October 8, 2021, the Board concluded that claims 1-5, 8 and 9 were unpatentable.

Appx05832-05900. In its FWD, the Board construed “storing”/”storage” (terms

recited in claim 6) to “require storing or storage for a period of at least three months.”

Appx05835, Appx05861. The Board’s construction is materially different from, and

non-overlapping with the district court’s construction of these same terms to have

their “plain and ordinary meaning,” without a specified time requirement.

Appx04889. Based on its construction, the Board determined that Liquidia did not

meet its burden to establish claims 6 and 7 unpatentable. Appx05838. UTC filed a




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 UTC requested rehearing of the ’793 FWD on August 18, 2022, but the Board has
not yet issued its decision.


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request for rehearing on November 8, 2021, which the Board denied on June 14,

2022. Appx31367; Appx31383-31387. The ʼ901 FWD is now on appeal before this

Court as Case Nos. 22-2133, 22-2174.

      D.     The District Court’s Trial Opinion

      Following trial and post-trial briefing, the court found all asserted claims of

the ’793 patent valid and infringed and claims 1, 2, 3, 6, and 9 of the ’066 patent

invalid and claims 6, 8 and 9 not infringed. Although the district court determined

that claims 1, 2, and 3 of the ’066 patent are invalid, it determined these claims were

nonetheless infringed.      Appx00031, Appx00045, Appx00055, Appx00065,

Appx00068, Appx00073; Appx13221 (780:19-22). The district court entered

judgment, staying the approval of Liquidia’s NDA for YUTREPIA™ until the May

5, 2027, the expiration date of ’793 patent. Appx00076 (¶ 4).

             a.     The district court interpreted the “method of treating
                    pulmonary hypertension” to include treatments that cause
                    patient death, leading to a finding of adequate enablement
                    and written description

      The district court construed “treating pulmonary hypertension” to encompass

“treating all five Groups of PH,” including isolated Group 2 PH. Appx00058 (¶ 3),

Appx00059-00061. The court further determined, however, that the “method of

treating pulmonary hypertension” “do[es] not require ‘safely and effectively treating

pulmonary hypertension,’” as “[t]he only effectiveness that is claimed is ‘a

therapeutically effective single event dose of ... treprostinil.’” Appx00063 (emphasis


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in original), Appx00065 (“Liquidia’s position seems to be based on the flawed

premise that the claims require ‘a method of safely and effectively treating

pulmonary hypertension.’”).       Based on the court’s construction of “treating

pulmonary hypertension” to exclude safety, and its construction of “therapeutically

effective single event dose” to require only “a dose [of treprostinil] given in a single

treatment session that causes an improvement in a patient’s hemodynamics (reduced

PAP or PVR)[,]” the court concluded that the claimed “method of treating” isolated

Group 2 PH patients was adequately enabled and described.                 Appx00052,

Appx00063-00065. The court did so because, in its view, treprostinil can impact a

Group 2 PH patient’s hemodynamics. Appx00063-00065. Liquidia appeals the

district court’s judgment with respect to its exclusion of “safety” from the “method

of treating pulmonary hypertension” as it is contrary to the plain meaning and

unsupported by the specification.        Liquidia also appeals the district court’s

determinations that the method of treating isolated Group 2 PH patients—over 50%

of all PH patients encompassed by the asserted claims—is enabled and adequately

described.   Indeed, the sole basis for the district court’s determination that

treprostinil can be used to treat isolated Group 2 PH is a clinical trial, the FIRST

study, where it was demonstrated that while some Group 2 PH patients experienced

changes in PAP and PVR, those changes did not impart a beneficial impact to the

patients’ condition and, more critically, the study was prematurely stopped because



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of increased mortality rates in the treated patient group.          Appx00063-00064;

Appx29455-29465.

             b.     The district court found Liquidia will induce infringement of
                    the invalid ’793 patent

      Even though the Board found the ’793 patent unpatentable over the prior art

before the district court issued its opinion, the court found that Liquidia nonetheless

possessed the requisite specific intent to induce infringement. Appx00055-00057.

The court acknowledged the Supreme Court’s decision in Commil USA, LLC v.

Cisco Systems, Inc., 575 U.S. 632, 644 (2015), which states “if . . . an act that would

have been infringement or an inducement to infringe pertains to a patent that is

shown to be invalid, there is no patent to be infringed[,]” and that “if the patent is

indeed invalid, and shown to be so under proper procedures, there is no liability.”

Appx00056 (quoting Commil, 575 U.S. at 644). The court nonetheless determined

that the Board’s conclusion of unpatentability, and Liquidia’s knowledge of it, does

not negate liability for infringement until collateral estoppel is in effect, which would

not apply until the ʼ793 FWD is “affirmed or the parties waive their appeal rights.”

Appx00056-00057. Liquidia appeals the district court’s judgment with respect to

induced infringement. Under Commil, “seek[ing] inter partes review at the [Board]

and receiv[ing] a decision as to validity within 12 to 18 months[,]” is a “proper

procedure[]” that, if successful as here, precludes Liquidia from being liable for




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induced infringement and eliminates Liquidia’s subjective intent to infringe.

Commil, 575 U.S. at 644-45; 35 U.S.C. § 316(a)(11).

            c.     The district court found Liquidia will infringe claims 1, 2,
                   and 3 of the ’066 patent despite UTC not comparing the
                   accused product to the asserted claims

      The district court found, as argued by UTC, that Liquidia’s LIQ861 bulk

powder is a “pharmaceutical composition” that infringes claims 1, 2, and 3.

Appx00025-00031. The parties’ infringement dispute for claims 1, 2, and 3 centered

on the impurity process steps in claim 1, which requires a “pharmaceutical

composition comprising treprostinil” “prepared by a process comprising a starting

batch of treprostinil having one or more impurities resulting from prior alkylation

and hydrolysis steps . . . whereby a level of one or more impurities found in the

starting batch of treprostinil is lower in the pharmaceutical composition.”

Appx00023, Appx00025-00026. Accordingly, claim 1 requires a comparison of the

impurities in the “starting batch of treprostinil” to those same impurities in the

“pharmaceutical composition.” UTC identified TN02 as the “starting batch of

treprostinil,” and LIQ861 bulk powder as the “pharmaceutical composition” of claim

1. Appx00026. As the court found, the production of Liquidia’s LIQ861 bulk

powder begins with third-party contractor Yonsung, who manufactures treprostinil

(TN02) and combines it with a base (sodium) to make treprostinil sodium salt (TN).

Appx00024; Appx13126-13127 (406:23-407:1, 408:3-21); Appx13593. TN is then



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shipped to Liquidia in the United States, who subjects TN to its proprietary PRINT

process to make LIQ861 bulk powder by first dissolving TN in solution.

Appx13126-13127       (406:23-407:1,    408:3-21),    Appx13137      (447:12-448:23,

448:449:9); Appx13211 (741:7-16); Appx13206 (722:10-19).

      To determine whether Liquidia infringed claim 1, the court relied on

testimony from UTC’s expert, Dr. Nuckolls, comparing the impurity profile of TN02

to TN to conclude “impurities that were generated during the alkylation and

hydrolysis steps . . . were reduced” and “Liquidia will meet the impurities limitation

of claim 1.”    Appx00030-00031.       TN, however, is not the “pharmaceutical

composition” of claim 1. UTC’s expert admitted that he did not compare impurities

in the LIQ861 bulk powder to the starting batch of TN02 or determine if there was

an actual reduction in impurities between the two. Appx13055 (122:24-123:1 (“Q.

Did you look at the impurities in the pharmaceutical composition of LIQ861 in your

analysis? A. No.”)); Appx13058 (133:22-134:3). Without evidence, Dr. Nuckolls

instead speculated that he “wouldn’t expect” Liquidia’s processing of TN to impact

the impurities. Appx13064 (157:14-17); Appx00027. Liquidia appeals the district

court’s judgment with respect to infringement of claims 1, 2 and 3 because UTC did

not properly compare the accused product “LIQ861 bulk powder” to the claims and

instead improperly used TN, which is the starting material used to make LIQ861




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bulk powder, as a proxy for the claimed “pharmaceutical composition” without

demonstrating TN is representative of LIQ861 bulk powder.

                          SUMMARY OF ARGUMENT

      This Court should reverse the district court’s validity and infringement

decisions with respect to the ʼ793 patent for the following reasons:

   1. The district court legally erred by misconstruing “treating pulmonary

      hypertension” to exclude safely treating this disease because the plain

      meaning, supported by the specification, publications and expert testimony,

      all indicate that “treating pulmonary hypertension” requires safety and

      efficacy;

   2. Regardless of whether the Court applies the proper construction of “treating

      pulmonary hypertension” to include safety and efficacy, the ’793 patent is not

      enabled for the full scope of treating isolated Group 2 PH with inhaled

      treprostinil because the evidence establishes that treprostinil is neither safe

      nor effective, and would not treat this patient population;

   3. Regardless of whether the Court applies the proper construction of “treating

      pulmonary hypertension” to include safety and efficacy, the ’793 patent does

      not adequately describe the full scope of “treating pulmonary hypertension”

      with inhaled treprostinil because the specification fails to provide any




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        information sufficient for a POSA to conclude that the inventors were in

        possession of this invention; and

     4. Liquidia is not liable for induced infringement of the ʼ793 patent because the

        Board’s FWD, rendering unpatentable all claims of the ʼ793 patent, negates

        Liquidia’s liability.

        This Court should also reverse the district court’s infringement decision with

respect to the ʼ066 patent because:

     1. UTC failed to meet its burden on infringement of claims 1, 2, and 3 because

        it failed to compare the impurities in TN02 (the identified “starting batch of

        treprostinil”) to the impurities in LIQ861 bulk powder (the identified

        “pharmaceutical composition”) and did not establish that TN is representative

        of LIQ861 bulk powder for infringement purposes.

                                     ARGUMENT

I.      STANDARD OF REVIEW

        The Court reviews the district court’s conclusions of law de novo and its

factual findings for clear error. Par Pharm., Inc. v. Eagle Pharms., Inc., 44 F.4th

1379, 1383 (Fed. Cir. 2022). A factual finding is clearly erroneous when the Court

is left with a definite and firm conviction that a mistake has been made. Par Pharm.,

44 F.4th at 1383.




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      Claim construction is ultimately an issue of law, which this Court reviews de

novo. Eli Lilly & Co. v. Hospira, Inc., 933 F.3d 1320, 1328 (Fed. Cir. 2019). The

district court’s findings of fact on “evidence ‘intrinsic to the patent (the patent claims

and specification, along with the patent’s prosecution history)’” are reviewed de

novo while extrinsic findings of fact are reviewed for clear error. Id. (citations

omitted).

      Whether a claim satisfies the written description requirement is a question of

fact, reviewed for clear error following a bench trial. Novartis Pharms. Corp. v.

Accord Healthcare, Inc., 38 F.4th 1013, 1016 (Fed. Cir. 2022) (citations and internal

quotation marks omitted). Enablement is a question of law that the Court reviews

de novo with underlying factual underpinnings reviewed for clear error. ALZA Corp.

v. Andrx Pharms., LLC, 603 F.3d 935, 940 (Fed. Cir. 2010).

      Patent infringement is a question of fact that is reviewed for clear error. Par

Pharm., 44 F.4th at 1383 (citing ALZA Corp. v. Mylan Lab’ys, Inc., 464 F.3d 1286,

1289 (Fed. Cir. 2006)).

II.   THE DISTRICT COURT ERRED IN EXCLUDING “SAFETY” FROM
      THE SCOPE OF “TREATING PULMONARY HYPERTENSION”

      In evaluating whether the full scope of “treating pulmonary hypertension” was

adequately enabled and described, the district court concluded that the claimed

method “do[es] not require ‘safely and effectively treating pulmonary

hypertension[.]’”    Appx00063 (emphasis in original), Appx00065 (“Liquidia’s


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position seems to be based on the flawed premise that the claims require ‘a method

of safely and effectively treating pulmonary hypertension.”). It instead found the

claims “require ‘treating pulmonary hypertension comprising administering . . . a

therapeutically effective single event dose of a formulation comprising

treprostinil[,]’” which in the district court’s view only requires “vasodilat[ion of] the

pulmonary vasculature, affect[ing the] hemodynamics,” and thus effectively

“treat[ing]” a patient’s elevated blood pressure.          Appx00063-00064.        As a

consequence, the court’s construction absurdly means that PH patients that exhibited

an improvement in hemodynamics, including reduced PAP or PVR, but nonetheless

received no benefit in the actual treatment of their condition or died as a result of the

therapy, are deemed to have had their PH “treated” with a “therapeutically effective

dose.” This construction is unmoored from a common sense understanding of the

claimed method of treatment, ignores the ’793 patent claims and specification, and

is inconsistent with expert testimony reflecting how a POSA would understand the

claims.

      A.     The ʼ793 Patent Specification Requires that the Method of Treating
             Pulmonary Hypertension Be Safe and Effective

      Although neither party advocated that the claimed “method of treating

pulmonary hypertension” excluded safety, the court, sua sponte, reached this

construction in its trial opinion. Appx00063. In doing so, the court pointed to the

claim, noting “[t]he claims do not require ‘safely and effectively treating pulmonary


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hypertension,’” but instead only administering “a therapeutically effective single

event dose of a formulation comprising treprostinil.” Appx00063.2 By reaching this

decision, the court ignored the plain meaning of “treating,” the express purpose of

the claimed invention, as well as the Examples in the specification.

        Claim construction begins with the claims themselves, and terms are generally

given their plain and ordinary meaning. See Phillips v. AWH Corp., 415 F.3d 1303,

1312-14 (Fed. Cir. 2005). “[T]he context in which a term is used in the asserted

claim can be highly instructive[,]” and that “use of a term within the claim provides

a firm basis for construing the term.” See id. at 1314. Here, “treating” is used within

the context of a method associated with a specific condition, pulmonary

hypertension. As such, a POSA would understand the plain and ordinary meaning

of “treating pulmonary hypertension” to include a method that accomplishes this

goal both safely and effectively.

        The specification of the ʼ793 patent requires the method of treating pulmonary

hypertension to be safe. Eon Corp. IP Holdings LLC v. Silver Springs Networks,

Inc., 815 F.3d 1314, 1320 (Fed. Cir. 2016) (“A party is, therefore, not entitled to a

claim construction divorced from the context of the written description[.]” (citation

and internal quotation marks omitted)); Medrad, Inc. v. MRI Devices Corp., 401



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    All emphasis added unless otherwise noted.


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F.3d 1313, 1319 (Fed. Cir. 2005) (“We cannot look at the ordinary meaning of the

term . . . in a vacuum. Rather, we must look at the ordinary meaning in the context

of the written description and the prosecution history.” (citations omitted)). In the

“Detailed Description of the Invention,” the specification states:

              [T]he inventors discovered that such administering does
              not cause significant side effects, especially no significant
              side effects related to systemic blood pressure and
              circulation as well as no gas exchange deteriorations or
              disruptions.

Appx00164 (5:16-20). Example 1, titled: “Open Label Study Upon Acute Safety,

Tolerability and Hemodynamic Effects of Inhaled Treprostinil Delivered in

Seconds,” concluded that “[t]he acute application of inhaled treprostinil . . . was safe,

well tolerated and induced a strong and sustained pulmonary selective vasodilation.”

Appx00165 (8:59-61, 9:30-33); see also Appx00166 (10:53-57), Appx00167

(11:61-63).    Example 2 also addressed safety upon inhaled administration of

treprostinil, stating: “Inhaled treprostinil . . . could be safely applied in a few breaths

or even one breath.” Appx00167 (12:15-18).              Example 2 further states that

“treprostinil could be safely utilized up to a concentration of 2000 µg/ml without

considerable side effects.” Appx00169 (16:26-27). UTC’s expert, Dr. Clark,

reading the ʼ793 patent, testified that the examples “deliver a bolus of [t]reprostinil,

still get efficacy, and not generate any tolerability issues[,]” and “of course, in this

particular case, you need to know that it’s safe to deliver it in a single bolus” of



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treprostinil. Appx13234 (832:19-833:20). The court ignored this evidence and, as

such, the court’s construction, excluding safety from the “method of treating

pulmonary hypertension” was legally incorrect as it contradicted the plain meaning

as understood by a POSA and was not supported by the specification or the evidence

at trial. See Teva Pharms. USA, Inc. v. Corcept Therapeutics, Inc., PGR2019-00048,

2020 WL 6809812, at *7-9 (P.T.A.B. Nov. 18, 2020) (finding that the patent’s

claims and specification make it clear that the recited methods of treatment for

controlling hyperglycemia necessarily require drug administration in a safe manner),

aff’d, 18 F.4th 1377 (Fed. Cir. 2021).

      The uncontroverted testimony at trial, credited by the district court, further

confirms the “method of treating pulmonary hypertension” requires safely doing so.

As recognized by the court, Dr. Hill (Liquidia’s expert) testified that “as of May 15,

2006, a POSA would have had significant safety concerns about administering

inhaled treprostinil to treat Group 2 PH patients.” Appx00061; Appx13170-13171

(582:11-586:5), Appx13171-13172 (586:22-588:5), Appx13172 (588:9-589:10),

Appx13173 (592:10-593:18); Appx13196 (681:12-682:1). The court also credited

Dr. Hill’s testimony concerning the FIRST study, where epoprostenol, a prostacyclin

like treprostinil, was administered to Group 2 PH patients but the study failed and

was prematurely stopped due to increased mortality in the treated patients as a result




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of the drug. Appx00061-00062; Appx13171 (583:2-13, 585:10-14, 585:20-586:5);

Appx29455, Appx29462-29463.

      Accordingly, “treating pulmonary hypertension” encompasses treating all five

PH groups, including isolated Group 2 PH, safely and effectively.

      B.     The District Court’s Construction Permits Inclusion of Pulmonary
             Hypertension Patients That Die as a Result of Treprostinil
             Administration

      By excluding safety, the district court’s construction of the “method of

treating pulmonary hypertension” nonsensically includes treatment of patients that

die due to treprostinil administration despite exhibiting “an improvement in . . .

hemodynamics (reduced PAP or PVR).” Appx00063. As recognized by the district

court, patients in the FIRST study exhibited changes in their hemodynamic

measurements, including PAP and PVR, but ultimately, the study was stopped

because patients administered epoprostenol, a prostacyclin like treprostinil, showed

increased mortality rates compared to patients who were not given the drug.

Appx00061-00062, Appx00064; Appx13171 (583:4-13, 585:10-14, 585:21-586:2);

Appx13197-13198       (687:6-688:9);    Appx29455,      Appx29461      (“Despite   the

theoretical rationale . . . chronic infusion of epoprostenol in patients with [isolated

Group 2 left heart disease] was associated with increased mortality rates and no

improvement in quality of life”). Clearly, the plain meaning of “treating pulmonary




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hypertension” requires safe and effective treatment that benefits patients in all five

PH Groups as opposed to killing them.

III.   THE ’793 PATENT DOES NOT ADEQUATELY ENABLE THE FULL
       SCOPE OF “TREATING PULMONARY HYPERTENSION”

       “Claims are not enabled when, at the effective filing date of the patent, [a

POSA] could not practice their full scope without undue experimentation.” Wyeth

& Cordis Corp. v. Abbott Lab’ys, 720 F.3d 1380, 1384 (Fed. Cir. 2013) (citation

omitted); ALZA Corp., 603 F.3d at 940. The Federal Circuit has set forth eight

“[f]actors to be considered in determining whether a disclosure would require undue

experimentation”: “(1) the quantity of experimentation necessary, (2) the amount of

direction or guidance presented, (3) the presence or absence of working examples,

(4) the nature of the invention, (5) the state of the prior art, (6) the relative skill of

those in the art, (7) the predictability or unpredictability of the art, and (8) the breadth

of the claims.” In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

       Here, the court properly construed “treating pulmonary hypertension” to

include treating all five Groups of PH, which includes isolated Group 2 PH patients.

Appx00061; see also Appx00162 (1:37-38, 1:41-46); Appx13169-13170 (575:19-

576:25, 580:24-581:2). But, by improperly excluding safety from the claimed

method, the court was able to conclude that the ʼ793 patent enables the full scope of

“treating pulmonary hypertension.” The court completely disregarded the elevated

risk of death and concluded that “even with a risk of pulmonary edema, a POSA


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would understand that the claimed administration of treprostinil would vasodilate

the pulmonary vasculature, affect hemodynamics, and treat a patient’s elevated

pulmonary blood pressure, i.e., treat PH[,]” including isolated Group 2 PH.

Appx00063-00064. The court’s sole evidence for any alleged effectiveness of

treprostinil in isolated Group 2 PH, and ultimately to support its enablement opinion,

is the FIRST study. Appx00064. The court characterized the findings of the FIRST

study as demonstrating that “treating isolated Group 2 PH patients with a

prostacyclin had preliminary clinical evidence of benefit and a statistically

significant acute hemodynamic improvement, including a reduction of mean PAP,

wedge pressure, and PVR, and improvements in exercise duration and dyspnea

score.” Id. But the court’s fact finding is clearly erroneous in view of the express

findings of the FIRST study and undisputed testimony by the parties’ clinical experts

that prostacyclin administration did not provide a benefit to the patients in the study.

      A.     When Properly Construed to Include Safety, the District Court
             Erred in Finding the ’793 Patent Enabled for the Full Scope of
             “Treating Pulmonary Hypertension”

      Liquidia’s expert, Dr. Hill, testified on the considerable evidence at the time

of the filing of the ’793 patent that demonstrated the grave risk of administering

prostacyclins like treprostinil to isolated Group 2 PH patients. As Dr. Hill explained,

using a prostacyclin vasodilator, like treprostinil, in isolated Group 2 PH patients

that have LHD is problematic because the purpose of the vasodilator is to open blood



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vessels, permitting more blood flow, which would increase the pressure in the left

heart “creating a potentially life-threatening situation.” Appx13172 (587:8-22).

Because of these significant safety concerns, a POSA would have been discouraged

from using inhaled prostacyclins in isolated Group 2 PH patients, as further

increasing the pressure in the left heart (the locus of their pathology), could create

this life-threatening scenario.       Appx13172 (587:5-588:5, 588:20-589:10),

Appx13196 (681:8-682:1); see also Appx29438-29454; Appx29468-29474.

      Additionally, in the prior art FIRST study, patients with Group 2 PH were

treated with epoprostenol, a prostacyclin similar to treprostinil that also vasodilates

blood vessels. Appx13168 (573:19-574:15), Appx13170-13171 (582:6-583:23).

Rather than supporting any “clinical evidence of benefit” of a vasodilator to isolated

Group 2 PH patients as the district court found, the FIRST study concluded

“[c]hronic intravenous epoprostenol therapy is not associated with improvement in

distance walked, quality of life, or morbid events and is associated with an

increased risk of death.” Appx29455; see also Appx13171 (585:21-586:2). The

paper further concluded:

      In summary, despite both conceptual and preliminary clinical evidence
      of benefit, chronic epoprostenol infusion in severe left ventricular
      failure [which would include isolated Group 2 PH] resulted in
      increased mortality rates and no evidence of improved quality of life.
      Efforts to improve the plight of severely symptomatic patients caused
      by left ventricular failure should focus on other avenues.




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Appx29462-29463; see also Appx00061-00062. Because more people died in the

epoprostenol treatment group than the control group, the study was prematurely

stopped.     Appx13171 (583:4-13, 585:10-14, 585:21-586:2); Appx29455,

Appx29461.

      Dr. Hill similarly concluded that the FIRST study, rather than supporting any

treatment of isolated Group 2 PH patients with prostacyclins, actually found

“increased mortality rates and no evidence of improved quality of life[,]” and

therefore raised concerns about administering prostacyclins like treprostinil in

isolated Group 2 PH patients. Appx13171 (585:25-586:5). While some patients in

the FIRST study showed acute changes in hemodynamics, vasodilator

administration caused increased risk of death and was not a successful treatment for

isolated Group 2 PH.       Appx13171 (583:4-585:14, 585:21-586:5); Appx29461

(“These trials together lend considerable support to the concept that systemic

vasodilators may be detrimental in terms of clinical outcome despite short-term

symptomatic benefit.”). Dr. Hill concluded that the FIRST study was a “negative

trial,” which demonstrated that “an acute vasodilator that looks promising does not

necessarily translate into an effective therapy.” Appx13171 (585:10-14, 585:21-

586:2).

      Similarly, the label for Ventavis®, a prior art approved inhaled prostacyclin

treatment for Group 1 PAH, came with a warning that it could cause pulmonary



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edema (swelling in the lungs).     Clinicians were advised to stop treatment if

pulmonary edema occurs as the edema could be a sign of pulmonary venous

hypertension (also known as Group 2 PH), or increased pressure in the postcapillary

vasculature returning blood to the left heart.     Appx29443; Appx13171-13172

(586:6-588:5); Appx13167 (567:19-568:2); Appx13177 (609:22-25).              Dr. Hill

explained that the Ventavis® warning counseled patients against using prostacyclins

in Group 2 PH because:

            [I]f you open up the precapillary vessels and allow more
            blood to flow through into the capillaries and then into the
            pulmonary veins, it could increase the pulmonary venous
            pressure, the pressure filling the left heart, and that
            increase in the capillaries can cause leakage of fluid into
            the gas exchanging areas of the lungs, interfering with
            oxygenation and creating a potentially life-threatening
            situation.

Appx13172 (587:13-22). And if Dr. Hill’s unrebutted testimony and the actual

conclusions from the FIRST study and the Ventavis® label were insufficient, the

court expressly found a “physician would have certain safety concerns about treating

Group 2 PH patients‒particularly isolated Group 2 PH patients‒with treprostinil.”

Appx00063. The court credited Dr. Hill’s testimony on the FIRST study and

Ventavis® (Appx00061-00062), and UTC offered no expert testimony to rebut it.

      Based on these facts, and applying the Wands factors, a POSA would have

required undue experimentation to practice the full scope of the claimed “treating

pulmonary hypertension,” including isolated Group 2 PH patients. The claims, as


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the court found, are broad, covering a method of treating all five groups of PH,

including isolated Group 2 PH patients. Appx00061; see also Appx00162 (1:37-38,

1:41-46); Appx13169-13170 (575:19-576:25, 580:24-581:2). Thus, the ’793 patent

must enable treating isolated Group 2 PH patients, who make up 50% of all PH

patients, with inhaled treprostinil.

      At trial, the experts agreed that the ’793 patent provides no guidance or

working examples for treating isolated Group 2 PH patients as it never describes

administering treprostinil to any Group 2 PH patient, let alone addressing whether it

is safe or effective in these patients. Appx00062 (noting “[t]he experts agree that

the ʼ793 patent only describes treating Groups 1, 3, and 4 PH, which are all

precapillary”); Appx13169-13170 (577:14-581:2); Appx13172-13173 (590:25-

592:2); Appx13184-13185 (634:22-636:5); see generally Appx00165-00170 (8:57-

18:20). The specification has two Examples, each of which only describe treating

Groups 1, 3, and 4 PH patients with inhaled treprostinil, but never treating any Group

2 PH patient. Appx00166 (9:35-36, 9:44-47), Appx00168 (Table 3); Appx13169-

13170 (577:16-580:23). Because isolated Group 2 PH patients have an entirely

different underlying cause for their PH than Groups 1, 3, and 4 PH patients—one

that is not characterized by changes in the precapillary lung vasculature on which

vasodilators like treprostinil act—disclosure of the use of inhaled treprostinil in

Groups 1, 3, 4 PH patients is insufficient. Appx00060; see Appx13168 (574:10-15),



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Appx13172 (589:24-590:10), Appx13185 (637:2-12), Appx13191 (661:14-20,

662:19-25). Even today, no prostacyclin therapy—treprostinil or otherwise—is

approved to treat Group 2 PH patients, and prior attempts to use treprostinil in Group

2 PH patients have not been successful. Appx13170 (581:13-582:5), Appx13171-

13172 (586:25-587:2, 588:22-589:10), Appx13173 (594:7-8), Appx13174 (595:7-

12), Appx13175 (599:9-14); Appx29472.

      In fact, because treprostinil’s vasodilating effect (i.e., opening up the

precapillary vessels) and accompanying hemodynamic change it induces (i.e.,

reduced PAP and PVR)—the basis for the court’s conclusion on enablement—is the

very effect that leads to death in isolated Group 2 PH patients, a POSA would not

conclude that the ʼ793 patent enables treatment of 50% of all PH patients. Given the

differences in the underlying etiology and significant safety concerns, Dr. Hill

testified that a POSA would need to start at “square one” to determine whether

treprostinil could be used in isolated Group 2 patients at all.3 Appx13173 (592:25-

593:18). Even assuming a POSA administered inhaled treprostinil to an isolated

Group 2 PH patient, the outcome would have been highly unpredictable as the prior




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  UTC’s expert did not rebut this, but instead explained a POSA would not treat an
isolated Group 2 PH patient with treprostinil. Appx13185 (636:2-5, 637:2-12,
639:12-16), Appx13190-13191 (658:2-14, 659:18-660:2, 661:14-20, 662:15-25).


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art establishes patients may die due to drug administration. Appx13173 (592:13-

16).

       Given the considerable safety concerns—including increased risk of death—

associated with using a prostacyclin like treprostinil in isolated Group 2 PH patients;

the vasodilating effect of treprostinil directly leading to this increased risk of death

in isolated Group 2 patents; the ʼ793 patent’s failure to address these unique isolated

Group 2 safety concerns; and the absence of any information in the literature to

ameliorate a POSA’s trepidation in administering treprostinil to an isolated Group 2

patient; undue experimentation would be required to practice the ’793 patent

invention in isolated Group 2 PH patients. Appx13173 (592:3-593:18), Appx13174

(595:13-20); Appx13196 (681:8-682:1).            Accordingly, the district court’s

conclusion that the full scope of the ʼ793 patent claims was enabled for “treating

pulmonary hypertension” was clearly erroneous.

       B.     Even Excluding Safety from the Construction of “Treating
              Pulmonary Hypertension,” the District Court Erred in Finding the
              ’793 Patent Is Enabled

       Even if the Court were to adopt the district court’s construction of “treating

pulmonary hypertension,” which excludes “safety,” the full scope of the ʼ793 patent

claims are not enabled. To find enablement, the court relied on the disclosure in the

FIRST study and treprostinil’s mechanism of action as a vasodilator. Appx00064.

But in doing so, the court ignored the trial testimony that (1) the FIRST study



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concluded that prostacyclin treatment was not effective in treating isolated Group 2

PH; and (2) treprostinil would not be given to an isolated Group 2 PH patient

because, even if it has a vasodilating effect, the vasodilatory effect is not effective

in treating isolated Group 2 PH. Because the underlying cause of isolated Group 2

PH is LHD, which is postcapillary, the court correctly found that the “mainstay” of

treatment for isolated Group 2 PH is a diuretic, not a vasodilator like treprostinil.

Appx00060.

      Both parties’ experts agreed that a POSA would not administer treprostinil to

treat an isolated Group 2 PH patient because it would not be needed or beneficial.

Dr. Hill testified that administering treprostinil to an isolated Group 2 PH patient

“really doesn’t make any sense because we’re talking about a condition where the

pressure is filling the left ventricle up. . . . And if you administer Treprostinil, the

aim of which is to distend the vessels more, I don’t think it would have any effect,

and it would not provide any benefit.” Appx13172 (590:2-10); see also Appx13175

(599:9-14 (Dr. Hill testifying his attempt at using treprostinil in a Group 2 PH patient

was not successful)).

      UTC’s expert, Dr. Waxman, agreed with Dr. Hill. He testified that “any

pulmonary vasodilator would probably not be needed” in isolated Group 2 PH

patients and that “we wouldn’t treat a postcapillary disease [like isolated Group 2

PH] with a pulmonary vasodilator of any kind.” Appx13185 (637:8-12, 638:12-14);



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see also Appx13184 (633:24-634:2 (Dr. Waxman explaining clinicians would use

treprostinil for any form of precapillary, but not postcapillary, disease)).     Dr.

Waxman further testified that “patients with an increased pulmonary vascular

resistance” “would be candidates for treatment with pulmonary vasodilators[,]” but

“we wouldn’t treat a patient whose [PVR] was normal, and in the isolated [Group 2

PH] disease state, the [PVR] is normal.” Appx13191 (661:14-20, 662:21-25). Thus,

UTC’s own expert testified that improved hemodynamic changes, of which

reductions in PVR are one type, would not be effective or needed in treating isolated

Group 2 PH patients. The district court ignored this uniform expert testimony in its

opinion. Cf. Appx00059-00064.

      Finally, UTC admitted that treprostinil would not be used to treat isolated

Group 2 PH patients. In its pre-trial and post-trial briefing, UTC argued that a POSA

would have known and understood that inhaled treprostinil would not be used to

treat an isolated Group 2 PH patient. Appx08650 (¶ 339); Appx30988-30989.

Indeed, UTC recognized the difference in underlying cause of isolated Group 2 PH

meant treprostinil would be ineffective in these patients. Appx30988 (“But because

the cause [of Group 2 PH] is the left heart, not precapillary resistance, the POSA in

practice would use a different drug”); Appx31019-31020 (¶ 132 (“Treprostinil thus

treats PH by counteracting the constriction of pulmonary blood vessels.”));

Appx31018-31019 (¶¶ 127-128 (“In precapillary disease, narrowed pulmonary



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arteries or other causes increase resistance to blood flow . . . [Group 2] PH is caused

by stiffening in the left ventricle of the heart”)).

       Consistent with the testimony, the court also expressly found (1) Group 1, 3,

and 4 PH patients are classified as “precapillary PH” where isolated Group 2 PH

patients are classified as “postcapillary PH”; (2) the underlying cause of PH in

isolated Group 2 PH patients is different from Group 1, 3, and 4 PH patients; (3)

because the cause of isolated Group 2 PH is LHD and not narrowed, damaged, or

blocked precapillary vessels, the “‘mainstay of treatment’ by POSAs for

postcapillary PH is a diuretic, not a vasodilator like treprostinil;” and (4) the parties’

experts agree that “a POSA would not treat postcapillary PH [isolated Group 2] with

treprostinil” and, in fact, in Dr. Hill’s case, it would “stupid” to do so because of

treprostinil’s mechanism of action. Appx00060, Appx00062, Appx00063. Thus,

even ignoring safety as the district court did, any changes in hemodynamics caused

by the inhalation of treprostinil provide no actual benefit to a Group 2 PH patient—

it is not effective as a treatment for isolated Group 2 PH. See Trs. Of Bos. Univ. v.

Everlight Elecs. Co., 896 F.3d 1357, 1364 (Fed. Cir. 2018) (finding a patent invalid

where one of six embodiments encompassed by the claims was not enabled).

Regardless of safety issues, the court clearly erred in finding the full scope of

“treating pulmonary hypertension” enabled.




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      As demonstrated at trial, due to significant safety issues associated with

administration of vasodilators like treprostinil in isolated Group 2 PH patients and

no evidence that they have beneficial effect in isolated Group 2 PH, a POSA would

not conclude that the ʼ793 patent enables the full scope of “treating pulmonary

hypertension.” And even when safety is ignored, a POSA would understand that

treprostinil would not be effective to treat an isolated Group 2 PH patient. For these

reasons, considered collectively or independently, the district court’s finding that the

claims of the ʼ793 patent are enabled should be reversed.

IV.   THE ’793 PATENT DOES NOT ADEQUATELY DESCRIBE THE
      FULL SCOPE OF “TREATING PULMONARY HYPERTENSION”

      Under 35 U.S.C. § 112, the written description of a patent must “reasonably

convey[] to those skilled in the art that the inventor had possession of the claimed

subject matter as of the filing date.” Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d

1336, 1351 (Fed. Cir. 2010) (en banc). In determining whether a specification

contains an adequate written description, “one must make an ‘objective inquiry into

the four corners of the specification from the perspective of a person of ordinary skill

in the art.’” Bos. Sci. Corp. v. Johnson & Johnson, 647 F.3d 1353, 1366 (Fed. Cir.

2011) (quoting Ariad, 598 F.3d at 1351). Written description is not a question of

whether a skilled person might be able to construct the patentee’s invention from the

teachings of the disclosure; rather, it is a question of whether the application




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“necessarily discloses” the particular invention. See Purdue Pharma L.P. v.

Faulding Inc., 230 F.3d 1320, 1327 (Fed. Cir. 2000) (citation omitted).

      A.     The District Court Erred in Finding the ’793 Patent Provides
             Sufficient Written Description When “Treating Pulmonary
             Hypertension” Is Properly Construed to Include Safety

      Under the correct construction of “treating pulmonary hypertension” to

include safety and efficacy, the ’793 patent never describes treating isolated Group

2 PH patients. As the court credited, nothing in the specification describes treating

isolated Group 2 PH patients with inhaled treprostinil. Appx00062 (“The experts

agree that the ’793 patent only describes treating Groups 1, 3, and 4 PH, which are

all precapillary”); Appx00165-00170 (8:57-18:20); Appx13170 (580:16-581:2 (“Q.

Based on your review of the patent and other than the general term ‘pulmonary

hypertension,’ does the patent include any specific reference to treatment of group

two patients? A. No, it doesn’t. Q. Does it include any specific reference to

administration of any drugs to group two patients? A. No, it doesn’t.”); see also

Appx13170 (579:25-580:15), Appx13172-13173 (590:25-591:10, 591:16-592:2);

Appx13184 (634:22-635:13 (Waxman) (“Q. Does this study that you’re explaining

right now include group two patients? A. Not specifically, no.”)); Appx13184-13185

(635:21-636:5 (Waxman) (agreeing with Dr. Hill’s opinion that “a POSA would not

have understood the inventors were in possession of a method of treating [isolated

Group 2 PH]” because a POSA “would not consider any pulmonary vasodilator” in



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these patients)); supra § III.A. The four corners of the patent provide no information

on treating an isolated Group 2 PH patient with inhaled treprostinil. Thus, there is

no information within the ʼ793 patent’s specification sufficient for a POSA to

conclude that the inventors were in possession of a method of treating isolated Group

2 PH with inhaled treprostinil.

      It is not surprising the specification lacks this disclosure. By May 2006,

neither treprostinil nor any other prostacyclin was used to treat isolated Group 2 PH

patients, much less approved to treat Group 2 PH. See supra § III.A. Even today,

no prostacyclin is approved to treat Group 2 PH. Id. Moreover, given the FIRST

study and experience with Ventavis®, both demonstrating the significant safety

concerns with administering a prostacyclin like treprostinil to isolated Group 2

patients, a POSA would not find treating isolated Group 2 PH patients obvious or

necessarily disclosed in the specification’s description of treating Groups 1, 3 and 4

PH as the court found. See supra §§ II.A-B, III.A; Appx00065; Novartis Pharms.,

38 F.4th at 1016 (“[i]t is not enough that a claimed invention is an obvious variant

of that which is disclosed in the specification.” (citation and internal quotation marks

omitted)). Given the asserted claims are directed to a “method of treating pulmonary

hypertension,” these safety concerns cannot be ignored. Biogen Int’l GMBH v.

Mylan Pharms. Inc., 18 F.4th 1333, 1343 (Fed. Cir. 2021) (“An inventor need not

‘prove that a claimed pharmaceutical compound actually achieves a certain result.



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But when the inventor expressly claims that result, our case law provides that [such]

result must be supported by adequate disclosure in the specification.’” (quoting Nuvo

Pharms. (Ireland) Designated Activity Co. v. Dr. Reddy’s Lab’ys, Inc., 923 F.3d

1368, 1384 (Fed. Cir. 2019))). Accordingly, the district court’s decision that the

ʼ793 patent adequately describes the full scope of “treating pulmonary hypertension”

was clearly erroneous and requires reversal.

      B.     Even Excluding Safety from the Construction of “Treating
             Pulmonary Hypertension,” the District Court Erred in Finding the
             ’793 Patent Has Adequate Written Description

      Even assuming the district court’s construction of “treating pulmonary

hypertension” is correct (it is not), the court erred in finding adequate written

description for treating the isolated Group 2 PH patients encompassed by the ’793

patent claims.

      Despite the lack of any information related to the treatment of isolated Group

2 PH patients in the ʼ793 patent, the court devised its own novel theory to find

adequate written description, determining that because: (a) the ʼ793 patent describes

treprostinil can “effectively vasodilate the pulmonary vasculature, affect

hemodynamics, and treat a patient’s elevated pulmonary blood pressure[,]”; and (b)

this mechanism of action is also effective in isolated Group 2 patients; thus (c) the

“full scope of treating PH” is sufficiently described. Appx00065. The court’s

rationale, however, was refuted by both parties’ experts.



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      Contrary to the court’s finding, both experts testified, and UTC agreed, that

despite the ’793 patent’s disclosure of treating precapillary PH patients, they would

not use treprostinil to treat an isolated Group 2 PH patient because vasodilation of

the pulmonary vasculature is not effective in treating the LHD in isolated Group 2

patients. See supra § III.B. The court credited this testimony, but then ignored it

when rendering its decision. Id.; Appx00060. In view of this evidence, and even

ignoring the significant safety issues, a POSA would have understood that the

inventors could not have possessed a method of treating isolated Group 2 PH based

on a disclosure of treating Groups 1, 3 and 4 due to the inherently different causes

of PH in postcapillary isolated Group 2 PH patients as compared to precapillary

Groups 1, 3 and 4 PH patients. Appx00060 (“[T]he high blood pressure in the lungs

of Group 2 PH patients has a different underlying cause” than PH Groups 1, 3 and

4); Novartis Pharms., 38 F.4th at 1016.

      This case is indistinguishable from this Court’s opinion in Nuvo Pharms.

There, the Court found that the claimed “uncoated PPI” lacked written description

for effectiveness and was “fatally flawed[,]” given the record demonstrated that a

POSA would not have known or thought the uncoated PPI was effective and the

specification was devoid of any disclosures showing the inventors actually invented

the claimed uncoated PPI. Nuvo, 923 F.3d at 1381, cert. denied, 140 S. Ct. 902

(2020). The court specifically found that “the specification lacks ‘information



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regarding the efficacy of uncoated PPIs,’” but said “it was enough that the

specification described the immediate release of uncoated PPI and the potential

disadvantages of enteric-coated PPI formulations.” Nuvo, 923 F.3d at 1377. This

Court found those findings inadequate as they “in no way provide[] support for the

claimed efficacy of uncoated PPI.” Id. Moreover, the evidence demonstrated that a

POSA “would not have known or understood that uncoated PPI is effective” and

“nothing in the specification of the patents-in-suit show[ed] ‘that the inventor

actually invented the invention claimed.’” Id. at 1380. Finally, the Court rejected

Nuvo’s argument that written description was met because the claim language

appears in ipsis verbis in the specification. Id.

      Here, the ’793 patent similarly lacks any disclosure that the claimed method

is effective in treating isolated Group 2 PH patients, and both parties’ experts went

even further, testifying that treprostinil would not be effective for treatment of

isolated Group 2 PH. See supra § III.B. As in Nuvo, the written description

requirement is also not satisfied by pointing to general disclosures in the patent about

treprostinil improving the hemodynamics in non-isolated Group 2 PH patients, as

the court did here. See Nuvo, 923 F.3d at 1382 (“[t]eaching how to make and use an

invention does not necessarily satisfy the written description requirement”); Cf.

Appx00065 (explaining that disclosures in the ’793 patent that generally “describe[]

how administering inhaled treprostinil targets the lungs, dilates the blood vessels,



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and reduces blood pressure” “‘reasonably convey[] to those skilled in the art that the

inventor had possession’ of the full scope of treating PH as claimed”). As discussed

above, the changes in hemodynamics reported for treprostinil in the ’793 patent were

not measured or observed in isolated Group 2 patients. Finally, simply because the

ʼ793 patent generally states that treprostinil can be used to treat PH does not provide

adequate support, as Nuvo reinforces the general legal concept that in ipsis verbis

recitation of claim language cannot support a finding of adequate written description,

particularly here, when treprostinil’s mechanism of action would not lead a POSA

to conclude that the inventors actually invented a method of treating isolated Group

2 PH with treprostinil. Nuvo, 923 F.3d at 1380. For these additional reasons and

even ignoring the safety concerns, the district court’s conclusion that the ʼ793 patent

adequately describes the full scope of “treating pulmonary hypertension” was

erroneous and should be reversed.

V.    THE DISTRICT COURT IMPROPERLY FOUND LIQUIDIA
      INDUCED INFRINGEMENT OF THE INVALIDATED ’793 PATENT

      Each asserted claim of the ʼ793 patent is directed to a “method of treating

pulmonary hypertension.”       Appx00170.        Accordingly, to establish induced

infringement under 35 U.S.C. § 271(b), UTC was required to show (1) that there has

been direct infringement, and (2) “that the alleged infringer knowingly induced

infringement and possessed specific intent to encourage another’s infringement.”

Omega Patents, LLC v. CalAmp Corp., 920 F.3d 1337, 1345, 1349 (Fed. Cir. 2019)


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(citation omitted); Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766-68

(2011); Commil, 575 U.S. at 639. Specific intent “rest[s] on the subjective intent of

the accused infringer,” i.e., the “defendant’s subjective state of mind.” Roche

Diagnostics Corp. v. Meso Scale Diagnostics, LLC, 30 F.4th 1109, 1118-19 (Fed.

Cir. 2022). Following the Supreme Court’s instruction in Commil, Liquidia duly

sought to invalidate the ’793 patent in an IPR proceeding, an effort that proved

successful.   Commil, 575 U.S. at 644; see also Appx00031 (n.7).             Liquidia

established, under Commil’s “proper procedures,” that the ʼ793 patent “is indeed

invalid” and thus cannot be liable for induced infringement. Commil, 575 U.S. at

644-45.

      The district court’s infringement decision was based on legal error and

misapplication of Commil insofar as the court required either the Board’s “decision

is affirmed or the parties waive their appeal rights[,]” such that collateral estoppel

applies. Appx00056. No such requirement exists to negate liability for induced

infringement. In refusing to find the ʼ793 FWD negates liability, the court ignored

Liquidia’s actual knowledge that the ’793 patent was found unpatentable by the

Board, disregarded Liquidia’s subjective state of mind, and improperly collapsed the

infringement liability inquiry into one of validity. As discussed here, the district

court’s infringement decision requires reversal.




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      A.     The Supreme Court’s Decision in Commil Necessitates a Finding
             of No Induced Infringement

      In Commil, the Supreme Court addressed “a question of first impression:

whether knowledge of, or belief in, a patent’s validity is required for induced

infringement under § 271(b).” 575 U.S. at 639. In considering this question, the

Court first turned to Global-Tech, and concluded that induced infringement

“requires proof the defendant knew the acts were infringing. And the Court’s

opinion was clear in rejecting any lesser mental state as the standard.” Id. at 642

(citing Global-Tech, 563 U.S. at 769-70). The Supreme Court ultimately held that

a mere good faith belief of patent invalidity is not a defense to induced infringement.

Commil, 575 U.S. at 642 (“belief regarding validity cannot negate the scienter

required under § 271(b).”). The Supreme Court went further, explaining that a good

faith belief of invalidity stood in contrast to actual “knowledge of” invalidity: “[t]o

be sure, if at the end of the day, an act that would have been an infringement or an

inducement to infringe pertains to a patent that is shown to be invalid, there is no

patent to be infringed.” Id. at 641, 644. The Supreme Court confirmed that the

“scienter” or subjective intent element of induced infringement can be negated, and

liability eliminated, if “[a]n accused infringer can . . . prove that patent in suit is

invalid; [and] if the patent is indeed invalid, and shown to be so under proper

procedures, there is no liability.” Id. at 644.




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      The Commil Court commented that there are “practical reasons not to create

a defense based on a good-faith belief in invalidity[,]” one of which is because

“accused inducers who believe a patent is invalid have various proper ways to obtain

a ruling to that effect.” Id. at 645. The Court enumerated several “proper ways” to

obtain such a ruling, including a declaratory judgment action in a district court

seeking to declare the patent invalid; ex parte reexamination before the PTO; or

raising an affirmative defense of invalidity at the district court. Id. Important to this

appeal, the Commil Court also stated an accused inducer “can seek inter partes

review at the [Board] and receive a decision as to validity within 12 to 18 months.

See [35 U.S.C.] § 316.” Commil, 575 U.S. at 645. Under any of these district court,

PTO or Board procedures, the accused infringer is able to obtain actual knowledge

and confirmation of invalidity, and according to the Supreme Court, “[i]f the

defendant is successful, he will be immune from liability.” Id.

      The Supreme Court, in referencing a “decision as to validity within 12 to 18

months,” and specifically citing 35 U.S.C. § 316, made clear that finality of an IPR

decision with accompanying collateral estoppel effect is not required to negate

liability for induced infringement. Section 316 statutorily requires the Board to issue

its IPR FWD within 12 to 18 months:

             [T]he final determination in an inter partes review [must]
             be issued not later than 1 year after the date on which the
             Director notices the institution of a review under this
             chapter, except that the Director may, for good cause

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             shown, extend the 1-year period by not more than 6
             months, and may adjust the time periods in this paragraph
             in the case of joinder under section 315(c)[.]

35 U.S.C. § 316(a)(11). This Court is similarly aware of the same rule, citing the

12-18 month timeframe. Regents of the Univ. of Minn. v. LSI Corp., 926 F.3d 1327,

1336-37 (Fed. Cir. 2019); Ariosa Diagnostics v. Verinata Health, Inc., 805 F.3d

1359, 1367 (Fed. Cir. 2015). To remove liability for induced infringement, the

Supreme Court could have identified only district court actions as proper procedures,

required collateral estoppel, or referenced issuance of a Director’s certificate under

§ 318(b) cancelling claims. It did not. Instead, it equated IPR decisions obtained in

the first instance within 12 to 18 months with district court decisions on invalidity

obtained at trial—all of them are “proper procedures” that allow the accuser to obtain

actual knowledge of invalidity and immunity from liability. Commil, 575 U.S. at

645. Commil, therefore, should be understood to mean that “knowledge of” actual

patent invalidity, obtained at the first level of review from the Board in an IPR, is a

“proper procedure” to remove liability for patent infringement under § 271(b).

      This is not a novel concept. District courts and this Court have found no

liability for induced infringement when the district court itself finds a patent invalid

as part of the same trial. See, e.g., Merck Sharp & Dohme Corp. v. Hospira Inc.,

221 F. Supp. 3d 497, 521 n.21 (D. Del. 2016); Sandt Tech., Ltd. v. Resco Metals &

Plastics Corp., 264 F.3d 1344, 1356 (Fed. Cir. 2001) (“Here, the district court



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determined that the claims . . . asserted to be infringing were invalid; thus it was not

necessary for it to determine whether [defendant] infringed those claims; even if it

did infringe, the claims were not valid so no judgment of liability could be entered.”).

Even here, the district court determined Liquidia was not liable for infringement of

the ʼ066 patent because the claims were invalid. Appx00031 (n.7). Commil

confirms that regardless of whether the decision on invalidity comes from a district

court or the PTAB in a IPR FWD, the impact on induced infringement is the same:

an accused inducer is not liable. And here, where the ʼ793 IPR FWD was issued

before the court’s determination on infringement liability, that prior decision

necessarily precludes a later finding of liability.

      This Court’s recent decision in Roche Diagnostics is instructive. There, a jury

found Roche liable for induced infringement, but the district court found that Roche

was not liable for willful infringement because, “Roche’s reasonable interpretation

of the contract” provision led Roche to conclude that it had no liability for patent

infringement. Roche Diagnostics, 30 F.4th at 1118. Although a jury concluded

Roche’s interpretation of the contract was incorrect, the district court, in granting

JMOL of no willful infringement, concluded that Roche lacked the “subjective intent

to infringe,” because of its contract analysis. Id. In reversing the district court’s

finding of induced infringement, this Court reiterated that “[t]he intent standard for

inducement, therefore, ‘focuses on, and can be met by proof of, the defendant’s



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subjective state of mind[.]’” Id. (citation omitted). The Court went on to state that

“[i]n some respects, the intent standard for inducement is akin to the one for

willfulness, as both rest on the subjective intent of the accused infringer.” Id. at

1119. Because Roche lacked the “subjective intent” to willfully infringe based on a

later proven incorrect interpretation of a contract, Roche also lacked the requisite

subjective intent to induce infringement.       If an accused infringer’s subjective

analysis of a contract, proven unsuccessful at trial, is sufficient to negate subjective

intent then certainly, under Commil, a determination of unpatentability by the Board

and Liquidia’s actual knowledge of that decision are sufficient to negate Liquidia’s

specific intent and liability for induced infringement of the ʼ793 patent.

      B.     The District Court Improperly Required Collateral Estoppel to
             Negate Liability for Induced Infringement

      The district court’s error in requiring collateral estoppel is exemplified by its

request for further briefing as to whether the ’793 FWD “compels that [the district

court] treat the 793 patent as being invalid.” Appx00118 (D.I. 426). The court’s

question as to whether collateral estoppel should apply was the wrong inquiry under

Commil. Collateral estoppel would prevent UTC from arguing, based on a final

decision from an appeal, that the patent is valid. Papst Licensing GMBH & Co. KG

v. Samsung Elecs. Am., Inc., 924 F.3d 1243, 1251 (Fed. Cir. 2019). By focusing

solely on invalidity via collateral estoppel, and not liability for infringement, the

court ignored the Supreme Court’s recognition that an IPR FWD will be obtained


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“within 12 to 18 months,” collapsed the induced infringement inquiry into the

ultimate outcome on validity, and failed to consider Liquidia’s actual knowledge of

the invalidity of the ’793 patent. Because “[v]alidity and infringement are distinct

issues” (Commil 575 U.S. at 643-44 (citation omitted)), the district court erred by

requiring a final decision on invalidity before it considered the implications of the

Board’s ’793 FWD on liability for induced infringement.

      Supreme Court’s analysis leads to the inescapable conclusion that, while an

IPR FWD does not have collateral estoppel effect, “[i]f [Liquidia] is successful [in

an IPR], [it] will be immune from liability.” Commil, 575 U.S. at 645. To hold

otherwise and require collateral estoppel would ignore the central distinction in

Commil between a good faith belief of invalidity and knowledge of it, the distinction

between liability for infringement and validity, blunt the Board’s authority, and

undermine Congress’s intent in creating IPR proceedings, including providing

“additional access to the expertise of the Patent Office on questions of

patentability.” 157 Cong. Rec. S1352 (daily ed. Mar. 8, 2011) (statement of Sen.

Udall); see also H.R. Rep. No. 112-98, at 39-40 (2011); see also BioDelivery Scis.

Int’l, Inc. v. Aquestive Therapeutics, Inc., 946 F.3d 1382, 1386 (Fed. Cir. 2020) (J.

Newman dissent) (the purpose of IPR proceedings is to “provide agency expertise

to resolution of patentability issues.”).




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      Because, under Commil, a finding of unpatentability by the Board within 12

to 18 months negates an accused inducer’s liability for infringement under § 271(b),

the district court’s conclusion that Liquidia induces infringement of the asserted ʼ793

patent claims was clearly erroneous. Accordingly, the district court’s decision that

Liquidia is liable for induced infringement of the ʼ793 patent requires reversal.

VI.   THE DISTRICT COURT ERRED IN FINDING INFRINGEMENT OF
      CLAIMS 1-3 OF THE ’066 PATENT, WHERE UTC USED A PROXY
      FOR THE ALLEGEDLY INFRINGING “PHARMACEUTICAL
      COMPOSITION”

      A.     UTC Failed to Compare LIQ861 Bulk Powder to the Claim

      Claim 1 of the ’066 patent requires, in relevant part, “a level of one or more

impurities found in the starting batch of treprostinil is lower in the pharmaceutical

composition[.]” Appx00132 (cl 1). Claims 2 and 3 depend from claim 1, and

therefore, have this same requirement. To prove infringement, UTC bore the burden

of showing, by a preponderance of the evidence, that the level of at least one impurity

in the “starting batch of treprostinil” is lower in the “pharmaceutical composition.”

UTC failed to meet its burden.

      Yonsung is Liquidia’s API supplier and begins by making treprostinil,

(identified by Yonsung as TN02), and uses that treprostinil (TN02) to make a salt of

treprostinil called treprostinil sodium (identified by Yonsung as TN). Appx00024;

Appx13126-13127 (406:23-407:1, 408:3-21); Appx13593. Yonsung ships TN to

Liquidia in the United States, where it is further process and used to make LIQ861


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bulk powder. Appx13126-13127 (406:23-407:1, 408:3-21); Appx13137 (447:12-

449:9). The first step in Liquidia’s PRINT process, as recognized by the court, is to

dissolve TN in solution, which is then poured into pollen shaped molds. Appx00027

(“Liquidia puts the TN in solution, adds excipients, and dries this formulation into

[a] powder” to form LIQ861 bulk powder); Appx13137 (447:20-448:23);

Appx13211 (741:7-16); Appx14131-14144.

      With respect to claim 1, UTC identified the “starting batch of treprostinil” as

TN02, and the “pharmaceutical composition” as “LIQ861 bulk powder.”

Appx00026. But UTC did not present any evidence regarding the impurities in the

LIQ861 bulk powder or compare the impurities in TN02 to LIQ861 as required by

claim 1. Indeed, when UTC’s expert Dr. Nuckolls was asked: “Did you look at

impurities in the pharmaceutical composition of LIQ861 in your analysis?” he

answered “No.” Appx13055 (122:24-123:1). This Court’s precedent is clear:

Determining infringement in a Hatch-Waxman case “is focused on a comparison of

the asserted patent claims against the product that is likely to be sold following

ANDA approval[.]” Ferring B.V. v. Watson Labs., Inc.-Fla., 764 F.3d 1401, 1408

(Fed. Cir. 2014). Having failed to properly compare the impurities in the “starting

batch of treprostinil” (TN02) to the impurities in the “pharmaceutical composition,”

(LIQ861 bulk powder), UTC failed to meet its burden of proof on infringement and

the district court’s finding of infringement of claims 1, 2 and 3 should be reversed.



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      B.     TN Cannot Be Used as a Proxy for LIQ861 Bulk Powder to
             Establish Infringement

      Rather than compare the impurities in LIQ861 bulk powder (to the impurities

in TN02 as required by claim 1, UTC compared the impurities in TN02 to the

impurities in TN, which, as the court found, goes through further chemical

processing to become LIQ861 bulk powder. Appx00027. To find infringement, the

court relied on UTC’s argument that comparing the impurities in TN02 against those

in TN was proper because “processing of TN into LIQ861 bulk powder has no effect

on the impurities from these steps.” Appx00026 (citing Appx31054). The court also

credited the testimony of Dr. Nuckolls, who stated that he “wouldn’t expect”

Liquidia’s PRINT process to impact impurities even though Dr. Nuckolls also

testified that “without samples,” it would be difficult for a POSA to conduct an

impurity analysis because Liquidia’s LIQ861 bulk powder is a mixture of excipients

and other ingredients. Appx00027; Appx13064 (157:7-17); Appx13058 (133:22-

134:3). In sum the court permitted UTC to use TN as a proxy for LIQ861 bulk

powder to establish infringement based on attorney argument and an expert’s

speculative testimony. The court’s fact finding amounts to clear error and further

ignores additional evidence adduced at trial.

      This Court has consistently held that a party may only use a proxy for an

accused product for its infringement analysis if that proxy is representative of the

accused product. See, e.g., Ferring B.V., 764 F.3d at 1409-10 (reversing a finding


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of infringement because the outlier products used to prove infringement “were not

representative of [defendant’s] ANDA product.”); Kim v. ConAgra Foods, Inc., 465

F.3d 1312, 1320 (Fed. Cir. 2006) (affirming district court’s grant of JMOL of non-

infringement when the patentee failed to present “any examinations or tests of the

actual accused products”). UTC presented no evidence, beyond speculation, that TN

is representative of LIQ861 bulk powder, the accused “pharmaceutical

composition.”

      TN is a starting material in the manufacture of LIQ861 bulk powder and, as

the district court noted, LIQ861 bulk powder is prepared by putting “TN in solution,

add[ing] excipients, and dr[ying] this formulation into [a] powder.” Appx00027;

Appx14132; Appx13137 (448:11-23).         Once TN is dissolved in water, it is

dissociated treprostinil and sodium ions in solution and thus the treprostinil in

LIQ861 bulk powder is no longer “TN.” Appx13137 (450:1-15); Appx13211

(741:7-13). Indeed, when the court asked UTC at closing whether “[LIQ]861 is

essentially what Yonsung send in?” UTC said “No, they send Treprostinil sodium,

and then when it gets into the United States, it gets mixed and they create the bulk

inhalation powder.” Appx13265 (955:3-7). UTC thus acknowledged TN is not

representative of LIQ861 bulk inhalation powder. The district court did not consider

this evidence (or lack thereof) or this portion of UTC’s attorney argument.

Appx00026-00027.



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      Dr. Nuckolls excused his failure to conduct the proper infringement analysis

by claiming he did not have samples of LIQ861 bulk powder to analyze impurities.

Appx13056 (125:15-21, 127:25-128:1); Appx13058 (133:25-134:8). But Liquidia

did provide UTC with samples of LIQ861 bulk powder for analysis, a fact of which

Dr. Nuckolls was apparently not aware. Appx11844-11846; Appx11906-11914;

Appx11937-11956; Appx13058 (134:4-8). UTC chose not to provide these samples

to Dr. Nuckolls. Consequently, despite having the ability to do so, neither Dr.

Nuckolls nor UTC conducted any analysis to establish that TN is representative of

LIQ861 bulk powder, rendering its infringement proofs inadequate. Kim, 465 F.3d

at 1320. Here again, the district court’s opinion ignores this evidence and testimony.

Appx00027.

      The only attempt UTC made to establish that TN is representative of LIQ861

bulk powder is Dr. Nuckolls’ unsupported trial testimony. Dr. Nuckolls testified

that he “wouldn’t expect” Liquidia’s processing of TN into LIQ861 bulk powder to

make a difference.     Appx13055 (122:24-123:1); Appx13064 (157:7-17).            Dr.

Nuckolls’ testimony is speculative and, as discussed above, unsupported by any

analysis—analysis that could have been conducted.          The court relied on this

testimony to permit the proxy use of TN for LIQ861 bulk powder, but it was clearly

erroneous to do so. See Morton Int’l, Inc. v. Cardinal Chem. Co., 959 F.2d 948,

951-52 (Fed. Cir. 1992) (affirming non-infringement because plaintiff’s “theory did



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‘not demonstrate the existence of claimed compounds in [defendant’s] product

which is a complex mixture resulting from [defendant’s] process . . . our review of

the [NMR spectra] record shows that it is mere speculation to assume that what

remains is a claimed compound.”), vacated on other grounds, Cardinal Chem. Co.

v. Morton Int’l, Inc., 508 U.S. 83 (1993).

      Finally, the court stated that Liquidia provided no expert testimony to rebut

Dr. Nuckolls’ opinions. Appx00027. This is incorrect. As discussed above,

Liquidia did present testimony and documentation establishing TN, because it is

dissolved in solution as the first PRINT step, is not in nor representative of LIQ861

bulk powder—evidence the district court ignored. Appx00026-00027; Appx13043

(74:21-75:5), Appx13061 (146:20-147:8); Appx13206 (722:10-19).               UTC also

repeatedly took a shifting sands approach to what exactly it was alleging was the

pharmaceutical composition of claims 1-3; alleging at one point that it was TN

shipped from Korea, then later changed its mind to assert LIQ861 bulk powder was

the “pharmaceutical composition.”         See Appx13253-13254 (909:19-910:15);

Appx13265 (954:7-955:10.) Certainly, Liquidia is not required to provide additional

expert testimony when UTC’s own changing position and speculative testimony is

insufficient, on its face, to establish infringement. L & W, Inc. v. Shertech, Inc., 471

F.3d 1311, 1318 (Fed. Cir. 2006) (“[A] patentee with the burden of proof . . . must

make a prima facie showing of infringement as to each accused [product] before the



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burden shifts to the accused infringer to offer contrary evidence.”); Saab Cars USA,

Inc. v. United States, 434 F.3d 1359, 1368 (Fed. Cir. 2006) (“[A] party with the

ultimate burden of proof . . . must still satisfy its burden by showing that it is entitled

to judgment . . . even in the absence of an adequate response by the nonmovant.”

(citation omitted)).

      Accordingly, the district court erred in crediting UTC’s attorney argument and

speculative expert testimony as sufficient to meet the preponderance of evidence

standard for proving infringement.

                                    CONCLUSION

      Liquidia respectfully requests reversal of the district court’s judgment. The

Court should find that the district court misconstrued “treating pulmonary

hypertension” in the ʼ793 patent claims to exclude safely treating the disease; that

the ’793 patent is invalid for failing to enable and adequately describe the full scope

of “treating pulmonary hypertension” with inhaled treprostinil, regardless of whether

the district court’s construction was correct; and Liquidia is not liable for inducing

infringement of the ʼ793 patent. The Court should find that UTC failed to meet its

burden of proving infringement of claims 1, 2 and 3 of the ʼ066 patent because it did

not properly compare the asserted claims with the identified LIQ861 bulk powder

“pharmaceutical composition.”




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               United States Court of Appeals
                   for the Federal Circuit

                      UNITED THERAPEUTICS CORPORATION,

                                                      Plaintiff-Cross-Appellant,

                                         – v. –

                         LIQUIDIA TECHNOLOGIES, INC.,

                                                      Defendant-Appellant.


                 On Appeal from the United States District Court for the
                  District of Delaware in No. 1:20-cv-00755-RGA-JLH
                           Honorable Richard G. Anders, Judge
                      CORRECTED DEFENDANT-APPELLANT’S
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Abbreviation                  Full Term
’066 patent                   U.S. Patent No. 9,593,066
’393 patent                   U.S. Patent No. 8,497,393
’793 patent                   U.S. Patent No. 10,716,793
’793 FWD                      Final Written Decision in IPR2021-00406
’901 patent                   U.S. Patent No. 9,604,901
ʼ901 FWD                      Final Written Decision in IPR2020-007700
Asserted claims of the ’066   Claims 1, 2, 3, 6, 8, 9
patent
Asserted claims of the ’793   Claims 1, 4, 6, 7, 8
patent
Asserted Patents              ’066, ’901, and ’793 patents
Board or PTAB                 Patent Trial and Appeal Board
DMF                           Drug Master File
cl.                           claim
FDA                           Food and Drug Administration
FIRST                         Flolan International Randomized Survival Trial
FWD                           Final Written Decision
GMP                           Good Manufacturing Practice
IPR                           Inter partes review
LHD                           Left heart disease
Liquidia                      Liquidia Technologies, Inc
Moriarty 2004                 Moriarty et al., The Intramolecular Asymmetric
                              Pauson−Khand Cyclization as a Novel and
                              General Stereoselective Route to Benzindene
                              Prostacyclins: Synthesis of UT-15 (Treprostinil),
                              69 J. Org. Chem. 1890 (2004)
NDA                           New Drug Application
PAH                           Pulmonary arterial hypertension (Group 1 PH)
PAP                           Pulmonary arterial pressure
POP                           Precedential Opinion Panel of the PTAB
PH                            Pulmonary hypertension
POSA                          Person of ordinary skill in the art


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PRINT                       Particle Replication in Nonwetting Templates
PVR                         Pulmonary vascular resistance
TN                          Treprostinil sodium
TRE or TN02                 Treprostinil
UTC                         United Therapeutics Corporation
WHO                         World Health Organization
Yonsung                     Yonsung Fine Chemicals




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                                 INTRODUCTION

      “Treating pulmonary hypertension” in the ʼ793 patent claims requires safely

and effectively doing so. Otherwise, the claims encompass an alleged treatment that

would increase the mortality rate of 50% of all PH patients covered by the claim.

Thus, the district court erred in expressly excluding safety from the claim and UTC’s

inconsistent response only highlights this error. Because the court excluded safety

from the “method of treating,” it improperly found the claims enabled and

adequately described based solely on hemodynamic changes that the experts, and

even UTC on appeal, admit are not relevant for isolated Group 2 PH patients. Even

if safety is excluded, POSAs would require undue experimentation to treat isolated

Group 2 patients, and conclude the inventors were not in possession of the claimed

invention because treprostinil is not effective in this patient population. For these

reasons, the district court’s decision should be reversed.

      Additionally, there is no ambiguity in Commil: Liquidia is not liable for

induced infringement of the ʼ793 patent because it knows, via the PTAB’s FWD,

that the patent is invalid.    UTC’s purposeful disregard for the cited statutory

provision—35 U.S.C. §316—and misdirection to uncited §318, underscores the lack

of a legal basis to refute Liquidia’s position. And the Supreme Court’s decision not

to cite §318 means that collateral estoppel is not required to negate liability upon an

IPR finding of invalidity in a FWD issued 12-18 months after institution. For these



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reasons, the court’s finding that Liquidia is liable for induced infringement should

be reversed.

      Regarding UTC’s cross-appeal, this Court should affirm the district court’s

decision finding product-by-process claims 1-3 and 6 of the ’066 patent invalid.

UTC cannot show legal error in the court’s finding that Moriarty 2004 discloses the

same product as the claims. The claimed “pharmaceutical composition comprising

treprostinil” can be treprostinil free acid, and Moriarty 2004 discloses this same

composition. UTC presents no evidence demonstrating a structural or functional

difference between the two compositions, and instead relies on an irrelevant

comparison of treprostinil free acid to treprostinil salt. Further, the impurities-

lowering limitation is a process step, and the claimed composition does not require

any specific impurity or purity level. UTC also cannot show legal error in the court’s

finding of non-infringement of claims 6 and 8 because Yonsung’s DMF and

Liquidia’s NDA require treprostinil sodium to be stored at 2º-8ºC, not at ambient

temperature.

                       LIQUIDIA’S REPLY ARGUMENT

I.    The District Court Erred in Concluding the Claims of the ’793 Patent Are
      Enabled and Adequately Described

      A.       The District Court’s Exclusion of “Safety” from the “Method of
               Treating Pulmonary Hypertension” Was Clearly Erroneous

      Liquidia is not “attack[ing] a caricature” of the court’s opinion. Red Br., 33.

The district court said the “claims do not require ‘safely and effectively treating

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pulmonary hypertension,’” and thus construed the claims to exclude “safety.”

Appx00063 (bold added); see Appx00065. Based on this construction, the court

found the ʼ793 claims enabled and adequately described. Appx0064-0065. UTC

does not dispute that the court’s construction means a patient’s PH is “treated” if

they experience a change in hemodynamics even if the patient dies due to the use of

treprostinil. This simply cannot be correct. UTC’s inconsistent response, asserting

“there is no basis to insert the words ‘safely and effectively’ into the claims” (Red

Br., 37), while simultaneously arguing the court’s “interpretation” does cover using

treprostinil “safely and effectively” (id. at 35), highlights the erroneous nature of the

court’s construction.

      UTC incorrectly accuses Liquidia of “smuggl[ing]” a safety limitation post-

trial. Red Br., 34-35. Liquidia consistently argued the claims require safety and

effectiveness. In its pretrial brief, Liquidia stated “[t]he ’793 patent lacks adequate

written description of the [claimed] method of ‘treating pulmonary hypertension[,]’”

because it did not describe how the treatment was safe or overcame the risk of

increased mortality for isolated Group 2 PH patients.              Appx08845 (¶545);

Appx08848 (¶554). In its pretrial briefing, UTC asserted the ’793 patent allows for

“maximized therapeutic benefits by safely delivering doses to the lungs”

(Appx08647 (¶319)) and that “high doses of treprostinil could be delivered to a




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patient … with fewer side effects.” Appx08648 (¶321). 1 At trial, Dr. Hill testified

about the serious safety issues (increased mortality) when administering a

prostacyclin like treprostinil to isolated Group 2 patients (Appx13171 (586:3-5);

Appx13172 (587:23-588:5); Appx13173 (592:3-12); Appx13196 (681:12-682:1)),

and Dr. Waxman (UTC’s expert) confirmed he would not treat isolated Group 2

patients with a pulmonary vasodilator like treprostinil (Appx13190 (659:15-20);

Appx13185 (637:8-12, 638:12-14); Appx13184 (633:24-634:2); Appx13191

(661:14-20, 662:21-25)).

        UTC incorrectly contends the court included safety in its construction and is

not “excluded” from consideration. 2 Red Br., 35, 36. The court’s acknowledgment

that POSAs may have “safety concerns” in treating isolated Group 2 PH patients

with treprostinil does not alter its construction that the “claims do not require

‘safely and effectively treating pulmonary hypertension[.]’”      Appx00063 (bold

added).     Safety was neither included nor considered by the court.          UTC’s

acknowledgement that doctors “always consider” safety risks makes the district

court’s construction even more troubling. Red Br., 35-36.




1
    Bold/italics emphasis added throughout, unless otherwise noted.
2
  UTC makes this argument while also arguing that Liquidia is improperly importing
a safety limitation into the claims. Red Br., 33-34, 36.


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      UTC also argues Liquidia’s position would require a “heightened safety-and-

efficacy limitation” “akin to what is required to obtain FDA approval,” such that

treprostinil becomes a “preferred” treatment option. Red Br., 32, 36-37, 39. Neither

Liquidia nor Dr. Hill has advocated such a position. A “method of treating

pulmonary hypertension” plainly requires doing so safely and effectively. Avoiding

increased mortality due to “treatment” is not a “heightened” safety requirement—it

is a baseline requirement for anything to be considered a “treatment” of a disease,

recognized in the prior art. Appx29455-29465.

      Finally, UTC asserts Liquidia’s position is based on attorney argument that

lacks specification support. Red Br., 37-39. The specification repeatedly touts the

claimed invention’s ability to safely treat PH. Blue Br., 25-26. UTC’s contention

that the specification cannot “operate to limit the claims beyond their own terms”

(Red Br., 38), ignores “treating” in the claim. The trial record also establishes that

“treating” requires doing so safely. Appx13171 (586:3-5); Appx13172 (587:23-

588:5); Appx13173 (592:3-12); Appx13196 (681:12-682:1); Appx13190 (659:15-

20); Appx13185 (637:8-12, 638:12-14); Appx13184 (633:24-634:2); Appx13191

(661:14-20, 662:21-25). POSAs stopped a clinical trial early because “an increased

risk of death” was observed when a prostacyclin was administered to Group 2 PH

patients. Appx29455, Appx29462. Liquidia is not seeking to “rewrite the claim,”

but instead to construe “treating pulmonary hypertension” consistently with the



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specification and the understanding of POSAs, as supported by the experts and prior

art.

        B.     The ʼ793 Patent Claims Are Not Enabled 3

        Isolated Group 2 PH patients account for 50% of patients encompassed by the

ʼ793 patent claims. 4 Appx13167-13168 (568:9-569:5, 569:9-570:25, 571:2-573:1);

Appx13172 (589:14-17); Appx30699-30710; Appx29500-29513; Blue Br., 9.

Liquidia’s non-enablement position is not, as UTC suggests, based on “a single

embodiment,” but instead a “substantial number” of patients the claims fail to

enable. 5 Red Br., 44.

        The district court found that treprostinil is a prostacyclin that will vasodilate

the pulmonary vasculature and affect a patient’s hemodynamics. Red Br., 39-40.

But both experts agree, and UTC acknowledges, the underlying postcapillary cause

of PH in isolated Group 2 patients is different from the other precapillary PH Groups

such that a precapillary vasodilator like treprostinil would not be effective in this

postcapillary population. Blue Br., 37-40; Red Br., 50-51. Given the differences


3
  UTC failed to address Liquidia’s non-enablement argument if this Court were to
construe “treating pulmonary hypertension” in accordance with its plain meaning to
include safety. Blue Br., 24-28.
4
    UTC does not dispute this fact.
5
 Looking at PH delineated between precapillary and postcapillary PH, as UTC
suggests (Red Br., 50-51), demonstrates isolated Group 2 is one of just two
embodiments within the scope of the claim.


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between isolated Group 2 PH patients and patients administered treprostinil in the

’793 patent, UTC does not meaningfully dispute that treprostinil would not benefit

Group 2 PH patients, and advocates excluding isolated Group 2 PH from the claims.

Red Br., 49-51. Accordingly, undue experimentation is required to treat isolated

Group 2 PH patients with treprostinil.

      UTC incorrectly asserts that Liquidia “misapplies” the enablement standard

by requiring treprostinil to be a “mainstay” or “preferred” treatment of isolated

Group 2 PH. Red Br., 41. It is undisputed that treprostinil is ineffective in treating

isolated Group 2 PH. Dr. Hill (Appx13172 (587:5-588:5); Appx13175 (600:2-9)),

Dr. Waxman (Appx13185 (636:1-5)), and UTC (Red Br., 49-51) acknowledge this

fact. The ʼ793 patent lacks any guidance for a POSA to treat this patient population

with treprostinil and, therefore, the specification has not made the full scope of

“treating pulmonary hypertension” possible. 6 Appx00062-00063; Red Br., 42.

      UTC distorts the record by claiming “there is no dispute that the claims are

enabled for treating precapillary PH, which includes patients in all five PH groups.”



6
  The Supreme Court’s pending decision in Amgen Inc. v. Sanofi, No. 21-757, does
not change the enablement analysis. Under any interpretation of the enablement law,
the ’793 patent is not enabled. The ʼ793 patent does not teach the full scope of the
claimed “method of treating [PH]” because it does not enable treating isolated Group
2 PH patients. Moreover, it does not teach a POSA how to make and use a method
of treating isolated Group 2 PH patients with treprostinil without undue
experimentation.


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Red Br., 42. First, precapillary PH excludes 50% of the PH population, which have

postcapillary PH (isolated Group 2). Second pre- and postcapillary combined PH

patients, to which UTC refers, are not isolated Group 2 PH patients. See Appx13168

(571:1-573:1); Appx13183 (630:2-22).           That the patent examples demonstrate

treating Groups 1, 3, and 4 provides no guidance with respect to treating the

remaining 50% of all PH patients within the claim—isolated Group 2. Third, Dr.

Hill did not testify he used treprostinil to treat isolated Group 2 PH patients. Red

Br., 42. Dr. Hill tried treprostinil in a pre- and postcapillary combined Group 2 PH

patient (i.e., not an isolated Group 2 PH patient), and even then, it was not successful.

Appx13175 (599:9:14); Appx13176 (605:8-20).

      With no specification disclosure for treating any Group 2 PH patient, UTC

merely repeats the district court’s finding regarding the general hemodynamic

effects of treprostinil and the understanding that method of treatment claims do not

require FDA approval. Red Br., 42-43 The district court’s factual findings are,

however, clearly erroneous. 7 Despite the FIRST study showing hemodynamic

changes in isolated Group 2 PH patients taking epoprostenol, Dr. Waxman testified

“any pulmonary vasodilator [including treprostinil] would probably not be needed”



7
  Pages 49-51 of UTC’s Response Brief noting the inability of treprostinil to “treat”
isolated Group 2 PH patients further support the clearly erroneous nature of the
district court’s factual findings regarding enablement. Red Br., 49-51.


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for isolated Group 2 (Appx13185 (637:11-12)), and “[w]e wouldn’t treat a patient

whose [PVR] was normal [with pulmonary vasodilators] and in the isolated [Group

2 PH] disease state, the [PVR] is normal.” Appx13191 (661:14-20, 662:21-25). And

as Dr. Hill testified, the hemodynamic changes observed in Group 2 PH patients in

the FIRST study were not beneficial. Appx13171 (585:4:14). Critically, despite an

“acute hemodynamic improvement” (Red Br., 42), the FIRST study was stopped

because it led to increased risk of death. Appx00064; Appx29455, Appx29461-

29463. This failed study, relied upon by the court, does not support the enablement

of the ʼ793 claims. Appx00063-64.

      Finally, UTC argues a POSA could simply “carve out” inoperative

embodiments. Red Br., 43-45. This “embodiment”—isolated Group 2 PH—

accounts for 50% of all patients (one of two embodiments) encompassed by the

claims, and simply cannot be carved out to preserve validity. 8 E.g., Appx13167-

13168 (568:9-569:5, 569:9-570:25, 571:2-573:1); Alcon Rsch., Ltd. v. Apotex, Inc.,



8
  UTC half-heartedly distinguishes Trustees of Boston University v. Everlight
Electronics Co., 896 F.3d 1357 (Fed. Cir. 2018) by arguing that one of the
embodiments there was impossible, whereas here it is not. Red Br., 45. That was
not the deciding factor. As this Court explained, “[t]he inquiry is not whether it was,
or is, possible to make the full scope of the claimed device … the inquiry is whether
the patent’s specification taught one of skill in the art how to make such a device
without undue experimentation[.]” 896 F.3d at 1363. Undue experimentation, not
impossibility as UTC suggests, was the crux of the Trustees of Boston University
decision. Id. at 1363-64.


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687 F.3d 1362, 1368 (Fed. Cir. 2012) (“Courts do not rewrite the claims to narrow

them for the patentee to cover only the valid portion.”). 9 Further, Dr. Hill’s undue

experimentation testimony was not merely that testing would be “difficult” or

“complicated.” Red Br., 44-45. Instead, he testified a POSA must undertake undue

experimentation to determine if administering treprostinil to an isolated Group 2 PH

patient was even feasible or safe in the first instance. Appx13170 (581:6-12);

Appx13174 (595:13-20). The ʼ793 patent provides no guidance suggesting an

avenue of avoiding these life-threatening issues when administering treprostinil to

isolated Group 2 PH patients. Appx13170 (579:25-580:23); Appx13172-13173

(590:25-591:10, 591:16-592:2); Appx13184 (634:22-635:13). There is also nothing

in the literature instructing the use of treprostinil, or any prostacyclin, in isolated

Group 2 PH while avoiding increased mortality. Appx13173 (593:2-18). One could

not simply “repeat[]” the FIRST study (Red Br., 44) because of the increased

mortality leading to study termination. Appx13173 (592:13-593:18). Based on this

lack of guidance, Dr. Hill testified a POSA would need to “start at square one.” Id.

Disregarding this evidence and instead relying on hemodynamic changes alone,



9
  Atlas Powder Co. v. E.I. du Pont De Nemours & Co., 750 F.2d 1569 (Fed. Cir.
1984) is distinguishable because, there, the Court found that it “has not been shown
to be [a] case” where “the number of inoperative combinations becomes significant,”
whereas here 50% (or one of two embodiments) are not enabled. Id. at 1576-77;
Red Br., 44.


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which the parties and experts agree is irrelevant to “treating” isolated Group 2 PH

patients, was clearly erroneous. Thus, the ʼ793 patent is not enabled.

      C.     The ’793 Patent Claims Lack Written Description 10

      Despite claiming a method of treating “pulmonary hypertension”—which

properly construed includes all five PH Groups—the patent never describes treating

any Group 2 PH patient. Blue Br., 41-42.

      UTC does not and cannot refute this lack of disclosure. UTC’s expert

confirmed the ’793 patent specification never describes treating Group 2 PH.

Appx13184 (634:22-635:13).       Instead, to argue the ’793 patent inventors had

possession of the full claim scope including treatment of Group 2 PH patients, UTC

relies on disclosures describing treprostinil administration to non-Group 2 PH

patients and “hemodynamic effectiveness” of treprostinil in non-Group 2 PH

patients. Red Br., 46-47. This is insufficient, particularly when both experts agreed

that hemodynamic changes are not relevant to treating isolated Group 2 patients.

Blue Br., 37-38 (citing Appx13172 (590:2-10), Appx13175 (599:9-14), Appx13191

(661:14-20, 662:21-25), Appx13185 (637:8-12, 638:12-14), Appx13184 (633:24-

634:2)); LizardTech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d 1336, 1346 (Fed.




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  Like enablement, UTC does not address written description if “treating pulmonary
hypertension” is construed to require safely doing so because UTC’s position rests
on safety and effectiveness “not” being “a claimed result.” Red Br., 48.


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Cir. 2005) (“[A] patentee cannot always satisfy the requirements of section 112, in

supporting expansive claim language, merely by clearly describing one embodiment

of the thing claimed.”).

      UTC’s assertion that written description does not “require[] disclosing a

method of treatment that a physician would prefer or choose” is a red herring. Red

Br., 47. Neither Liquidia, nor either party’s expert, took this position. The relevant

question is whether the specification sufficiently discloses treating Group 2 PH at

all, such that a POSA would understand the inventors were in possession of the

claimed invention. Blue Br., 40-41. Both experts agreed that it does not. UTC

recognizes Group 2 PH has a different postcapillary cause—ventricle stiffening in

the left heart—from other PH Groups. Red Br., 50. The specification’s disclosure

of treating non-Group 2 PH patients with treprostinil does not show that the

inventors possessed a method of treating isolated Group 2 PH, as UTC’s expert

acknowledged. See e.g., Appx13184-13185 (635:21-636:5) (“Do you recall Dr.

Hill’s testimony that a POSA would not have understood the inventors were in

possession of a method of treating [PH] for at least isolated [Group 2 PH] patients?

… Do you agree with his opinion? Well, I would agree that in purely isolated

postcapillary disease [isolated Group 2], yeah, we would not consider any

pulmonary vasodilator”); see also Appx13191 (661:14-20, 662:21-25). The district

court improperly ignored this testimony.



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      UTC dismisses Liquidia’s reliance on this Court’s rulings in Biogen and Nuvo

because those cases only require written description for “a claimed result.” Red Br.,

48. But treating isolated Group 2 PH patients is a claimed result. See Nuvo Pharms.

(Ireland) Designated Activity Co. v. Dr. Reddy’s Lab’ys Inc., 923 F.3d 1368, 1384

(Fed. Cir. 2019) (“When the inventor expressly claims that result, our case law

provides that that result must be supported by adequate disclosure in the

specification.”). Even assuming (incorrectly) that the claims do not require any

safety, the specification does not describe hemodynamic changes in any Group 2 PH

patient or that those changes constitute effective treatment of Group 2 PH.

Liquidia’s expert did not agree that the general disclosures about treprostinil

effectiveness in non-Group 2 PH patients says anything about Group 2 PH patients. 11

Red Br., 47. Accordingly, the ʼ793 patent does not adequately describe the full scope

of the claimed invention and the district court’s decision otherwise was clearly

erroneous and should be reversed.




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  UTC cites to trial testimony from Dr. Hill agreeing that “in the average patient, a
single administration of Treprostinil … results in a beneficial reduction of
pulmonary arterial pressure and/or vascular resistance.” Red Br., 47. But Dr. Hill
had already explained that the ’793 patent only describes treating non-Group 2 PH
patients (see Blue Br., 41) and that there would be no beneficial reduction of pressure
or resistance in isolated Group 2 PH patients. Appx13171 (585:4-14). UTC’s expert
agreed. Appx13191 (661:14-20, 662:21-25).


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      D.     The ’793 Patent Claims Are Not Limited to Precapillary PH

      UTC alternatively argues the claims should be limited to treating precapillary

PH, excluding isolated Group 2 PH (postcapillary PH). Red Br., 49-51. The district

court found the plain meaning of “pulmonary hypertension,” supported by the

specification, encompasses all five PH Groups, and is not limited to precapillary PH.

Appx00059-00060. Both Drs. Hill and Waxman agreed. Appx13169 (575:22-

576:25); Appx13170 (580:24-581:2); Appx13190-13191 (659:21-660:2).

      UTC asserts a POSA would understand the “claims are drawn to treating

precapillary PH[.]”    Red Br., 50.     The specification actually uses the word

“precapillary” and the term “pulmonary hypertension,” but UTC chose to claim

“pulmonary hypertension” without any indication a POSA would artificially limit

the claimed phrase to only precapillary PH patients.         Appx00166 (9:35-37);

Appx00167 (12:64-67); Appx00169 (16:64-65); cf. Appx00170 (cl. 1). The court

considered and rightly rejected the same arguments UTC presented here in light of

the “clear disclosures in the ʼ793 patent specification[,]” which “expressly includes

all five Groups when describing ‘pulmonary hypertension.’” Appx00059-00061.

The court also found “the specification does not contain any disclosures which limit

the scope of ‘pulmonary hypertension’ to any particular subset of PH patients.”

Appx00061. UTC did not disclaim postcapillary PH patients and cannot now, upon

realizing the ’793 patent lacks §112 support, seek to avoid invalidity by limiting its



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claims post-hoc. See Network-1 Techs., Inc. v. Hewlett-Packard Co., 981 F.3d 1015,

1024 (Fed. Cir. 2020) (where there is no dispute as to the ordinary meaning of a term

and neither the claims nor the specification require a departure from the ordinary

meaning, the district court erred in excluding embodiments encompassed by the

ordinary meaning); MagSil Corp. v. Hitachi Global Storage Techs., Inc., 687 F.3d

1377, 1381 (Fed. Cir. 2012) (“[A] patentee chooses broad claim language at the peril

of losing any claim that cannot be enabled across its full scope of coverage.”).

II.   Liquidia Is Not Liable for Induced Infringement

      Liquidia does not have a “belief” of invalidity; it knows the asserted claims

of the ʼ793 patent are invalid under the PTAB’s FWD. See Red Br., 24-27. Based

on this knowledge, Commil dictates that Liquidia is not liable for induced

infringement of the ʼ793 patent.

      Like the district court, UTC collapsed non-infringement and invalidity into a

single issue by requiring “a final adjudication” on invalidity, such that collateral

estoppel applies. Red Br., 2, 18, 24, 27-31; see Appx00054-00057. UTC’s position

conflicts with Supreme Court precedent acknowledging infringement and validity as

“separate issues.” Commil USA, LLC v. Cisco Sys., Inc., 575 U.S. 632, 642 (2015).

By requiring collateral estoppel, UTC and the district court eliminated the subjective

intent element of induced infringement and placed liability solely upon the validity




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of the ʼ793 patent. This is legally incorrect and the court’s determination that

Liquidia is liable for induced infringement of the ʼ793 patent should be reversed.

      A.     The Supreme Court Distinguished Between a “Belief” and
             “Knowledge” of Invalidity

      Despite acknowledging the question presented to the Supreme Court was

“whether knowledge of, or belief in, a patent’s validity is required for induced

infringement under §271(b)[,]” UTC argues the Court drew no distinction between

“belief and knowledge,” but instead “between belief and actual invalidity.” Red Br.,

25-26. UTC’s position is nonsensical—actual invalidity is “knowledge of … a

patent’s validity[.]” Commil, 575 U.S. at 639. The Supreme Court made clear that

“[a]n accused infringer can … prove that patent in suit is invalid; [and] if the patent

is indeed invalid, and shown to be so under proper procedures, there is no

liability[,]” and provided four examples of how an accused infringer can obtain

knowledge of invalidity.     Id. at 644, 645.     Once invalidated by such proper

procedures, an accused infringer necessarily knows of a patent’s invalidity and can

no longer be liable for infringement.

      UTC also incorrectly contends the Supreme Court “flatly rejected the notion

that the defendant’s mental state as to invalidity had any relevancy to infringement

at all.” Red Br., 26. Commil is premised on the holding in Global-Tech that induced

infringement requires “proof the defendant knew the acts were infringing. The

Court’s opinion was clear in rejecting any lesser mental state as the standard.”


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Commil, 575 U.S. at 642 (citing Global-Tech Appliances, Inc. v. SEB S.A., 131 S.

Ct. 2060, 2070-71 (2011)). The relevancy of an accused induced-infringer’s mental

state (i.e., scienter) was reconfirmed in Roche Diagnostics Corp. v. Meso Scale

Diagnostics, LLC, where this Court stated “[t]he intent standard for inducement,

therefore, ‘focuses on, and can be met by proof of, the defendant’s subjective state

of mind[.]’” 30 F.4th 1109, 1118-19 (Fed. Cir. 2022). Because Liquidia has actual

knowledge of the ʼ793 patent’s invalidity, it lacks the subjective intent to induce

infringement of the ʼ793 patent.

      B.     Collateral Estoppel is Not Required to Negate Liability

      UTC’s position is that the PTAB’s FWD is not “final,” and thus has no

collateral estoppel effect on the district court. Red Br., 2, 18, 27-31. Commil,

however, makes clear that collateral estoppel is not required to negate an accused

infringer’s liability for induced infringement. Blue Br., 46-54.

             1.    The PTAB’s FWD was Not “Vacated”

      UTC asserts that the PTO Director’s POP decision “effectively vacated” the

PTAB’s FWD and that the “PTAB’s now-vacated decision” has no effect here. Red

Br., 2. But UTC’s request for a Precedential Opinion was denied. Appx36654

(“Accordingly, we deny Patent Owner’s request for POP review of the Final Written

Decision.”). UTC’s suggestion that the original panel must act on the Director’s

POP “on rehearing” is wrong. Red Br., 28. The Director stated that “authority over



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all issues in this case—including consideration of Patent Owner’s pending rehearing

request—is returned to the original panel.” Appx36654. Thus, the PTAB’s FWD is

still in effect as the original panel has not granted UTC’s rehearing request, and is

not required to do so. Id. 12

             2.     An IPR FWD in 12-18 Months is All that is Required to
                    Negate Liability

      UTC ignores the statutory and legal authority confirming the Supreme Court’s

purposeful reference to an IPR decision in 12-18 months, which establishes that a

FWD is all that is needed to remove liability for infringement. Red Br., 2, 27-31;

Blue Br., 48-52.

      Citing 35 U.S.C. §318(a)-(b), UTC asserts that only “final[ity]” can be a

“proper procedure.” Red Br., 27-31. Not so. UTC wants this Court to focus on

§318, but the Supreme Court has already said the relevant statutory provision is 35

U.S.C. §316, which requires an IPR FWD in 12-18 months. Commil, 575 U.S. at

645; Blue Br., 49-50. 13 The Supreme Court’s citation to §316, instead of §318,

establishes that Commil requires only a FWD, not final cancellation of claims under



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  UTC notes that if a district court’s decision on invalidity is reversed, then liability
for patent infringement could be reinstated. Red Br., 30. That rationale holds true
here. If the ʼ793 FWD is reversed on rehearing or appeal, then Liquidia’s liability
for infringement of that patent can be reinstated.
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  Unsurprisingly, UTC failed to address the import of the Supreme Court’s reliance
on §316.


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§318, to negate liability. The Supreme Court is no stranger to §318, having cited it

in several cases, including U.S. v. Arthrex, Inc., 141 S. Ct. 1970 (2021). Id. at 1978

(“Upon expiration of the time to appeal or termination of any appeal, ‘the Director

shall issue and publish a certificate canceling any claim of the patent finally

determined to be unpatentable…’”) (citing §318). In this same decision, §316 was

also cited (id. at 1977), further demonstrating Commil’s reliance on §316, and not

§318, was purposeful. Moreover, because “finality” was not required by Commil,

there was no need for the Supreme Court to address “appeals or the precise endpoint

when decision becomes ‘final[.]’” Red Br., 29-30. Indeed, by not addressing

“appeals” or “finality” and only citing §316, the Supreme Court made its position

clear—an IPR FWD is sufficient to eliminate liability for induced infringement.

      Finally, collateral estoppel would only prevent UTC from re-litigating the

validity of the ʼ793 patent. Papst Licensing GMBH & Co. KG v. Samsung Elecs.

Am., Inc., 924 F.3d 1243, 1250-51 (Fed. Cir. 2019). Whether UTC is prevented from

later asserting the ʼ793 patent is valid has no bearing on Liquidia’s current

“subjective” state of mind regarding liability for induced infringement. Because the

PTAB’s FWD invalidated all asserted claims of the ʼ793 patent, the Commil decision

establishes that Liquidia is not liable for induced infringement of the ʼ793 patent,

and the district court’s decision should be reversed.




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III.   TN is Not a Proxy for LIQ861 Bulk Powder

       UTC confirms that to prove infringement of claims 1-3 of the ʼ066 patent, the

only evidence it presented at trial compared TN02 to TN, neither of which are the

“pharmaceutical composition” of claim 1. Red Br., 52-56. Accordingly, there is no

evidence that Liquidia’s LIQ861 bulk powder, identified by UTC as the

“pharmaceutical composition,” meets the limitations of these asserted claims.

       With this evidentiary failing, UTC doubles down on the analysis conducted

by its expert, Dr. Nuckolls, comparing the impurities resulting from alkylation and

hydrolysis in TN02 and TN. Red Br., 52-55. This comparison, however, fails to

consider that TN is first dissolved (where it dissociates into ions, one of which is

treprostinil free acid), and TN is not present in the LIQ861 bulk powder. Blue Br.,

54-55, 57, 59; Appx00027; Appx13137 (447:20-448:23); Appx13137 (450:1-15);

Appx13211 (741:7-16); Appx14131-14144. Liquidia’s PRINT process, which uses

TN as a starting material, refers to “treprostinil sodium” only prior to dissolving TN,

and thereafter refers to “treprostinil.”       Appx14132-14133.      Because UTC’s

infringement evidence for claims 1-3 relies solely on an analysis of TN02 and TN,

and UTC presented no evidence regarding impurities in the LIQ861 bulk powder,

UTC has not met its evidentiary burden on infringement. Appx13055 (122:24-

123:1). Accordingly, the district court’s factual findings on infringement of claims

1-3 were clearly erroneous.



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         UTC excuses Dr. Nuckolls’ failure to compare TN02 to LIQ861 bulk powder

by pointing to his testimony that it would be difficult to conduct the comparison

required by the claims.       Red Br., 55.       This is a claim drafting issue and

mischaracterizes Dr. Nuckolls’ testimony.          He testified that conducting the

comparison required by the claims would be difficult “without samples.”

Appx13058 (133:22-134:8). UTC received samples of the LIQ861 bulk powder, but
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withheld them from its expert.               Appx11844-11846; Appx11906-11914;

Appx11937-11956.

         UTC also asserts the court determined that TN is a proper proxy for LIQ861

bulk powder because Liquidia’s processing of TN does not affect the impurities

generated from alkylation and hydrolysis. Red Br., 56-58. UTC and the district

court overlook the fact that TN is not in LIQ861 bulk powder and, therefore, whether

Liquidia’s “processing” affects the impurities of TN is not the relevant question. To

be a proper proxy, TN needs to be “representative of the accused product.” Ferring

B.V. v. Watson Lab’ys, Inc.-Fla., 764 F.3d 1401, 1409-10 (Fed. Cir. 2014) (reversing

a finding of infringement because the outlier products used to prove infringement

“were not representative of [defendant’s] ANDA product”); Red Br., 58. Dr.

Nuckolls performed no evaluation as to whether the TN is representative of the



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     UTC fails to address the fact Liquidia provided samples of LIQ861 bulk powder.


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accused product. This renders irrelevant Dr. Nuckolls’ speculative testimony that

he “wouldn’t expect” Liquidia’s PRINT process to impact impurities. Appx13064

(157:7-17); Red Br., 55.

      UTC notes that Liquidia relies on Yonsung’s DMF “for all treprostinil drug

substance information[,]” implying that stability data permits LIQ861 bulk powder

to be stored at ambient temperature. Red Br., 57-58. But LIQ861 bulk powder, the

accused “pharmaceutical composition,” is not the drug substance and, nonetheless,

TN is stored at 2ºC-8ºC according to the DMF. Appx14132-14138; Appx07590;

Appx13211 (741:1-19); Appx13137 (448:6-23).

      Finally, UTC’s attempt to distinguish Ferring, Kim, and Morton are

unavailing. Red Br., 58-59. In Ferring, the district court relied on testing of four

tablets of the accused product. Ferring, 764 F.3d at 1409-10. Although those four

tablets were “atypical,” Ferring provided data from those four tablets in an attempt

to establish they were representative of all accused products. Here, UTC prevented

its expert from generating this data, depriving the district court the opportunity to

evaluate whether TN is truly representative of LIQ861 bulk powder. In Kim, Kim

used a proxy that was allegedly representative of ConAgra’s 7-Grain and Whole

Wheat products. Kim v. ConAgra Foods, Inc., 465 F.3d 1312, 1319-20 (Fed. Cir.

2006). This Court determined Kim’s proxy was not representative of the accused

products because those products contained additional ingredients taking it outside of



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the “consisting essentially of” claim limitation, and Kim’s expert testimony

otherwise was “conclusory” and not supported “with any examinations or tests of

the accused products.” Id. at 1320. The same holds true here: TN is dissolved and

combined with other excipients to make LIQ861 bulk powder, and Dr. Nuckolls’

“wouldn’t expect” testimony was conclusory in nature and not supported by testing

of the accused LIQ861 bulk powder—testing UTC could have had done. Finally,

UTC contends that in Morton Int’l, Inc. v. Cardinal Chem. Co., 959 F.2d 948 (Fed.

Cir. 1992), non-infringement was based on “no objective support for the actual

existence” of the claimed compounds. Red Br., 58. That finding was based on actual

testing of the accused product—again, testing UTC and its expert did not do here.

Morton, 959 F.2d at 951.

      The court’s determination that Liquidia infringes claims 1-3 of the ʼ066 patent

was clearly erroneous and should be reversed.

     COUNTER-STATEMENT OF THE ISSUES ON CROSS-APPEAL

      1.     Whether the district court clearly erred in finding product-by-process

claims 1-3 and 6 of the ’066 patent invalid, when the unrebutted evidence

demonstrates there is no structural or functional difference between the claimed

composition and the composition disclosed in Moriarty 2004.

      2.     Whether the district court clearly erred in finding that Liquidia will not

infringe claims 6 and 8 of the ’066 patent when Yonsung’s DMF and Liquidia’s



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NDA require TN (treprostinil sodium) to be stored at 2º-8ºC, not at ambient

temperature.

      3.       Whether the district court clearly erred in finding that Liquidia will not

infringe claim 8 of the ’066 patent when TN is not stored during Liquidia’s PRINT

process.

      COUNTER-STATEMENT OF THE CASE ON CROSS-APPEAL

I.    Relevant Claims of the ’066 Patent

      UTC’s cross-appeal contests the district court’s determinations regarding

claims 1-3, 6, and 8 of the ’066 patent. See Red Br., 14-17; id. n.1. Independent

claim 1 and its dependent claims (claims 2, 3, and 6) are product-by-process claims

directed to a “pharmaceutical composition comprising treprostinil or a

pharmaceutically acceptable salt thereof” made by a specific process. Appx00121-

00132. This process involves alkylating benzindene triol (BTO), hydrolyzing the

resulting product to form a starting batch of treprostinil, and then forming a salt that

is either itself the claimed final pharmaceutical composition or is used to regenerate

treprostinil free acid as the final pharmaceutical composition. Appx00132 (cl. 1).

      Claims 1-3 and 6 also require the following process step: “a starting batch of

treprostinil having one or more impurities resulting from prior alkylation and

hydrolysis steps … whereby a level of one or more impurities found in the starting

batch of treprostinil is lower in the pharmaceutical composition, and wherein said



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alkylation is alkylation of benzindene triol.” 15 Appx00132 (cl. 1). Relevant to the

cross-appeal, dependent claim 6 recites “wherein the isolated salt is stored at ambient

temperature.” Appx00132 (cl. 6). Similarly, independent claim 8 is a process claim

that requires “storing the treprostinil salt at ambient temperature” before it is used.

Appx00132 (cl. 8).

II.   The District Court Correctly Found that Moriarty 2004 Discloses the
      Same Composition as the ’066 Patent

      The court’s decision found clear and convincing evidence that product-by-

process claims 1-3 and 6 are invalid because they claim the same composition

disclosed in Moriarty 2004. Appx00038-00045. 16 The decision rested on seven

findings of fact: (1) “[t]he priority date of the ’066 patent is December 17, 2007”;

(2) “[t]reprostinil is also known as UT-15 or treprostinil free acid”; (3) “[Moriarty

2004] teaches the synthesis of 99.7% pure treprostinil free acid, via alkylation and

hydrolysis”; (4) “Moriarty [2004] is prior art”; (5) “[t]he UT-15 treprostinil taught

by Moriarty [2004] is the same chemical structure as the treprostinil product of

claims 1-3, 6, and 9 of the ’066 patent”; (6) “[t]he average purity of UTC’s batches

of UT-15 treprostinil made by Moriarty [2004] and the ’066 process are the same:



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  For ease of review, this Brief will refer to this limitation as the “impurities-
lowering” limitation. See also Red Br., 20.
16
  The district court also found claim 9 invalid for the same reason, but claim 9 is
not at issue in UTC’s cross-appeal. Red Br., 17 n.1.


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99.7%”; and (7) “[t]here are no structural or functional differences between the UT-

15 treprostinil taught by Moriarty [2004] and the treprostinil claimed in the ’066

patent.” Appx00038-00039. UTC has not demonstrated any clear error in these

findings.

      The court correctly found that the claimed “pharmaceutical composition[]

comprising treprostinil” can be treprostinil alone (i.e., treprostinil free acid),

foreclosing UTC’s argument that “Moriarty [2004] cannot invalidate the product-

by-process claims because it only discloses treprostinil [free acid.]” Appx00040;

Appx29406; Appx30259; Appx13127 (408:16-17); Appx13140 (459:5-6, 461:5-6);

Appx13211 (742:5-9). The court then relied on Dr. Winkler’s unrebutted testimony

that the claimed composition and the Moriarty 2004 composition are the same.

Appx00041-00043; Appx00043 (“No UTC expert or fact witness rebutted Dr.

Winkler’s opinions[.]”). The court explained that the claimed impurities-lowering

limitation “is a process limitation” that “merely describes the process and does not

impart any structural or functional differences in the claimed pharmaceutical

composition[.]” Appx00041 n.15; see also Appx00041 (finding that claims 1-3 and

6 “do not claim any purity percentage, impurity profile, or commercial scale

production”). 17


17
  Likewise, it is irrelevant for purposes of invalidity that “[e]veryone agrees that
Moriarty 2004 did not disclose any salt-formation step” (see Red Br., 17), because
invalidity is based on the “product”—not the process—and salt formation is a

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      The court rejected UTC’s attempt to show a structural or functional difference.

Appx00043-00045. Dr. Walsh only “compared the treprostinil free acid prepared at

the Chicago facility and the treprostinil diethanolamine salt prepared by the ’066

process” (Appx00044), and conceded that treprostinil salt is a different compound

than treprostinil free acid. Appx13227 (804:17-19). Thus, his testimony “fail[ed]

to identify any structural or functional differences between the treprostinil products.”

Appx00044.

      Consistent with the plain language of the claims, the court found the claims

do not recite any purity percentage or impurity profile, and do not identify any

specific impurity in the treprostinil product. Appx00041; Appx13140 (460:8-16);

see also Appx13051 (105:19-106:20). Although the claims do not require any purity

level, the specification states that the treprostinil generated by the claimed process

can have a purity ranging from 99.7% to 99.9%, and could be as low as 90%.

Appx00041; Appx00128 (9:22-23); Appx00130 (14:55-65); Appx13226-13227

(803:13-804:16). Nor do the claims cover any stability or storage of the final

treprostinil product. Claim 6’s limitation reciting “wherein the isolated salt is stored

at ambient temperature” concerns only the intermediate salt generated during the




process step. Nonetheless, the salt formation step does not impart any structural or
functional differences in the claimed pharmaceutical composition. See Appx00041
n.15.


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process steps. Appx00132 (17:51-18:28, 17:34-35, 17:62-63); Appx13267 (964:19-

965:6).

          The court found Moriarty 2004 teaches synthesis of treprostinil free acid (i.e.,

UT-15) with a purity of 99.7%, by alkylation and hydrolysis of BTO. Appx00039

(Findings of Fact 2 and 3); Appx29406; Appx29413; Appx29418; Appx13140

(460:25-462:14). The treprostinil disclosed in Moriarty 2004 has the same chemical

structure as the treprostinil of claims 1-3 and 6, and its 99.7% purity—though not

required by the claims—falls within the disclosure of the ’066 patent specification.

Appx00039 (Findings of Fact 5 and 6); Appx13139-13145 (457:6-480:2);

Appx13140-13141 (462:25-463:2); Appx13142 (467:3-5); compare Appx29408

(depicting the chemical structure of UT-15 treprostinil as compound 7), with

Appx00128 (10:55-65 (depicting the chemical structure of UT-15 treprostinil));

compare Appx29418 (“purity 99.7%”), with Appx00130 (14:55-65 (purities ranging

between 99.7% and 99.9%)); Appx13226-13227 (803:16-804:16).

          The court also relied on UTC’s statements to the FDA that the product made

according to the process claimed by the ’066 patent (i.e., the new Silver Spring

process) was the “same” as and “equivalent” to the product made according to

Moriarty 2004 (i.e., the former Chicago process), and had the same specification

limits.       Appx00041-00043 (citing Appx13141 (463:20-22, 464:15-465:2),

Appx13142-13145 (467:17-468:3, 469:7-14, 470:21-473:5, 473:16-477:18, 478:23-



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479:21)); Appx28389 (“[T]he lots of treprostinil API produced by the new process

in Silver Spring are of the same high quality and purity as the commercial lots of

API produced by the existing process at the Chicago facility.”); Appx29861 (“The

release data for the drug substance batch prepared by the revised route of synthesis

indicate that it is of equivalent quality to the batches produced by the current

synthetic route, particularly with respect to the assay and purity profile.”);

Appx29884-29885 (“[T]he simplified chemical synthesis of treprostinil will provide

API that meets the same acceptance criteria as API obtained from the 20-step

chemical synthesis, with a very similar impurity profile and similar acceptable

criteria.”); compare Appx29050 (’066 Product Certificate of Analysis from 2020)

and Appx29874-29875 (’066 Process Optimization Batches Release Testing Data),

with Appx29876 (Moriarty Release Testing Data).

       The district court found claims 1-3 and 6 of the ‘066 patent invalid because

“there is no record evidence that contradicts Dr. Winkler’s testimony that the

claimed treprostinil product and Moriarty UT-15 treprostinil are the same,” and

because “[t]here are no structural or functional differences” between the two.

Appx00039 (Finding of Fact 7); Appx00045.

III.   The District Court Correctly Found that Liquidia Will Not Infringe
       Claims 6 or 8 of the ’066 Patent

       The court found UTC failed to prove that Liquidia’s proposed LIQ861 product

will infringe claims 6 and 8 of the ’066 patent, both of which require storing


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treprostinil salt at “ambient temperature” before use.           Appx00022-00025;

Appx00031-00038.       This decision was based on three findings of fact: (1)

“Liquidia’s NDA and Yonsung’s DMF require treprostinil sodium to be stored at

2°C to 8°C”; (2) “Liquidia will not use treprostinil sodium batches which have been

stored at ambient temperature for GMP manufacturing”; and (3) “Liquidia begins

preparing a pharmaceutical product during Step 1 of its PRINT process.”

Appx00025.

      Addressing UTC’s contention that Liquidia only “promises” not to infringe,

the court found that “Liquidia has represented to the FDA that it will store

treprostinil sodium between 2°C and 8°C” and that “UTC has failed to prove that

Liquidia will go against these representations.” Appx00031-00036. The district

court also relied on the testimony of Liquidia’s Executive Director of Analytical

Operation, Mr. Kindig, to find that Liquidia will not use out-of-specification batches

in GMP manufacturing to make a “pharmaceutical composition” of claim 6.

Appx00034; see also Appx00033-00036 (rejecting UTC’s other arguments

regarding temperature excursions).

      Regarding claim 8, reciting “preparing a pharmaceutical product,” the court

further found that “a POSA would understand that Liquidia begins preparing the

LIQ861 product at PRINT Step 1, not Step 5.” Appx00037. Thus, “any ‘storage’

between steps in the PRINT process [] cannot meet the limitations of claim[] 8 [],



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which require[s] storage before preparing a pharmaceutical product.” Id.; see also

Appx00036.

             SUMMARY OF ARGUMENT ON CROSS-APPEAL

      This Court should affirm the district court’s invalidity and non-infringement

findings with respect to the ’066 patent for the following reasons:

      1.     UTC cannot show that the court legally erred in finding claims 1-3 and

6 (“the product-by-process claims”) of the ’066 patent invalid because they claim

the same product made according to Moriarty 2004. The court correctly found that

the claimed “pharmaceutical composition[] comprising treprostinil” can be

treprostinil free acid alone, and the unrebutted evidence of record demonstrates that

there is no structural or functional difference between the claimed treprostinil free

acid and the treprostinil free acid disclosed in Moriarty 2004. UTC’s arguments

regarding the purported “specific impurities” in the claimed composition fail

because (a) the product-by-process claims do not require any purity level or specific

impurity, and (b) the impurities-lowering limitation is a process step that does not

define the claimed composition.

      2.     The court did not err in holding that claims 6 and 8 of the ’066 patent

were not infringed. Per Liquidia’s NDA, TN is never stored at ambient temperature.

Consistent with FDA regulations, the NDA’s storage specifications are strict

regulatory requirements, not mere recommendations. UTC’s counterarguments that



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the district court erroneously construed “storage” as impossible during the later

stages of the PRINT process, and that ambient storage occurs between Steps 1-4 of

the PRINT process, are both unavailing. A review of Liquidia’s NDA makes clear

that use, and not storage, of TN begins immediately at Step 1 of the PRINT process.

Because the district court’s finding of noninfringement of claims 6 and 8 of the ’066

patent is supported by substantial evidence, it should be affirmed.

                       ARGUMENT ON CROSS-APPEAL

I.    Claims 1-3 and 6 of the ’066 Patent Are Invalid Because They Claim the
      Same Composition in Moriarty 2004

      “In determining validity of a product-by-process claim, the focus is on the

product and not on the process of making it.” Amgen Inc. v. F. Hoffman-La Roche

Ltd., 580 F.3d 1340, 1369 (Fed. Cir. 2009). This is because of the “long-standing

rule that an old product is not patentable even if it is made by a new process.” Id. at

1370. Accordingly, “[i]f the product in a product-by-process claim is the same as

[i.e., anticipated by] or obvious from a product of the prior art, the claim is

unpatentable even though the prior product was made by a different process.” In re

Thorpe, 777 F.2d 695, 697 (Fed. Cir. 1985). An exception to this well-known

principle is if the patentee can show that “the process by which a product is made

imparts ‘structural and functional differences’ distinguishing the claimed product

from the prior art[.]” Greenliant Sys., Inc. v. Xicor LLC, 692 F.3d 1261, 1268 (Fed.

Cir. 2012) (citation omitted); Appx13267 (963:6-11). UTC has failed to show the


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claimed treprostinil free acid is structurally or functionally different from the

treprostinil free acid of Moriarty 2004.

      UTC’s cross-appeal concerning the invalidity of the ʼ066 patent’s product-by-

process claims relies upon (1) process limitations, not product limitations, and (2)

alleged structural and functional differences between a compound that is different

from the prior art Moriarty 2004 compound and not the treprostinil free acid claimed.

No witness rebutted the testimony of Liquidia’s expert, Dr. Winkler, and Dr. Walsh,

UTC’s fact witness on this issue, provided an irrelevant comparison of different

compounds. Appx00043-00044. UTC’s cross-appeal raises no factual or legal error

in the court’s decision and, accordingly, it should be affirmed.

      A.     Treprostinil Free Acid is a “Pharmaceutical Composition
             Comprising Treprostinil”

      UTC asserts that claims 1-3 and 6 recite “a pharmaceutical composition

containing treprostinil and the unexpectedly reduced levels of certain impurities

that remain after a novel process of purification by salt formation.” Red Br., 75.

This is not the claim language. The “product” portion of the claim merely recites

“[a] pharmaceutical composition comprising treprostinil or a pharmaceutically

acceptable salt thereof[.]” Appx00132 (cl. 1). The claim term “comprising,” which

UTC ignores, permits other components but does not require them. As the court

properly found, the treprostinil free acid of Moriarty 2004, meets the claim. See In

re Thomas, 714 F. App’x 1005, 1008 (Fed. Cir. 2017) (“What the prior art discloses


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is [] a question of fact.”) (citing Para-Ordnance Mfg., Inc. v. SGS Importers Int’l,

Inc., 73 F.3d 1085, 1088 (Fed. Cir. 1995)).

      Moreover, while UTC contends the district court “misconstrued” the

“pharmaceutical composition” term and “ignored” the intrinsic evidence (Red Br.,

78, 81), UTC never requested construction of this phrase, let alone a construction

that requires more than treprostinil. UTC does not address the court’s findings that

the ʼ066 patent specification provides no distinction between treprostinil and a

pharmaceutical composition comprising treprostinil, and only describes process

steps for synthesizing treprostinil or its salt. Appx00040. The court determined that,

based on the claim’s plain language, the limitation reciting “[whereby a] level of one

or more impurities found in the starting batch of treprostinil is lower in the

pharmaceutical composition” is merely a process step comparing the “starting batch”

to the pharmaceutical composition. Appx00041 n.15. No UTC witness supported

UTC’s position that this language is a “product” limitation as opposed to a process

step. Its experts Drs. Toste and Nuckolls actually confirmed that the impurities-

lowering limitation requires the process step of comparing a process intermediate

(the starting batch of treprostinil) to the pharmaceutical composition. Appx13068-

13075 (175:8-25, 181:4-182:1, 188:2-8, 199:10-202:19); Appx13051-13052 (108:4-

110:1).




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      UTC’s reliance on the prosecution history of the ʼ066 patent is unavailing.

Red Br., 80-81. Allowance of the ʼ066 patent claims, based on ex parte prosecution

without the benefit of countervailing evidence and testimony, does not confirm the

claimed “pharmaceutical composition” includes a reduction in impurities. UTC

never told the PTO that the data it submitted from the ʼ393 IPR was found

unconvincing and that the PTAB invalidated the ʼ393 patent—the Examiner’s

rejection over Moriarty was withdrawn on November 30, 2016, and the ʼ066 patent

allowed on January 30, 2017, before the ʼ393 patent FWD issued on March 31, 2017.

Red   Br.,   80;   Appx32016,      Appx32018;     Appx36657-36663;      Appx05949,

Appx05982-05991 (comparing batches of treprostinil made according to Moriarty

2004 to the process of the ʼ393 patent and concluding no structural or functional

differences). UTC failed to disclose those facts here as well. 18

      UTC also ignores the testimony of its own expert, Dr. Nuckolls, who

confirmed that the claimed “pharmaceutical composition” “could be [t]reprostinil or

the pharmaceutically acceptable [salt thereof.]” Appx00040; Appx13050-13051

(104:22-105:8). Dr. Winkler agreed. 19 Appx13140 (462:15-24). And the parties’


18
  UTC’s argument regarding the Board’s denial of institution for the ’066 IPR is
misplaced because the Board has broad discretion to institute or deny IPR petitions,
and a decision to institute is preliminary—not final. Cuozzo Speed Techs., LLC v.
Lee, 579 U.S. 261, 273 (2016).
19
  Citing to Dr. Winkler’s non-infringement testimony, UTC conflates proof
necessary to establish infringement of a product-by-process claim, where process

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experts agreed that the claims do not require any purity or impurity level in the final

pharmaceutical composition. Appx13140 (460:8-16); Appx13051 (105:19-106:20);

see also Appx00041. Accordingly, the court properly determined that treprostinil

free acid meets the “pharmaceutical composition comprising treprostinil” limitation.

      B.     UTC Improperly Focuses on Process Steps

      UTC spends pages asserting that the purported “specific impurities” or

“relevant impurities” confer a structural or functional difference sufficient to

distinguish the claimed product from the Moriarty 2004 product. Red Br., Sections

VI.A-C; see also id. at 75-76. UTC ignores the claimed product, and instead touts

the alleged process benefits. Red Br., 76 (“[T]his process is particularly effective at

removing synthetic impurities generated during alkylation and hydrolysis that are

difficult to remove using prior-art methods[.]”). 20 In doing so, UTC ignores that “an

old product is not patentable even if it is made by a new process.” Amgen, 580 F.3d

at 1369-70; see also In re Thorpe, 777 F.2d at 697. UTC’s conclusions regarding

how this process allegedly impacts the claimed product are wholly unsupported

attorney argument. E.g., Red Br., 76 (“The resulting pharmaceutical composition


steps are relevant, and proof necessary to invalidate a product-by-process claim,
where the process steps are not relevant. See Red Br., 79.
20
  See also id. at 75 (“a novel process of purification by salt formation”); id. at 84-
85 (“unlike traditional column chromatography purification methods, the claimed
salt-formation process was able to effectively separate treprostinil from
impurities”); id. at 85 (“the ’066 Patent’s novel salt-formation process”).


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will therefore have lower levels of these synthetic impurities than a pharmaceutical

composition of treprostinil purified using traditional methods.”) (no citation). 21

Plainly, it does not matter that Moriarty 2004 “does not teach purification through

salt formation[,]” because that is a process step and need not be disclosed to

invalidate a product-by-process claim. See id. at 76.

      UTC asserts that Moriarty 2004 “provided no disclosure about the level of

these or any other specific impurities” resulting from alkylation or hydrolysis. Red

Br., 83. But the ʼ066 patent suffers from this same “silence.” The ʼ066 patent

specification does not identify any impurity generated by alkylation or hydrolysis,

nor any impurity removed upon salt formation. Appx00121-00132. Dr. Winkler

and UTC’s expert, Dr. Toste, confirmed this fact. Appx13146 (485:24-486:1);

Appx13071-13072 (188:18-189:17); Appx13147 (489:10-15); Appx13145 (481:17-

19). Named inventor, Dr. Batra, also confirmed the patent does not disclose any

impurity generated or removed. Appx13161-13162 (546:15-548:15); Appx13163

(552:3-554:1). UTC is in no position to complain about the disclosure of Moriarty

2004, when its own patent is similar. Regardless, there are no actual differences as



21
   See also id. (asserting without citation that “the claims conferred [critical
structural features] on the resulting product”); id. at 81 (asserting without citation
that “the claim elements concerning ‘impurities’ … require differences in the
structure of the resulting product that are integral to discerning the scope and content
of the claimed ‘pharmaceutical composition’”).


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the specification permits as low as 90% purity (Appx00128 (9:22-23)), whereas

Moriarty 2004 composition is 99.7% pure. Appx29418.

       UTC complains that Liquidia only assessed the “overall purity” of the

“treprostinil compound” (Red Br., 76-77, 83-84)—but the ʼ066 patent does the same.

The specification states “the product of the process … has higher purity[,]” without

specifying what impurities were allegedly removed, or where they came from.

Appx00126 (5:66-67). None of the Examples disclose “specific” impurities that are

generated or removed. Examples 5 and 6 only provide overall purity data and do

not identify the removal of any “specific impurity” resulting from alkylation and

hydrolysis. Appx00130 (14:55-65); Appx00132 (17:26). 22 UTC cannot keep secret

the specific impurities its process allegedly removes, but then complain that the prior

art fails to reveal those secrets. 23




22
  Examples 1-4 do not provide any purity or impurity information. Appx00128-
00130 (9:45-13:67).
23
  UTC further asserts that “[o]verall purity is not the distinguishing feature of the
product claimed by the patent” because, “as the district court expressly found
elsewhere, the invention is a pharmaceutical composition with a reduction in specific
impurities—those resulting from alkylation and hydrolysis steps—after salt
formation.” Red Br., 83-84 (citing Appx00025). But this argument refers to the
district court’s infringement analysis, and thus again conflates proof necessary to
establish infringement of a product-by-process claim and proof necessary to
invalidate a product-by-process claim. See Appx00025.


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      Responding to UTC’s contention that Moriarty 2004 does not disclose a

“pharmaceutical composition” with the “relevant impurities” (e.g., Red Br., 82-83),

that composition is in fact disclosed.         Moriarty 2004 made “crude UT-15”

(treprostinil) by alkylation and hydrolysis process steps resulting in the claimed

“starting batch.”     Appx29418 (right column); Appx13140 (460:25-462:14);

Appx13155 (519:18-22, 520:9-21). That “crude” treprostinil starting batch was then

purified to give “pure UT-15” (the pharmaceutical composition) with a purity of

99.7%. Appx29418 (right column); Appx13143-13144 (473:16-477:18). Thus, the

“starting batch” of treprostinil in Moriarty 2004 includes impurities from alkylation

and hydrolysis that are removed upon further processing. And Moriarty 2004’s

99.7% pure treprostinil falls within the ʼ066 patent’s disclosure that treprostinil can

have a purity as low as 90%, and matches Example 5’s disclosure of 99.7% purity

for treprostinil free acid made according to the invention. Appx00041; Appx00128

(9:22-23), Appx00130 (14:55-65); Appx13226-13227 (803:13-804:16).

      UTC relies on In re Nordt Development Co., 881 F.3d 1371 (Fed. Cir. 2018)

to argue that the “structural elements of the claimed ‘pharmaceutical composition’

are apparent from the express impurities-reducing claim language” (Red Br., 79; see

also id. at 81)—but Nordt is not applicable here. Red Br., 79, 81. There, the patent

application was directed to an elastic knee brace, and the claim term “injection

molded” was found to connote a specific structure. 881 F.3d at 1375. Here, the



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impurities-lowering limitation is nothing like the “structural” limitations identified

in Nordt and relates only to a comparison of impurities during the claimed process

and not any level of impurities in the final product. Id. at 1375-76 (finding that

“injection molded” connotes structure and identifying “chemically engraved,”

“integral,” “superimposed,” and “a molded plastic” as examples of structural terms

rather than process terms) (citations omitted). Regardless, the ʼ066 specification

never imparts a structural meaning to the impurities-lowering limitation as the

specification in Nordt did. Id.; cf., e.g., Appx00132 (17:29-32) (merely stating that

“[t]he impurities carried over from intermediate steps … are removed during the …

salt formation step”); see also supra pp. 37-38. 24

      Likewise, the claims at issue in Amgen are distinguishable from the product-

by-process claims here. Red Br., 82. In Amgen, actual structural differences were

described in the specification. 580 F.3d at 1367 (referring to “studies” in the



24
   Kamstrup A/S v. Axioma Metering UAB, 43 F.4th 1374 (Fed. Cir. 2022) and
Purdue Pharma L.P. v. Epic Pharma, LLC, 811 F.3d 1345 (Fed. Cir. 2016) also do
not help UTC. Red Br., 78, 81. As in Kamstrup, UTC “has not identified disclosure
in the specification or prosecution history or extrinsic evidence evidencing structural
and functional differences,” and “the alleged structural and functional difference that
[UTC] identifies is detached from the claims.” 43 F.4th at 1382-83 (affirming
invalidity finding); see supra pp. 25-29. As in Purdue, the impurities-lowering
limitation here “does not describe the structure of [the claimed pharmaceutical
composition] and thus is a process limitation.” 811 F.3d at 1353-54 (affirming
invalidity finding); see also id. at 1353 (“Purdue claimed the end product; it did not
claim a particular method for creating that product[.]”); see supra pp. 25-29.


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specification regarding structural differences); see also id. (“At trial, Amgen’s expert

… testified at length regarding differences in the carbohydrate composition of [the

claimed compound] and [the prior art].”). Here, the specification does not refer to

any studies indicating a difference in composition between the claimed treprostinil

and the Moriarty 2004 treprostinil, and Dr. Walsh did not compare like compounds,

as was done in Amgen. See id.; e.g., Appx00131-00132 (merely comparing the

process steps and overall purity of the treprostinil composition made according to

the claimed process and the prior art process); see supra pp. 26-27. UTC told the

FDA that the two processes produced products of the “same” and “equivalent”

purity, and its own data (presented by Dr. Winkler at trial) showed that the average

purity of the resulting products is the same (99.7%). See supra pp. 27-29. Thus,

unlike the claims in Amgen, 580 F.3d at 1381-82, the impurities-lowering limitation

here is a process step that imparts no structural or functional difference on the

claimed treprostinil product. See supra pp. 25-29.

      C.     There is No Structural or Functional Difference between the
             Claimed and Previously-Disclosed Treprostinil Free Acid

      No UTC expert or fact witness testified that there was a structural or

functional difference between Moriarty 2004 treprostinil and the claimed

treprostinil. 25 See Appx00043. Indeed, no UTC witness testified about Moriarty


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  UTC states that “[t]he court did not address or make any findings comparing the
levels of any particular impurities (e.g., the synthetic impurities resulting from the

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2004 or the UT-15 treprostinil it discloses, much less compared it to the claims. See

id. Instead, pointing to the testimony of Drs. Walsh and Toste, UTC attempts to

compare treprostinil salt to treprostinil free acid and argue there are structural and

functional differences between the two. See Red Br., 84-86. But, as the court found,

this comparison is insufficient to support the validity of the ʼ066 claims.

Appx00043-00044.       Dr. Walsh testified, unequivocally, that the treprostinil

diethanolamine salt he relied on is a different compound from Moriarty 2004

treprostinil free acid. Appx13227 (804:17-19); Appx00044. UTC ignores Dr.

Walsh’s admission.

      Dr. Toste’s testimony was directed to infringement, not validity. Nonetheless,

he focused on the alleged advantages of the claimed process of salt formation

compared to prior chromatography purification processes. Red Br., 84-85. Dr.

Toste never compared impurity profiles of any claimed compound to the prior art,




alkylation and hydrolysis steps) in the product obtained from Moriarty 2004 to those
obtained from the salt-formation process recited in the ’066 Patent claims.” Red Br.,
17. This misunderstands the point. The court did not need to make this comparison
because it found that the claimed “composition comprising treprostinil” can be
treprostinil free acid (see Appx00040), and “[t]he UT-15 treprostinil [free acid]
disclosed in Moriarty has a purity of 99.7%, which falls within the disclosures of the
’066 patent specification” regarding the “purity of [treprostinil free acid]”
(Appx00041 (second brackets in original)). In any event, as the district court found,
“UTC has not provided any evidence or expert testimony which compares the
claimed treprostinil free acid to the Moriarty UT-15 treprostinil, instead choosing to
focus on the claimed treprostinil salt.” Appx00044-00045.


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and UTC does not assert otherwise. Any difference in the 3AU90 impurity is

irrelevant because Dr. Toste never compared this treprostinil to the prior art, and the

claims do not specify this impurity. See supra pp. 27-28, 42; Red Br., 85.

      As noted, Dr. Walsh’s testimony fails to identify any structural or functional

difference because, as UTC admits (Red Br., 85-86), he compared Moriarty 2004

treprostinil free acid made in UTC’s Chicago facility to treprostinil diethanolamine

salt, which are different compounds. Appx13225-13227 (799:1-804:16 (discussing

Appx13357-13362)). 26 UTC argues that the court erred in dismissing Dr. Walsh’s

testimony because its reasoning was “internally inconsistent” with how it treated Dr.

Winkler’s testimony. Red Br., 85-86. Not so. The court, relying on Dr. Winkler,

explained over several pages why there was no structural or functional difference

between the claimed “pharmaceutical composition comprising treprostinil” and

Moriarty 2004 treprostinil free acid. Appx00041-00044. This explanation included

Dr. Winkler’s testimony concerning the identical structure and purity profile of the

claimed treprostinil free acid and Moriarty 2004 treprostinil free acid. Appx00041


26
   Both the PTAB and Federal Circuit considered similar testimony from Dr. Walsh,
including testimony regarding the 3AU90 impurity, and concluded “the comparisons
of purity data for Moriarty and ’393 patent treprostinil set forth in the Walsh
Declaration and in the specification of the ’393 patent itself similarly indicate that
batch-to-batch variation, rather than any structural or functional difference between
treprostinil products, accounts for the reported differences in overall purity and
impurity profile.” SteadyMed Ltd. v. United Therapeutics Corp., IPR2016-00006,
2017 WL 1215714, at *15 (P.T.A.B. Mar. 31, 2017). The ’066 and ’393 patents
share the same specification. Compare Appx00121-00132, with Appx29030-29045.

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(citing Dr. Winkler’s testimony at Appx13139-13145 (457:6-480:2)). The court also

relied the fact that upon changing facilities from Chicago (Moriarty 2004 process)

to Silver Spring (ʼ066 process), UTC told the FDA that the treprostinil free acid

made according to the ʼ066 process was “equivalent,” with respect to purity, to the

treprostinil free acid made according to Moriarty 2004 such that they had the same

impurity profiles. Appx00042 (citing Dr. Winkler at Appx13141 (464:15-465:2));

Appx28389; Appx29861; Appx29884-29885; Appx00043 (citing Dr. Winkler at

Appx13142-13143 (469:15-471:23)). UTC never informed the FDA that upon this

change in processes, the treprostinil “was safer, less toxic, or purer than” treprostinil

made according to Moriarty 2004.          Appx00042.       UTC points to no internal

inconsistencies with these findings (Red Br., 85-87), which alone are sufficient to

find the product-by-process claims invalid.

      Despite this unrefuted evidence, UTC contends “Dr. Winkler assumed

treprostinil salt and treprostinil free acid are comparable.” Red Br., 86. But Dr.

Winkler never compared the purity of treprostinil free acid to treprostinil salt, and

UTC cites no evidence that he did. UTC now presents, for the first time, six lines of

testimony from its own witness, Dr. Robert Williams, in the ’393 IPR proceeding to

assert that the data Dr. Winkler relied on included “some batches of just salt, but

most of them are acid.” Id.; Appx29986 (100:4-9). UTC never raised this issue with

the district court in its post-trial briefing, and the argument is thus waived. E.g.,



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Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1208 (Fed. Cir. 2010)

(finding argument waived when not raised in post-trial motions). Nonetheless, Dr.

Williams in the ʼ393 IPR did not compare a treprostinil salt to a treprostinil free acid,

but instead was attempting to compare free acid to free acid because “most” of the

batches were the free acid. Appx29986 (100:4-9). Dr. Walsh, on the other hand,

did not compare treprostinil free acid made according to the claims to any other

treprostinil free acid at all. Moreover, based on comparing commercial batches of

Moriarty 2004 treprostinil free acid to commercial batches of the ʼ393/ʼ066 patent

treprostinil free acid, the PTAB found that “Moriarty [2004] treprostinil exhibit[s]

impurity profiles nearly identical, if not superior, to those seen in individual

commercial batches of ʼ393[/ʼ066] patent treprostinil[,]” and had a “higher overall

purity.” Appx05986-87. Thus, the court did not treat Dr. Winkler and Dr. Walsh

inconsistently.

      UTC also asserts that the court’s “comparisons between treprostinil salt and a

final treprostinil product” for purposes of assessing infringement is internally

inconsistent with its findings concerning Dr. Walsh’s comparison. Red Br., 86-87

(citing Appx00025). For UTC’s position to make any sense, it must be admitting

that the LIQ861 bulk powder made from treprostinil sodium no longer contains TN.

If so, this supports Liquidia’s position that UTC improperly relied on treprostinil

sodium as a proxy for LIQ861 bulk powder for purposes of infringement. See supra



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pp. 20-23.     Regardless, UTC cannot point to evidence UTC relies on for

infringement of a product-by-process claim to support the validity of that claim. 27

      UTC’s argument that “[c]omparisons between UTC’s commercial processes

were irrelevant to anticipation by Moriarty 2004” contradicts the extensive evidence

of record confirming that UTC’s “Chicago process” and “Moriarty 2004 process”

are the same. See Red Br., 87-89; Appx00041-00043; Appx00041-00042 n.16.

Contrary to UTC’s assertion, the district court did not merely “accept[] conclusory

testimony of Dr. Winkler that the Chicago process was the process disclosed in

Moriarty 2004” (Red Br., 87-88); it also relied on Dr. Winkler’s comparison of

Moriarty 2004 to the Chicago process, as well as the testimony of ’066 inventor Dr.

Batra. Appx00041-00042 n.16 (citing Appx13161 (546:2-10), Appx00124 (1:28-

31)). The court also noted that no UTC witness refuted Dr. Winkler, and that UTC’s

witness Dr. Walsh also equated the Chicago process with Moriarty 2004. Id. UTC

fails to address these factual findings and, as such, it was proper for the court to rely

upon UTC’s admissions to the FDA regarding the equivalent nature of the Moriarty

2004 and ʼ066 products. 28


27
  UTC cites no evidence for its argument that “UTC’s conversion of treprostinil
diethanolamine back into a free acid similarly cannot affect the impurities relevant
to the ’066 Patent claims.” Red Br., 87.
28
  UTC’s citation to Endo Pharmaceuticals Solutions, Inc. v. Custopharm Inc., 894
F.3d 1374, 1383 (Fed. Cir. 2018) is inapposite because, as UTC acknowledges,
Liquidia never argued that the product-by-process claims are invalid under

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      The unrebutted evidence of record dictates there is no structural or functional

difference between the Moriarty 2004 treprostinil composition and the claimed

composition, rendering claims 1-3 and 6 of the ’066 patent invalid.

II.   The District Court Correctly Found the “Storage at Ambient
      Temperature” Claim Limitations Not Infringed

      The court did not err in concluding Liquidia does not infringe claims 6 and 8

of the ’066 patent because TN is never stored at ambient temperature 29 before it is

used. Appx00132 (cls. 6, 8).

      The focus of a patent infringement inquiry in a Hatch-Waxman case is “what

the [NDA] applicant will likely market if its application is approved, an act that has

not yet occurred.” Bayer AG v. Elan Pharm. Rsch. Grp., 212 F.3d 1241, 1248-49

(Fed. Cir. 2000) (citation omitted).      “[T]his hypothetical inquiry is properly

grounded in the [NDA] application and the extensive materials typically submitted

in its support.” Id. Following this standard, and considering the evidence of record,

the court did not clearly err in concluding that Liquidia’s TN is never stored at

ambient temperature and is instead stored at 2-8°C. Appx00031-36. UTC attempts

to turn this well-settled case law into an allegation that Liquidia, through its NDA



inherency. See Red Br., 88-89. Nor does Liquidia assert an on-sale bar argument.
See id. at 87 n.12.
29
  The district court construed “ambient temperature” to mean: “room temperature
(equal to or less than the range of 15°C to 30°C).” Appx00031.


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specification, only “promises that it would not store treprostinil [salt] at ambient

temperatures[.]” Red Br., 60-63. Liquidia’s non-infringement is based on facts, not

promises.

      A.      TN is Never Stored at Ambient Temperature

      Liquidia’s NDA includes a Raw Material Specification (“RMS”) for TN,

which explicitly requires: “Storage Conditions: 2°-8°C, protected from light and

moisture.”    Appx07590; Appx12409; Appx12411.           Because this is an NDA

requirement, it must be followed and was confirmed during an FDA site inspection

documenting that TN is stored in a monitored refrigerator kept at 2-8°C.

Appx13102-13103 (310:1-312:1); Appx29531. The RMS is not a “promise” but a

regulated requirement—one that UTC disregards because it proves Liquidia does

not infringe claims 6 or 8.

      UTC instead points to the Drug Master File (DMF) (DMF No. 27680) of

Yonsung, the company that makes TN for Liquidia. Yonsung’s DMF specifies the

storage conditions for TN: “STORAGE: Should be kept in a tight container,

protected from moisture and light and stored at 2°C to 8°C.” Appx14736; see also

Appx14207. UTC contends this is only a recommendation, not a requirement, but

overlooks the plethora of data the district court relied on proving it is actually

followed. Red Br., 63. As the court found, Yonsung’s label, certificates of analysis,

batch production records, and List of Finished and Intermediate Products dating back



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to 2017 require TN to be stored at “refrigerate[d]” 30 temperatures after production is

complete and during shipment to Liquidia, which is, and will be, monitored with

temperature loggers.       Appx00031-32; Appx29572, Appx29583 (Step H5:

“refrigerated”); Appx13135-13136 (441:5-445:23); Appx28385; Appx13060

(143:13-144:54). These documents establish Yonsung stores TN at non-ambient

temperatures of 2-8°C. Id. Further, LGM, an intermediary between Yonsung and

Liquidia, also follows the storage conditions set by Yonsung. Appx00031-32;

Appx13116-13117 (364:4-10, 367:5-368:7, 370:17-20). Not only does the DMF

establish TN is not stored at ambient temperature, but the court also credited the

testimony of Mr. Fuson, Liquidia’s FDA expert, who testified that the FDA would

expect Liquidia to follow the temperature storage conditions in the RMS as well as

Yonsung’s DMF. Appx00032; Appx13118 (374:12-15); Appx13124 (396:7-10).

This testimony stands unrebutted.

      UTC tries to rely on stability data in Liquidia’s NDA to suggest that TN is

“stable” at ambient temperature, thereby permitting Liquidia to store it as such. Red

Br., 62 (citing Appx13596, Appx13802, Appx14209, Appx14211, Appx14219,

Appx14207, Appx14739-14772). But UTC’s expert, Dr. Nuckolls, admitted that the

’066 Patent claims require “actual” storage at ambient temperature, not that TN is


30
  A POSA would understand “refrigerated” to mean within the range of 2-8°C and
not ambient. Appx13135 (442:17-21).


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simply “capable” of being stored at that temperature. Appx13058-13059 (136:23-

137:5); Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1329 (Fed. Cir. 2010) (“[I]t is

not enough to simply show that a product is capable of infringement; the patent

owner must show evidence of specific instances of direct infringement.”). Further,

both FDA experts, Mr. Fuson (Liquidia) and Mr. Matto (UTC), agreed that if TN

was exposed to ambient temperature, despite this stability data, a full investigation

would be required.        Appx00032 (citing Appx13092-13093 (272:9-274:3);

Appx13119 (378:1-15)). Based on this evidence, the court’s rejection of UTC’s

argument was not clearly erroneous. Appx00032-33.

      UTC also claims Liquidia made its LIQ861 bulk powder using batches of TN

stored at ambient temperature. Red Br., 60, 63. UTC points to TN batches

TN116J010, TN117K010, and TN117I010 used to make clinical trial batches

ultimately relied on in Liquidia’s NDA, and alleges that these batches experienced

ambient temperature when being shipped from Yonsung. Red Br., 62-63 (citing

Appx13049      (98:14-99:15),    Appx13677,      Appx14212,      Appx14888-14889,

Appx14920-14921). The evidence shows, through temperature log data, that TN

was stored below ambient temperature during shipping and only spiked from

refrigerated to ambient temperature on December 11, 2017. See Appx14888-14889;

Appx14920-14921. As Liquidia’s witness Mr. Kindig testified, December 11, 2017

was the date the shipment was received by Liquidia and the box containing TN was



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opened, reflecting a temperature spike when the data logger was exposed to ambient

temperature while the TN was unpackaged and refrigerated. 31 See Appx14877;

Appx14908; Appx14888-14889; Appx14920-14921; Appx13102 (310:1-19);

Appx13105-13107 (321:18-328:10).

      UTC cites TN batches TN120C010, TN120G010, and TN120I010 that

experienced temperature excursions above 8°C during shipping from South Korea.

Red Br., 64. UTC asserts that Liquidia accepted those out-of-specification batches,

but critically, UTC does not, and cannot, offer evidence that those batches were ever

used—a requirement of claims 6 and 8. Id. Liquidia’s witnesses testified that these

batches were placed in quarantine and ultimately restricted to research and

development use only and not used to make a pharmaceutical composition/product

because of the temperature excursion.         Appx30939-30941; Appx13103-13105

(312:2-313:25, 317:1-321:17); Appx13041-13042 (68:12-70:2); Appx13136

(446:1-23). UTC alleges that “[o]nly after Liquidia was sued and its witness

responsible for analytical testing was deposed about those batches did Liquidia

assert that they would not be used to make a pharmaceutical product that would be


31
  UTC also alludes to several batches that were shipped in temperatures below 2°C.
Red Br., 63. The infringement inquiry here is governed by whether TN was, or will
be, “stored at ambient temperature.” Appx00132. Temperatures below 2°C are not
“ambient temperature” and thus irrelevant. Nonetheless, Yonsung has certified to
the quality of TN stored below 2°C, which permits Liquidia to use it. Appx14173;
Appx13081 (226:3-25); Appx13106 (323:8-20); Appx13120 (380:4-22);
Appx13136-13137 (446:24-447:7).

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marketed for sale[.]” Red Br., 64. Not so. These batches were placed into quarantine

upon arrival and never released for GMP purposes per protocol, which pre-dates the

filing of the district court action. Appx13080 (223:12-224:13); Appx13081 (226:15-

227:6); Appx13103-13104 (312:2-316:16); Appx13112 (348:15-23 (testifying that

the out-of-specification batches were quarantined and not allowed for GMP use);

Appx29349-29373 (Standard Operating Procedure on the Receipt, Handling, and

Control of Materials dated October 6, 2019).

      Finally, UTC cites to batches that did not include temperature logger data in

an attempt to shift its own burden to prove infringement into Liquidia’s burden to

prove non-infringement. Red Br., 64-65. It is the “[t]he patent owner [that] has the

burden of proving infringement and must meet its burden by a preponderance of the

evidence.” Takeda Pharm. Co. v. Teva Pharms. USA, Inc., 668 F. Supp. 2d 614,

619 (D. Del. 2009). The absence of a temperature logger does not establish the

court’s opinion was clearly erroneous, particularly given, as discussed above, the

extensive documentation requiring TN to be stored at 2-8°C. See Brigham &

Women’s Hosp., Inc. v. Perrigo Co., 761 F. App’x 995, 1003-04 (Fed. Cir. 2019)

(“speculative data … cannot sustain [patentee’s] burden of proof.”).

      UTC’s reliance on Sunovion Pharms., Inv. v. Teva Pharms. USA, Inc., 731

F.3d 1271, 1280 (Fed. Cir 2013) is misplaced. Red Br., 61. In Sunovion, the claim

limitation was “less than 0.25%” and the ANDA recited “[not more than] 0.6%.”



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731 F.3d at 1274-75. The “[not more than] 0.6%” range was within the scope of the

patent and thus Teva infringed. Id. at 1280. Here, storage of TN prior to its use is

not “within the scope of a valid patent,” but instead is outside the claimed ambient

temperature range of “room temperature (equal to or less than the range of 15°C to

30°C).” That is, unlike Sunovion, the temperature ranges do not overlap and, as

such, Liquidia does not infringe claims 6 or 8, and the court’s decision should be

affirmed.

      B.      Yonsung’s DMF and Liquidia’s                NDA     Are    Regulatory
              Requirements, Not Merely Promises

      UTC contends that the court “faulted” UTC for not proving “actual past

infringement.” Red Br., 66. The court made no such requirement and, in fact,

confirmed during trial and in its decision that the infringement inquiry is determined

based on what Liquidia will do in the future if LIQ861 is approved. Appx13251

(901:6-11); Appx00022.

      UTC asserts that Liquidia has only “pledged” not to infringe. Red Br., 67-68.

But UTC points to no document reflecting a mere “pledge.” Liquidia is compelled,

not merely encouraged, by federal regulation to adhere to the 2-8°C storage

requirement in its NDA. 21 C.F.R. §211.80, titled “Current Good Manufacturing

Practice for Finished Pharmaceuticals,” provides that “[t]here shall be written

procedures describing in sufficient detail the … storage … of components and drug

product containers” and that “such written procedures shall be followed.” 21 C.F.R.


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§211.80; see also Appx13118-13119 (374:3-377:14); Abbott Lab’ys v. TorPharm,

Inc., 300 F.3d 1367, 1373 (Fed. Cir. 2002) (“Because drug manufactures are bound

by strict statutory provisions to sell only those products that comport with the

[]NDA’s description of the drug, an []NDA specification defining a proposed

[product] in a manner that directly addresses the issue of infringement will control

the infringement inquiry.”); In re Brimonidine Pat. Litig., 643 F.3d 1366, 1378 (Fed.

Cir. 2011) (“We cannot assume that [the NDA filer] will not act in full compliance

with its representations to the FDA[.]”). Because Liquidia’s NDA and Yonsung’s

DMF require storage at 2-8°C, these documents “directly address” the infringement

inquiry and control. 32 See Par Pharm., Inc. v. Hospira, Inc., 835 F. App’x 578, 586

(Fed. Cir. 2020) (“[R]epresentations about the []NDA’s scope control the

infringement analysis”); Appx13118-13119 (374:3-377:14 (discussing 21 C.F.R.

§211.80)); Appx13124 (396:7-10); Appx29531.

      The evidence also establishes that it is in Liquidia’s interest to not treat the

storage conditions as “optional,” because “being outside of the temperature range

represents a quality of risk that [Liquidia is] not willing to take.” Appx13103



32
   UTC assertion that “[n]othing in Liquidia’s NDA requires Liquidia to store
treprostinil salt in refrigerated conditions[,]” is incorrect. Red Br., 68. Liquidia’s
RMS for TN explicitly requires: “Storage Conditions: 2°-8°C, protected from light
and moisture,” which must be followed and was specifically checked by the FDA
during an on-site inspection. Appx07590; Appx29531.


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(311:12-312:1, 314:1-25); Appx13041-13042 (67:19-69:2). When POSAs receive

chemical material with specified storage conditions, they consider the conditions as

a mandate, not an option—a POSA “would risk compromising the material”

otherwise. Appx13134 (435:10-22); see also Appx13121 (386:2-8), Appx13124

(396:2-10). Even UTC shipped TN in cold-pack conditions to its expert Dr. Smyth,

who then stored the TN at refrigerated conditions because it was shipped cold.

Appx13245-13246 (879:15-880:18 (Smyth)); Appx29823-29851; Appx13135

(440:3-441:4).

      C.     The District Court Did Not Err in its Construction of “Storage”

      UTC is incorrect that the court determined “‘storage’ during the shipment

process is still storage, but ‘storage’ during a later phase of the manufacturing

process cannot be.” Red Br., 68-69. UTC’s error stems from its mischaracterization

of Liquidia’s PRINT process, which the court correctly found constitutes “use,” not

storage, of TN. Appx00035-36.

      Part of Step 1 of Liquidia’s PRINT process—“Preparation of aqueous stock

solution”—involves placing TN in a dry box to remove a sample. Appx14132;

Appx13039 (59:15-60:18); Appx13061 (146:20-22); Appx13137 (447:20-448:23).

The court disagreed with UTC’s expert’s testimony that the dry box step was




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storage, finding instead that during Step 1, TN is being “used” not “stored.” 33

Appx00036 (citing Appx14131 (calling the PRINT process a “manufacturing

process”)). Each procedure in Step 1 of the PRINT process describes active use of

TN—e.g., “[c]omponents are combined,” “components are stirred to dissolve,”

“[s]olution is filtered[.]” Appx14133. Rather than taking an inconsistent position,

as UTC suggests, the court instead determined that the plain and ordinary meaning

of “storage” cannot encompass “use” of TN during the PRINT process. It would

betray the plain and ordinary meaning of “storage” to hold that the term encompasses

active process steps. See Appx13137-13138 (450:16-454:20).

      UTC’s cases are inapposite. Red Br., 70. Intervet and Vita-Mix both reversed

summary judgments of noninfringement based on claim constructions later in the

case that were inconsistent with the district courts’ earlier claim constructions of

those same terms. See Intervet Inc. v. Merial Ltd., 617 F.3d 1282, 1289-1290 (Fed.

Cir. 2010); Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1323-24 (Fed. Cir.

2009). Here, the court construed “storage” to have its plain and ordinary meaning

(Appx04889) and applied that same meaning in its decision. Appx00031. Thus, the

district court did not apply inconsistent constructions for the term “storage.”



33
  UTC contends that TN is stored for 3 hours in a dry box, but the cited document
does not support that conclusion. Red Br., 69; Appx13924 (no time specified in Step
2-3, where TN is placed in the dry box).


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      UTC has failed to establish the court’s noninfringement findings with respect

to claims 6 and 8 were clearly erroneous, and thus its decision should be affirmed.

      D.     Claim 8 is Not Infringed Because Ambient Storage Does Not Occur
             Between PRINT Process Steps 1-4

      UTC alleges that the court’s non-infringement finding for claim 8 is based on

an erroneous “construction.” Red Br., 71. Attempting to turn this into a de novo

review of a claim construction ruling, UTC admits that its problem with the court’s

decision is not its construction of the claims, but “construction of when Liquidia

begins preparing the ‘pharmaceutical composition’[.]” Id. Thus, this is not a claim

construction issue, but an issue of the court’s factual findings concerning Liquidia’s

PRINT process reviewed for clear error.

      UTC argues that Liquidia infringes claim 8 of the ’066 patent because (1)

preparation of the “pharmaceutical product” of claim 8 begins at Step 5 of the PRINT

process and (2) ambient storage of TN occurs during Steps 1-4 of the PRINT process.

Red Br., 72-73. UTC fails to prove both of these theories.

      First, preparation of the final LIQ861 product (the accused “pharmaceutical

product”) does not begin with Step 5 but with Step 1 of the PRINT process.

Appx00037. Experts from both parties agreed that a POSA would understand the

process of “preparing a pharmaceutical product” in claim 8 begins when the TN is

dissolved in water and mixed with excipients in Step 1. Appx13137-13139 (448:11-

449:9, 452:24-455:18); Appx13064 (147:3-18 (agreeing that once TN is put in


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solution in Step 1, Liquidia is “in the process … of making the pharmaceutical

product” of claim 8)). Steps 5 and 6 of the PRINT process—named “Drug Product

Primary Packaging” and “Drug Product Secondary Packaging” respectively—

simply involve encapsulating and packaging the LIQ861 bulk powder produced in

Step 4. Appx14132; Appx13139 (455:9-12). That LIQ861 bulk powder is stored at

2-8°C 34 at the end of Step 4, does not mean that the PRINT process artificially

delineates between preparing a “pharmaceutical composition” and “preparing a

pharmaceutical product,” as UTC contends. Red Br., 74; Appx14136; Appx14142

(“Bulk LIQ861 inhalation powder is stored in the pouch for NMT 6 months at 2°C

to 8°C[.]”); Appx13062 (149:9-150:16).          The PRINT process is a single

manufacturing process, not two. Appx14132 (listing all six steps as one process).

Further, the district court found, crediting Dr. Winkler as opposed to Dr. Nuckolls,

that “a POSA would understand that the encapsulation and packaging performed

during [steps 5-6] would not change the chemical properties of the bulk LIQ861”

powder produced in Steps 1-4, and thus, the process of “preparing a pharmaceutical

product” begins with Step 1 of the PRINT process. Appx00037 (citing Appx13139

(455:5-18)). UTC has identified no clear error in the court’s fact finding.




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  UTC conveniently fails to note the below ambient storage conditions between
Steps 4 and 5.


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      Second, because the process of making the “pharmaceutical product” begins

with Step 1, the “hold times” UTC references in Steps 1-4 would not be “storage”

because claim 8 requires “storage” before preparing. Appx00037. A POSA would

also understand hold times where the material is continuing to dry and undergoing

change is not storage. Appx13138-13139 (454:10-20, 456:15-20). Drying is an

active process, not static in nature. See id. Further, none of the hold times for Steps

1-3 indicate storage at ambient temperature. Appx29337-29339.

      Nonetheless, even if preparing the “pharmaceutical product” were to start with

Step 5 of the PRINT process, Liquidia would still not infringe. Step 5 starts with

“Bulk LIQ861 Inhalation Powder” as the first input material, not TN, which is

required by claim 8. 35 Appx14137, Appx14142. Once TN is dissolved in water in

Step 1, it is dissociated into treprostinil and sodium ions in solution and is mixed

with other materials (i.e., excipients). Appx13137 (450:1-15); Appx13206 (722:10-

19); Appx13211 (741:7-16). Despite having samples of LIQ861 bulk powder to test,

UTC offered no evidence that “treprostinil sodium,” which is required by claim 8, is

present at all in any step of manufacturing following the complete dissolution of TN

at Step 1. Appx30890-30891, ¶¶53-55.



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  In arguing for the validity of claims 1-3 and 6, UTC seemingly admits the LIQ861
bulk powder does not contain treprostinil sodium, when referencing “comparisons
between treprostinil salt and a final treprostinil product[.]” Red Br., 86.


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       Finally, UTC attempts to manufacture a distinction where “the

‘pharmaceutical composition’ of claims 1-6 is not a ready-for-sale ‘product’; in

contrast, the ‘pharmaceutical product’ of claim 8 is the final ready-for-sale product

in its final dosage form prepared for patient purchase and consumption[.]” Red Br.,

75. UTC cites no evidence supporting this alleged distinction. Id. Claim 8 does not

require a “ready-for-sale” product, nor does it include any step of combining

treprostinil with excipients, encapsulating it, or packaging it into a final dosage form

for sale as UTC contends.       All that is required is “a pharmaceutical product

comprising treprostinil.” Appx00132 (cl. 8). The specification makes no distinction

between a “pharmaceutical composition” and a “pharmaceutical product,” and again

includes no description of combining treprostinil with any excipients. Appx00121-

00132.     The court expressly found that “a POSA reading the ʼ066 patent

specification   would    understand     that   treprostinil     is   a   “pharmaceutical

composition[/product] comprising treprostinil.” Appx00040 (brackets in original).

UTC is incorrect that the “pharmaceutical product” must be anything more than

treprostinil.

       The court’s finding that Liquidia does not infringe claim 8 was not clearly

erroneous and should be affirmed.




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                                 CONCLUSION

      Liquidia respectfully requests reversal of the court’s judgment as to invalidity

and liability for induced infringement of the ’793 patent, and as to infringement of

claims 1-3 of the ’066 patent.       Additionally, Liquidia respectfully requests

affirmance of the court’s judgment as to invalidity of claims 1-3 and 6 of the ’066

patent, and non-infringement of claims 6 and 8.

Dated: February 1, 2023                Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      The foregoing filing complies with the type-volume limitations of the Federal

Rules of Appellate Procedure and Federal Circuit Rules, has been prepared using a

proportionally-spaced typeface, and includes 13,920 words.



Dated: February 1, 2023               /s/   Sanya Sukduang
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